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  0001
   1 CITY AND COUNTY OF DENVER
   2 STATE OF COLORADO
   3 Judicial Committee Meeting
   4 Held on February 12, 2013
   5 HOUSE BILL 13-1229
   6 -----------------------------------------------------------
   7 REPORTER'S TRANSCRIPT
   8 -----------------------------------------------------------
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  10          This transcript was taken from an audio
  11 recording by Elissa Steen, Registered Professional Reporter
  12 and Notary Public.
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  0002
   1 PUBLIC SPEAKERS:
   2 IN SUPPORT:
     Ron Sloan                                29
   3 David Chipman                                 50
     Tom Mauser                                  65
   4 Katie Lyles                               68
     Chief John Jackson                            72
   5 John Head                                 79
     Marjorie Sloan                              83
   6 Karina Vargas                               88
     Don Macalady                                 90
   7 Amy Miller                                 92
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  10 Stu Fraser                               106
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  11 Dr. Vince Markovchick                            111
     Terry Crook                              114
  12 Reverend Timothy Tyler                            116
  13 IN OPPOSITION:
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  14 Dudley Brown                                  145
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  15 Dave Gill                                  150        01019371763                 Date Filed: 01/16/2015           Page: 2
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  0003
   1               PROCEEDINGS
   2             * * * * *
   3               PROCEEDINGS
   4         THE CHAIRMAN: The committee will come to
   5 order.
   6         We have three bills on the agenda for this
   7 afternoon. We have House Bill 1126 concerning seven-day
   8 court time intervals. That will be the first bill up.
   9         We have House Bill 1229, background checks for
  10 gun transfers. That will be the second bill up.
  11          And we have House Bill 1224, prohibiting
  12 large-capacity ammunition magazines. That will be the
  13 third bill up.
  14          Before we start dealing with these bills, let me
  15 just tell everybody here how much we appreciate you being
  16 involved in the process of helping us craft good public
  17 policy.
  18          Your contribution, your willingness to come
  19 down here and give us your views is very much appreciated,
  20 regardless of which side of the issue you are on. You are
  21 performing a public service, and we are grateful.
  22          Just a few points of procedure here just so that
  23 we can actually get these bills properly heard.
  24          The first thing that I'd like everyone to know
  25 is that this is a policy -- a policy-making procedure.
  0004
   1 It's not a political rally. So if I ask you not to engage
   2 in applause when somebody says something you agree with or
   3 any other expressions of opinion through public
   4 proclamation, that would be much appreciated, because we
   5 want to just simply get the input of the public into these
   6 measures so that we can craft the best public policy that
   7 we can in Colorado.
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   9 Much appreciated.
  10          As far as timing is concerned, there are a huge
  11 number of people who have asked to testify in support of at
  12 least the second two bills that we're -- second and third
  13 bill that we are hearing, and not as many who are here to
  14 testify on Representative Wright's bill concerning
  15 seven-day time intervals.
  16          But in order to make sure that as many opinions
  17 and as many points are made for the benefit of this body, I
  18 will be restricting the amount of direct testimony to two
  19 minutes for each witness. I'm sorry that it can't be
  20 longer, but the sheer numbers make it impossible to be
  21 longer.
  22          I will not be restricting questioning of the
  23 witnesses by members of the committee. And so if the -- if
  24 you come forward and the committee members wish to ask you
  25 questions to elucidate your position, you will have time to
  0005
   1 answer those, and committee members will have time to ask
   2 those questions.
   3         Overall I am going to give on House Bill -- on
   4 House Bill -- each of the two house bills following
   5 Representative Wright's seven-day time intervals, House
   6 Bills 1229 and 1224, overall I will give two hours total
   7 for testimony and questions and answers from the committee
   8 to each side.
   9         I will try and make sure that this is as even as
  10 possible. There may be a few-minutes variation on one side
  11 or the other, but the goal is to give two hours for
  12 proponents on the first bill, two hours for opponents on
  13 the first bill, and then we will move to the amendment
  14 phase on the first bill, and we will then, having voted on
  15 amendments, vote on the bill itself, and then we will
  16 proceed to the second bill which, likewise, will be two
  17 hours for each side for all of their witness testimony and
  18 questioning of witnesses overall.
  19          This may mean that some people do not get to
  20 testify at all, and that is regretful. But what I will do
  21 is I'll make sure that everybody has an opportunity -- if
  22 they don't get to testify, they will have an opportunity to
  23 show whether they were here in support or here in
  24 opposition to the bill, and that opportunity will be made
  25 available at the close of the witness phase of each bill.
  0006
   1         There are many, many people here who cannot
   2 unfortunately be seated in the Supreme Court chambers, and
   3 there are many of you who are standing at the back. I
   4 would like you to know that there is an overflow room in
   5 the basement which will have the -- the testimony and the
   6 audio fed down to there; that if you are signed up to
   7 testify and you are in the basement, we will be calling you
   8 by name from the basement, and we will give you advance
   9 warning as to when your testimony is coming up.
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  11 four witnesses at a time to give those who are in the
  12 basement adequate time to make their way up here so that
  13 they can testify.
  14          And so please feel free, if you'd like a little
  15 more comfort. You will still hear the proceedings. You
  16 will still be able to testify if you choose to go to the
  17 overflow room, which is in House Conference Room 112.
  18 House Conference Room 112 downstairs. And it's the normal
  19 committee room for the Judiciary Committee when we are not
  20 as crowded as we are today.
  21          So with that, I want to just reiterate again
  22 how much we value your input and your -- your willingness
  23 to come here and help us make sure that whatever public
  24 policy we craft here today is the best we can possibly
  25 create. That is very much appreciated. Thank you for
  0007
   1 being here.
   2         And I will ask Representative Wright.
   3         UNIDENTIFIED SPEAKER: You should call the roll.
   4         THE CHAIRMAN: Oh, I should call the roll.
   5 That's a very good suggestion.
   6         Ms. Shipley, please call the roll.
   7         MS. SHIPLEY: Representatives Buckner?
   8         REPRESENTATIVE BUCKNER: Here.
   9         MS. SHIPLEY: Court?
  10          REPRESENTATIVE COURT: Here.
  11          MS. SHIPLEY: Gardner?
  12          REPRESENTATIVE GARDNER: Here.
  13          MS. SHIPLEY: Lawrence?
  14          REPRESENTATIVE LAWRENCE: Here.
  15          MS. SHIPLEY: McLachlan?
  16          REPRESENTATIVE McLACHLAN: Here.
  17          MS. SHIPLEY: Murray?
  18          THE CHAIRMAN: Excused.
  19          MS. SHIPLEY: Pettersen?
  20          REPRESENTATIVE PETTERSEN: Here.
  21          MS. SHIPLEY: Salazar?
  22          REPRESENTATIVE SALAZAR: Present.
  23          MS. SHIPLEY: Wright?
  24          REPRESENTATIVE WRIGHT: Here.
  25          MS. SHIPLEY: Lee?
  0008
   1         REPRESENTATIVE LEE: Here.
   2         MS. SHIPLEY: Mr. Chair?
   3         THE CHAIRMAN: Here.
   4         And, Representative Wright, thank you. Please
   5 tell us about House Bill 1126.
   6         (Break in requested transcription portion.)
   7         THE CHAIRMAN: Our next bill up is House Bill
   8 1229. That's by -- that's being carried by Representatives
   9 Fields and McCann.
  10          And before we hear about House Bill 1229, I
  11 would like to just add one procedural point that I forget
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  13 that we are giving each witness two minutes to present
  14 their direct testimony and no time limitation on the
  15 questions from members of the committee or the answers of
  16 the witness.
  17         I would like to, A, ask witnesses who are going
  18 to testify to listen to the testimony of other witnesses
  19 and make sure that if your point has been made already, you
  20 might like to not come up and make the same point again,
  21 because in my experience, members of this committee are
  22 rarely persuaded more by hearing the same point several
  23 times than they are hearing it the first time.
  24         So I just submit that to you, members of the
  25 committee, as -- as a thought to consider when deciding
  0009
   1 whether to testify.
   2         The second thing is that with the agreement of
   3 my esteemed colleague, the ranking member of the Judiciary
   4 Committee, Representative Gardner, we have agreed that the
   5 first two witnesses from both sides, the first two
   6 witnesses proposing the measure and the first two witnesses
   7 opposing the measure, will have extra time so that they can
   8 lay out the basic facts.
   9         They will have three or four minutes rather than
  10 the two, and that is going to be applied to both sides,
  11 proponents and opponents equally, but from then on we will
  12 go to standard two minutes per witness.
  13         Representative Fields, do we know where --
  14         REPRESENTATIVE FIELDS: She's on her way. She's
  15 downstairs. So we can proceed, and she will join us when
  16 she can.
  17         UNIDENTIFIED SPEAKER: She's on her way.
  18         REPRESENTATIVE FIELDS: Oh, she's on her way?
  19 Okay.
  20         THE CHAIRMAN: She is? Okay.
  21         We'll wait a couple of minutes.
  22         THE CHAIRMAN: Members of the public,
  23 Representative Fields, we'll wait for a couple of minutes
  24 and --
  25         REPRESENTATIVE FIELDS: If not, I can proceed.
  0010
   1         THE CHAIRMAN: And then if -- if Representative
   2 McCann is delayed longer than that, you'd like to
   3 proceed --
   4         REPRESENTATIVE FIELDS: Yes.
   5         THE CHAIRMAN: -- in her absence?
   6         REPRESENTATIVE FIELDS: Yes, please.
   7         THE CHAIRMAN: Very good, Representative
   8 Fields.
   9         THE CHAIRMAN: Welcome, Representative McCann.
  10         REPRESENTATIVE McCANN: Thank you.
  11         THE CHAIRMAN: And, Representative Fields,
  12 welcome to the Judiciary Committee.
  13         REPRESENTATIVE FIELDS: Thank you.
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  15          Representatives Fields and McCann, please tell
  16 us about House Bill 1229.
  17          REPRESENTATIVE FIELDS: Thank you, Mr. Chair,
  18 and members of the Judiciary Committee.
  19          And also thank you for providing the opportunity
  20 to present to you House Bill 1229, which will require
  21 background checks on all guns transferred in the state of
  22 Colorado.
  23          Members, I ask that you join me, along with 80
  24 percent of all the people in Colorado, who have said that
  25 we need to close this gun show -- this gun loophole today.
  0011
   1         It is estimated that 40 precent of all guns
   2 purchased occur with a background check -- without a
   3 background check. This allows hundreds of thousands of
   4 guns to get in the hands of criminals each year. A recent
   5 undercover investigation showed that 62 percent of private
   6 sellers on the Internet are willing to sell to someone
   7 who's actually admitted that they could not pass a
   8 background check.
   9         According to a national survey of incarcerated
  10 individuals, 80 percent of those who use a handgun in a
  11 crime acquired it from a private seller.
  12          The private-sale loophole is just a way for
  13 criminals to skirt around our current background check, and
  14 it contributes to the murders of 34 Americans every single
  15 day.
  16          Background checks are the only systematic way to
  17 stop felons, domestic abusers, and the seriously mentally
  18 ill and other dangerous people from buying firearms.
  19          In 2000, after Columbine in Colorado, we voted
  20 to close the gun show loophole by a 70 percent margin.
  21 Before any transfer of a gun originating at a gun show, the
  22 buyer must first pass a CBI background check.
  23          We also know that states that have closed the
  24 private state loopholes have lower rates of domestic
  25 violence, killings, and suicides committed with a firearm.
  0012
   1 In states that require a background check for every handgun
   2 sale, 30 percent or fewer women are shot because of this
   3 requirement of having a background check.
   4         House Bill 1229 will require private sellers to
   5 perform a background check before a sale is completed.
   6 House Bill 1229 will require that a background check be
   7 conducted through a licensed dealer. House Bill 1229 does
   8 provide exemptions for certain situations, like temporarily
   9 loaning a firearm during hunting and sporting events,
  10 provides exceptions for gifts to the immediate family. It
  11 also provides an exception for the transfer of a firearm
  12 due to self defense. House Bill 1229 also has penalties
  13 associated with not being in compliance with the law if it
  14 passes.
  15          So, Mr. Chair, I do have several witnesses
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  17 which will require background checks on all gun transfers
  18 in the state of Colorado.
  19         THE CHAIRMAN: Representative McCann.
  20         REPRESENTATIVE McCANN: Thank you, Mr. Chair.
  21         And I join with my colleague, Representative
  22 Fields, in presenting this bill to you today to close what
  23 is a pretty obvious and distressing loophole in our gun
  24 show background check law.
  25         Just think about it for a minute. If you were
  0013
   1 -- if you wanted to get a gun and you knew you wouldn't be
   2 able to pass the background check that we currently
   3 require, either because of conviction or a domestic
   4 violence incident or some adjudication of mental
   5 deficiency, what would you do? You would go to a private
   6 seller. You would either go on the Internet, or you would
   7 find a private seller through an advertisement, through a
   8 magazine. You would go to the private seller or the
   9 Internet, and you would get your gun.
  10         So what's the point of having the background
  11 check if we have this enormous loophole through which those
  12 who cannot pass a background check can jump?
  13         As Representative Fields has noted, in states
  14 that have background -- complete background checks, there
  15 are fewer deaths by firearm. The whole point of the
  16 background check is to prevent those who should not have a
  17 gun from obtaining one.
  18         Many people here today are responsible gun
  19 owners who have purchased their guns through licensed
  20 dealers or at a gun show, who went through a background
  21 check willingly and obtained their weapon. And they tell
  22 you that they do not object -- or they support responsible
  23 gun ownership, and that's what we are supporting here
  24 today, members of the committee.
  25         We are saying those who can pass the background
  0014
   1 check are entitled to possess a gun. And what you will be
   2 able to do here today is say to our community we value
   3 public safety such that we will make sure that everyone who
   4 purchases a gun has to go through a background check, not
   5 just the ones who choose to buy through a licensed dealer
   6 or at a gun show. Because believe me, people who know they
   7 can't pass a background check are going to seek other
   8 methods of getting their guns. And the harder we make that
   9 for them to do, the more we are supporting public safety.
  10         It is our obligation as legislators to support
  11 the safety of your communities. What this bill does is
  12 simply say, if you are responsible, if you don't have
  13 convictions, if you haven't been involved in domestic
  14 violence, or haven't been adjudicated mentally defective,
  15 you can purchase a gun, but you have to go through the
  16 background check like everyone else does.
  17         So what we want to do is make sure those who
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  19 current background checks that we have, extending that to
  20 any sale of guns here in Colorado. It's a public safety
  21 issue.
  22          Thank you.
  23          THE CHAIRMAN: Thank you, Representative
  24 McCann.
  25          Are there any questions for the proponents of
  0015
   1 the bill from members of the committee?
   2         Representative Lee.
   3         REPRESENTATIVE LEE: Thank you, Mr. Chairman.
   4         Representative McCann or Fields, can you tell
   5 us how many guns are sold in the state of Colorado and what
   6 percentage of those are acquired through -- through gun
   7 shows and through private sellers? Do we have information?
   8         THE CHAIRMAN: Representative Fields.
   9         REPRESENTATIVE FIELDS: Thank you, Mr. Chair,
  10 and thank you, Representative Lee.
  11          I have some here that says 40 percent of guns
  12 that are sold nationally are sold by a private seller. So
  13 that's not a local statistic, that's just a national
  14 figure.
  15          THE CHAIRMAN: Any other questions for the
  16 proponents?
  17          Representative Lee.
  18          REPRESENTATIVE LEE: Thank you, Mr. Chairman.
  19          And do we know of those guns that are used in
  20 crimes? Can you elaborate on the statistics with respect
  21 to the acquisition of guns used in crimes?
  22          REPRESENTATIVE FIELDS: I don't have --
  23          THE CHAIRMAN: Representative Fields.
  24          REPRESENTATIVE FIELDS: Thank you, Mr. Chair.
  25          I'm sorry, Representative Lee. I do not have
  0016
   1 those statistics, but we may have a witness here that can
   2 provide that kind of data.
   3         THE CHAIRMAN: Very good.
   4         Seeing no further -- oh, Representative Wright.
   5         REPRESENTATIVE WRIGHT: Thank you, Mr. Chair.
   6         Representatives, I was wondering if you could
   7 tell us -- I have a twofold question.
   8         Have you looked at data from other states that
   9 have established universal background checks, and is there
  10 a corresponding decrease in violent crime?
  11          And secondly, because each of us has taken an
  12 oath to uphold the constitution of the state of Colorado, I
  13 was wondering if you had read Article 2, Section 13, of the
  14 Colorado Constitution in which it says, "The right of no
  15 person" -- N-O person -- "to keep and bear arms in defense
  16 of his home, person, and property or in aid of a civil
  17 power when thereto legally summoned shall be called into
  18 question, but nothing herein contained shall be construed
  19 to justify the practice of carrying concealed weapons."
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  21 carry. So can you tell me how you believe this to be
  22 constitutional?
  23          Thank you.
  24          THE CHAIRMAN: Representative Fields or McCann,
  25 if you'd like to answer that, please feel free. If you'd
  0017
   1 like to wait for a lawyer to testify, that's fine as well.
   2 Whichever -- however you would like to proceed.
   3         Repetitive Fields.
   4         REPRESENTATIVE FIELDS: Thank you, Mr. Chair.
   5         And Representative McCann is going to do Part 2,
   6 and I'm going to do Part 1.
   7         Do you want to go with Part 2 first?
   8         THE CHAIRMAN: Representative McCann.
   9         REPRESENTATIVE McCANN: Thank you.
  10          Thank you, Representative Wright.
  11          It's my belief that reasonable restrictions can
  12 be placed on constitutional rights, and that has -- that
  13 has been upheld through several court cases, including the
  14 more recent Heller case by the United States Supreme Court.
  15          Constitution rights not -- constitutional rights
  16 can be limited by reasonable restrictions by government
  17 action.
  18          THE CHAIRMAN: Representative Gardner.
  19          REPRESENTATIVE GARDNER: Yes. Thank you.
  20          So -- just so we are clear, Representative
  21 McCann, this is a restriction in your mind upon the
  22 exercise of one's Second Amendment right; is that correct?
  23          THE CHAIRMAN: Representative --
  24          REPRESENTATIVE McCANN: It's a reasonable
  25 regulation of the exercise of the Second Amendment.
  0018
   1         THE CHAIRMAN: Representative Gardner.
   2         REPRESENTATIVE GARDNER: Yes.
   3         Thank you, Representative McCann. And you and I
   4 are both lawyers, so we can do this back and forth.
   5         Let me ask you: Whether or not it's
   6 reasonable, I think you and I can disagree, but is this or
   7 is this not a restriction upon the exercise of one's Second
   8 Amendment right?
   9         REPRESENTATIVE McCANN: It's a reasonable
  10 regulation, just as our current background checks are.
  11          THE CHAIRMAN: Okay. Members of the audience,
  12 we are trying to have a policy-making discussion here that
  13 educates, enlightens, elucidates everybody's views. It is
  14 not helped at all if it starts to be treated like a
  15 theatrical performance. It is not. Please don't do that.
  16          Representative McCann.
  17          REPRESENTATIVE McCANN: Thank you, Mr. Chair.
  18          It is a reasonable regulation, just as our
  19 current backgrounds checks have been upheld as being a
  20 reasonable regulation on the ability of people to own
  21 firearms.
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               THE CHAIRMAN:                  Document: 01019371763 Date Filed: 01/16/2015
                                      Thank you.                                                                       Page: 10
  23           And Representative Wright -- Gardner.
  24           REPRESENTATIVE GARDNER: Thank you, Mr. Chair.
  25           And let me -- let me echo your admonition to
  0019
   1 those in the audience that I understand the emotions run
   2 high, and I appreciate your asking people to observe the
   3 dignity of this -- of this hearing.
   4          So thank you, Mr. Chair, and I -- I echo your
   5 request. And those who might agree with me, you do not
   6 help me by encouraging me on vocally. But let me just
   7 close, and you can respond or not respond.
   8          I don't agree with you that it is a reasonable
   9 regulation or restriction. And I think you conceded in
  10 your -- in your response that it is nevertheless a
  11 restriction. Whether or not it's reasonable I think is for
  12 courts to decide.
  13           THE CHAIRMAN: Representative Salazar.
  14           REPRESENTATIVE SALAZAR: I know that -- thank
  15 you, Mr. Chair.
  16           I know that Representative Wright did ask the
  17 question by reading the constitution, and just in terms of
  18 maybe providing a buffer for both is that the Colorado
  19 Supreme Court back in 1979 said very specifically that
  20 there is no absolute right to bear arms, that there can be
  21 a restriction by the state's valid exercise of its police
  22 powers. That's what the Supreme Court said.
  23           So the question here today is: Is this
  24 reasonable? So with what Ms. -- with what Representative
  25 McCann had said, is that there is no absolute right to bear
  0020
   1 arms, which is supported by what the Supreme Court has
   2 said. It's just that today is about the reasonable
   3 restriction of it, and that's what this debate is all
   4 about, and that's what this bill is about.
   5          And that's -- so if we can all agree on that
   6 principle, that the Supreme Court has already said it is
   7 not an absolute right, that it can be reasonably
   8 restricted, then I think we can probably move on this on a
   9 little bit -- a little bit more smoothly.
  10           Thank you, Mr. Chair.
  11           THE CHAIRMAN: Thank you, Representative
  12 Salazar.
  13           Let me just state that I think there is a right
  14 in the First Amendment to freedom of speech, but it is well
  15 known that that does not give you the right to shout fire
  16 in a crowded theater. There is a right of assembly,
  17 freedom of assembly, but that does not give everyone the
  18 right to assemble wherever and whenever they choose without
  19 a permit in a way that is considered against the public
  20 interest.
  21           With all constitutional rights, there are --
  22 none of them are absolute. They are subject to reasonable
  23 restrictions of time, place, and manner, and I think that
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  24 is trueAppellate    Case: 14-1290
              of all constitutional           Document:
                                     rights. The           01019371763
                                                 question isn't                       Date Filed: 01/16/2015           Page: 11
  25 one of absolutism, but it is absolute reasonableness. And
  0021
   1 any restrictions on any rights must be reasonable, and
   2 that's my understanding of the law. And I'd just like to
   3 state that for the record.
   4         Representative Gardner.
   5         REPRESENTATIVE GARDNER: Yes. Thank you,
   6 Mr. Chair.
   7         Well, that's an interesting observation you
   8 make in analyzing to the First Amendment and reasonable
   9 restrictions of time, place, and manner, which causes me to
  10 think -- and I wonder if Representative McCann or yourself
  11 might want to consider and respond to the question of the
  12 fact that under the First Amendment -- since it's been
  13 raised here. I didn't raise it -- courts are very
  14 reluctant to approve prior restraint.
  15          In other words, to tell people they can't speak
  16 until they've spoken. And I wonder if my analogy it's not
  17 the same here because what we are doing is imposing a prior
  18 restraint upon one's right to keep an bear arms.
  19          So that whereas, in order to speak, I can -- I
  20 can speak anywhere, and unless there's something
  21 particularly compelling, I'm not restrained. You know, I
  22 might be punished afterwards.
  23          So isn't a background check, in essence, a
  24 prior restraint upon my right to keep and bear arms,
  25 assuming I'm a law abiding citizen?
  0022
   1         THE CHAIRMAN: Representative McCann, if you'd
   2 like to answer and continue to debate the First Amendment
   3 now. We've moved from the Second to the First. If you'd
   4 like to continue to discuss the First Amendment, please
   5 feel free, but if you'd like to proceed to witnesses on
   6 this particular bill, I think that might be the best thing
   7 to do.
   8         REPRESENTATIVE McCANN: Just very briefly.
   9 Thank you, Mr. Chair.
  10          I think it's important to remember that, as the
  11 Chair has pointed out, with respect to the amendment there
  12 is the ability to put reasonable regulations on them, just
  13 as, for example, when people want to have a rally or march,
  14 they have to get a permit to do that. That is a lawful
  15 exercise of government power that does touch on First
  16 Amendment right for assembly.
  17          It's a public safety issue, and the government
  18 is entitled to say, You can march, but you have to stay
  19 within this particular area, you have to have a permit. We
  20 already have a requirement that people get permits to carry
  21 concealed weapons. Again, a reasonable restriction, if you
  22 want to call it that, reasonable regulation on the exercise
  23 of the Second Amendment.
  24          And we already have background checks here in
  25 Colorado for licensed firearm dealers and gun shows. All
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  0023      Appellate Case: 14-1290 Document: 01019371763                             Date Filed: 01/16/2015           Page: 12
   1 this bill is doing is saying those reasonable background
   2 checks, which have already been upheld, will be extended to
   3 all gun sales, including private sales, not just those at a
   4 gun show or among a licensed dealer.
   5         So we're not really creating any new
   6 restrictions. This is -- these are regulations we already
   7 have in our law here in Colorado. So we're simply
   8 expanding that to include private sales.
   9         THE CHAIRMAN: Thank you, Representative McCann.
  10          And, Representative Gardner or Representative
  11 Wright, if it's directly to the provisions of the bill. I
  12 think we should really stick to that because otherwise we
  13 really will be here not only all day, but all night and
  14 tomorrow as well. So I would ask you to stick to the
  15 provisions of the bill, if you would, sir.
  16          Thank you.
  17          Representative Gardner.
  18          REPRESENTATIVE GARDNER: Mr. Chair, I will
  19 comment, and then I -- I will move on.
  20          I think we ought to stick to the provisions of
  21 the bill. The sponsors and, in fact, the Chair, with all
  22 due respect --
  23          THE CHAIRMAN: Yes.
  24          REPRESENTATIVE GARDNER: -- took us down the
  25 road of the First Amendment and the comparison. And if you
  0024
   1 want to make the comparison, then I would make the
   2 comparison that, indeed, when I speak in my home, when I
   3 speak on the street, I'm not subject to a prior restraint,
   4 nor do I need a license to do so or do I need a background
   5 check to do so.
   6         If -- if I'm willing to entertain some
   7 restrictions for concealed weapons and so forth, that may
   8 be, and that may be angulous to getting a parade permit.
   9         But I would submit to you that this bill and the
  10 provisions of this bill run a good deal deeper than that.
  11 But since you want to go to the provisions of the bill, let
  12 me -- let me go to the provisions of the bill,
  13 Representative Fields and McCann, and talk about perhaps
  14 what is the elephant in the room.
  15          We had a terrible tragedy in Sandy Hook,
  16 Connecticut, and we had a terrible tragedy in Aurora. And
  17 I'm looking at your bill, and I'm thinking about rules of
  18 reasonableness and whether or not it furthers public safety
  19 and so forth and -- and I must ask: Would this bill have
  20 prevented either one of those perpetrators, alleged
  21 perpetrators, either of them from -- under the
  22 circumstances and facts as we know them, would it have
  23 prevented them from getting those weapons?
  24          THE CHAIRMAN: Representative Fields.
  25          REPRESENTATIVE FIELDS: Thank you, Mr. Chair
  0025
   1 and Representative Gardner.
                                                                                                    LEG HX 000487                   4402
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   2        Appellate
              You know,Case:     14-1290
                          it's hard           Document:
                                    to talk about         01019371763
                                                  what should                         Date Filed: 01/16/2015           Page: 13
   3 have, could have happened. You know, the focus of this
   4 bill is trying to keep guns out of the hands of dangerous
   5 people who may be domestic abusers, who may be mentally
   6 ill. So this is designed to close a loophole because we
   7 know that if you are a convicted felon, the way to get
   8 around that -- that process, that background check, is to
   9 go buy a gun from a private seller.
  10          So this bill is about closing a loophole to
  11 protect women, to protect those that are in violent
  12 relationships, and also to keep guns out of the hands of
  13 folks who may be mentally ill. So this is not to address
  14 the -- the situations that had happened in Aurora or Sandy
  15 Hook, but I think this is designed to save lives, because
  16 we know that backgrounds checks will present a denial for
  17 people if they don't meet the qualifications to be able to
  18 have a gun.
  19          So this is about saving lives, and it's about
  20 closing a loophole to prevent those who shouldn't have guns
  21 getting access to guns.
  22          THE CHAIRMAN: Representative Gardner.
  23          REPRESENTATIVE GARDNER: Yes. And thank you.
  24 And, Mr. Chair, I am addressing the provisions of the bill.
  25          And I'm -- I asked a fairly direct question that
  0026
   1 I was looking for a fairly honest yes or no about. Those
   2 -- those facts and circumstances of those two issues that
   3 if anyone seriously says doesn't -- hasn't driven this
   4 debate, I think that's disingenuous. I hope that's not
   5 what someone is saying because it certainly has driven the
   6 debate.
   7          But I don't see where the facts, as they are
   8 commonly known of either of those incidents, would have
   9 prevented -- that this bill would have prevented either one
  10 of those perpetrators from having access to firearms under
  11 the circumstances as they were.
  12          THE CHAIRMAN: Representative Wright.
  13          REPRESENTATIVE WRIGHT: Thank you, Mr. Chair.
  14          And I apologize. Prior to going down the rabbit
  15 hole of the First Amendment discussion, I did have a
  16 two-part question. With due respect, I was waiting for the
  17 answer to the second part of my question from
  18 Representative Fields.
  19          And, Representative Fields, I will just make
  20 this comment: My fear here is that you may be well
  21 intentioned with this legislation; however, the loophole
  22 that exists is in the heart of man, and that is a loophole
  23 that we're never going to be able, as a government body, to
  24 fill or close.
  25          I would hope that you could answer my second
  0027
   1 question with statistical data.
   2          Thank you.
   3          REPRESENTATIVE FIELDS: Can he restate the
                                                                                                    LEG HX 000488                   4403
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            Appellate Case: 14-1290 Document: 01019371763
   4 question?                                                                        Date Filed: 01/16/2015           Page: 14
   5         THE CHAIRMAN: Representative Fields.
   6         REPRESENTATIVE FIELDS: Thank you, Mr. Chair.
   7         Can you restate your question?
   8         REPRESENTATIVE WRIGHT: Yes. Thank you,
   9 Representative Fields.
  10         I was asking if you could tell me what the
  11 statistical data was that would support this legislation
  12 when comparing with other states that have passed universal
  13 background checks.
  14         THE CHAIRMAN: Representative Fields.
  15         REPRESENTATIVE FIELDS: Mr. Chair.
  16         What I'm going to refer to is to when we closed
  17 the gun show loophole. When we closed the gun show
  18 loophole in Colorado, we ranked 17th as the largest source
  19 of guns that were later found at a crime scene in other
  20 states.
  21         After closing the gun show loophole, we ranked
  22 27th, and by 2009 we ranked 32nd. And then by 2009, we
  23 ranked 32nd.
  24         So when you look at the trend here, because we
  25 closed that loophole and made sure that if you bought a gun
  0028
   1 at a gun show, you had to have a check, it kind of closed
   2 that loophole for guns being used in crimes out of state.
   3 So that gives direct evidence that by closing the loophole
   4 for gun shows did have an impact on guns being used at the
   5 scene in other states.
   6         THE CHAIRMAN: Thank you, Representative
   7 Fields.
   8         Representative Wright for a follow up and --
   9         REPRESENTATIVE WRIGHT: Thank you, Mr. Chair.
  10         And I was just wondering, Representative
  11 Fields, if you could tell me where you got that data? Are
  12 there any handouts in front of us now that might have that
  13 information?
  14         REPRESENTATIVE FIELDS: I can get --
  15         THE CHAIRMAN: Representative Fields.
  16         REPRESENTATIVE FIELDS: Thank you, Mr. Chair.
  17 Sorry about that.
  18         I can get you that source. I'll look for it and
  19 get it to you.
  20         REPRESENTATIVE WRIGHT: Thank you.
  21         THE CHAIRMAN: We will now proceed to the
  22 witness testimony phase. And as I mentioned at the outset,
  23 we will allow the first two witnesses, both proponents and
  24 opponents, a few more minutes than the two than we will
  25 allow generally.
  0029
   1         So as I understand it, Representatives McCann
   2 and Fields, you would like to hear from Director Sloan of
   3 the CBI?
   4         REPRESENTATIVE McCANN: Yes.
   5         THE CHAIRMAN: I would ask Director Sloan to
                                                                                                    LEG HX 000489                   4404
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   6 come Appellate
            forward, if Case:   14-1290
                         you would,  sir.    Document: 01019371763                    Date Filed: 01/16/2015           Page: 15
   7         Welcome, Mr. Director.
   8         DIRECTOR SLOAN: Thank you, Mr. Chair.
   9         THE CHAIRMAN: Please state your name for the
  10 record, who you are, and proceed with your testimony, sir.
  11          DIRECTOR SLOAN: Thank you, Mr. Chair, and
  12 members of the Judiciary Committee.
  13          My name is Ron Sloan. I'm the director of the
  14 Colorado Bureau of Investigation, and I am present here
  15 today to provide support on behalf of the Colorado
  16 Department of Public Safety and the Colorado Bureau of
  17 Investigation with regards to House Bill 1229.
  18          And I will really briefly summerize some
  19 issues. And I know that there are time constraints and
  20 there is a lot of testimony that you are going to take
  21 today.
  22          But if you would bear with me, what I thought
  23 might be helpful for the committee again is to hear just a
  24 brief overview on what CBI does with respect to the current
  25 law and how this particular bill and the requirements in
  0030
   1 this bill would -- in our opinion would advance the goal of
   2 preventing individuals who are prohibited by law to possess
   3 a firearm from receiving a firearm through the transfer of
   4 a firearm.
   5         Currently all transfers that are done through a
   6 licensed dealer, licensed firearm dealers -- and I'll refer
   7 to them as FFLs. That's federal firearms licensees -- and
   8 at gun shows in Colorado require a background check on the
   9 transferee, the individual receiving the firearm or
  10 firearms. And that background check attempts to determine
  11 whether they are legally prohibited -- again, lawfully and
  12 legally prohibited from processing a firearm. That's what
  13 the current law does.
  14          In the prior calendar year, in calendar year
  15 2012, 342,302 transfers -- and that isn't firearms. That's
  16 transfers. In a number of those transfers, there's
  17 multiple firearms that are being transferred -- were run
  18 through the background process that currently exists at CBI
  19 InstaCheck.
  20          The databases that are checked in order to try
  21 to determine whether there are prohibitors for the
  22 individual transferee to possess a firearm in Colorado --
  23 and nationwide motor vehicle files to verify
  24 identification, Colorado Crime Information Center, the
  25 court's Colorado Judicial Database PAS, and those are
  0031
   1 unique to Colorado. Colorado InstaCheck checks those.
   2         And then there are four other databases that
   3 FBI NCIC checks, and we also check those. That's the
   4 National Crime Information Center; the Interstate
   5 Identification Index, referred to as triple I; the NCIC
   6 index; and the ICE database, the Immigration and Custom
   7 Enforcement database.
                                                                                                    LEG HX 000490                   4405
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   8        Appellate
             The firearm   Case:  14-1290
                             prohibitors       Document:
                                         that we are looking01019371763
                                                             for                      Date Filed: 01/16/2015           Page: 16
   9 when we check those currently with FFLs and at gun shows --
  10 and I won't read through all of them. There are about 15
  11 items in law, either in federal code or in Colorado
  12 statute, that prohibit an individual from possessing a
  13 firearm.
  14          And again, I won't take your time. If you have
  15 questions about them, I can run through what those are.
  16 But there are in-statute prohibitors for folks to possess a
  17 firearm.
  18          In Colorado InstaCheck, by checking other
  19 databases other than NCIC, there are firearm prohibitors
  20 that we pick up that FBI NCIC doesn't. And some of the
  21 examples of that are protection orders, domestic protection
  22 orders that are not in the National Crime Information
  23 Center, felony juvenile adjudications, which are not in the
  24 National Crime Information Center, domestic violence
  25 convictions that are not in NCIC, fugitives of justice that
  0032
   1 are not in NCIC, and felony convictions that are not in
   2 NCIC. That's currently the process that's used.
   3         House Bill 1229 would, in fact, require that
   4 all firearms transfers, whether they are through an FFL or
   5 a gun show or through private sales or over the Internet,
   6 would undergo the identical background check on the
   7 transferee, the individual receiving the firearm or
   8 firearms.
   9         This is accomplished in the bill through those
  10 private sales to have to be done through a federally
  11 licensed firearms dealer. It's an identical process. Then
  12 the FFL would make the request to CBI InstaCheck for the
  13 background check.
  14          It -- it's a technical process that occurs right
  15 now at gun shows. Private sales at gun shows work this
  16 exact same process as articulated in House Bill 1229. This
  17 would just extend that process, working through on FFL for
  18 the backgrounds check.
  19          It will add value. Currently in Colorado our
  20 experience is, in the last years, that between 2 to 2.3
  21 percent -- 2.5 percent of all firearms transactions
  22 currently in the last three years indicate lawfully
  23 deniable prohibitors, factors, for individuals accepting
  24 the transfer of a firearm through FFLs or gun shows.
  25          We believe that universal background checks of
  0033
   1 all gun sales will at least approximate that, if not
   2 exceed, the number of identified prohibited individuals
   3 that are proceeding to receive a firearm as a transferee.
   4         Very important in House Bill 1229 are the
   5 provisions that encourage compliance, if you will. There
   6 are sanctions and consequences if compliance is not
   7 undertaken. There's civil liability that's articulated in
   8 the bill. Class 1 misdemeanor if an lawful transfer takes
   9 place without going through the background process, and a
                                                                                                    LEG HX 000491                   4406
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            Appellate
  10 conviction          Case:
                   for that Class14-1290       Document:
                                   1 misdemeanor           01019371763
                                                    would make that                   Date Filed: 01/16/2015           Page: 17
  11 transferee and also the transferor, if they had knowledge
  12 of it and were convicted of it, would be prohibited for two
  13 years from possessing a firearm.
  14          Also in the bill is a very important provision
  15 as it relates to mental health adjudications. Currently
  16 mental heath adjudications -- it's referred to under the
  17 Federal Code as mental deficiency -- are prohibited from
  18 possessing a firearm.
  19          Currently we do get that information.
  20 Problematically CBI InstaCheck and FBI NCIC from Colorado
  21 and elsewhere throughout the United States gets that
  22 information six months delayed. It is batch processed and
  23 sent to FBI NCIC, uploaded to FBI NCIC, and then it is
  24 accessible.
  25          So there's a six-month delay from a possible
  0034
   1 total of six-month delay from the time of the adjudication
   2 as a mentally deficient under federal law, mental health
   3 adjudication under our law.
   4         This bill would allow -- make it permissible for
   5 that information to be transmitted electronically realtime
   6 soon after that adjudication is done in the judicial
   7 process directly to CBI. So we would know in realtime
   8 whether or not that individual was prohibited to possess a
   9 firearm again by law.
  10          It also builds into the process of mental health
  11 adjudication a restoration-of-rights provision, so that if
  12 an individual has been adjudicated mentally ill, they have
  13 a process they can go through with the court system here in
  14 Colorado and get that prohibitor removed, lawfully removed,
  15 and then realtime transmission of that information to CBI
  16 so it's no longer a prohibitor for those individuals to
  17 possess a firearm.
  18          So that's -- that's the gist of the testimony I
  19 wanted to provide as to how the technical process would
  20 occur, and I would be willing to take any questions.
  21          THE CHAIRMAN: Thank you, Director Sloan.
  22          Representative Lee.
  23          REPRESENTATIVE LEE: Thank you, Mr. Chairman.
  24          And thank you, Director Sloan, for giving us an
  25 overview of how the Colorado system works. It's -- it
  0035
   1 seems like a fairly comprehensive regulatory scheme applied
   2 to people who are attempting to buy weapons. I want to
   3 make sure I understand it correctly.
   4         Is it your testimony, sir, that prohibitions
   5 under federal law would also be prohibitions against a
   6 purchase under Colorado law?
   7         THE CHAIRMAN: Director Sloan.
   8         DIRECTOR SLOAN: Mr. Chair, thank you.
   9         Representative Lee, that's correct.
  10 Prohibitions under federal law are codified under the
  11 statutes in the Colorado Revised Statutes to identify them
                                                                                                    LEG HX 000492                   4407
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  12 as prohibitors   toCase:
                         possess14-1290
                                 a firearm inDocument:   01019371763
                                              Colorado also.                          Date Filed: 01/16/2015           Page: 18
  13          THE CHAIRMAN: Representative Lee.
  14          REPRESENTATIVE LEE: Thank you, Mr. Chairman.
  15          So it's my understanding, then, that a person
  16 who is an unlawful user or addicted to a controlled
  17 substance, which is prohibited to purchase a firearm under
  18 federal law, would be prohibited under Colorado law as
  19 well?
  20          DIRECTOR SLOAN: I believe that's -- I'm sorry.
  21          THE CHAIRMAN: Director Sloan.
  22          DIRECTOR SLOAN: I believe that's true. Let me
  23 take a quick look.
  24          Yes. An unlawful user of or addicted to any
  25 controlled substance is -- is articulated in the U.S. Code.
  0036
   1         THE CHAIRMAN: Representative Lee.
   2         REPRESENTATIVE LEE: I have a couple of others
   3 I'd like to ask the witness if I may, Mr. Chairman.
   4         THE CHAIRMAN: Representative Lee, go ahead.
   5         REPRESENTATIVE LEE: How about a person who is
   6 a fugitive from justice?
   7         THE CHAIRMAN: Director Sloan.
   8         DIRECTOR SLOAN: Yes.
   9         REPRESENTATIVE LEE: How about a person who has
  10 been adjudicated has a mental defective or committed to a
  11 mental institution?
  12          THE CHAIRMAN: Director Sloan.
  13          DIRECTOR SLOAN: Mr. Chair.
  14          Yes.
  15          REPRESENTATIVE LEE: How about --
  16          THE CHAIRMAN: Representative Lee.
  17          REPRESENTATIVE LEE: Thank you, sir.
  18          How about a person who has been illegally or is
  19 unlawfully in the United States?
  20          THE CHAIRMAN: Director Sloan.
  21          DIRECTOR SLOAN: Yes.
  22          THE CHAIRMAN: Representative Lee.
  23          REPRESENTATIVE LEE: Thank you, Mr. Chairman.
  24          How about a person who has been discharged from
  25 the United States Army under dishonorable conditions?
  0037
   1 Would that person be prohibited from obtaining a firearm in
   2 Colorado under this bill?
   3         THE CHAIRMAN: Director Sloan.
   4         DIRECTOR SLOAN: Yes, Representative Lee.
   5         THE CHAIRMAN: Representative Lee.
   6         REPRESENTATIVE LEE: Thank you, sir.
   7         And how about a person who is subject to a
   8 court order that restrains that person from harassing,
   9 stalking, or threatening an intimate partner or a child of
  10 such intimate partner, would that person be prohibited
  11 under this law from obtaining a firearm?
  12          THE CHAIRMAN: Director Sloan.
  13          DIRECTOR SLOAN: Yes.
                                                                                                    LEG HX 000493                   4408
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                                      LEE: And    --       01019371763                Date Filed: 01/16/2015           Page: 19
  15         THE CHAIRMAN: Representative Lee.
  16         REPRESENTATIVE LEE: Thank you, Mr. Chairman.
  17         And how about a person who has been convicted
  18 in a court of a misdemeanor crime of domestic violence?
  19 Would that person also be prohibited?
  20         THE CHAIRMAN: Director Sloan.
  21         DIRECTOR SLOAN: Yes.
  22         REPRESENTATIVE LEE: And one more, if I may.
  23         THE CHAIRMAN: Representative Lee.
  24         REPRESENTATIVE LEE: Thank you, Mr. Chairman.
  25         How about a juvenile who has been adjudicated a
  0038
   1 delinquent for a crime, which if committed by an adult
   2 would be a felony?
   3         THE CHAIRMAN: Director Sloan.
   4         DIRECTOR SLOAN: Mr. Chair.
   5         As just a clarification on that, it could be an
   6 adult who was adjudicated when they were a juvenile. But
   7 the answer to that -- the short answer is yes. A felony
   8 adjudication as a juvenile would be a prohibitor to possess
   9 a firearm.
  10         REPRESENTATIVE LEE: Thank you, Director Sloan.
  11         THE CHAIRMAN: Representative McLachlan.
  12         Sorry. Actually, Representative Gardner, had
  13 you asked for the -- to be recognized earlier?
  14         REPRESENTATIVE GARDNER: I have questions for
  15 the director whenever my term comes, Mr. Chair.
  16         THE CHAIRMAN: Very good.
  17         Representative McLachlan.
  18         REPRESENTATIVE McLACHLAN: Thank you,
  19 Mr. Chairman.
  20         Director Sloan, would this background check,
  21 which is purposed by this legislation, bar the possession
  22 of a weapon by a law-abiding citizen?
  23         THE CHAIRMAN: Director Sloan.
  24         DIRECTOR SLOAN: Thank you, Mr. Chair.
  25         If the citizen did not qualify for a denial as
  0039
   1 a prohibited individual to possess the firearm, the answer
   2 is yes.
   3         REPRESENTATIVE McLACHLAN: Thank you.
   4         THE CHAIRMAN: Representative Gardner, and then
   5 we will go to Representative Lawrence.
   6         Representative Gardner.
   7         REPRESENTATIVE GARDNER: Thank you, Mr. Chair.
   8         Director Sloan, thank you so much for your work
   9 on behalf of the people of Colorado. As I said in
  10 committee before, I think there's no one in Colorado more
  11 dedicated to public safety and the well-being of our
  12 citizens than yourself.
  13         Since you are going to administer this bill and
  14 this legislation if it is passed, I wanted to make sure
  15 that we had a common understanding and also get on the
                                                                                                    LEG HX 000494                   4409
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  16 recordAppellate    Case:
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                                  provisions of             01019371763
                                                this bill actually                    Date Filed: 01/16/2015           Page: 20
  17 require.
  18          And I'm looking at pages 4 and 5 of the bill
  19 where there are exceptions as to who has to get a
  20 background check and when transfers -- when there are
  21 exceptions. And it's interesting to me on the one hand
  22 that there are exceptions because if -- if a background
  23 check is a really, really good thing, then it seems like we
  24 probably ought to do them all the time, and if there are
  25 reasons for exceptions, then there ought to be exceptions
  0040
   1 that don't sacrifice public safety, and they ought to be
   2 reasonable and rational.
   3         And the one I'm looking at is on page 5 under
   4 subparagraph B, a transfer that's a bona fide gift between
   5 immediate family, which are limited to spouses, parents,
   6 children, siblings grandparents, grandchildren.
   7         First of all, the bona fide gift provision --
   8 and just kind of follow through with me here. You know, my
   9 -- my brother lives in Texas, a state which has wholly a
  10 different attitude toward firearms apparently than our own
  11 state. And he has -- he has a fair number of weapons. He
  12 is a collector, and some of his weapons are worth a good
  13 deal of money, and from time to time I've looked at them.
  14          Assuming he lived here in Colorado and had this
  15 collection, which would be perfectly legal, if -- if I were
  16 to trade him one of my firearms for one of his firearms,
  17 would I need to do a background check?
  18          THE CHAIRMAN: Director Sloan.
  19          DIRECTOR SLOAN: Thank you, Mr. Chair.
  20          If I understand correctly the way that you posed
  21 the question, if House Bill 1229 were in effect, you would
  22 need to effect that transfer through an FFL.
  23          THE CHAIRMAN: Representative Gardner.
  24          REPRESENTATIVE GARDNER: Okay. On the other
  25 hand, if one day he said, Let me give you a gift, Bob, and
  0041
   1 he handed me that firearm and a week later I said, Oh, by
   2 the way, I have a gift for you, and I hand him another
   3 firearm, would we need background checks for that transfer?
   4         THE CHAIRMAN: Director Sloan.
   5         DIRECTOR SLOAN: Mr. Chair.
   6         I would have to go through the circumstances
   7 that you articulated. To begin with, if you're saying that
   8 he is still a resident in Texas --
   9         REPRESENTATIVE GARDNER: Well, assuming he's in
  10 Colorado.
  11          DIRECTOR SLOAN: Okay. That's why I asked the
  12 question. I don't know exactly what the circumstances
  13 would be.
  14          Again, as it relates to House Bill 1229, if this
  15 was in effect, if he was your brother and he resided here
  16 in Colorado, if that's what you're saying --
  17          REPRESENTATIVE GARDNER: Uh-huh.
                                                                                                    LEG HX 000495                   4410
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  18        Appellate
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  19 fide gift, then it would be an exception under House Bill
  20 1229.
  21         THE CHAIRMAN: Representative -- Representative
  22 Gardner.
  23         REPRESENTATIVE GARDNER: Yes. Thank you. And
  24 I have several follow ups for the director, Mr. Chair. So
  25 I appreciate your indulgence.
  0042
   1         So it seems to me that it would be very
   2 important for us to never swap our firearms but to always
   3 gift them to each other.
   4         Let me -- let me raise another hypothetical.
   5 You know, I have -- I have friends that I consider as close
   6 as anybody in my family and about whose safety and security
   7 I am concerned. And I have watched the news over the past
   8 several years in places like New Orleans where there's been
   9 basically a breakdown of civil law and order as a result of
  10 disasters.
  11         I watched in Connecticut the past few days when
  12 the power went out. And, frankly, I have to say, when the
  13 power goes out, it is only a matter of time, because there
  14 aren't enough police. There isn't enough security, and
  15 even if there were, they couldn't reach anyone.
  16         So I -- I can see myself having concern for a
  17 close friend in my community who doesn't have a firearm.
  18 And as I turn on the news, I see that a huge snowstorm is
  19 coming or that -- or that we just had an earthquake, and
  20 they live a few doors down from me.
  21         If I transferred that firearm to them, if I
  22 said, you know, you may need this in the next few days to
  23 ward off the looting that could happen -- pray God it
  24 doesn't -- and I handed that weapon to them and they took
  25 it to their home three doors down, I think I would have
  0043
   1 violated this legislation that is proposed.
   2         Don't you agree?
   3         THE CHAIRMAN: Director Sloan.
   4         DIRECTOR SLOAN: Yes.
   5         THE CHAIRMAN: Representative Wright.
   6         REPRESENTATIVE WRIGHT: Thank you, Mr. Chair.
   7         Director Sloan, I was wondering if I could ask
   8 you, while we have you up here, on the costs associated to
   9 your department that would be caused by passage of this
  10 legislation.
  11         I'm looking at the Department of Public Safety
  12 on the fiscal note, and they certainly seem to be
  13 substantial with an increase from the general fund of over
  14 $1 million, and I'm assuming that's all to your department,
  15 and creating 24.9, it says here, new full-time government
  16 employee positions.
  17         That's the first part of my question, is if you
  18 could go in depth and on record describe the increased cost
  19 of state government if this legislation was passed.
                                                                                                    LEG HX 000496                   4411
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                                 wonder if you   would --01019371763 Date Filed: 01/16/2015                            Page: 22
  21         THE CHAIRMAN: Let's get an answer to -- let's
  22 get an answer to Question 1 first, Representative Wright.
  23         REPRESENTATIVE WRIGHT: As long as I can -- I'm
  24 hoping I can follow up, Mr. Chair.
  25         THE CHAIRMAN: Yeah, yeah. And then we will go
  0044
   1 to the second to avoid confusion, Representative Wright.
   2        Director Sloan.
   3        DIRECTOR SLOAN: Thank you, Mr. Chair.
   4        Representative Wright, that is correct. In
   5 order to appropriately address the goals of Colorado
   6 InstaCheck at CBI, and that is to conduct these checks, do
   7 the background checks effectively and efficiently to keep
   8 firearms out of the hands of prohibited individuals and to
   9 do them efficiently and to provide good customer service to
  10 those individuals who are wanting to transfer firearms
  11 within a short period of time, we have to be appropriately
  12 resourced, and that's the additional resource that you see
  13 identified in the fiscal note that you're referring to.
  14         Now, those resources are projections, if you
  15 will, of the expectation that there will be increased
  16 volume. We don't know exactly how much. We've seen the
  17 same data in terms of estimates of up to 40 percent of all
  18 firearms transfers are done through private transfers.
  19         And so the calculations that we have added in
  20 for what we would expect the volume would be, we've done
  21 calculations as to how many transactions we feel that a
  22 technician can do during the course of a day and over the
  23 course of a week, and we've added in all of those
  24 calculations in order to try to determine how we can meet
  25 those two goals and effectively and efficiently carry out
  0045
   1 our statutory duty.
   2        THE CHAIRMAN: Representative Wright, your
   3 second question.
   4        REPRESENTATIVE WRIGHT: Thank you, Mr. Chair.
   5        Director Sloan, my second question is: I'm
   6 looking at the information in this fiscal note, and it
   7 estimates 200,000, 33 percent increase, and I understand
   8 you are saying possibly upwards of a 40 percent increase.
   9        Can you tell us, in terms of now or this past
  10 year, how many background checks you've processed, how many
  11 of those checks have been appealed, and how many of those
  12 appeals have been upheld?
  13         THE CHAIRMAN: Director Sloan.
  14         DIRECTOR SLOAN: What I can -- okay. There's
  15 several -- I'm sorry.
  16         Thank you, Mr. Chair.
  17         I'm not quite sure what the question is, if you
  18 want to know how many denials there were in the last year,
  19 how many appeals of those denials there were, and how many
  20 were reversed?
  21         REPRESENTATIVE WRIGHT: Thank you for
                                                                                                    LEG HX 000497                   4412
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  22 clarification       Case: 14-1290 Document: 01019371763
                     on that.                                                         Date Filed: 01/16/2015           Page: 23
  23          THE CHAIRMAN: Representative Wright.
  24          REPRESENTATIVE WRIGHT: Thank you, Mr. Chair.
  25          Yes, Director Sloan, that's correct.
  0046
   1         THE CHAIRMAN: Director Sloan.
   2         DIRECTOR SLOAN: Thank you, Mr. Chair.
   3         In 2012, calendar year 2012, there were 343,302
   4 background checks conducted. There were a total of 7,362
   5 denials, which represents 2.1 percent of that 343,302. Of
   6 those denials, 1,915 of those denials were denials that
   7 would not have been caught by FBI NCIC.
   8         And then of those 7,362 denials, 54 percent
   9 filed appeals in the appeal process. It's -- under
  10 Colorado law it was codified in House Bill 1411 in 2010.
  11 And of those, 54 percent of the 7,362, 56 percent of those
  12 were reversed, and 44 percent roughly were upheld for
  13 denial.
  14          THE CHAIRMAN: Thank you, Director Sloan.
  15          Representative Wright.
  16          REPRESENTATIVE WRIGHT: Thank you, Mr. Chair.
  17 Very brief follow up.
  18          I'm hearing more than half, then, were reversed.
  19 Was there a common denominator there for the reason for
  20 reversal?
  21          THE CHAIRMAN: Director Sloan.
  22          DIRECTOR SLOAN: Thank you, Mr. Chair.
  23          First of all, more than half of those who
  24 appealed, not half of the denials, more than half of those
  25 that appealed were, in fact, reversed.
  0047
   1         And I don't have specific data on those
   2 reversals. I can tell you that there are a number of
   3 reasons that reversals are done. One of the primary
   4 reasons are a denial that was done because of a prohibitive
   5 arrest without a matching disposition in the criminal
   6 history, whether it's in Colorado or elsewhere in the
   7 United States.
   8         Since the year 2000, the lack of matching
   9 dispositions in Colorado has become less and less of a
  10 problem. We're able to find matching dispositions at a 95
  11 percent rate upon the initial check.
  12          So many of those are out-of-state arrests or
  13 military arrests or federal arrests where we are doing
  14 research to determine whether or not there was a
  15 conviction. So many of those reversals are the
  16 determination that there was not a conviction through a lot
  17 of investigative work.
  18          Many of those reversals come off of an initial
  19 denial because someone is identified as having a
  20 prohibitive arrest and a conviction by the personal
  21 identifiers that are given upon the attempt to the purchase
  22 of a firearm.
  23          The individual will claim that's not me. That's
                                                                                                    LEG HX 000498                   4413
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  24 someone Appellate  Case:
                 else that      14-1290
                           has the same nameDocument:     01019371763
                                               and other identifiers,                 Date Filed: 01/16/2015           Page: 24
  25 and if we cannot distinguish or determine whether it's them
  0048
   1 or it's not them, there will be a denial in Colorado.
   2 And if they appeal that, there is a process,
   3 records-challenge process, where they can physically come
   4 into CBI, present us with ten prints, fingerprints, and we
   5 can do a comparison against the arrest record, if it's a
   6 Colorado arrest record, or if we can get the information
   7 from the out-of-state arrest and conviction record. And we
   8 can then verify biometrically whether it's that individual
   9 or not.
  10          A number of reversals are verification that it's
  11 someone else with identical personal identifiers, but it's
  12 not the individual who goes through the biometric check for
  13 their identification. Those are just a couple of examples
  14 of the types of reversals that are done.
  15          THE CHAIRMAN: Representative Lee.
  16          REPRESENTATIVE LEE: Thank you, Mr. Chairman.
  17          I wonder if you heard the previous question
  18 from Representative Wright about the effectiveness of
  19 backgrounds checks? He asked something to the effect of,
  20 are there statistics to indicate that background checks
  21 are, in fact, effective in reducing crime?
  22          If you heard the question and have an answer to
  23 the question, I would be interested in your response, sir.
  24          THE CHAIRMAN: Director Sloan.
  25          DIRECTOR SLOAN: Thank you, Mr. Chair.
  0049
   1          Representative Lee, I don't have specific data
   2 or research that I can cite. In terms of criminal conduct
   3 and criminal activity around the country through uniform
   4 crime reporting, I don't know what kind of comprehensive
   5 research has been done that would be correlational to
   6 background checks. We do background checks in a number of
   7 different areas.
   8          To be able to collect the data to determine
   9 whether or not background checks prevented criminal
  10 behavior is next to impossible. Measuring prevention is
  11 one of the most difficult things we do in this business.
  12          We try to do correlations between background
  13 checks, police strategies, law enforcement actions. Making
  14 those correlations is very difficult to do. It -- we try
  15 to take steps which are logical and reasonable which would
  16 cause someone with extensive knowledge of criminal justice
  17 behavior and law enforcement strategies, which are designed
  18 to prevent crime and to prevent tragedy and violence.
  19          Making those correlations is something I don't
  20 have a great deal of data on. So I guess the answer to --
  21 the short answer is: I don't have that data.
  22          THE CHAIRMAN: Representative Lee.
  23          REPRESENTATIVE LEE: Thank you, Mr. Chair.
  24          Director Sloan, I wonder, then, if you are
  25 aware of the U.S. Department of Justice FBI supplemental
                                                                                                    LEG HX 000499                   4414
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   1 homicide report in 2011 indicating that states requiring a
   2 background check for handgun sales, that there were 38
   3 percent fewer women shot to death by intimate partners. In
   4 contrast, that the nonfirearm homicide rates of women
   5 killed by partners was nearly identical in all of those
   6 states.
   7         What sort of conclusion would you draw from
   8 that?
   9         THE CHAIRMAN: Director Sloan.
  10         DIRECTOR SLOAN: Thank you, Mr. Chair.
  11         I have not specifically read that data, but it
  12 would seem to suggest, that if I understand what you --
  13 what you quoted there correctly, is those states that do
  14 background checks on firearms have a lower rate of the use
  15 of firearms in domestic violence situations, and that would
  16 seem to suggest some correlation, that it's preventing the
  17 use of firearms in domestic violence situations.
  18         THE CHAIRMAN: Thank you so much, Director
  19 Sloan. We appreciate you taking the time to come and tell
  20 us more about your experience and how it relates to this
  21 measure.
  22         Thank you.
  23         Our next witness is Mr. David Chipman.
  24         Mr. Chipman.
  25         Welcome, Mr. Chipman. Please tell us your name
  0051
   1 for the record, who you represent, and proceed to give us
   2 your testimony, if you would, sir.
   3         MR. CHIPMAN: My name is David Chipman. And
   4 thank you very much for having me here today.
   5         On December 14, 2012, I watched in horror as
   6 the gruesome details of the massacre at Sandy Hook
   7 Elementary unfolded on national TV. It was only 145 days
   8 after a similar tragedy struck the community of Aurora, not
   9 too far from us here today.
  10         This past May I retired as a special agent from
  11 the Bureau of Alcohol, Tobacco, Firearms & Explosives. I
  12 served this nation for 25 years in a variety of roles
  13 across the country. As a SWAT team member in Washington
  14 and Los Angeles, I apprehended some of the most heavily
  15 armed and violent criminals in America. As a bomb-scene
  16 expert in Oklahoma City and at the Word Trade Center, I dug
  17 bodies out of the rubble and witnessed the horrifying
  18 capacity of madmen driven by hate.
  19         Later, as the leader of ATF's firearms programs
  20 division, the Attorney General tasked me with the most
  21 challenging assignment of my career: developing a
  22 comprehensive strategy to prevent gun violence in 15
  23 targeted cities.
  24         During my service at ATF, I learned firsthand
  25 about which policing efforts work and which do not. I
  0052
   1 appreciate the value of prevention and proactive
                                                                                                    LEG HX 000500                   4415
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   2 intelligence-led   Case: 14-1290       Document:
                                rather than any  strategy 01019371763
                                                          aimed at                    Date Filed: 01/16/2015           Page: 26
   3 apprehending offenders in response to violent crimes that
   4 have already left a trail of victims. I was an operator
   5 who not only advised strategies and tactics, I actually
   6 enforced the laws in the books.
   7         I became an ATF agent in response to a calling
   8 from Robert F. Kennedy. He said that Americans needed a
   9 system of justice to serve as a shield for the weak and the
  10 powerless.
  11          I come before you today to confirm what many of
  12 you already know: Our shield is not sufficient.
  13 Background checks work. They will strengthen our shield.
  14 And we have seen the positive impact to public safety of
  15 stronger regulations involving gun sales in Colorado and
  16 across the nation.
  17          After the mass shooting at Columbine, 70 percent
  18 of Coloradans voted to require unlicensed sellers at gun
  19 shows to conduct criminal background checks. And since
  20 closing the gun show loophole, Colorado has exported
  21 significantly fewer crime guns to other states.
  22          In 2000 the state was the 17th largest exporter
  23 of guns later found at crime scenes in other states. A
  24 year after the law was passed, Colorado ranked 27th, and by
  25 2009 it ranked 32nd.
  0053
   1         According to a 2009 Johns Hopkins analysis of
   2 gun trafficking in 53 U.S. cities, intrastate gun
   3 trafficking is 48 percent lower where private gun sales are
   4 regulated.         According to Mayors Against Illegal
   5 Guns analysis of FBI and Florida Department of Law
   6 Enforcement data, the number of women killed with a firearm
   7 by an intimate partner is 38 percent lower in states that
   8 have closed the private-sale loophole for handguns than in
   9 states that do not regulate such sales.
  10          The firearms suicide rate in states that
  11 require a background check before every handgun sale is 49
  12 percent lower than in states that do not require one, even
  13 though the nonfirearms suicide rates of these groups of
  14 states are nearly identical.
  15          As an ATF agent, I know criminals acquire many
  16 of their guns through unregulated private sales.
  17 Researchers confirm this fact. A national survey of
  18 inmates found that nearly 80 percent of those who used a
  19 handgun in a crime acquired it in a private transfer.
  20          From all of these numbers and figures, we can
  21 arrive at an obvious conclusion: Requiring background
  22 checks for gun sales will prevent violent crimes. Lives
  23 will be saved, plain and simple.
  24          After my service with ATF, I thought I had seen
  25 it all. Three weeks I spent digging out the bodies of 168
  0054
   1 Americans in Oklahoma City, 19 of them children. Like the
   2 rest of you, on 9-11 I watched the towers of the World
   3 Trade Center crumble to the earth.
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   4       Appellate
            After theseCase:   14-1290
                        horrific            Document:acted
                                 acts, our government   01019371763                   Date Filed: 01/16/2015           Page: 27
   5 with urgency and committed to ensuring that terrorists,
   6 foreign or domestic, would never take down our buildings or
   7 victimize our citizens ever again. The strategy was
   8 aggressive, and although not perfect, it has worked.
   9        Neither our federal government nor our states
  10 have chosen to act with similar urgency to prevent future
  11 acts of gun violence. 33 Americans continue to be murdered
  12 with guns each and every day in this country, a nation
  13 where everyone is guaranteed the right to life, liberty,
  14 and the pursuit of happiness.
  15         Half measures have availed us nothing. We need
  16 to act comprehensively, and we need to do so now. The
  17 Brady Bill requires background checks be conducted only at
  18 federally licensed firearm dealers, but an estimated 40
  19 percent of gun transfers and sales in the U.S. are
  20 conducted by individuals who are not licensed and not
  21 required to conduct federal checks.
  22         The Brady Bill operates similarly to a flawed
  23 airport security system that ensures only 60 percent of
  24 travelers are free of dangerous weapons through screening
  25 while allowing 40 percent of travelers to board the plane
  0055
   1 unchecked. In Colorado the same holds true.
   2        In response to the massacre at Columbine that
   3 shook this state to its core, Coloradans closed the gun
   4 show loophole only to allow the Internet to continue to
   5 thrive as a vast marketplace where prohibited persons could
   6 easily purchase scores of weapons with no paperwork and no
   7 questions asked.
   8        Online private gun sales play a prominent role
   9 in fueling violent crime. In October of 2012, for example,
  10 Radcliffe Haughton, who is federally prohibited from buying
  11 a gun due to the restraining order that his estranged wife
  12 had against him, purchased a gun from a private seller
  13 through Arms List where no background check was conducted.
  14 The next day he went to the spa where his wife worked in
  15 Brookfield, Wisconsin, and killed her and two other people
  16 and injured four others before taking his own life. Why do
  17 we continue to make attempts to prevent an attack as
  18 opposed to predicting where we will be attacked next and
  19 shore up that vulnerability?
  20         The ease with which a high school senior can go
  21 on the Internet and arrange to purchase an array of
  22 firearms renders all gun laws meaningless. The fact that
  23 this state and this government continues to allow the sale
  24 of guns without a backgrounds check is not only reckless,
  25 not only irresponsible, it is downright dangerous.
  0056
   1        A system that requires a background check for
   2 every gun sale is common sense, and it works. It is a
   3 system supported by 92 percent of Americans and including
   4 74 percent of NRA members. Will criminals attempt to
   5 thwart this regulation? Of course. That's what criminals
                                                                                                    LEG HX 000502                   4417
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   6 do. ButAppellate   Case:
                as criminals and14-1290
                                 the severelyDocument:
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                                                           make                       Date Filed: 01/16/2015           Page: 28
   7 these attempts, their efforts will necessarily become more
   8 complex. Mistakes will be made, and law enforcement will
   9 be there.
  10          Investigators will follow leads and make efforts
  11 to apprehend unlawful possessors before they use their
  12 illegal guns in crime. Will law enforcement prevent all
  13 crime? Unfortunately no, but this new law will give them
  14 an additional tool to crack down on gun traffickers who
  15 sell guns on the black market. It will also help law
  16 enforcement trace guns recovered in violent crimes by
  17 requiring dealers to keep the same records they kept for
  18 licensed sales for over 40 years.
  19          This system protects the privacy of gun owners,
  20 ensures that there is no registry of gun owners, and at the
  21 same time, helps law enforcement solve crimes.
  22          After Oklahoma City I thought, Never again;
  23 after Virginia Tech I thought, Never again; after Tucson I
  24 thought, Never again; after Aurora I thought, Never again;
  25 but after Sandy Hook, I shuttered as I thought to myself,
  0057
   1 because this is going to happen again, and it will unless
   2 we act now.
   3         On December 16 of 2012, sources close to the
   4 Newtown investigation revealed to me the description of the
   5 three firearms carried in the school during the massacre:
   6 a Bushmaster assault-style rifle, a 10-millimeter Glock
   7 pistol, and a 9-millimeter Sig Sauer handgun.
   8         I searched Armslist.com, a renowned online Web
   9 site that caters to gun buyers who desire animosity and
  10 easily arrange with private sellers to purchase guns
  11 without a background check over the Internet. Within 15
  12 minutes, I was able to find a city where I could have
  13 purchased each of the firearms used at Sandy Hook without
  14 identification and without a criminal backgrounds check.
  15 That city was Denver, where we sit here today.
  16          I'm not a Coloradan, but I am an American and
  17 will not sit idly by as 33 of my follow citizens are being
  18 murdered with guns every day. We have the right to live in
  19 a country that puts our safety first, and above all, we
  20 have the right to live outside the shadows of fear.
  21          There has been too much bloodshed in our
  22 streets, too much bloodshed in our schools, and too much
  23 bloodshed across this great land. I urge you today to act
  24 now to help save lives.
  25          And thank you.
  0058
   1         THE CHAIRMAN: Thank you, Mr. Chipman.
   2         Representative Gardner.
   3         REPRESENTATIVE GARDNER: Yes. Thank you.
   4         And thank you, sir, and thank you for your
   5 service to our country. And I -- I appreciate your
   6 passionate advocacy on behalf of this issue.
   7         I'm -- you told us about your training, and you
                                                                                                    LEG HX 000503                   4418
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                                                             -- when I  Date Filed: 01/16/2015                         Page: 29
   9 hear advocacy, I try to ensure that it's material and
  10 relevant to the matter at hand. So -- and I try to
  11 understand where the witness is coming from.
  12          So, first of all, let me ask you: You mentioned
  13 that you had been tasked by the Attorney General of the
  14 United States with some important task. Which Attorney
  15 General was that?
  16          THE CHAIRMAN: Mr. Chipman.
  17          MR. CHIPMAN: That would have been -- geeze,
  18 now you've embarrassed me because I don't recollect. It
  19 would have been during the Bush Administration. And I'm
  20 sorry, I should know that name.
  21          THE CHAIRMAN: Representative Gardner.
  22          REPRESENTATIVE GARDNER: Thank you.
  23          Well, you know, as I get older, my memory fades
  24 on things, but I'm really struggling with your references
  25 to the Murrah building, which was horrific. I remember
  0059
   1 that day very well, actually.
   2         And I guess I'm puzzled. I don't think there
   3 were any firearms directly involved in the Murrah building.
   4 I think it was a fertilizer bomb. Are you suggesting that
   5 we need to amend this bill to have a background check for
   6 transfers of fertilizer, or is it just a discussion about
   7 the horrors of violence, sir?
   8         THE CHAIRMAN: Mr. Chipman.
   9         MR. CHIPMAN: I believe the point that I was
  10 trying to make is that for law enforcement, it's imperative
  11 that we prevent crimes before they ever happen. And as
  12 you've seen recently, even gun crimes are getting close to
  13 the scale of what we used to see in bombings.
  14          You're right, not yet have we gotten to that
  15 scale, but that was the point I was trying to make.
  16          THE CHAIRMAN: Representative Gardner.
  17          REPRESENTATIVE GARDNER: Yes. Thank you.
  18          So there's nothing about this bill that would
  19 have prevented the bombing of the Murrah building, is
  20 there?
  21          THE CHAIRMAN: Mr. Chipman.
  22          MR. CHIPMAN: I don't believe that there's
  23 anything in this bill that would prevent a bombing. What I
  24 do believe is that there are things in this bill that might
  25 prevent the next mass shooting.
  0060
   1         THE CHAIRMAN: Representative Gardner.
   2         REPRESENTATIVE GARDNER: Well, yes. Thank you.
   3 And I appreciate you going to that, because that goes to my
   4 next question.
   5         As I understand the events at Sandy Hook, which
   6 you, in your opening sentence referenced -- I think they're
   7 pretty well known in the press. The individual there
   8 obtained the firearms from his mother, who tragically was
   9 the first victim, I think, and I think she legally obtained
                                                                                                    LEG HX 000504                   4419
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  10 those Appellate   Case:
            firearms, but  let's 14-1290
                                 just kind of Document:    01019371763 Date Filed: 01/16/2015
                                              take her situation                                                       Page: 30
  11 to here in Colorado.
  12         There's nothing in this bill that would have
  13 prevented that lady from obtaining firearms, is there?
  14         THE CHAIRMAN: Mr. Chipman.
  15         MR. CHIPMAN: My understanding is that the
  16 woman, Mrs. Lanza, was not prohibited, and so she would
  17 have been able to pass a background check on this -- on
  18 this law. I believe the story of Newtown is that she
  19 didn't properly secure her firearm from someone who was
  20 potentially -- had a severe mental disorder.
  21         THE CHAIRMAN: Representative Gardner.
  22         REPRESENTATIVE GARDNER: So -- so this bill
  23 wouldn't -- in similar circumstances, had they occurred in
  24 Colorado, this bill wouldn't have prevented that, would it?
  25         THE CHAIRMAN: Mr. Chipman.
  0061
   1        MR. CHIPMAN: I don't believe so.
   2        REPRESENTATIVE GARDNER: And let's --
   3        THE CHAIRMAN: Representative Gardner.
   4        REPRESENTATIVE GARDNER: Thank you. Thank you,
   5 Mr. Chair.
   6        And let's go to Aurora. I -- you know, that's
   7 a pending court case, but all I know is what I've heard in
   8 the media.
   9        It seems that the individual there had some
  10 mental health issues, but they, as I understand, were
  11 probably not reported. So there would have been nothing in
  12 this bill that would have prevented him from obtaining
  13 firearms if this bill is passed, is there?
  14         THE CHAIRMAN: Mr. Chipman.
  15         MR. CHIPMAN: I believe, on the Aurora
  16 incident, that there's nothing specifically in this bill
  17 that would have prevented it, but there is a lot of
  18 dialogue that we're having today about how we can better
  19 prevent people with severe mental illness from acquiring
  20 firearms.
  21         THE CHAIRMAN: Representative Gardner.
  22         REPRESENTATIVE GARDNER: Yes.
  23         And I -- I think that mental health dialogue is
  24 really important, sir. But there's nothing in this bill
  25 that would have prevented that individual from obtaining
  0062
   1 firearms, is there?
   2        THE CHAIRMAN: Mr. Chipman.
   3        MR. CHIPMAN: I don't believe so.
   4        REPRESENTATIVE GARDNER: Thank you.
   5        THE CHAIRMAN: Representative Salazar.
   6        REPRESENTATIVE SALAZAR: Thank you, Mr. Chair.
   7        I want to go back to something that
   8 Representative Gardner had said earlier, and I wanted to
   9 ask you this question because I spoke to the public here
  10 about the issue of reasonable restriction of ownership of
  11 firearms.
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  13 what Representative Gardner said, can you please tell me
  14 how it's a reasonable restriction to prohibit me and my
  15 brother, say, from exchanging our shotguns with each other
  16 when he decides he wants to go hunting for quail and I want
  17 to go hunting for goose? And how is that a reasonable
  18 restriction?
  19          THE CHAIRMAN: Mr. Chipman.
  20          MR. CHIPMAN: I'm trying to understand your
  21 question.
  22          I believe that in this bill there are exceptions
  23 and which direct family members can transfer firearms. The
  24 reason that I believe that that is reasonable is because
  25 the law already is very serious if you knowingly transfer a
  0063
   1 firearm to someone you know you are prohibited.
   2         I would imagine that most brothers know if their
   3 brother has spent time in prison. So I think that that's
   4 why I would think it was reasonable.
   5         THE CHAIRMAN: Representative Salazar.
   6         REPRESENTATIVE SALAZAR: Thank you, Mr. Chair.
   7         I think Director Sloan said that would be a
   8 prohibition for me to lend my weapon to my brother. I have
   9 a 20-gage. You know, I go for smaller birds. My brother
  10 has a 12-gage, and, you know, we use that for goose
  11 hunting. I like to goose hunt. He likes to go for smaller
  12 birds, so we have issues with our guns.
  13          It seems to me that what Director Sloan had
  14 said was that I would not be able to lend my gun to him,
  15 that it would have to be gifted to him, and that's what the
  16 language says.
  17          So if I'm reading that wrong, could someone
  18 please clarify that for me?
  19          THE CHAIRMAN: Representative Salazar, I would
  20 just draw your attention to the -- page 5 of the bill,
  21 which provides the temporary transfer of possession which
  22 takes place at a shooting range or a target firearm
  23 shooting range or while hunting, fishing, or trapping is --
  24 is -- is completely permissible under this bill.
  25          Representative McCann.
  0064
   1         REPRESENTATIVE McCANN: That's my understanding
   2 as well.
   3         THE CHAIRMAN: Representative Salazar.
   4         REPRESENTATIVE SALAZAR: So the way that I read
   5 this language here is that -- is that the temporary
   6 transfer would take place while hunting. But what if I'm
   7 not with my brother at that time? He has my gun, and he's
   8 hunting on his own or with somebody else and I decide to
   9 stay at home because I don't like going after my birds. I
  10 like sitting in a hole and usually falling asleep goose
  11 hunting.
  12          But this language in here, it doesn't seem to
  13 lend for that, or does it?
                                                                                                    LEG HX 000506                   4421
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  15          REPRESENTATIVE McCANN: I think our intent was
  16 to allow for a temporary transfer between an unlicensed
  17 person if the purpose is for hunting, fishing, or trapping.
  18 So I think, if we need to clarify that, we can -- we can do
  19 that.
  20          THE CHAIRMAN: Thank you.
  21          Mr. Chipman, seeing no further questions, may I
  22 thank you for coming all this way and giving us the benefit
  23 of your insight -- input onto this bill.
  24          MR. CHIPMAN: Thank you.
  25          THE CHAIRMAN: That concludes the less
  0065
   1 restricted time of witnesses. And just to reiterate for
   2 the benefit of members of the public who are here, the same
   3 lax time restrictions will be placed on the first two
   4 witnesses in opposition to this House Bill 1229.
   5         We will now proceed with our next witnesses.
   6 First will be Tom Mauser. And after Tom Mauser, we will be
   7 hearing from Katie Lyles, and then we will be hearing from
   8 Chief John Jackson of the Greenwood Village Police
   9 Department.
  10          So, Mr. Mauser, welcome to the Judiciary
  11 Committee. Thank you for coming and taking your time to
  12 give us your input.
  13          MR. MAUSER: Thank you, Mr. Chairman.
  14          THE CHAIRMAN: Please state your name for the
  15 record and tell us your testimony.
  16          MR. MAUSER: Sure.
  17          My name is Tom Mauser from Littleton, Colorado.
  18 I'm the father of Daniel Mauser, who was murdered in the
  19 massacre at Columbine High School in 1999.
  20          Two weeks before my son's death, he asked me the
  21 question at the dinner table, Dad, did you know that there
  22 are loopholes in the Brady Bill? I shrugged off this
  23 question, and then two weeks later he was shot in the face
  24 as he was pinned down helplessly under a table in the
  25 library at Columbine.
  0066
   1         He was killed with a gun purchased through one
   2 of those loopholes. That's why I became dedicated to close
   3 those loopholes. And we did that, as you've heard already
   4 in testimony, by closing the gun show loophole.
   5         And one question I heard a lot from my opponents
   6 back then was, well, you know, if they -- if those killers
   7 didn't get the guns at the gun show, they would have gotten
   8 them someplace else. And I said, Well, thank you for
   9 making a case for -- for universal background checks. I
  10 appreciate that, but that's not what we are doing now. Now
  11 we're back to it.
  12          I know there's been discussion here of the
  13 pathology of the various crimes that have upset people, but
  14 the fact is we are dealing with, as was mentioned, 33
  15 people every day. It's that we are trying to deal with,
                                                                                                    LEG HX 000507                   4422
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                                                             way.                     Date Filed: 01/16/2015           Page: 33
  17          So I'd like to -- like to mention a few things
  18 that haven't been touched on yet.
  19          One is, again, when you go to the airport, we
  20 all have to undergo that -- that metal detector. What
  21 would you think if we had 40 percent of those people were
  22 able to bypass that simply because of who they bought the
  23 ticket from or what their last name was? You'd be
  24 outraged, but that's what we're doing in Colorado.
  25          I'm sure we are going to hear a lot of
  0067
   1 testimony today also that, well, you know, you can't stop
   2 criminals from doing what they are going to do. You just
   3 can't stop it.
   4         Well, I ask you: If you have teenagers, do you
   5 let them drink alcohol? No. I would suspect most of you
   6 don't. Well, you know, teenagers are going to get alcohol
   7 anyhow, so why do we prohibit it at our stores?
   8         THE CHAIRMAN: Mr. Mauser, I'm going to ask you
   9 to wrap up, if you would, sir.
  10          MR. MAUSER: Sure.
  11          Of course we don't allow them to do that.
  12 That's why we pass laws and it's public policy, so they
  13 can't buy it at stores, because we do everything we can for
  14 prevention. We do not know who is a criminal, so I think
  15 it's important for gun sellers, law-abiding citizens, to be
  16 able to know whether the person they are selling their gun
  17 to is a criminal or not because we don't wear labels on our
  18 heads that says law-abiding citizen, I'm not a criminal.
  19 We do background checks.
  20          THE CHAIRMAN: Mr. Mauser, thank you so much.
  21          Mr. Mauser, when you were talking about the
  22 analogy to 40 percent of folks not being checked before
  23 they get on the plane and 60 percent being checked, are you
  24 referring to in our gun laws that 60 percent of people are
  25 checked for background to make sure that they're legally
  0068
   1 permitted to own the firearm and 40 percent just are
   2 completely not required to have their background checked?
   3         Is that the analogy you are trying to draw?
   4         MR. MAUSER: Yes, that's right, just like the
   5 Columbine killers purposefully sought out a private seller
   6 at the gun show because they didn't want to have to do the
   7 paperwork, didn't want to be creating a trail.
   8         THE CHAIRMAN: So the way you get into the 40
   9 percent is instead of buying it from a firearms dealer, you
  10 buy it from your next door neighbor or over the Internet,
  11 and then you don't -- you aren't required and nobody checks
  12 your background?
  13          MR. MAUSER: That's correct.
  14          THE CHAIRMAN: I just wanted to understand that
  15 more fully.
  16          Are there any other questions for Mr. Mauser?
  17          Mr. Mauser, we deeply regret your loss and
                                                                                                    LEG HX 000508                   4423
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  18 deeply Appellate
               appreciateCase: 14-1290overDocument:
                          your activism                  01019371763
                                             several years  to                        Date Filed: 01/16/2015           Page: 34
  19 increase the safety of --
  20          MR. MAUSER: Thank you.
  21          THE CHAIRMAN: -- Coloradans.
  22          Thank you.
  23          Katie Lyles.
  24          Ms. Lyles, please state your name for the
  25 record and tell us who you represent and proceed with your
  0069
   1 testimony.
   2         MS. LYLES: I'm Katie Lyles, and I'm a teacher
   3 and a Columbine survivor. I'm representing myself and my
   4 students today.
   5         So thank you, Chairman Kagan and the members of
   6 the House Judiciary Committee.
   7         I'm here to express my support of HB-1229 that
   8 requires anyone who wants to buy a gun to undergo a
   9 background check. This bill is a step towards the
  10 comprehensive solution that we need to ensure the safety of
  11 students at -- our students at schools, as well as the
  12 safety for the people of Colorado.
  13          I speak as a teacher and also as a survivor of
  14 the school violence that occurred at Columbine High School.
  15 I felt compelled to speak today in the aftermath of the
  16 ever increasing violence that plagues our society.
  17          I have never spoken publicly about my experience
  18 at Columbine, but after the murders at Sandy Hook, I know
  19 that something must be done, and I want to be part of the
  20 solution.
  21          On the morning of April 20, 1999, I headed to
  22 Columbine High School worried about my tenth grade math
  23 test that I was supposed to take that day and my upcoming
  24 track meet. That math test was never finished due to the
  25 tragic events that unfolded at my school leaving 13 dead
  0070
   1 and countless others wounded and all of our innocence
   2 shattered.
   3         The shooters at my school obtained their guns
   4 illegally through private sales and straw purchases. Today
   5 they could easily go online and buy these same weapons
   6 without a background check, and what is to stop the next
   7 person who chooses from doing just that?
   8         Now I am a teacher -- or I have been a teacher
   9 for eight years, and I consider every day that I go to work
  10 a privilege to be with my students. I cherish their joy
  11 and enthusiasm and, most importantly, their innocence. I
  12 believe that is our job as a society, to protect these
  13 virtues in our young people, and I want them to be worried
  14 about math tests and track meets and about the science
  15 fairs and student council elections. That is the normal
  16 school stuff that builds character. But we are creating a
  17 school culture that is instead worrying about safety of --
  18 our safety and our intruders, something that no student
  19 should be aware of.
                                                                                                    LEG HX 000509                   4424
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                                                 to me about a                        Date Filed: 01/16/2015           Page: 35
  21 year ago as I was sitting in complete silence in the inky
  22 black dark of my classroom's storage room. I was surround
  23 by 24 second graders who crouched on the floor with me. I
  24 whispered to my students that they were doing such a
  25 respectful job hiding, and then a quiet hand found mine, as
  0071
   1 Anthony, a seven-year-old boy, was crammed next to me, and
   2 he was searching for comfort during such an unnatural
   3 scenario.
   4         We were conducting our monthly emergency drill
   5 -- in this case a lockdown -- and my heart broke for
   6 Anthony and his classmates, that they have to learn these
   7 types of drills at such a young age and if at all. And I
   8 thought to myself, This is the result of the Columbine
   9 shootings, and this is my reality, and now it is theirs
  10 too.
  11          THE CHAIRMAN: Ms. Lyles, I'm going to have to
  12 ask you to come right to the final point.
  13          MS. LYLES: Okay.
  14          I ask today that we have the power to work
  15 together as a society to create a safer world for our
  16 schools, and that starts today with the passage of HB-1229.
  17 Learn from my experience and do not wait until you have to
  18 experience it firsthand to realize that action needs to
  19 happen.
  20          Thank you.
  21          THE CHAIRMAN: Thank you, Ms. Lyles.
  22          Are there any questions for Ms. Lyles?
  23          Thank you, Ms. Lyles.
  24          MS. LYLES: Thank you.
  25          THE CHAIRMAN: And I'm sorry we couldn't give
  0072
   1 you more time.
   2         Chief John Jackson, we will be glad to hear
   3 from you.
   4         After Ms. -- after Chief Jackson, we will be
   5 hearing from John Head, Marjorie Sloan, Don Macalady, and
   6 then Amy Miller, just for your information.
   7         Chief Jackson, welcome.
   8         Please tell us your name for the record and who
   9 you represent and give us your testimony.
  10          MR. JACKSON: Mr. Chair, members of the
  11 committee, my name is John Jackson.
  12          I'm here on behalf today of the Colorado
  13 Association of Chiefs of Police. The Colorado Association
  14 of Chiefs of Police represents the many police departments
  15 throughout the state of Colorado who work every day to keep
  16 our communities safe and to do our best to protect our
  17 citizens from those with ill intent, who wish to do someone
  18 else harm.
  19          In 2000 the citizens of Colorado voted 70
  20 percent to 30 percent to support closing the gun show
  21 loophole in Colorado. The passage of Amendment 22 requires
                                                                                                    LEG HX 000510                   4425
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  22 that Colorado      Case:
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                                 a person purchasing       01019371763
                                                       a gun  at a     Date Filed: 01/16/2015                          Page: 36
  23 gun show is not a criminal act and has not been adjudicated
  24 mentally ill.
  25         This is a common sense measure that those who
  0073
   1 talk about law-abiding citizens possessing firearms should
   2 not have a disagreement with, and yet our existing law has
   3 a much bigger loophole than one closed by Amendment 22.
   4 Currently it is legal for any individual to sell a firearm
   5 to another individual with no background check.
   6        As law enforcement we regularly see the
   7 consequences of this loophole. As previously stated many
   8 times, 40 percent of all gun purchases are through private
   9 sales by which it is legal to sell a gun without a
  10 background check.
  11         Our current system allows criminals and
  12 dangerously mentally ill to legally buy and possess these
  13 weapons. Criminals are using the background check loophole
  14 to purchase their weapons because they know they would not
  15 be able to pass the background check.
  16         The ability of background checks to reduce
  17 homicides and gun violence is significantly diminished by
  18 this giant loophole for private firearms sales that
  19 criminals and traffickers are exploiting.
  20         Recently the Colorado Association of Chiefs of
  21 Police held a meeting to talk about the many legislative
  22 matters currently before you, responsible gun policy and
  23 legislation being some of them. There were more than 90
  24 Colorado chiefs and commanders present to discuss these
  25 issues from their community's perspectives.
  0074
   1        With respect to the background check gun bill
   2 language, the vote taken in the room was unanimous that the
   3 Colorado Association of Chiefs of Police support background
   4 checks for the purchase of all firearms.
   5        THE CHAIRMAN: Thank you, Chief Jackson. I'm
   6 going to have to ask you to -- to hold it there.
   7        Representative Lawrence.
   8        REPRESENTATIVE LAWRENCE: Thank you, Mr. Chair.
   9        Okay. I think it's working.
  10         Thank you, Mr. Chairman, and thank you, Chief,
  11 for coming in to testify.
  12         My question is regarding criminals getting
  13 guns. My understanding of this bill is that it's going to
  14 affect law-abiding citizens and their ability to obtain
  15 defensive weapons.
  16         How is this going to keep a criminal from
  17 getting a gun because they're not going to go through a
  18 background check?
  19         THE CHAIRMAN: Chief Jackson.
  20         MR. JACKSON: Mr. Chair.
  21         Representative, that's a very good question.
  22 And we do believe that we need incremental steps. We don't
  23 believe this will be unreasonable for a law-abiding
                                                                                                    LEG HX 000511                   4426
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  24 citizen.           Case:
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                                  it could prevent a person01019371763
                                                             in the                   Date Filed: 01/16/2015           Page: 37
  25 future from committing a crime. There is no way to say any
  0075
   1 one of these measures will be exclusively right that will
   2 fix the problem.
   3         I think we all understand this is a
   4 multi-faceted problem that's going to take a lot of
   5 incremental steps forward to make a difference. And we
   6 believe that by simply putting in place the ability to have
   7 a background check done on people, some of those people who
   8 shouldn't have guns won't be able to get them, and that's
   9 proactive instead of reactive.
  10          THE CHAIRMAN: Representative Wright.
  11          REPRESENTATIVE WRIGHT: Thank you, Chief.
  12          THE CHAIRMAN: I'm sorry, Representative
  13 Lawrence.
  14          REPRESENTATIVE LAWRENCE: Yes.
  15          THE CHAIRMAN: You want to follow up there?
  16          REPRESENTATIVE Lawrence: Thank you,
  17 Mr. Chairman.
  18          I guess my question will go back to something
  19 that Director Sloan had brought up, is that a lot of these
  20 law-abiding citizens that are going through background
  21 checks currently are being caught up in denials that are
  22 then overturned at a later time. So it is impending the
  23 ability of law-abiding citizens to exercise their Second
  24 Amendment rights.
  25          And I also -- just a second question is: Part
  0076
   1 of this bill requires that a seller act with a licensed
   2 firearms dealer to run the background checks.
   3         THE CHAIRMAN: Chief Jackson.
   4         REPRESENTATIVE LAWRENCE: What if there isn't a
   5 licensed firearm dealer within two hours of two people who
   6 want to transfer a weapon?
   7         THE CHAIRMAN: Chief Jackson.
   8         MR. JACKSON: Mr. Chair.
   9         Thank you, Representative.
  10          I do believe that they would find a way to
  11 legally sell that gun if they are law-abiding citizens.
  12 The chiefs of police are not interested in creating undue
  13 burden. What we are trying to create and work with is
  14 within the public safety realms of what's reasonable, and I
  15 don't think that restrictions in legislation are going to
  16 be that burdensome to where someone couldn't legally sell a
  17 gun should they choose to do so.
  18          THE CHAIRMAN: Representative Wright.
  19          REPRESENTATIVE WRIGHT: Thank you, Chief.
  20          I would like to ask you first: You've taken an
  21 oath to uphold the constitution of the state of Colorado
  22 and the United States. I'm wondering if you feel that this
  23 is constitutional, should it be passed, under Article 2,
  24 Section 13, of the Colorado constitution.
  25          And secondly, if you do believe it's
                                                                                                    LEG HX 000512                   4427
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  0077      Appellate Case: 14-1290 Document: 01019371763                             Date Filed: 01/16/2015           Page: 38
   1 constitutional, where do you break paths with many of the
   2 sheriffs in the state of Colorado, who I'm sure you have
   3 heard are opposed to this measure and will do everything
   4 that they can to make sure that it's not enforced within
   5 their jurisdictions?
   6         THE CHAIRMAN: Chief Wright -- sorry, Chief
   7 Jackson.
   8         MR. JACKSON: Mr. Chair.
   9         I would not depart from the federal
  10 constitution. I do believe that it allows for reasonable
  11 restriction as previously stated, and I think these are
  12 that.
  13          With regard to the sheriffs, it's very difficult
  14 for me to qualify or quantify what their position is. I
  15 know that they're neutral on this particular position.
  16          But we see it differently and similar in some
  17 regards, but this is a matter of public safety, and we
  18 believe as chiefs it's responsible for us to get out and
  19 make our position known, that we are for enhancing public
  20 safety when we can legally do so.
  21          THE CHAIRMAN: Representative Wright.
  22          REPRESENTATIVE WRIGHT: Thank you, Chief.
  23          And admittedly in your testimony you said that
  24 you don't believe that this is the be-all solution for
  25 public safety. You said that you saw this as an
  0078
   1 incremental step.
   2         I might ask you: What is this an incremental
   3 step towards? Greater regulation, greater restrictions,
   4 and what are those restrictions?
   5         THE CHAIRMAN: Chief Jackson.
   6         MR. JACKSON: Mr. Chair.
   7         Representative Wright, I don't want to make any
   8 inference that this is an incremental step to take away
   9 someone's Second Amendment rights or encroach in that way.
  10 I truly do believe that we live in a three-dimensional
  11 world, and there is no one-dimensional lens that is going
  12 to solve this problem.
  13          We're going to have to look and take many small
  14 steps forward. This could be one of those before we can
  15 probably see the incremental steps in public safety that we
  16 saw when we closed the gun show loophole. You saw the
  17 percentages and the numbers of where our state rank just
  18 dropped through the floor, and that's the way I think we
  19 are going to fix this. It has to be something that is
  20 incremental, and it's not going to be just one -- pardon
  21 the pun or phrase -- but magic bullet that fixes this.
  22          Director Sloan also testified to how difficult
  23 it is to prevent something, to pick someone that looks like
  24 they might have been a crime (sic). A day before any one
  25 of these tragedies, this person could have been legally a
  0079
   1 law-abiding citizen and could have possessed all the guns
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   2 that they  wanted.Case: 14-1290 Document: 01019371763                            Date Filed: 01/16/2015           Page: 39
   3          But there's a point in time where someone snaps,
   4 and then, all of a sudden, society has a problem, and it's
   5 a major public safety health issue for everyone either in
   6 that theater, mall, school. I truly believe this is a
   7 matter of public health, and it's going to have looked at
   8 it in that manner from a very wide, broad scope before we
   9 can effect some serious change and see serious results or
  10 positive outcomes.
  11          THE CHAIRMAN: Thank you, Chief Jackson, very
  12 much for your time and contributing to our deliberations.
  13          MR. JACKSON: Mr. Chair, thank you. And we
  14 strongly urge your support in moving this on to the house
  15 for a full vote.
  16          THE CHAIRMAN: Thank you, Chief.
  17          John Head.
  18          Mr. Head, welcome to the House Judiciary
  19 Committee, sir. We are glad to have you.
  20          Please state your name for the record and tell
  21 us who you represent and proceed with your testimony, sir.
  22 And if you could keep your testimony to two minutes, we
  23 would be grateful.
  24          MR. HEAD: I'll try.
  25          Thank you, Mr. Chairman, and ladies and
  0080
   1 gentlemen of the committee.
   2          My name is John Head. I am copresident of the
   3 Safe Colorado. Safe Colorado was organized 12 years ago as
   4 a strictly bipartisan organization to promote public safety
   5 by reducing gun violence.
   6          Back in 2000 we came before this -- this
   7 legislature to advocate five measures recommended by a
   8 commission organized by Governor Owens in the aftermath of
   9 the Columbine shooting. None of these measure made it out
  10 of the committees to which they were assigned.
  11          After we were turned away, we announced that we
  12 would take one of our measures, an initiative to close the
  13 gun show loophole that you heard a lot about today, to the
  14 ballot in the 2000 general election, and we did that.
  15          Over the spring, summer, and fall of 2000, Safe
  16 Colorado, with an entirely volunteer force, out of a
  17 membership of some 7,000 Colorado citizens had gathered
  18 over 110,000 signatures on a petition, and we didn't spend
  19 ten cents doing it.
  20          That petition, known as Amendment 22, closed the
  21 gun show loophole with 70 percent of the vote at the
  22 general election in November of that year. And
  23 incidentally, we beat George Bush by 20 points.
  24          Background checks do work. And you heard this
  25 -- all this information from Ron Sloan from the CBI, so I
  0081
   1 won't repeat any of it, except that I will note that these
   2 denials that he mentioned are based upon records which
   3 include homicides, assaults, kidnapping, sexual assaults,
                                                                                                    LEG HX 000514                   4429
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   4 and restraining    Case:and14-1290      Document:
                                   thus it seems         01019371763
                                                 rather obvious                       Date Filed: 01/16/2015           Page: 40
   5 that if one wants to limit the possession of guns to
   6 law-abiding citizens, an effective and efficient system of
   7 background checks would be an obvious place to start.
   8         Not only do background checks work, they are met
   9 with overwhelming approval by the public, and you've heard
  10 some of this today. Over 70 percent of the voters in
  11 Colorado in 2000 think that a statute requiring background
  12 checks was a reasonable common sense measure to prevent the
  13 wrong people from having easy access to guns, the public
  14 opinions -- the public attitudes today are even more
  15 positive.
  16          Every one of the polls taken since the shooting
  17 in Aurora shows this to be the case. For example, the
  18 Denver Post reported last month --
  19          THE CHAIRMAN: I'm afraid we don't have any
  20 time for those examples unless --
  21          MR. HEAD: Then let me --
  22          THE CHAIRMAN: Members of the committee -- yes,
  23 sir?
  24          MR. HEAD: If I could have one more paragraph.
  25          THE CHAIRMAN: Certainly, sir.
  0082
   1         MR. HEAD: All right.
   2         What these measures of public opinion tell you
   3 is that there's a big difference between the people here
   4 advocating on behalf of the gun lobby and the citizens of
   5 Colorado. And you have a judgment to make, and who are you
   6 going to listen to? Are you going to listen to the
   7 citizens of Colorado, or are you going to hear -- listen to
   8 paid lobbyists who want to have more guns in more hands of
   9 more people with no restrictions whatsoever?
  10          And I can assure you that with the track record
  11 that I have established, taking Amendment 22 to the voters
  12 and getting 22 percent of the voters to approve it, I know
  13 how that judgment is made by the public.
  14          I thank you for your attention. I entertain any
  15 questions you might have.
  16          THE CHAIRMAN: Thank you, Mr. Head.
  17          And are there any questions for Mr. Head?
  18          Representative (inaudible).
  19          UNIDENTIFIED SPEAKER: Do you have percentages
  20 of recent polls with regard to closing the loophole and
  21 requiring checks for private sales?
  22          MR. HEAD: Yes.
  23          THE CHAIRMAN: Mr. Head.
  24          MR. HEAD: Yes, thank you.
  25          Yes. Frank Luntz, who's a well known
  0083
   1 Republican pollster, did a poll last summer, and he found
   2 that 74 percent of the members of the National Rifle
   3 Association support the background checks conducted by
   4 everyone who buys a gun. He also found that 87 percent of
   5 non-NRA gun owners support background checks of people who
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   6 buy a Appellate
            gun.        Case: 14-1290 Document: 01019371763                           Date Filed: 01/16/2015           Page: 41
   7         UNIDENTIFIED SPEAKER: Thank you.
   8         THE CHAIRMAN: Thank you. Mr. Head, I want to
   9 tell you I thank you for coming here, sir, and I'm sorry we
  10 couldn't give you longer to present your testimony.
  11          MR. HEAD: I understand. Thank you very much
  12 for your courtesy and --
  13          THE CHAIRMAN: Thank you, sir.
  14          MR. HEAD: -- listening to me. Thank you.
  15          THE CHAIRMAN: Thank you, sir.
  16          Marjorie Sloan, please come forward.
  17          And just so witnesses know where we are,
  18 Marjorie Sloan is going to be followed by Don Macalady, Amy
  19 Miller, and then Ted Pascoe.
  20          Ms. Sloan, welcome. Please tell us who you are
  21 and who you represent and present your testimony.
  22          MS. SLOAN: Thank you, Mr. Chair, members of the
  23 committee.
  24          I am Marjorie Sloan, mayor of Golden. And I'm
  25 here today representing Golden City Council and also
  0084
   1 speaking as a member of the National Bipartisan Coalition
   2 of Mayors Against Illegal Guns. Both organizations support
   3 universal background checks.
   4         On this issue I'm often asked if Golden has a
   5 gun violence policy -- or problem, and the answer is: Gun
   6 violence menaces all of Colorado communities: urban,
   7 suburban, and rural. Golden is no different from Aurora or
   8 Newtown or Tucson. Colorado School of Mines is no
   9 different from Virginia Tech.
  10          The steady stream of shootings in our country
  11 has shocked all of us out of our trust in the safety of our
  12 homes, streets, schools, shopping areas, and gathering
  13 places.
  14          The facts are these: 62 percent of private gun
  15 sellers on the Internet agreed to sell a firearm to buyers
  16 who said they probably couldn't pass a background check.
  17 80 percent of criminals who used a gun in their crimes
  18 obtained one through a private sale.
  19          We've heard testimony demonstrating that
  20 background checks work to solve this problem. Colorado is
  21 a can-do state. If there is a hole in the fence, we want
  22 to fix it.
  23          At least 83 percent of Coloradans, including a
  24 large majority of NRA gun owners, want to fix the loophole.
  25 They recognize the value of background checks on all gun
  0085
   1 sales. Please listen to them and vote yes on HB-1229.
   2         THE CHAIRMAN: Mayor, thank you very much.
   3         Are there any questions for the witness?
   4         Representative Wright.
   5         REPRESENTATIVE WRIGHT: Thank you, ma'am, for
   6 your testimony.
   7         I would -- I would ask you this: You're stating
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   8 some statistics    Case:  14-1290
                             Are you aware Document:       01019371763
                                             of the statistic that                    Date Filed: 01/16/2015           Page: 42
   9 when we closed the alleged gun show loophole in 2000 that
  10 we actually saw a spike in the murder rate in Colorado
  11 between 2000 and 2004? And are you also aware of
  12 statistics from the U.K., where some of the most
  13 restrictive gun laws have been passed, far beyond simply
  14 background checks, in 1997, and the subsequent rise in the
  15 murder rate there from 13,874 annually in 1997 to 21,521
  16 gun-related murders in 2006?
  17          Are you aware of those statistics, ma'am?
  18          THE CHAIRMAN: Mayor Sloan, go ahead.
  19          MS. SLOAN: Excuse me.
  20          THE CHAIRMAN: Yeah.
  21          MS. SLOAN: Yes. Representative, I have been
  22 reading everything I can on this issue, and I understand
  23 that there are conflicting interpretations by
  24 statisticians.
  25          I also understand that the London -- or the
  0086
   1 England statistics include the subway bombings they had,
   2 which will throw the statics off in a lot of ways.
   3         I heard today Mr. Sloan, who I am not related to
   4 but I respect, you know, explain that background checks do
   5 work and that in St. Louis, when they actually -- Missouri
   6 -- took away the background check provision, the area was
   7 flooded with guns.
   8         So I don't think we're going to come to a
   9 resolution about this, unless you and I sit down and we can
  10 go through all the studies, and maybe we can do it.
  11          UNIDENTIFIED SPEAKER: Something to drink.
  12          THE CHAIRMAN: Mayor Sloan -- Representative
  13 Wright for a follow up.
  14          REPRESENTATIVE WRIGHT: Thank you for that.
  15          And I actually would -- I would enjoy getting
  16 together. This -- this is from the British Journal of
  17 Criminology, peer-reviewed journal, and it shows only
  18 firearms-related crimes. And the rise in crime from 1997,
  19 again, from 13,874 to 21,521 firearms-related. And this is
  20 far, far beyond a simple background check.
  21          My concern here is, again, that we're putting
  22 our best foot forward allegedly with this legislation, but
  23 we are not going to solve the problem.
  24          Thank you for your testimony.
  25          THE CHAIRMAN: Mayor Sloan, thank you so much
  0087
   1 for your time and giving us your views.
   2         MS. SLOAN: Thank you.
   3         THE CHAIRMAN: Don Macalady. I hope I haven't
   4 mispronounced that.
   5         REPRESENTATIVE McCANN: Mr. Chair.
   6         THE CHAIRMAN: Sorry, yes. Representative
   7 McCann.
   8         REPRESENTATIVE McCANN: Thank you.
   9         Both Representative Fields and I are needed
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  10 downstairs          Case:
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                                  bill. So could we have a01019371763
                                                            very                      Date Filed: 01/16/2015           Page: 43
  11 brief recess to allow us to head down, and we'll come right
  12 back?
  13          THE CHAIRMAN: Absolutely, Representative
  14 McCann and Representative Fields. Please do your civil
  15 duty.
  16          REPRESENTATIVE McCANN: Thank you.
  17          THE CHAIRMAN: And we will stand in brief
  18 recess until you've had the opportunity to vote.
  19          (A recess was taken at this time.)
  20          THE CHAIRMAN: The House Judiciary Committee
  21 will come to order.
  22          On next witness will be Karina Varga (sic), and
  23 she will be followed by Don Macalady, Amy Miller, and then
  24 Ted Pascoe.
  25          Karina Varga, please -- tell us your name for
  0088
   1 the record and who you represent, if anyone other than
   2 yourself, and proceed to give us your testimony.
   3         Welcome to the House Judiciary Committee.
   4 Thank you for being here.
   5         MS. VARGAS: Thank you for having me.
   6         My name is Karina Vargas, and I am a youth
   7 leader with Together Colorado.
   8         About two years ago, on December 6 of 2010, what
   9 seemed to be a regular day ended up being the worst day of
  10 my life.
  11          No one ever thinks it will happen to them, and
  12 then it happened to me. That year my life changed.
  13 Someone so carelessly took my will to walk. If it wouldn't
  14 have been for my friends that took my life in their hands
  15 and rushed me to the hospital, I wouldn't be speaking to
  16 you guys today. My 16th year of life nearly ended.
  17          Nothing would ever be the same. Even sleeping
  18 isn't the same. Everyone loves that good morning stretch
  19 when all their bones pop. I don't even get that anymore.
  20 Even when I'm exhausted from pushing myself in my
  21 wheelchair all day, I still have to lift my body and lay
  22 myself in bed.
  23          After the shooting I had a fear of going back to
  24 school because I felt like somebody was after me. That day
  25 not only changed my life -- my physical life, it literally
  0089
   1 changed everything. I was left with nothing. My friends
   2 abandoned me. I was left alone. Never would I wish this
   3 on anybody because it's no fun.
   4         Until this day there's not one second that
   5 passes by that I don't wish that I could walk. It's a
   6 journey I'm willing to take, and I won't give up until I
   7 do.
   8         If this -- if this law had not been -- if this
   9 law had been in place, I wouldn't be in the situation I am
  10 in now. My goals will be completely different, but I
  11 believe that God could move mountains, and he'll help me
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               this. I'mCase:  14-1290
                         here today to shareDocument:   01019371763
                                             my story and bring                       Date Filed: 01/16/2015           Page: 44
  13 awareness to what gun violence causes to innocent people in
  14 our communities.
  15         For those who oppose this bill and don't think
  16 it's a problem because they haven't experience gun
  17 violence, you take your kids to school thinking they will
  18 be safe and the unthinkable happens.
  19         Thank you.
  20         THE CHAIRMAN: Thank you, Ms. Vargas. Thank
  21 you for sharing your experience with us here today.
  22         Are there any questions for this witness?
  23         Thank you so much.
  24         MS. VARGAS: Thank you.
  25         THE CHAIRMAN: Thank you.
  0090
   1         Mr. Don Macalady, please. Come forward, sir.
   2         Please state your name for the record. Tell us
   3 who you represent, if anybody other than yourself, and
   4 proceed to give us your testimony.
   5         MR. MACALADY: Chairman Kagan, members of the
   6 Judiciary Committee, thank you so much for this opportunity
   7 to speak to you today.
   8         My name is Donald Macalady, and I represent an
   9 organization called Hunters Against Gun Violence.
  10         Our group was established several weeks ago to
  11 put to rest the notion all gun owners, specifically
  12 hunters, are opposed to reasonable legislation concerning
  13 firearms. We are a growing group of hunters and include
  14 hunters varying in age from 20 to 75, and we strongly
  15 support House Bill 13-1229.
  16         As a young man, I joined the NRA to learn gun
  17 safety and to participate in their educational programs. I
  18 left the NRA many years ago as it moved primarily from a
  19 gun-safety organization to a gun organization.
  20         I have lived in Colorado for the past 30 years.
  21 I've lived and hunted in Colorado. All my children are
  22 hunters. My family and the members of our organization are
  23 testimony to the fact that many, if not most, gun owners do
  24 not oppose sensible gun legislation.
  25         As hunters we understand that gun ownership
  0091
   1 means responsibility. We all believe in and support the
   2 Second Amendment. This is, in fact, one reason that we
   3 urge the passage of HB13-1229. It actually protects our
   4 Second Amendment right by making sure that guns do not fall
   5 into the wrong hands, the hands of those who are not able
   6 or willing to handle the serious responsibility of gun
   7 ownership.
   8         Despite the makeup of the people in this
   9 chamber, polls in Colorado and other similar states, in
  10 fact, show that over 85 percent of voters support universal
  11 background checks. Even among NRA members a recent
  12 national survey showed that 75 percent of NRA members
  13 support universal background checks.
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             So take comfort   14-1290      Document:
                                 the fact that the voters 01019371763
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  15 Colorado know what is in their best interest, something the
  16 NRA does not know, and about which it shows little or no
  17 concern.
  18         Thank you for your attention.
  19         THE CHAIRMAN: Thank you very much,
  20 Mr. Macalady.
  21         Are there any questions for this witness?
  22         Sir, has your organization had a chance to
  23 consider the exceptions that are made for hunters and the
  24 temporary transfers that take place in this bill, and are
  25 they satisfactory to your organization?
  0092
   1         MR. MACALADY: Yes, we have. As a matter of
   2 fact, part of my testimony that I scratched off because of
   3 the time limit had to do with that very -- that very
   4 stipulation. I'm very happy that this bill takes that into
   5 account in a very constructive and I think in a very
   6 complete way.
   7         THE CHAIRMAN: Thank you very much.
   8         Are there any other questions for Mr. Macalady?
   9         Thank you, sir.
  10         MR. MACALADY: Thank you very much.
  11         THE CHAIRMAN: Our next witness is Amy Miller.
  12         Please come forward.
  13         Ms. Miller, please tell is your name for the
  14 record. Welcome to the House Judiciary Committee. We are
  15 glad to have you.
  16         Tell us who you represent, if anyone other than
  17 yourself, and proceed with your testimony. And if you
  18 could keep it to two minutes, plus questions, we would be
  19 grateful.
  20         MS. MILLER: Thank you, Mr. Chair and members
  21 of the committee.
  22         My name is Amy Miller. I represent the Colorado
  23 Coalition Against Domestic Violence. We're a statewide
  24 nonpartisan, nonprofit organization representing the
  25 domestic violence organizations around the state of
  0093
   1 Colorado who serve thousands of women and children and men
   2 who are victims of domestic violence each year.
   3         On December 8 of last year, just a few days
   4 after the tragedy in Newtown, there was another mass
   5 shooting in Longmont, Colorado. It was a domestic violence
   6 shooting in which three victims were murdered followed by
   7 the perpetrator's suicide.
   8         The domestic violence offender, Daniel Sanchez,
   9 had just been released six hours prior from an overnight
  10 stay in jail for holding his ex-girlfriend hostage for
  11 several hours, assaulting her, stealing her cell phone, and
  12 sending threatening text messages to her new boyfriend.
  13         Sanchez was released at 10:00 p.m. Monday night,
  14 and at 4:00 a.m. he shot and killed his ex-girlfriend,
  15 Beatrice Sentora-Silva, age 25; her sister, age 22; and her
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  16 brother-in-law,   Case:
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                               with a .45-caliber  Glock 01019371763
                                                          handgun.                    Date Filed: 01/16/2015           Page: 46
  17         Under federal law, individuals who have been
  18 convicted of a qualifying misdemeanor conviction for
  19 domestic violence or who are subject to a qualifying
  20 protection order for domestic violence, like Sanchez was,
  21 can't legally buy or possess firearms, but an estimated 30
  22 to 40 percent of guns are purchased without background
  23 checks making thorough enforcement of the law all but
  24 impossible and creating a loophole through which domestic
  25 abusers obtain guns.
  0094
   1         Here in Colorado in 2011, the most recent year
   2 for which data is available, at least 13 of the 34 domestic
   3 violence deaths in our state occurred in cases where the
   4 domestic violence offender used a firearm despite being
   5 prohibited under the law from purchasing or possessing
   6 firearms.
   7         Studies reveal that the presence of firearms
   8 significantly increase the lethality of domestic violence
   9 incidents. According to one of these studies, domestic
  10 violence assaults involving a firearm are 23 times more
  11 likely to result in death than those involving other
  12 weapons or bodily force. Another such study found that
  13 abused women are five times more likely to be killed by
  14 their abuser if their abuser is in possession of a firearm.
  15         According to Department of Justice statistics in
  16 states that require background checks for every handgun
  17 sale, 38 percent fewer women are shot to death by intimate
  18 partners. 38 percent fewer woman.
  19         We know existing background checks keep guns
  20 out of the hands of domestic abusers and that lives will be
  21 saved in this state by keeping guns out the hands of even
  22 more of those abusers.
  23         Please take this opportunity to keep Colorado's
  24 women and children safe. I urge your vote in favor of
  25 House Bill 1229. The coalition is strongly in support of
  0095
   1 this legislation.
   2         Thank you.
   3         MR. CHAIRMAN: Ms. Miller, thank you for taking
   4 the time to come and help us make this decision today.
   5         Representative Lee.
   6         REPRESENTATIVE LEE: Thank you, Mr. Chairman.
   7         Ms. Miller, was it your testimony that the 34
   8 cases of domestic violence murders in Colorado were by
   9 individuals who would have been prohibited from getting a
  10 firearm had this law been in effect? Is that a fair
  11 interpretation?
  12         THE CHAIRMAN: Ms. Miller.
  13         MS. MILLER: Thank you, Mr. Chair.
  14         Representative Lee, there were 34 deaths due to
  15 domestic violence in 2011, and 13 of those, I believe,
  16 according to news accounts, could have been prohibited had
  17 this law been in effect.
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                                      LEE: Thank  you for01019371763
                                                          the                         Date Filed: 01/16/2015           Page: 47
  19 clarification.
  20         THE CHAIRMAN: Thank you so much, Ms. Miller,
  21 for coming forward today. We appreciate it. Thank you.
  22         MS. MILLER: Thank you for your time.
  23         THE CHAIRMAN: We're glad to have you here and
  24 glad to have your perspective, Ms. Miller.
  25         Mr. Ted Pascoe. And Mr. Pascoe will be
  0096
   1 followed by Reverend Anastos (phonetic) and then Sheriff
   2 Grayson Robinson.
   3         So, Mr. Pascoe, please tell us your name for the
   4 record and who you represent, and proceed to give us your
   5 testimony. If you could keep it to two minutes, that would
   6 be much appreciated, sir.
   7         MR. PASCOE: Thank you very much.
   8         My name is Ted Pascoe, and I'm testifying on
   9 behalf of Colorado Cease Fire, which is an organization
  10 that has been fighting for stronger gun laws in Colorado
  11 for 14 years. We are here to voice our enthusiastic
  12 support for HB-1229.
  13         I'll skip the parts that have been covered by
  14 other witnesses and just mention a few things that I don't
  15 think have really been touched on yet.
  16         Backgrounds checks prior to all gun sales would
  17 preserve public safety and provide peace of mind to the
  18 seller, assuring him he's not selling to a criminal.
  19 Private gun sellers have a competitive advantage over
  20 licensed dealers because dealers must subject all buyers to
  21 background checks. This legislation will level the playing
  22 field for responsible licensed gun dealers.
  23         To those opponents of this legislation who
  24 would invoke the Second Amendment, let's turn to the
  25 landmark 2008 Heller decision in which the U.S. Supreme
  0097
   1 Court found background checks to be reasonable and
   2 constitutional.
   3         The majority -- the majority opinion written by
   4 Justice Scalia reads, quote, "Like most rights, the Second
   5 Amendment is not unlimited. The Court's opinion should not
   6 cast doubt on longstanding prohibitions on the possession
   7 of firearms by felons and the mentally ill or laws imposing
   8 conditions and qualifications on the sale of firearms," end
   9 quote.
  10         In a recent poll by Keating Research, 80 percent
  11 of Coloradans favor background checks prior to all gun
  12 sales. In another recent poll by the Denver Post, the
  13 response in favor to the same question was 83 percent.
  14         There is overwhelming public support for
  15 background checks prior to all gun sales. On behalf of
  16 Colorado Cease Fire, I ask for a yes vote on HB-1229.
  17         Thank you.
  18         THE CHAIRMAN: Mr. Pascoe, thank you very much
  19 for your testimony.
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  20        Appellate  Case:Wright.
              Representative   14-1290 Document: 01019371763                          Date Filed: 01/16/2015           Page: 48
  21          REPRESENTATIVE WRIGHT: Thank you, Mr. Pascoe.
  22 I appreciate you testimony.
  23          What I'm hearing from you and other members that
  24 are testifying today is that there is overwhelming support
  25 for this from the people of the state of Colorado.
  0098
   1         I would ask you this: If there is indeed
   2 overwhelming support, why has your organization, who has
   3 been operating in this state for the past 14 years, not
   4 promulgated a referendum and sent this to a vote of the
   5 people?
   6         THE CHAIRMAN: Mr. Pascoe.
   7         MR. PASCOE: Well, a coalition of organizations
   8 concerned about passing stronger gun laws and preventing
   9 gun violence did, in fact, pass a referendum requiring
  10 background checks at gun shows in 2000.
  11          THE CHAIRMAN: Thank you, Mr. -- Representative
  12 Wright.
  13          REPRESENTATIVE WRIGHT: And I thank you, and I
  14 would both note that in that referendum, person-to-person
  15 transfers were not included, correct?
  16          THE CHAIRMAN: Mr. Pascoe.
  17          MR. PASCOE: That's correct.
  18          THE CHAIRMAN: Representative Court.
  19          REPRESENTATIVE COURT: Thank you, Mr. Chair.
  20          Please say hello to your mother for me,
  21 Mr. Pascoe.
  22          MR. PASCOE: Thank you.
  23          REPRESENTATIVE COURT: To the comment about
  24 whether or not you have gone to the ballot, it is my
  25 recollection that the reason that the gun show loophole was
  0099
   1 closed after Columbine was that this body -- I wasn't a
   2 member yet -- refused to act as representatives of the
   3 people and therefore the group that felt strongly about
   4 closing the gun show loophole felt forced to go to the
   5 ballot.
   6         I am correct?
   7         THE CHAIRMAN: Mr. Pascoe.
   8         MR. PASCOE: That's correct. There was a bill
   9 sponsored by Senator Ken Gordon that failed in committee
  10 which would have required background checks for all sales
  11 at gun shows, and also the guns acquired at Columbine were
  12 acquired at a gun show. So I think those were the two
  13 motivating factors for those of us who worked very hard to
  14 get that on the ballot.
  15          THE CHAIRMAN: Representative Court.
  16          REPRESENTATIVE COURT: Thank you, Mr. Chair.
  17          So now we have another opportunity for this body
  18 to act as representatives of the people, which we are
  19 elected to do, and pass this law, which would then prevent
  20 the need for you to go to the ballot.
  21          Am I correct?
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  22       Appellate   Case: 14-1290
             THE CHAIRMAN:                 Document: 01019371763
                                   Mr. Pascoe.                                        Date Filed: 01/16/2015           Page: 49
  23         MR. PASCOE: That's correct. 40 percent -- as
  24 we've heard today, 40 percent of all gun sales are not
  25 subject to background checks. So that's the reason why
  0100
   1 we're here today and trying to ask the state legislature to
   2 address that issue.
   3        THE CHAIRMAN: Mr. Pascoe, thank you for coming
   4 today. We appreciate your testimony and you having taken
   5 the time.
   6        MR. PASCOE: Thank you.
   7        THE CHAIRMAN: The next witness is Reverend
   8 George Anastos. And as Mr. Anastos comes forward, I
   9 understand that the sheriff of Arapahoe County, Sheriff
  10 Robinson, who wants to be next, after that -- that first
  11 witness, would like to be accompanied by some other members
  12 of the -- other sheriffs.
  13         So Representative Fields.
  14         REPRESENTATIVE FIELDS: Thank you, Mr. Chair.
  15         And our sheriff of Arapahoe County had to leave
  16 early, so he will not be testifying today.
  17         THE CHAIRMAN: Thank you, Representative
  18 Fields. That frees up one testimony slot, unless the other
  19 sheriffs that he was going to testify with as a group would
  20 like to be after Reverend Anastos.
  21         Reverend Anastos, would you please come forward.
  22         Reverend Anastos is absent.
  23         Are the sheriffs that were going to testify as a
  24 group available to testify?
  25         Well, if they are not, we will carry on to Deb
  0101
   1 McGuire and Mike McGuire, who I understand want to testify
   2 together. Please come forward.
   3        Ms. McGuire, Mr. McGuire, please state your --
   4        MS. McGUIRE: Thank you. Actually --
   5        THE CHAIRMAN: Tell us who you represent, if
   6 anybody other than yourselves --
   7        MS. McGUIRE: Okay.
   8        THE CHAIRMAN: -- and proceed with your
   9 testimony.
  10         MS. McGUIRE: Actually, Michael McGuire is my
  11 husband, and I usually go by my own name, which is Debbie
  12 Kaller, but I also go by McGuire.
  13         Chairman Kagan and other House Judiciary
  14 Members, we are here to represent our own point of view, by
  15 the way. I think everyone here shares a belief in our
  16 First Amendment right. We thank you for this opportunity
  17 to share our values. We also wish to thank the sponsors
  18 for bringing this bill.
  19         As passionate gun violence control advocates, we
  20 both strongly support HB-1229, background checks for
  21 private transfers. We are very concerned for our safety,
  22 as well as the safety of our loved ones, and of all
  23 Colorado citizens.
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  24       Appellate
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                                                 anyone should be                     Date Filed: 01/16/2015           Page: 50
  25 able to purchase or transfer firearms without first being
  0102
   1 subject to a thorough background check.
   2        MR. McGUIRE: As indicated earlier, random
   3 polls show that even among gun owners there is overwhelming
   4 support for gun -- the gun control measures that are
   5 included in this bill, and there is also even more
   6 overwhelming support among nongun owners.
   7        We do not believe that House Bill 1229 violates
   8 Second Amendment rights, as interpreted by the U.S. Supreme
   9 Court. In fact, we believe that this bill certainly shows
  10 respect for Second Amendment rights.
  11         We believe that the legacy of this legislature
  12 can be safer communities for all our citizens in Colorado.
  13 We believe that this bill is part of that legacy and
  14 encourage you to vote yes for that future.
  15         Thank you.
  16         THE CHAIRMAN: Thank you both.
  17         Are there any questions for these witnesses?
  18         We very much appreciate you taking the time.
  19 Thank you for being here.
  20         Our next witness is going to be Chuck Saxton
  21 (phonetic).
  22         Is Mr. Chuck Saxton here?
  23         UNIDENTIFIED SPEAKER: He left.
  24         THE CHAIRMAN: In that case -- oh, Mr. Saxton.
  25 Welcome, sir.
  0103
   1        Welcome to the Judiciary Committee. Thank you
   2 for being here. Please give us your name for the record.
   3 Tell us who you represent, if anyone other than yourself,
   4 and proceed with your testimony.
   5        MR. SAXTON: Thank you.
   6        My name is Chuck Saxton. I do represent myself.
   7 I'm a Colorado resident and a Colorado voter, a member of
   8 Pheasants Forever, of Ducks Unlimited, a gun owner, a
   9 hunter, a father, and a grandfather.
  10         I began carrying a single-shot 28-gage shotgun
  11 when I was five years old. It was empty. When I was eight
  12 years old, I started hunting pheasants. Since then I've
  13 hunted big game and numerous small game.
  14         Some of my deepest and most treasured memories
  15 are of hunting with my father and with my -- and with my
  16 brothers. I would give all that up right now if that would
  17 bring back the children from Newtown, Connecticut. It
  18 can't, of course.
  19         I would also give all that up right now if that
  20 were necessary to save my children's lives or any of the
  21 children of any of the parents in this room. I have a hard
  22 time imagining anyone in this room feels differently.
  23         But I don't think we need to treat this gun
  24 control debate as an either/or situation, as an
  25 all-or-nothing conversation. I think it is entirely
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   1 reasonable for us to give up some gun rights because I
   2 believe there is a much more profound right of our children
   3 and our grandchildren to have a life.
   4         I understand that no amount of guns or gun
   5 restrictions can save all lives, but I refuse to accept the
   6 notion that there is nothing we can do about gun control to
   7 save many lives.
   8         I believe giving up rapid-fire shooting is part
   9 of an increasingly -- is part of an appropriate response to
  10 the carnage we are seeing inflicted upon our children.
  11 High-capacity magazines, as some fantasize, certainly are
  12 not going to help my neighbors and me either assist or
  13 resist the U.S. military, and such magazines most certainly
  14 are not necessary for shooting targets for hunting.
  15          I was taught to aim carefully and make my shot
  16 count. I recall my father only once ever used more than
  17 one rifle shot. Limiting our shots will make us better
  18 hunters and a safer society.
  19          I support background checks on all family -- on
  20 all but family gun transfers. I encourage fees to support
  21 those backgrounds checks, and I support restricting all
  22 firearm capacities to two or three bullets.
  23          Thank you.
  24          THE CHAIRMAN: Now, please. I've -- I've
  25 really asked if you agree with something the witness says
  0105
   1 or if you disagree with something the witnesses says,
   2 please tell the press, tell your friends, or tell us here
   3 when you testify, but don't applaud. Don't boo. This is
   4 not theater. This is not a political rally. This is a
   5 hearing to determine public policy. So I would ask people
   6 to treat it with appropriate respect. And if -- those who
   7 can't, I will ask to leave.
   8         Thank you, Mr. Saxton.
   9         Are there any questions for this witness?
  10          THE CHAIRMAN: Thank you very much, sir, for
  11 coming and giving us your views.
  12          MR. SAXTON: Thank you.
  13          THE CHAIRMAN: The next -- we have only a few
  14 more witnesses that we have time for, so I will keep going
  15 through the list.
  16          We have Jessica Watts, if she is here.
  17          Jessica Watts, welcome.
  18          Please tell us your name, Ms. Watts. We
  19 appreciate your being here, and tell you us who you
  20 represent and present -- give us your testimony.
  21          MS. WATTS: My name is Jessica Watts, and I'm
  22 here today in support of proposals to curb gun violence. I
  23 am personally affected four times since 1999 with gun
  24 violence, each being in the state of Colorado. Most
  25 recently was my cousin Jonathan Blunk, and he was murdered
  0106
   1 in Aurora, Colorado.
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   3 solutions to stop families like mine from being forced to
   4 live with pain and suffering. Background checks will help
   5 prevent guns from getting into the hands of the wrong
   6 people.
   7         Having to start somewhere, I think it is the
   8 least that we can do is asking you guys to start by making
   9 changes to prevent this from happening because no one is
  10 immune. And, you know, I'm here directly for my cousin
  11 Jonathan, because not only was he in the Navy, but his
  12 dream was to be a Navy Seal, and he never got that chance
  13 because he was affected by gun violence.
  14         THE CHAIRMAN: Ms. Watts, thank you so much for
  15 coming here today.
  16         Are there any questions for Ms. Watts from
  17 members of the committee?
  18         We appreciate you sharing your experience. We
  19 know it's not easy, and thank you.
  20         The next witness that I'm going to call forward
  21 is Stu Fraser. And after Mr. Fraser, if the following
  22 witnesses could -- if you're in the overflow room, come
  23 here because we are going to be calling you. It's going to
  24 be Dave McCally, Vince Markovchick, and Jennifer Hope, and
  25 -- and Steven Wewier (phonetic).
  0107
   1         Mr. -- yes, Representative Fields.
   2         REPRESENTATIVE FIELDS: Thank you.
   3         And we also have a representative here for --
   4 from 1 Million Moms Against Gun Violence. I would like to
   5 make sure she gets an opportunity to speak.
   6         THE CHAIRMAN: We would be glad to make her the
   7 witness directly following Mr. Fraser.
   8         Mr. Fraser, welcome. Please give us your name
   9 and who you represent and present your testimony. Thank
  10 you for being here.
  11         MR. FRASER: Mr. Chairman and members of the
  12 committee, my name is Stuart Fraser. I'm the mayor of
  13 Telluride. I'm here representing the National Coalition
  14 of Mayors Against Illegal Guns and the town council of
  15 Telluride.
  16         Gun violence impacts all of us. Every day
  17 across the United States, 33 or 34 -- I've heard both
  18 numbers today -- people are murdered with guns. That one
  19 extra person matters.
  20         Gun violence isn't just a tragic drama that
  21 unfolds on television when individuals decide to commit
  22 mass murder. Gun violence is common, and it is easy to let
  23 it fade into the background when it happens so often. One
  24 thing is certain: For those it does impact, it will never
  25 be forgotten. If they live, they will live with trauma for
  0108
   1 the rest of their lives. If they don't live, then their
   2 loved ones will carry that heartbreak to their graves.
   3         There are more than 300 million guns in the
                                                                                                    LEG HX 000527                   4442
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   4 privateAppellate   Case:
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                                                   My focus  is to                    Date Filed: 01/16/2015           Page: 53
   5 underscore the need for law enforcement tools that can be
   6 used to keep guns out of the hands of criminals and
   7 individuals with mental health issues in an environment
   8 where weapons proliferation is a serious concern.
   9         Background checks are the most effective method
  10 for reducing and preventing gun crime. Criminals actually
  11 do submit to background checks. In 2010 the FBI denied
  12 76,000 prohibited purchasers, the majority of whom were
  13 felons, a firearm.
  14         But even if dangerous people don't submit to
  15 background checks, the law would still be effective. Some
  16 laws act as deterrents, others are punitive, and some are
  17 both. Rape laws don't stop all rapes, but we still have
  18 them and punish them, those who violate that law.
  19         In concluding, Mayors Against Illegal Guns is
  20 not a gun-control organization. We are a crime-control
  21 organization. Our purpose is not to deprive people of
  22 their rights. It is to ensure that everyone's rights are
  23 protected, whether we choose to carry a gun or not.
  24         Rights as defined in the Declaration of
  25 Independence. This document enshrines three basic rights:
  0109
   1 the rights to life, liberty, and the pursuit of happiness.
   2 The right to life is the only fundamental right from which
   3 all other rights are derived.
   4         Background checks are a major step in the
   5 direction of allowing all of us to have our rights
   6 protected. We believe this bill will have an enormous
   7 impact on public safety, and I ask you to please vote yes
   8 on HB-1229.
   9         Thank you.
  10         THE CHAIRMAN: Thank you very much, Mayor
  11 Fraser.
  12         Are there any questions for the mayor?
  13         Thank you, Mr. Mayor. We really appreciate you
  14 being here.
  15         Oh, Representative Court.
  16         REPRESENTATIVE COURT: Thank you, Mr. Chair.
  17         Thanks for being here, Mayor.
  18         Can you tell me how many mayors, how many
  19 cities, are involved in the organization you represent?
  20         THE CHAIRMAN: Mr. Fraser.
  21         MR. FRASER: I didn't bring that sheet up, but
  22 there are over 850 mayors across the nation. There are a
  23 variety of towns. There are 65 million people that are
  24 represented by those 850 mayors.
  25         REPRESENTATIVE COURT: Thank you.
  0110
   1         THE CHAIRMAN: Thank you, Mayor Fraser. And
   2 thank you for testifying here today.
   3         MR. FRASER: Thank you for having this hearing.
   4         THE CHAIRMAN: Thank you, Mr. Mayor.
   5         Representative Fields, the next witness that
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   6 you wanted         Case:
                   to bring    14-1290
                            forward was? Document: 01019371763 Date Filed: 01/16/2015                                  Page: 54
   7         REPRESENTATIVE FIELDS: Mr. Chair, Jennifer
   8 Hope.
   9         THE CHAIRMAN: Jennifer Hope. Thank you.
  10          Jennifer Hope, please come forward. State your
  11 name, tell us who you represent, if anyone other than
  12 yourself, and give us your testimony.
  13          MS. HOPE: Thank you for having me here today.
  14 My name is Jennifer Hope, and I'm with the 1 Million Moms
  15 for Gun Control, the Denver chapter, but I'm here today
  16 mostly just as a mom -- and as a native of Colorado. As of
  17 this year, I will have lived here for 50 years, and what we
  18 do here matters to me.
  19          With my oldest four children, I lived through
  20 the horrors of Columbine and waiting and worrying all those
  21 long hours while we waited to see if their friends and
  22 neighbors had survived that.
  23          Now, with my younger four children, that I've
  24 adopted in the last few years, my job is not only to love
  25 and take care of them, but to protect them. And I feel
  0111
   1 that this bill can help me do that job. I can't protect
   2 them if -- if people who are not supposed to have guns are
   3 allowed to have them or if they are able to get them. I'm
   4 powerless against that. I can't do anything. This bill
   5 would help me to do that job better, my job better.
   6         THE CHAIRMAN: Thank you, Ms. Hope.
   7         Are there any questions for this witness?
   8         Ms. Hope, thank you for taking the time to come
   9 and testify here today. We appreciate it.
  10          Our next witness -- we are getting close to
  11 running out of time because we are allotting the same two
  12 hours of actual witness testimony time and question and
  13 answer to both sides, and we are actually running out on
  14 the side of the proponents. But we do have time for Vince
  15 Markovchick, if he is here.
  16          Dr. Markovchick, welcome.
  17          DR. MARKOVCHICK: Thank you.
  18          THE CHAIRMAN: Please state your name and tell
  19 us your -- what you have to say.
  20          DR. MARKOVCHICK: My name is Vince Markovchick.
  21 I'm an emergency medicine physician for the past 39 years,
  22 and I'm here on behalf of myself.
  23          I've worked at Denver Health in the emergency
  24 department for 32 years and was director of emergency
  25 medical services there for 20 years, completing that time
  0112
   1 in 2009. I have personally seen up close and personal
   2 hundreds of gunshot wound victims, since we are the Level 1
   3 trauma center for Denver.
   4         I have seen the personal tragedy and heartache
   5 from the victims, as well as their families. I am here to
   6 support common sense gun legislation, that if it keeps just
   7 a few people who should not have access to weapons, and far
                                                                                                    LEG HX 000529                   4444
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   8 too many    people Case:  14-1290
                        have easy  access toDocument:
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   9 decreases at all the gun violence, I think that's a very
  10 positive step.
  11         I also need to remind everybody here that the
  12 statistics that were all cited so far have been fatalities
  13 from gunshot wounds. The vast majority of gunshot wounds
  14 do not die because of excellent trauma care. They survive,
  15 but they live with these wounds for the rest of their life.
  16         Thank you.
  17         THE CHAIRMAN: Dr. Markovchick, thank you so
  18 much for your testimony.
  19         Representative Lee.
  20         REPRESENTATIVE LEE: Thank you, Mr. Chairman.
  21         Doctor, do you have any idea the number of
  22 people who are afflicted by gunshot wounds in the course of
  23 a year, five years, ten years?
  24         THE CHAIRMAN: Dr. Markovchick, go ahead.
  25         DR. MARKOVCHICK: Those statistics are very
  0113
   1 difficult to come by because of research that's been
   2 prohibited on the -- at a national level by some former
   3 legislation. The numbers I can come by is there is well
   4 over 10,000 persons a year who are victims of gunshot wound
   5 violence.
   6         THE CHAIRMAN: Representative Lee.
   7         REPRESENTATIVE LEE: In Colorado, sir?
   8         MR. MARKOVCHICK: In Colorado, I do not know
   9 that I have those statistics. At Denver Health I believe
  10 we would average about 200 victims a year.
  11         REPRESENTATIVE LEE: Thank you, sir.
  12         THE CHAIRMAN: Dr. Markovchick, thank you so
  13 much for coming to testify here today.
  14         DR. MARKOVCHICK: Thank you.
  15         THE CHAIRMAN: We appreciate it.
  16         Is Dave McCally here?
  17         Dave McCally, please come forward.
  18         Oh, we did? Okay.
  19         Steven Wewier, please come forward and give us
  20 your testimony.
  21         Is Steven Wewier here, who has requested to
  22 testify?
  23         Amy Moore.
  24         Are there any others with us here to testify in
  25 support of House Bill 1229 and who have not yet had the
  0114
   1 opportunity to testify?
   2         Please come forward, ma'am.
   3         You are welcome. Your testimony is appreciated.
   4 Are you signed up to testify?
   5         MS. CROOK: Yes, I did sign up. I'm not sure
   6 where it is, but I signed up.
   7         THE CHAIRMAN: Well, thank you --
   8         MS. CROOK: My name is Terry Crook.
   9         THE CHAIRMAN: Terry Crook.
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              MS. CROOK:Case:I'm14-1290       Document:
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                                                   Colorado.                          Date Filed: 01/16/2015           Page: 56
  11          THE CHAIRMAN: And who do you represent, if
  12 anyone other than yourself?
  13          MS. CROOK: I represent my parents and my
  14 family. My parents were victims of gun violence.
  15          THE CHAIRMAN: Thank you, Ms. Crook. Please
  16 proceed.
  17          MS. CROOK: Okay. On March 29, 1990, my
  18 daughter Katie was born. Ten days later I was flying to
  19 Ohio for the funeral of my mom and my dad. They never saw
  20 her.
  21 They were murdered by my mom's uncle, who said -- who shot
  22 them, and also he shot himself.
  23          After -- weeks after the murder or right after
  24 the murders, I saw an article in the newspaper, and the
  25 police were quoted as saying, Well, we had many encounters
  0115
   1 with him. We could see he was getting crazier and crazier.
   2 We thought he might shoot himself, but we never thought
   3 he'd shoot someone else.
   4         My mom's uncle was mentally ill and -- but had
   5 been a gun owner all of his life, and so he had a lot of
   6 guns. But then, when he became older -- he was almost 70
   7 and mentally ill -- then, of course, he had these guns.
   8         So -- but if for some reason -- if there were
   9 background checks in that case, my parents would have been
  10 alive because my -- might have still been alive if the
  11 police would have checked and made sure that this person
  12 did not have guns through some sort of system that they
  13 might have, if there were records. And anyway -- or if the
  14 police had more power to report the mentally ill. But at
  15 the very least, background checks for everyone.
  16          So no one did anything to take away the guns of
  17 a mentally ill person, and my parents were dead because of
  18 it. And they lost their right to life. And I hear a lot
  19 of people who want their rights to own a gun, but what
  20 about the people who lose their right to life? I mean,
  21 that's your first life.
  22          You can't help but thinking after something like
  23 this happens: What is the cost of a bullet? Is it a
  24 dollar? Is that the price of a life, a dollar? You know,
  25 it makes no sense. And my daughter never saw her
  0116
   1 grandparents. It's senseless, and anything you can do to
   2 stop it, please do.
   3         And 10-round magazines, that's a no-brainer. We
   4 don't need those. They kill way too many people.
   5         THE CHAIRMAN: Thank you, ma'am. We really
   6 appreciate -- if you'll just stay -- stay with us in case
   7 there are any questions for this witness.
   8         No. Thank you so much. Thank you for giving
   9 us the benefit of your experience and insight.
  10          Representative Fields.
  11          REPRESENTATIVE FIELDS: Thank you, Mr. Chair.
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             I invited my      14-1290
                           pastor          Document:
                                  to come forward.    This01019371763
                                                           is                         Date Filed: 01/16/2015           Page: 57
  13 Reverend Timothy Tyler.
  14         THE CHAIRMAN: Thank you, Representative
  15 Fields.
  16         Representative (sic) Tyler, welcome.
  17         DR. TYLER: Thank you.
  18         THE CHAIRMAN: Please state your name for the
  19 record, and let us know what you have to say, and who you
  20 represent as well.
  21         DR. TYLER: I'm Dr. Timothy Tyler, and I am the
  22 pastor of Shorter Community African Methodist Episcopal
  23 Church here in Denver, Colorado, the oldest African
  24 American church in the state of Colorado. And I represent
  25 my church, and I represent my community.
  0117
   1         THE CHAIRMAN: Thank you, Reverend.
   2         MR. TYLER: I want to thank you for the
   3 opportunity to speak to this issue, the issue of gun
   4 violence and the need for sensible laws to protect the
   5 welfare of all of our citizens.
   6         When I was asked to appear today, I called my
   7 17-year-old son, and I asked him what I should say. First
   8 he said, Dad, tell them about girl, and when he said, Tell
   9 them about the girl, I understood what he was talking
  10 about.
  11         He was talking about events that happened after
  12 July 20, 2012, when the theater was shot up. We -- my son
  13 and I went down to the high school where the families were
  14 waiting for word on who had lived and who had died in the
  15 theater.
  16         While there, we met a girl. She was in tears.
  17 She was in distress. She had said to us that while in the
  18 theater, her boyfriend shielded her from the bullets and
  19 pushed her under the seat and she had not seen him since.
  20 So she did not know whether he was dead or alive, and she
  21 was in great distress.
  22         So I asked her if she wanted us to pray with
  23 her, and she hesitated and really didn't want prayer.
  24 Then I said, Well, can we hug you? And she allowed me to
  25 hug her. We had a group hug. My son was there, and I
  0118
   1 could tell just by looking at him that it had affected him
   2 -- it had affected him greatly. As I watched my son
   3 participate in this group hug, I could tell that he was
   4 visibly shaken by the scene of people in pain and helpless.
   5         On the Saturday after the shooting, the young
   6 people who are members of my church met to talk about the
   7 shootings. My son was a part of that gathering. The young
   8 people wept about their friends and relatives who were in
   9 the theater, and they struggled to make sense out of a
  10 culture and community that fails to protect innocent
  11 people.
  12         The next week I was asked to officiate at one of
  13 the funerals of the persons who died in that Aurora
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  14 shooting.   My son Case:  14-1290
                          was not           Document:
                                   at the funeral,        01019371763
                                                   but there were     Date Filed: 01/16/2015                           Page: 58
  15 hundreds of teenagers and young people there. I saw their
  16 faces, and when I saw their faces, I saw my son's face.
  17         I'm here today because my 17 -- I'm here today
  18 because of my 17-year-old son. Our street have become
  19 increasingly violent, and they have been violent long
  20 before Aurora or Connecticut, but this is the time and the
  21 place to take action so that our children can have a
  22 future.
  23         Urban gun violence in Chicago, New York, and Los
  24 Angeles, and even in Park Hill and northeast Denver, has
  25 become a day-to-day reality, and I believe that this is
  0119
   1 your opportunity to help us to begin the process of
   2 stopping the violence.
   3         THE CHAIRMAN: Thank you, Reverend. We
   4 appreciate that. I'm going -- I'm going to have to ask you
   5 to --
   6         DR. TYLER: Sure.
   7         THE CHAIRMAN: -- hold it there, and ask if
   8 there are any questions for Reverend --
   9         Representative Wright.
  10         REPRESENTATIVE WRIGHT: Thank you, Mr. Chair.
  11         Pastor, I appreciate your conviction, and
  12 that's a great story. I -- I want to ask you this, though:
  13 Because of the fact that you're extremely well-spoken and
  14 moving, and you remind me of one of my heroes, which is
  15 Martin Luther King, Jr. --
  16         MR. TYLER: That's a great compliment, sir.
  17         REPRESENTATIVE WRIGHT: I would just ask you
  18 this, though: Looking at Martin Luther King, Jr.'s, life
  19 and the fact that he was outspoken about civil rights and
  20 fought for what he believed in, he was threatened numerous
  21 times.
  22         MR. TYLER: Sure.
  23         REPRESENTATIVE WRIGHT: He was compelled to the
  24 point to protect his family that he himself sought a
  25 concealed weapons permit in the 1950s. He had armed
  0120
   1 individuals around him protecting him. The fact that he
   2 had been arrested himself numerous times because of his
   3 civil disobedience under this law, it's very likely that
   4 his arrest would have prevented him from protecting
   5 himself.
   6         Would you agree that that is a potential problem
   7 for people in the future that will be speaking out for what
   8 they believe is right?
   9         THE CHAIRMAN: Reverend THAI.
  10         MR. TYLER: Though some of what you say may be
  11 true, I would -- I could never image Reverend Dr. Martin
  12 Luther King saying that people need to protect themselves
  13 with high-powered ammunition weapons. I would never -- I
  14 could never imagine the Reverend Dr. Martin Luther King
  15 advocating that people should not -- that everyone should
                                                                                                    LEG HX 000533                   4448
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  16 not have     to deal Case:  14-1290
                          with gun checks. Document: 01019371763                      Date Filed: 01/16/2015           Page: 59
  17          It's like going to the airport and seeing two
  18 lines: one is with security, and one is without. Which
  19 one do you think the thieves would go to or the crooks
  20 would go to or the criminals would go to?
  21          So I think that Dr. Martin Luther King would
  22 have been at that funeral that I attended. I think that
  23 Martin Luther King would have wept at what happened in
  24 Aurora. I think he would weep at what's happening in
  25 Chicago, Los Angeles, and I think he would have fought for
  0121
   1 the rights of people, but I also believe that he would
   2 speak up to the urban communities that are dying because
   3 we, as legislators and leaders, have not done what we
   4 should do to secure and make people safe in our
   5 communities.
   6         THE CHAIRMAN: Reverend THAI, thank you.
   7         Reverend (sic) Lawrence -- Representative
   8 Lawrence.
   9         MR. TYLER: I can be the representative, and
  10 they can be the reverend today.
  11          THE CHAIRMAN: Representative Lawrence.
  12          REPRESENTATIVE LAWRENCE: Thank you,
  13 Mr. Chairman.
  14          Reverend, thank you so much for coming down.
  15          MR. TYLER: My pleasure.
  16          REPRESENTATIVE LAWRENCE: And you do have a
  17 compelling story, and I'm sure that was an extremely
  18 emotional day.
  19          MR. TYLER: It was.
  20          REPRESENTATIVE LAWRENCE: You raise the issue
  21 of Chicago and LA, who I believe have some of the most
  22 restrictive gun laws in the country and yet they have some
  23 of the highest murder rates in the country. I don't think
  24 that equates to saying that backgrounds checks and
  25 restrictive gun laws are doing anything to prevent the
  0122
   1 violence.
   2         THE CHAIRMAN: Reverend Tyler, would you like
   3 to respond?
   4         MR. TYLER: I would argue that Chicago -- in
   5 fact, I listened to the news conference from Chicago's
   6 chief yesterday. And what he said was it is a fallacy to
   7 say that Chicago or Illinois has one of the most
   8 restrictive set of -- has the most restrictive set of gun
   9 laws. He says that's just not true. And I'll have to --
  10 I'll have to yield to the police chief on that.
  11          But I don't think it's one thing or the other.
  12 I think that the places where there are laws and
  13 restrictive laws, then I think something needs to happen in
  14 the community in terms of going into the urban communities
  15 and -- and putting in place the initiatives that would cut
  16 out the gun violence.
  17          I think in the places like Colorado and Denver
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  18 whereAppellate     Case:
              we don't have   the14-1290     Document:
                                  laws, then we            01019371763
                                                 need to put the laws                 Date Filed: 01/16/2015           Page: 60
  19 in place that will partner with the community initiatives.
  20 I don't think it's going to be one or the other. I think
  21 we've got to -- in all places, whether it's Chicago, LA, or
  22 Denver, we've got to work together in the community
  23 initiatives, such as jobs and giving people hope and giving
  24 people a way out like many times in Chicago and LA and New
  25 York they don't feel, but on the other hand, the
  0123
   1 legislature is going to have to support the notion that the
   2 laws are going to have to be in place.
   3         And I believe it's not one or the other, it's
   4 all of this working together so that we can stop dying and
   5 allow our young people and our citizens a chance to live
   6 and live without fear.
   7         THE CHAIRMAN: Reverend -- thank you very much,
   8 Reverend THAI.
   9         Are there any more questions for this witness?
  10          Seeing none, we thank you for being here today.
  11          And that concludes our testimony on behalf of
  12 the proponents.
  13          Thank you, sir.
  14          MR. TYLER: Thank you.
  15          THE CHAIRMAN: That concludes the testimony of
  16 the proponents for this bill. This committee will stand in
  17 recess for literately five minutes.
  18          (A recess was taken at this time.)
  19          THE CHAIRMAN: The House Judiciary Committee
  20 will come to order.
  21          We are on House Bill 1229 by Fields and McCann
  22 concerning criminal background checks performed pursuant to
  23 the transfer of a firearm. We have heard from the
  24 proponents of the bill, and we now will hear from the
  25 opponents to the measure.
  0124
   1         As I mentioned at the outset, it is my intention
   2 to regretfully limit the time that the witnesses testify to
   3 two minutes, except in the case of the first two witnesses,
   4 who, by agreement between both sides, have agreed that it
   5 would be good to have two witnesses with less restrictions
   6 on time if they have particular expertise that needs
   7 elaboration, and so we have -- we are going to hear from
   8 those two witnesses first.
   9         I will not put restrictions on the questions by
  10 -- proposed by the members to the witnesses, but I will
  11 regretfully have to bring the testimony phase to a close
  12 after two hours of witness testimony for the opponents, as
  13 I did with the proponents.
  14          And with that, I would call the first witness
  15 forward, who is Mr. Daniel Carey.
  16          Mr. Carey, please come forward.
  17          Mr. Carey, please state your name for the
  18 record, tell us who you represent, and give us your
  19 testimony. And please accept our thanks for coming here to
                                                                                                    LEG HX 000535                   4450
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  20 the House           Case:
                   Judiciary     14-1290and Document:
                              Committee                    01019371763
                                               giving us your                         Date Filed: 01/16/2015           Page: 61
  21 perspective.
  22          MR. CAREY: Absolutely. Thank you for having
  23 me.
  24          My name is Daniel Carey. I am the state
  25 lobbyist for the National Rifle Association, and I'm here
  0125
   1 to testify on behalf of House Bill 1229.
   2         I have some documents here that I would like to
   3 pass out to the committee, if I could. (Inaudible.)
   4         House Bill 1229, as it may seem to some
   5 proponents of this bill, is an inoculant enough piece of
   6 legislation, but it unnecessarily looks to make criminals
   7 out of family members and law-abiding citizens. And
   8 specifically to this bill, it would make criminals out of
   9 what you-all just passed into the civil unions because it
  10 did not make an allowance for those individuals.
  11          This bill would place an unjust burden on
  12 law-abiding citizens who may live miles, you know, two
  13 hours, from the nearest gun dealer, where they would have
  14 to go and register with an FFL or go through and do the
  15 background check procedure.
  16          House Bill 1229 is going to do nothing to curb
  17 criminal activities because plainly enough, criminals do
  18 not obey the law and will not submit to a background check,
  19 and this will not overlap with those individuals.
  20          To require a background check for private
  21 transfers is not a real solution. And as you'll see from
  22 some of the information I've given to you related to
  23 California, it is a failed policy that has no qualitative
  24 effect for a positive trend when it relates to violent
  25 crimes and murder.
  0126
   1         House Bill 1229 is very similar to the
   2 background check laws currently in place in California.
   3 This is some of the information I've given to the
   4 governors's office and other members in your caucus prior
   5 to being here today that outlined the comparison between
   6 California, Colorado, and the national average as it
   7 relates to crime and murder rates.
   8         A comparison of California, Colorado, and the
   9 national average as it relates to crime and murder rates
  10 from 1960 to 2011 illiterates one main and overriding
  11 trend: Crime and murder rates the last two decades have
  12 continued to decline at similar rates, in California,
  13 Colorado, and nationally, on the average, with California
  14 consistently maintaining a higher than average than both
  15 Colorado and nationally.
  16          I'd also like to point out that we have to the
  17 take into consideration that when comparing these violent
  18 crime rates that California is only one of two states in
  19 the nation who actually implements such a universal
  20 background check and that this national average, as it
  21 holds lower than California, does not have this between the
                                                                                                    LEG HX 000536                   4451
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  22 48 states          Case:
                that they have.14-1290 Document: 01019371763                          Date Filed: 01/16/2015           Page: 62
  23         As I mentioned earlier, most criminals do not
  24 acquire their firearms through legal purchases. In 1991
  25 the Bureau of Alcohol, Tobacco, and Firearms reported that
  0127
   1 37 percent of armed criminals obtain firearms from street
   2 sales, 34 percent from criminal acts and associates, 8
   3 percent from relatives, and only 7 percent from dealers,
   4 and 6 percent from flea markets and gun shows.
   5         More recently, in a 2001 Bureau of Justice
   6 Statistics survey of state prison inmates convicted of
   7 firearms crimes, found that 79 percent acquired their
   8 firearms from street or illegal sources or friends and
   9 family. This includes theft from firearms, black market
  10 purchases of stolen firearms, and straw purchases.
  11         The survey also found that 12 percent obtain
  12 their firearms from firearms dealers. These are gun stores
  13 and pawn shops, while only 1.7 percent obtained their
  14 firearms from anyone, dealer or nondealer, at a gun show or
  15 flea market.
  16         As I reiterated earlier, criminals will not
  17 submit to background checks. We are creating a system
  18 where we would belabor the ability of law-abiding citizens
  19 to sell off potentially their old hunting shotgun, as
  20 Representative Salazar had mentioned with his brother, or
  21 to their neighbor after they had legally purchased a new
  22 gun.
  23         Now, I've heard the 40 percent fact that's been
  24 mentioned here quite a few times by those who are with
  25 Michael Bloomberg's group, Mayors Against Illegal Guns, and
  0128
   1 I was looking forward to setting the record straight,
   2 because I'm looking at the same information that they're
   3 pulling from.
   4         Mayor Bloomberg and his group, Mayors Against
   5 Illegal Guns, along with many other gun control advocates
   6 and even the president of the United States, claimed that
   7 as many as 40 percent of guns are purchased without a
   8 background check. This is not only misleading, it's
   9 factually inaccurate and came from the Police Foundation
  10 survey taken in 1994.
  11         The survey is frequently misquoted by gun
  12 control advocates, which was taken actually of 251
  13 individuals -- or gun owners I should say -- found that
  14 only 4 percent of gun owners acquired their guns from gun
  15 shows and flea markets, from dealers and private sellers
  16 combined.
  17         More than three-quarters of the survey's
  18 respondents covered the sales act before the Brady Act took
  19 place, which instituted a mandatory federal background
  20 check on February 28, 1994.
  21         This means that three-quarters of the
  22 respondents to this survey could have actually made a
  23 purchase from a licensed dealer, someone who held an FFL,
                                                                                                    LEG HX 000537                   4452
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  24 as theAppellate
             director ofCase:  14-1290 earlier,
                         CBI mentioned       Document:    01019371763
                                                  and it would have                   Date Filed: 01/16/2015           Page: 63
  25 been beyond their knowledge.
  0129
   1         Let me also state the fact that Obama had
   2 stated 1.5 million criminals were stopped by background
   3 checks. In 2010, 94 percent of these people who were
   4 stopped from background checks were overtuned -- were
   5 overturned -- I'm sorry.
   6         62 people or .1 percent involved in this type of
   7 background check who had their purchase stopped were -- had
   8 enough evidence to prosecute, and only 13, 13 of these
   9 individuals, were convicted or pled guilty to this.
  10          Legal transfers for law-abiding citizens will
  11 only become more difficult. The Colorado Bureau of
  12 Investigation's, CBI, InstaCheck has been so overburdened
  13 with background checks since late last year that the recent
  14 wait stands at nearly seven days and has gone upwards of
  15 ten with almost 10,000 people at times waiting in the queue
  16 to have their Second Amendment rights exercised in the
  17 purchase of a legal and lawful firearm.
  18          CBI also stands as one of the state system's
  19 highest rate of denials, as was mentioned earlier. It also
  20 stands as one of the highest rate of appeals in those
  21 denials. This means that the law-abiding citizens are
  22 unnecessarily being denied their right to exercise their
  23 Second Amendment rights in the purchase of a firearm.
  24          By adding hundreds of thousands of unnecessary
  25 checks to be placed in the queue by this struggling system,
  0130
   1 we are setting up law-abiding Coloradans the opportunity to
   2 be unnecessarily victimized by potential criminals because
   3 they have not been able to go out and potentially purchase
   4 a firearm for self-protection.
   5         Private transfer of a firearm is a
   6 constitutional right. I know that some of you here have
   7 talked about the First Amendment today and how there are
   8 restrictions on some constitutional rights and nothing is
   9 absolute. Our belief is that this bill here today would be
  10 an unjust burden on Colorado citizens and is
  11 unconstitutional for that reason.
  12          Thank you very much.
  13          THE CHAIRMAN: Mr. Carey, thank you so much.
  14          Are there any questions for Mr. Carey?
  15          Representative Lee.
  16          REPRESENTATIVE LEE: Thank you, sir.
  17          Can you share with us some of your ideas as to
  18 how we might address the problem of gun violence?
  19          MR. CAREY: Absolutely.
  20          THE CHAIRMAN: Mr. Carey.
  21          MR. CAREY: Mr. Chairman, thank you.
  22          Representative Lee, some of the things that
  23 we've been advocating, not only on a national level, but
  24 something that we would like to advocate here in Colorado,
  25 is making sure that we're prosecuting all of these crimes
                                                                                                    LEG HX 000538                   4453
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   1 that are currently taking place related to firearms crimes
   2 or deaths as it's related.
   3         THE CHAIRMAN: Representative Murray.
   4         REPRESENTATIVE MURRAY: Thank you, Mr. Chair.
   5         And thank you, sir, for your testimony.
   6         Earlier in some testimony we were told about
   7 Chicago, the issues related to handguns in Chicago. And I
   8 understand that while handguns were banned for a while in
   9 Chicago, violent crime with guns went up during that period
  10 of time. Since then, that -- that ruling has been struck
  11 down and basically Chicago now has laws that make it so
  12 difficult to get a permit that it's almost like a ban; and
  13 that there were over 500 homicides in Chicago last year
  14 despite these strict measures. So they have tried to come
  15 up with the strictest measures they possibly can and still
  16 have 500 homicides in the city.
  17          Do you have anything to add to that?
  18          THE CHAIRMAN: Mr. Carey.
  19          MR. CAREY: I'm sorry, Mr. Chairman.
  20          THE CHAIRMAN: That's all right.
  21          MR. CAREY: Representative, I think what I would
  22 like to add is it goes back to the point that criminals
  23 don't abide by the law. That's what makes them criminals.
  24 So by instituting these laws, you're only affecting the
  25 law-abiding citizens.
  0132
   1         THE CHAIRMAN: Mr. Carey, I think what the
   2 proponents of this bill are hoping to do is to keep those
   3 who are prohibited from possessing firearms because of
   4 their past, their criminal history, their mental condition
   5 or whatever reason it is that they are by law prohibited
   6 from having a firearm, I think proponents are trying to
   7 make it more consistent that those folks do not get the
   8 firearm. And one of the ways that those folks get the
   9 firearm is by buying it in a private sale.
  10          It's not the only way they get them, but it's
  11 one of the ways they get them. And I think the point that
  12 you've made is that it is burdensome to require law-abiding
  13 citizens who are qualified to demonstrate that they are
  14 qualified through a background check, and that's
  15 burdensome.
  16          Um, I -- I, as I sit here as legislator
  17 legislature, can't help but agree that it is a burden. It
  18 is burdensome to demonstrate that one is qualified to
  19 exercise that right, just as it is burdensome to stand in
  20 line to vote, and I see that.
  21          Are there any burdens that you think are
  22 justified in trying to keep weapons out of the hands of
  23 people who are not legally required to possess them? Is
  24 there any burden light enough to be worth undertaking, or
  25 is it just wrong to undertake the effort?
  0133
   1        MR. CAREY: Mr. Chairman, I appreciate the
                                                                                                    LEG HX 000539                   4454
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   2 question.                                                                        Date Filed: 01/16/2015           Page: 65
   3         I think that I would get back to the point that
   4 I just made earlier, which is if we continue to prosecute
   5 these criminals, those who continue to use firearms
   6 illegally or continue to misuse firearms, because I see
   7 behind me there are many individuals here today who are
   8 opposed to this, who support what I'm here saying today.
   9 And I would say, of the people that we have here today,
  10 they would find it not only a burden, but they do not plan
  11 on committing these crimes. They will not be those who are
  12 going to be considered a criminal. So I think that our
  13 difference is that you see this as a just burden, where I
  14 see it as an unjust burden.
  15          So getting back to prosecuting criminals, my
  16 advice or my -- what I would advocate on behalf of is
  17 making sure that those individuals who are committing these
  18 crimes that are using firearms or misusing firearms should
  19 be locked away and shouldn't have the opportunity to get
  20 out and use them again.
  21          THE CHAIRMAN: Thank you for that, Mr. Carey,
  22 and I appreciate it.
  23          But are you saying that there is no -- even if
  24 this process where almost completely relieved of burden, if
  25 it could be done with -- without requiring people to travel
  0134
   1 to a FFL, if it could be done very, very quickly, if it
   2 could be done free of charge, if it could be done in -- in
   3 an almost completely burdenless, if that's a word, way,
   4 would -- would you support that?
   5        MR. CAREY: As it relates to this bill here
   6 today, I could not support this bill. I could not support
   7 the initiatives or the efforts that it's trying to move
   8 forward with. No, sir.
   9         I would be more than happy to see any language,
  10 but as far as the bill that we are talking about here
  11 today, no, sir, I could not support that.
  12          THE CHAIRMAN: So it doesn't matter how light
  13 that burden is made, you don't think this is worth
  14 undertaking?
  15          MR. CAREY: If it relates to the burden of
  16 criminalizing law-abiding citizens through the use of a
  17 private transfer, as it relates to this bill here that we
  18 are talking about, no, sir, I would not support that.
  19          THE CHAIRMAN: Representative Buckner.
  20          REPRESENTATIVE BUCKNER: So your position is
  21 that there should be no background checks for gun ownership
  22 regardless of how little burden it places on the gun
  23 purchaser? Is that what I'm hearing you say?
  24          THE CHAIRMAN: Mr. Carey.
  25          MR. CAREY: Mr. Chairman, Representative
  0135
   1 Buckner.
   2         I think that, as you'll see from our history, we
   3 have supported background checks as far as they were done
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   4 on theAppellate
             NCIC system.Case:So,
                               14-1290      Document:
                                  no, we think            01019371763
                                               that there are                         Date Filed: 01/16/2015           Page: 66
   5 individuals -- as a gun owner, I don't believe that there
   6 should be criminals, violent criminals or whatever the
   7 prohibitor may be, who should be in possession.
   8         So we're not asking to repeal anything. What I
   9 am saying here today that as this bill stands in its
  10 effort, no, we do not support this bill.
  11         THE CHAIRMAN: So, Mr. Carey, you are in favor
  12 of backgrounds checks for the 60 percent but not for the
  13 remaining 40 percent?
  14         MR. CAREY: Well, again I would like to go back
  15 to the statistics. And you have there in front of you, and
  16 I would happy to provide you a copy of the poll that had
  17 come out.
  18         It is not 40 percent, but as the background
  19 checks exist today through the NCIC system, yes, we do
  20 support that, but, no, we do not support that here today,
  21 what you are talking about, the private transfer.
  22         If you look back at the Gun Control Act of 1968,
  23 it was lined out for the specific purchases that these
  24 private transfers should be held differently from those
  25 that have to go through a licensed dealer, and I still
  0136
   1 support that here today.
   2         THE CHAIRMAN: Thank you, Mr. Carey.
   3         Are there any further question for Mr. Carey?
   4         Representative Court.
   5         REPRESENTATIVE COURT: Thank you, Mr. Chair.
   6         Mr. Carey, if I remember correctly, because we
   7 talked a little bit ago about closing the gun show loophole
   8 through a citizen initiative, if I remember correctly, the
   9 NRA hotly contested that citizen initiative.
  10         Am I correct in my memory?
  11         THE CHAIRMAN: Mr. Carey.
  12         MR. CAREY: Mr. Chairman.
  13         Representative, I was not here at the time as a
  14 representative of the NRA, but I believe from history that
  15 we did oppose that initiative. Yes, ma'am.
  16         REPRESENTATIVE COURT: Okay.
  17         THE CHAIRMAN: Representative Court.
  18         REPRESENTATIVE COURT: Thank you, Mr. Chair.
  19         And then about 70 percent I think is what
  20 Representative Fields said of Coloradans supported closing
  21 that gun show loophole by voting for that citizen
  22 initiative because the legislature had failed to act.
  23         And so I guess where I want to go with this is
  24 recognizing the passion with which people voted in favor of
  25 closing the gun show loophole, why would you think that
  0137
   1 people today would still favor leaving this extra loophole
   2 available?
   3         THE CHAIRMAN: Mr. Carey.
   4         MR. CAREY: Mr. Chairman, Representative.
   5         Thank you for the question. I think it's a
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            Appellatebut
   6 good question,     Case:   14-1290
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                                               is: One, let  me                       Date Filed: 01/16/2015           Page: 67
   7 talk about the statistics of who I represent. I represent
   8 our members, our almost 5 million members of the National
   9 Rifle Association. And I've heard a number thrown out
  10 today that 70 percent or 72 percent or 74 percent of NRA
  11 members support a so-called universal background check.
  12         That's absolutely factually inaccurate, and
  13 it's inaccurate for a couple reasons. One, there are, from
  14 recent statistics, almost 30 million people who identify
  15 themselves as NRA members one way or the other.
  16         Now, would we like to have 30 million members?
  17 Absolutely. In reality we have closer to 5 million
  18 due-paying members, and those members are not assessable to
  19 any group, whether it be Mayor Bloomberg's group MAG or
  20 President Obama.
  21         So when they talk about the statistics of NRA
  22 members who support a universal background check, 92
  23 percent of the people that we reached out to, 1,000 across
  24 the country, NRA members that only we have access to, 92
  25 percent of them said that they oppose this initiative.
  0138
   1         REPRESENTATIVE COURT: Mr. Chair.
   2         THE CHAIRMAN: Representative Court.
   3         REPRESENTATIVE court: Thank you, Mr. Chair.
   4         No, I'm not talking about NRA members. I'm
   5 talking about the fact that the people of Colorado, 70
   6 percent of the people of Colorado, voted to close the
   7 background check loophole, so why would you think now the
   8 people of Colorado, not NRA members, but the people in
   9 general wouldn't want this other loophole closed? Why
  10 would that not be logical to think that the people again,
  11 not just the NRA members, but the entire population of
  12 Colorado who voted so overwhelming to close the gun show
  13 loophole would not now want this other loophole closed?
  14         THE CHAIRMAN: Mr. Carey.
  15         MR. CAREY: Mr. Chairman.
  16         Representative, thank you for the question.
  17         Again, I'm here representing members of the NRA
  18 and those who are advocates for gun rights and the Second
  19 Amendment.
  20         That was in 2000. That was for a different
  21 bill. That was for a different initiative, and I agree, it
  22 was, I believe, 70 percent. I haven't seen the specific
  23 statistics, but I'm not going to quibble with you over it.
  24         But I think that what we are talking about here
  25 today is something wholly different. And again, I think
  0139
   1 that we're advocating because we see it as an unjust burden
   2 and a constitutional burden on us as NRA members and
   3 supporters of the Second Amendment.
   4         THE CHAIRMAN: Representative Court.
   5         REPRESENTATIVE COURT: Thank you, Mr. Chair.
   6         Well, we'll just have to agree to disagree
   7 because I think it's a very, very similar issue. It's a
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   8 different           Case:
                 loophole,       14-1290
                           but it's             Document:
                                    still a loophole.       01019371763
                                                      And when  we                    Date Filed: 01/16/2015           Page: 68
   9 asked gun show people to deal with the background check,
  10 they figured out how to do it, and people are buying --
  11 have been buying guns at gun shows ever since.
  12           So I think this is a very similar issue, and I
  13 believe from the response I've had from my constituents,
  14 that there is comparable support for closing this loophole
  15 as there was a decade ago. So I guess we'll just have to
  16 agree to disagree on this one.
  17           Thank you.
  18           THE CHAIRMAN: Representative Salazar.
  19           REPRESENTATIVE SALAZAR: Thank you, Mr. Chair.
  20           As I take a look at the law -- and I don't want
  21 my words to be mistaken here -- I don't think that you
  22 quite understand where I'm coming from, that on the private
  23 sales, these private sales I have concerns that background
  24 checks aren't being done.
  25           I don't know you, you don't know me, you want to
  0140
   1 purchase a gun that I'm selling. I don't know what you are
   2 going to do with it. It could be that you go hunting with
   3 it just like I go hunting with it. It could be that you
   4 use it for home defense like I use it for home defense, or
   5 it could be that you're a criminal and I'm just giving it
   6 to somebody that's going to go and commit a crime.
   7          For me it's about the exceptions, and that's --
   8 that's what I'm most concerned about, is that, you know,
   9 that I have family members that I may want to give a gun to
  10 so they can go hunt or that I just may want to give it to
  11 them, and they may not be a brother or sister, but they may
  12 be my first cousin, right? Those are the areas that I'm
  13 concerned with.
  14           Make no doubt about it, I'm concerned about the
  15 individuals who sell their guns to other individuals that
  16 they don't know, and that's the loophole that should be
  17 closed. And do I figure that's an unreasonable burden? I
  18 don't think that's an unreasonable burden. I think that
  19 that's something that we have to address as this
  20 legislature and as a people. That's something that we have
  21 to address because that's a loophole there that maybe a lot
  22 of people jump through. And I just want to make my
  23 position clear on that.
  24           THE CHAIRMAN: Representative Murray.
  25           REPRESENTATIVE MURRAY: Thank you, Mr. Chair.
  0141
   1          With all due respect to Representative Court,
   2 whenever we are talking about our constitutional rights, if
   3 there are two people in the room that feel that their
   4 constitutional rights are be abridged, I think all of us
   5 need to be paying attention to that. This isn't a matter
   6 of, you know, who has the majority or minority on any one
   7 issue. This is about constitutional rights. And when it
   8 comes to that, I think it's a whole different conversation.
   9          THE CHAIRMAN: Representative McLachlan.
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  11 Mr. Chairman.
  12          I think one of the critical issues we need to
  13 examine when we talk about constitutional rights is what
  14 the ruling of the courts are and what the courts have
  15 stated on the issue of background checks. And it's
  16 previously been testified here the United States Supreme
  17 Court per Justice Scalia, upheld the constitutionality of
  18 background checks.
  19          So we can't live in a parallel universe. We
  20 have to deal with the rule of law, and the rule of law says
  21 background checks, when applied appropriately, are
  22 constitutional. So if we are going to attack this
  23 legislation, we have to do it on other grounds besides
  24 constitutionality.
  25          THE CHAIRMAN: Representative Gardner, and then
  0142
   1 Representative Wright.
   2         REPRESENTATIVE GARDNER: Well, thank you,
   3 Mr. Chair.
   4         And just I suppose if -- if members of the
   5 committee are going to advocate and pontificate, let me
   6 just say that just because something in context has been
   7 held unconstitutional, I don't know whether the transfer of
   8 a firearm from myself to a family member in a private sale
   9 is necessarily constitutional, and it's not something that
  10 I know of that the United States Supreme Court has looked
  11 at.
  12          So I think to try to criticise other members of
  13 the committee or foreclose that discussion and just say,
  14 well, it's -- it's all settled so we ought to do something
  15 else, with all due respect, I think that's probably not
  16 appropriate, but others can decide otherwise.
  17          Mr. Carey, my -- my observation with respect to
  18 some of the questions that have been asked of you and
  19 people citing what their constituents have said about this,
  20 it's very clear that my constituents overwhelming are
  21 opposed to this legislation.
  22          There may be differences between Metro Denver
  23 and rural Colorado or El Paso County and the City and
  24 County of Denver and Boulder County. So I represent a set
  25 of constituents who think that this is not going to
  0143
   1 contribute to public safety but rather is going to be an
   2 imposition upon their ability to do some things I addressed
   3 earlier, which was as simple as handing a firearm to a
   4 close friend who may need some protection.
   5         So you can respond or not as you wish. Thank
   6 you.
   7         THE CHAIRMAN: Mr. Carey, if you care to
   8 respond, please do.
   9         MR. CAREY: Sure, Mr. Chairman.
  10          Representative, I appreciate the comments, as it
  11 relates to the constitutionality of it and as you were
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                                   committee Document:    01019371763
                                              as we've spoken  on                     Date Filed: 01/16/2015           Page: 70
  13 this.
  14          Again, I would like to relate back to that there
  15 is no constitutional right that is allowed to be executed
  16 without any -- some type of restriction, as we've seen with
  17 the First.
  18          But again, I think, when you place an unjust
  19 burden, which we see this initiative as, on law-abiding
  20 citizens to exercise that right, we see it as
  21 unconstitutional, and we can't stand by and let them try
  22 and pass these types of initiatives because we do not agree
  23 with it.
  24          THE CHAIRMAN: Mr. Carey, thank you.
  25          Representative Wright.
  0144
   1         REPRESENTATIVE WRIGHT: Thank you, Mr. Carey.
   2         And you likely have testified to this or at
   3 least have those sorts of statistic in hand.
   4         Can you tell me: Has the NRA located any
   5 statistic that supports states that have taken this
   6 universal background check approach that would show that,
   7 in fact, it is beneficial to decreasing violent crimes?
   8 And I would specifically, I guess, look back at the
   9 statistic that there was an increase or spike in the murder
  10 rate in Colorado immediately following closing the gun --
  11 the gun show loophole.
  12          Can you comment on that as well?
  13          THE CHAIRMAN: Mr. Carey.
  14          MR. CAREY: Mr. Chairman.
  15          Representative Wright, I appreciate the comment
  16 and the question.
  17          I think that if you look at the information that
  18 I've provided to the committee as it pertains to not only
  19 the model as it is in California, which is similar to
  20 what's being proposed here today, that, one, it has had no
  21 positive effect that can be measured as it relates to crime
  22 and murder rates.
  23          So what are we doing here today with this
  24 legislation if we cannot attribute it to a positive effect
  25 on these things that we're trying to curb?
  0145
   1         Secondly, if you could refresh my memory. I
   2 apologize. What was the second portion of your question as
   3 it relates to 2000 to 2004? Was that -- if you look again
   4 at the data that you had before you when 70 percent of
   5 Coloradans passed the so-called gun show loophole by vote,
   6 you'll see that there was an increase in violent crime
   7 rates here in Colorado.
   8         So again, I don't see the correlation between
   9 initiating this type of check and reducing the amount of
  10 crime the state.
  11          THE CHAIRMAN: If there are no further
  12 questions for Mr. Carey, may I -- please accept our thanks
  13 on behalf of the committee for giving us your perspective.
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  14 It's been           Case: Thank
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                                                for testifying                        Date Filed: 01/16/2015           Page: 71
  15 here today.
  16          MR. CAREY: Thank you all very much.
  17          THE CHAIRMAN: Is Mr. Dudley Brown here?
  18          Mr. Brown, welcome to the -- back to the
  19 Judiciary Committee. We're always glad to see you.
  20          MR. BROWN: Thank you, Mr. Chairman.
  21          THE CHAIRMAN: And please tell us your name,
  22 who you represent, and proceed with your testimony.
  23          MR. BROWN: Mr. Chairman, members of the
  24 committee, my name is Dudley Brown. This is my 21st year
  25 representing gun owners in this state. I'm the executive
  0146
   1 director of Rocky Mountain Gun Owners and also the CEO of
   2 the National Association for Gun Rights.
   3         I represent gun owners all around the country
   4 in congress, and I want to encourage you, before you vote
   5 on any of this, this particular bill, to read Article 2,
   6 Section 13, and see if this really does call in question
   7 the right to keep and bear arms. I submit to you that it
   8 does call in question your First Amendment rights, if you
   9 put people through Brady checks prior to practicing your
  10 First Amendment rights.
  11          I think every member of the press here would
  12 agree to that. That is exactly what this bill does to
  13 private sales. And if you took the oath of the
  14 constitution seriously, and I believe most of you do -- you
  15 certainly say you do -- you have to justify that.
  16          I'd like to concede my time, though, to a
  17 personal story to a member and let him -- let him speak.
  18 And he's signed up to speak. His name is Mr. Anthony Racz.
  19 He's from -- his family is from Hungary. If that's
  20 permissible by the Chairman.
  21          THE CHAIRMAN: That would be fine, Mr. Brown.
  22          And then let's hear from Mr. Racz, is it?
  23          MR. BROWN: Yes.
  24          THE CHAIRMAN: You're Mr. Racz?
  25          MR. RACZ: Yes, I'm Anthony Racz. I'm a
  0147
   1 Hungarian immigrant. Our family came here in 1956 to
   2 escape the Russian invasion of Hungary, and my perspective
   3 of these gun issues is very personal. It's not as a
   4 bystander. It's not philosophical.
   5         My family escaped because my grandfather was
   6 arrested by the Soviets when they came in and removed him
   7 from his position in charge of the police in Budapest
   8 because he would not give up the gun registry. He knew
   9 what the result would be. And we know history. We see
  10 there was a result, a bloody result. Many of my past
  11 countrymen died in that.
  12          So I'm particularly sensitive to anything that
  13 is going to incrementally increase restrictions and
  14 eventually end up in lists or registries or whatever term
  15 you want to use for them.
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  17 current bill, but I know that that does come about. I'm
  18 also a concealed carry holder, so I'm on a list, lists that
  19 are periodically published that achieve no result in
  20 reducing crime. They only serve to punish and penalize
  21 those that are gun proponents. They've also resulted in
  22 danger to people that are on that list, such as our law
  23 enforcement officers that are retired, judges, and so on.
  24 So I'm particularly sensitive to registration and
  25 incrementally increasing controls.
  0148
   1         Sometimes we hear the truth pop out. We heard
   2 that word incremental come out and then quickly back
   3 peddled because we know where that can lead.
   4         So I have a great deal of sympathy for all of
   5 the people who have suffered. We've heard horrendous
   6 stories today of what has happened, but in none of those
   7 instances would this bill have made any change.
   8         The mother in the school incident had not -- if
   9 she had not been murdered, this bill would have allowed her
  10 to give a weapon to her son. No impact whatsoever on
  11 reducing that. Any one of the other incidents you pick,
  12 you're going to see the same situation, that this bill
  13 would have made no impact whatsoever.
  14         My concern is that I took an oath as a citizen,
  15 just as you all have, our law enforcement or military.
  16 Oaths that vary, but in every single one of them, we took
  17 an oath that we would uphold the constitution and defend it
  18 against all enemies, foreign and domestic.
  19         My family risked their life to come here for
  20 those freedoms, and I take that seriously. And I think
  21 that's one of the things that we have to look at here. I
  22 want to see effective reduction in crime. This isn't going
  23 to do it.
  24         We must legislate from a position of logic and
  25 one eye on the constitution and law at all times. We must
  0149
   1 not legislate based on hysteria and emotion. And what is
   2 considered reasonable, that's a sliding window, and that's
   3 where the danger comes in.
   4         So I very much appreciate the opportunity to
   5 speak before you, and I speak from my heart. I don't have
   6 a speech prepared. I'm not a public speaker, but I speak
   7 from my heart, and that's where all of this comes.
   8         THE CHAIRMAN: And you speak very articulately
   9 and very persuasively and very well, sir.
  10         MR. RACZ: Thank you. And hopefully with not
  11 much of an accent.
  12         THE CHAIRMAN: Are there any questions for
  13 Mr. Racz?
  14         Representative Murray.
  15         REPRESENTATIVE MURRAY: Thank you, Mr. Chair.
  16         Thank you so much for your testimony, sir.
  17         I appreciate hearing the international nature of
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  18 your comments      Case: 14-1290
                                I think that'sDocument:   01019371763
                                               very important   and                   Date Filed: 01/16/2015           Page: 73
  19 instructive of what's happened in other countries with gun
  20 restrictions.
  21         A Harvard study recently pointed out that
  22 nations with stringent anti-gun laws generally have
  23 substantially higher murder rates than those who do not.
  24 And, in fact, Russia has all but eradicated gun ownership,
  25 and they have a murder rate that exceeds four times that of
  0150
   1 the United States. So thank you for bringing -- bringing
   2 that thought to my mind from some research that I had done.
   3         Thank you.
   4         MR. RACZ: Thank you as well.
   5         THE CHAIRMAN: Mr. Racz, thank you so much for
   6 testifying before us today.
   7         MR. RACZ: Thank you, Mr. Chairman. Appreciate
   8 it.
   9         THE CHAIRMAN: We now move to the part of the
  10 witness testimony phase which is somewhat too much close to
  11 speed dating for my liking, but none the less, as a matter
  12 of practicality, we are going to restrict the witness's
  13 direct testimony to two minutes, as we did the proponents.
  14         And the first witness to come forward, Mr. Dave
  15 Gill, please.
  16         And as Mr. Gill is preparing to testify, may I
  17 just mention the names of some of those witnesses who will
  18 be following Mr. Gill so that they can come up, if they are
  19 in the overflow room, and if they are not, at least they
  20 will know that they are going to be testifying shortly.
  21         They are Mr. Patrick Smitwick (phonetic) or
  22 Smitwick. I suspect that's Smitwick. Douglas Howell,
  23 Terry McGuire, and Aubrey -- Aubrey of Littleton. Aubrey
  24 Allmond I think it is.
  25         But if you recognize yourself from Littleton,
  0151
   1 maybe you'll give us the correct way to pronounce your
   2 name.
   3         So Mr. Gill.
   4         MR. GILL: Thank you, Mr. Chairman.
   5         My name is Dave Gill. I'm the vice president of
   6 the Colorado State Shooting Association, which was
   7 established in 1926, and I suspect, therefore, is probably
   8 the oldest civil rights group in this state. I am
   9 testifying on behalf of our members in opposition to this
  10 bill.
  11         First and foremost, there has been no factual
  12 demonstration that anything in this bill would do anything
  13 to reduce crime. The statement that a number of our
  14 criminals do not buy their weapons through normal process
  15 is not at all surprising, nor does it imply that this bill
  16 would do anything to change their behavior or to make them
  17 honest citizens.
  18         What it would do, on the other hand, is make
  19 many honest citizens criminal. Several examples: One, a
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  20 friendAppellate    Case:
              of mine last year,14-1290       Document:
                                 lives in a rural          01019371763
                                                  part of Douglas                     Date Filed: 01/16/2015           Page: 74
  21 County, and he had is life very directly threatened by a
  22 person who did not appear rational. He didn't have a
  23 weapon of any kind in his house. He hadn't seen the need
  24 to have one. After his life was threatened, he began to
  25 see things a little differently. I leant him a handgun and
  0152
   1 gave him instructions on how to use it.
   2         If I had not been able to do that, would he have
   3 been able to protect himself? Was the ability that he had
   4 to protect himself significant in deterring the individual
   5 who had threatened his life? Could well have been. But
   6 this bill would have made me a criminal for lending this
   7 person a firearm. He wasn't a relative. He was just a
   8 friend of the last 10, 15 years that I know very well.
   9         There is a nephew of mine who will probably be
  10 receiving most of my firearms. This would not allow me to
  11 give them to him without him going through and extensive
  12 background check. And once again, this infringement, this
  13 inconvenience, as it has been referred, would do nothing to
  14 reduce crime. So if our goal is to reduce crime, then
  15 maybe this isn't the approach we should take.
  16          CSAA has a program where we lend firearms to
  17 competitive shooters. And as you probably know, the
  18 standard firearm today is the AR rifle for competitive
  19 shooting. This bill, as I understand it, would prevent us
  20 from lending these rifles to citizens who are competing in
  21 matches and national matches.
  22          THE CHAIRMAN: Mr. Gill, I'm going to have to
  23 ask you to hold it there. But you've raised some very
  24 interesting points.
  25          And I would like to just tell you that this bill
  0153
   1 does allow without a background check the transfer -- a
   2 temporary transfer of a firearm to somebody while in the
   3 home of the transferee. So you are allowed to temporarily
   4 lend a friend your firearm, should you think that
   5 appropriate, and that might be a good thing to do in the
   6 situation that you had with your friend who decided he
   7 would really like to have a firearm. Until such time as he
   8 can acquire his own, you could lend him his (sic), as long
   9 as you did so in his home.
  10          And also in the bill there are -- there are
  11 provisions to allow a transfer of firearms, if it's done at
  12 a -- at a shooting competition or while hunting or fishing
  13 or trapping or -- yeah. There are provisions.
  14          But I think you raise important points, and I do
  15 think that if this bill moves forward from here, those
  16 points may require clarification, but they are to deal with
  17 exactly the situation you talked about.
  18          As far as the transfer of a firearm to your
  19 nephew, you're right, there would have to be a background
  20 check done if the bill were passed in unamended formed and
  21 enacted into law. But we really appreciate you bringing
                                                                                                    LEG HX 000549                   4464
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  22 your perspective,         14-1290
                         and thank   you for Document:    01019371763
                                             your testimony,   sir.                   Date Filed: 01/16/2015           Page: 75
  23          Are there any questions for Mr. Gill?
  24          Representative Lee.
  25          REPRESENTATIVE LEE: Thank you.
  0154
   1         Again thank you for your testimony, and thank
   2 you for giving us your thoughts on this bill. More in the
   3 nature of a comment than a question because I -- I keep
   4 hearing repetitive statements to the effect that there --
   5 criminals won't go through legal means to acquire weapons.
   6 But we have information to the effect that in 2010 the FBI
   7 denied 76,000 prohibited purchasers, the majority of whom
   8 were felons or domestic abusers, from obtaining weapons.
   9 And those weren't all of the attempted acquisitions of
  10 weapons, that there's an estimate that 150,000 criminals
  11 and domestic abusers, felons, attempted to acquire weapons
  12 and that the background checks in effect at the federal
  13 level presented those transfers.
  14          So I just wanted to put those statements out
  15 there because we keep hearing that that's not the case,
  16 that felons will not be stopped from getting weapons. And
  17 factually 76,000 documented and 150,000 others have been
  18 stopped from getting weapons by background checks.
  19          THE CHAIRMAN: Mr. Gill.
  20          MR. GILL: Thank you, sir.
  21          I'm not saying that background checks do not
  22 have a benefit or might not. I am saying this particular
  23 bill and this particular expansion would not be likely to
  24 have a beneficial effect, and there has been no
  25 demonstration that this particular bill would also have any
  0155
   1 decrease in crime.
   2         And, Mr. Chairman, also the way that we lend our
   3 rifles out, we're not actually at the range and say, Here
   4 it is and hand it to them. They pick it up. They sign it
   5 out from us, and that is their rifle to use for a year or
   6 two years, that they will carry home, that they will take
   7 to matches while they're shooting, while they are learning,
   8 while they decide what it is they want to have as their
   9 personal target rifle.
  10          THE CHAIRMAN: Thank you, Mr. Gill. That's an
  11 important distinction to make, and it's very helpful that
  12 you made it.
  13          There are no further question for Mr. Gill.
  14          So thank you, sir, for giving us your
  15 perspective on this matter.
  16          MR. GILL: Thank you very much for the
  17 opportunity.
  18          THE CHAIRMAN: We appreciate -- we appreciate
  19 your testimony, sir.
  20          Next up we have Mr. Patrick Smitwick, if he's
  21 here.
  22          And Mr. Smitwick is not here apparently, so we
  23 will go to Mr. Douglas Howell, please.
                                                                                                    LEG HX 000550                   4465
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  24        Appellate   Case: 14-1290
              MR. CAMPBELL:        What's theDocument:   01019371763
                                               last name again?                       Date Filed: 01/16/2015           Page: 76
  25          UNIDENTIFIED SPEAKER: Howell.
  0156
   1         THE CHAIRMAN: Howell, Douglas Howell.
   2         MR. CAMPBELL: It's not Campbell?
   3         THE CHAIRMAN: Not at this point, Mr. Howell --
   4 Mr. Campbell. Not yet. We are looking for Douglas Howell.
   5         Are you Mr. Howell?
   6         Excellent. Please come forward, sir.
   7         We are very grateful that you came and agreed
   8 to give us your perspective on House Bill 1229. Thank you
   9 for doing that, sir.
  10          Please state your name for the record. Tell us
  11 who you represent, if anyone other than yourself, and then
  12 proceed with your testimony.
  13          MR. HOWELL: Thank you, Chairman.
  14          My name is Douglas Howell. I've served the
  15 United States for 19 and a half years from the military,
  16 military and nuclear weaponry. So I have a -- a gripe
  17 about this.
  18          First thing I want to say is: I hear the
  19 amount of 33 people every day are killed by guns. I don't
  20 know, is that Colorado? Is that national? I don't know.
  21          Next thing, bill writers right now are being run
  22 by emotions, not by facts. Drunken drivers and pot-smoking
  23 drivers kill more people than guns in this country. So if
  24 you want to outlaw something, all right, go after
  25 automobiles, get rid of automobiles, if you want to try.
  0157
   1 That will save more people than guns will, and see how long
   2 that lasts.
   3         Government has gone back to the tyranny that
   4 was fought for in the Revolutionary War. Government keeps
   5 extending their power and taking away our rights. Every
   6 time you meet, you put in more legislation and more laws.
   7 And because of this right now, I am being taxed out of my
   8 house because of the state of Colorado.
   9         Okay. I've had guns since I was 16 years old,
  10 and not one of them has gotten up and shot anybody.
  11 They've all stayed right where they were.
  12          I was in the Strategic Air Command, and the
  13 motto there was peace through deterrent, and that won the
  14 Cold War. We had bigger and a better nuclear force than
  15 Russia had, so they backed down. So if homeowners have the
  16 privilege of having guns in their own house, people will
  17 think twice or even three or four times about trying to
  18 enter those houses.
  19          THE CHAIRMAN: Mr. Howell, thank for your
  20 service, and thank you for your testimony.
  21          Are there any questions for Mr. Howell?
  22          Thank you, sir.
  23          MR. HOWELL: Can I just close with one real
  24 quick thing?
  25          THE CHAIRMAN: All right, Mr. Howell.
                                                                                                    LEG HX 000551                   4466
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   1 Certainly.
   2         MR. HOWELL: Switzerland mandates that all homes
   3 have at least one assault weapon. People in Switzerland
   4 live in the happiest country in the world. Our government
   5 has stressed our population to its breaking point. That's
   6 why we are having more and more people get upset. But
   7 Switzerland has a gun in every house, and it is mandated to
   8 do that.
   9         THE CHAIRMAN: Thank you, sir. And that's a
  10 very interesting question, which I'm sure we will hear more
  11 about. And thank you for raising it, sir.
  12          MR. HOWELL: Okay. Thank you for letting me
  13 speak.
  14          THE CHAIRMAN: I am pleased that you came.
  15          Mr. Howell, thanks.
  16          Our next witness is Terry McGuire, who will be
  17 followed by -- if you'll come forward please, Terry McGuire
  18 -- who will be followed by Aubrey Allmond and then Paul
  19 Myersick, and then Brian Lane, and then Patrick Thai.
  20          So welcome, Mr. McGuire.
  21          MR. McGUIRE: Thank you, sir. Thank you --
  22 thank you, Chairman, Representatives, Citizens of Colorado.
  23 I appreciate the opportunity to speak before you this
  24 morning.
  25          I'm reminded of a passage in the Bible, in the
  0159
   1 scriptures, where Peter, it records, knew not what to say,
   2 therefore he spake. I think sometimes we do that with
   3 legislation. I think sometimes more than a -- a critical
   4 evaluation of what the problem is and what it is we are
   5 trying to do, we have a gut reaction.
   6         It's amazing to me that our nation survived very
   7 well for over 200 years without the legislation we are
   8 considering today.
   9         My concern is that this added legislation puts
  10 an added layer or regulation upon a constitutional right.
  11 Could you imagine if anyone took the First Amendment and
  12 said that you have to go through a process of government
  13 approval? And I'm sure it could come to that someday in
  14 America, as it has in other nations.
  15          My concern is that we're adding regulation upon
  16 regulation. The average waiting period, when the
  17 background check was instituted through CBI, was about
  18 three minutes. Now it's over a week, and who knows what it
  19 will become if it goes beyond what we're proposing today.
  20          My concern is that, as a family member tries to
  21 transfer a firearm to another family member -- we've done
  22 that for over 200 years with very limited problems. And
  23 I'm just -- I think we're -- it's not a characteristic of a
  24 great society that piles laws upon laws. It's a
  25 characteristic of a great society that men's hearts are in
  0160
   1 tune with what's right, and there's a minimum of laws.
                                                                                                    LEG HX 000552                   4467
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                                   Roman orator           01019371763
                                                 said that, but                       Date Filed: 01/16/2015           Page: 78
   3 nevertheless, I believe it's true. So I would -- I would
   4 ask for an overturn on the extensive background checks.
   5         THE CHAIRMAN: Thank you, sir. And you are the
   6 first witness to have come to a halt at exactly two
   7 minutes. And I -- I am most impressed by that and by your
   8 argument. But that is particularly impressive.
   9         MR. McGUIRE: I would say I'm a Baptist
  10 preacher, so you'll never see me do this again in my life.
  11          THE CHAIRMAN: Are there any questions for this
  12 witness?
  13          Representative Murray.
  14          REPRESENTATIVE MURRAY: Thank you, Mr. Chair.
  15          And welcome to my constituent, Mr. McGuire.
  16 Thank you for coming.
  17          I really appreciate that phrase men's heats are
  18 right, because one of the things that many of us talk
  19 about, and we haven't brought it up today, is what's going
  20 on in our society that there is some trigger that is
  21 causing people to do things that maybe we are not
  22 accustomed to seeing happen in our society. So it is not
  23 the gun's fault that this is happening. We have to look in
  24 our own hearts and see what is changed.
  25          I saw on TV a mother of a child that was killed
  0161
   1 in the massacre in Connecticut, and -- you know, she wasn't
   2 a mother. She was a neighbor to the shooter. And she had
   3 indicated that the neighbors had sort of not been around
   4 this family very purposefully, had not extended themselves
   5 and their hearts to them and that she felt very guilty that
   6 -- she felt that somehow, if they had had some extension of
   7 love from their neighbors, which, you know, in the old days
   8 we all used to extend ourselves to our neighbors, and it's
   9 like we don't do that anymore. That's an issue that we
  10 need to be dealing with in our society.
  11          So I appreciate that phrase, and thank you for
  12 bringing that to us.
  13          THE CHAIRMAN: Further questions for
  14 Mr. McGuire?
  15          Seeing none, thank you very much, Mr. McGuire,
  16 for helping us make this difficult decision.
  17          MR. McGUIRE: Thank you, sir. Thank you all.
  18          THE CHAIRMAN: Thank you.
  19          Aubrey Allmond, Paul Miesick, Brian Lane,
  20 Patrick Thai.
  21          Mr. Thai, please come forward, sir.
  22          Oh, sorry, Mr. Thai. I over -- I was a little
  23 too enthusiastic there.
  24          We have Mr. Allmond?
  25          MR. ALLMOND: Yes.
  0162
   1         THE CHAIRMAN: Please, welcome. Thank you for
   2 coming. And please state your name properly, because I
   3 probably haven't, and tell us who you represent, and give
                                                                                                    LEG HX 000553                   4468
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   4 us yourAppellate
              testimony.Case: 14-1290 Document: 01019371763                           Date Filed: 01/16/2015           Page: 79
   5         MR. ALLMOND: Thank you. And thank you for
   6 allowing me to be here today.
   7         My name's Aubrey Allmond. I live in Littleton,
   8 and I represent myself and the security of my family.
   9         Bill 1229 permits the state to tell a private
  10 citizen when and if they can sell a personal possession.
  11 This is similar to asking for permission from the state if
  12 you can sell a car or a pocketknife or a baseball bat.
  13         The state should not have the power to dictate
  14 to what its citizens -- if they can sell personal
  15 possessions. 1229 allows the state to overstep its bounds
  16 and responsibilities to the personal lives of its citizens.
  17         CBI recently requested an additional half a
  18 million dollars in order to keep up with the increased
  19 demand for background checks. The request was denied.
  20         Denver Post, January 12, 2013, Ronald Sloan, CBI
  21 director, told the Denver Post on Wednesday that proposed
  22 legislation would increase the volume of gun background
  23 checks incredibly.
  24         Without additional resources, the already long
  25 Colorado wait times would lengthen. These extremely long
  0163
   1 wait times could mean life or death to someone that needs
   2 to protect themselves, and HB-1229 places undue hardship on
   3 state resources and its citizens.
   4         This bill is also unenforceable. No one would
   5 know if a firearm was sold or gifted to a friend or
   6 relative unless they intentionally sought a licensed
   7 firearm dealer and followed the process.
   8         This bill also does nothing to prevent the
   9 transfer from happening in other states with the firearm
  10 eventually residing in Colorado. You will never know the
  11 numbers of private sales of guns, baseball bats, or kitchen
  12 tables.
  13         I submit to you read the text of Deadly Lessons,
  14 Understanding Lethal School Violence written by the
  15 National Research Counsel. I plead for you to vote no on
  16 1229.
  17         Thank you.
  18         THE CHAIRMAN: Mr. Allmond, thank you.
  19         And are there any questions for Mr. Allmond?
  20         Mr. Allmond, I just want to mention: I think
  21 that you're right, that this bill would probit the sale of
  22 a firearm to a family member without first getting a
  23 background check, but it would not prohibit the gift of a
  24 firearm to a family member. If they were a member of the
  25 immediate family, there would be no background check
  0164
   1 required even under this bill. So just for clarification
   2 purposes.
   3         MR. ALLMOND: There's no definition of will
   4 either.
   5         THE CHAIRMAN: Sorry?
                                                                                                    LEG HX 000554                   4469
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             MR. ALLMOND:          There's noDocument:
                                             definition of01019371763
                                                           will. So                   Date Filed: 01/16/2015           Page: 80
   7 if I were to receive within my father's will a firearm
   8 collection and he's out of the state, there's nothing to
   9 address that transfer.
  10         THE CHAIRMAN: Well, just for purposes of
  11 clarification, the language of the bill says that a
  12 transfer that is a bona fide gift between immediate family
  13 members, which are limited to spouses, parents, children,
  14 siblings, grandparents, and grandchildren is -- is exempt
  15 from the requirement.
  16         So that's -- that's the way that the bill is
  17 written. I just want you to know that that's the way the
  18 bill is at the moment. But your point is nevertheless well
  19 taken. That is presumably not a big enough exception to
  20 satisfy you, and we -- we note that. And it's very helpful
  21 that you came and explained your position to us here in the
  22 House Judiciary Committee. It will help us make a decision
  23 properly.
  24         MR. ALLMOND: Thank you.
  25         THE CHAIRMAN: Thank you very much,
  0165
   1 Mr. Allmond.
   2         Mr. Patrick Thai.
   3         Welcome, sir. Thank you for coming.
   4         MR. THAI: Thank you, sir.
   5         THE CHAIRMAN: Please give us your name.
   6         MR. THAI: My name is Patrick Thai.
   7         THE CHAIRMAN: Please tell us who you represent,
   8 if anyone other than yourself.
   9         MR. THAI: I'm just representing myself, sir.
  10         THE CHAIRMAN: Please give us your testimony.
  11 Thank you, sir.
  12         MR. THAI: I'm going to keep it brief. The
  13 last witness covered most of what I had to say regarding
  14 enforceability.
  15         My issue with that is I've sold firearms to
  16 private sellers before. Whenever I do so, I always make
  17 sure and verify that they've got a Colorado driver's
  18 license, make sure they are not an out-of-state buyer,
  19 because that would be a violation of the law.
  20         But if this law is passed into place and if I
  21 wanted to do -- and if I wanted to do that, I would have to
  22 go through a dealer. But if there was a criminal who, you
  23 know, thought ahead, didn't try to go to a dealer, which
  24 some clearly don't, as Representative Lee had stated
  25 before, if they don't want to go to dealer, there's no way
  0166
   1 to catch them until they are caught in a crime with the
   2 weapon, if at all.
   3         And that's the only point I had to make on this
   4 issue, sir.
   5         THE CHAIRMAN: Thank you, Mr. Thai.
   6         Are there any questions for Mr. Thai?
   7         Mr. Thai, thank you for coming and making that
                                                                                                    LEG HX 000555                   4470
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   8 point to so clearlyCase:  14-1290 I appreciate
                         and concisely.     Document: it. 01019371763                 Date Filed: 01/16/2015           Page: 81
   9        MR. THAI: Thank you, sir.
  10         THE CHAIRMAN: We now would ask Daniel Carey to
  11 come forward. I already heard -- oh, I already heard from
  12 Daniel Carey. We already heard from Daniel Carey, so I
  13 would not ask for Daniel Carey to come forward.
  14         Mr. Dave McCally, please. Step forward and give
  15 us your testimony with regard to House Bill 1229.
  16         Um, failing that, Charles Yates.
  17         Charles Yates, I hear you are here. Good,
  18 excellent, superb, Mr. Yates.
  19         And so that the next witnesses can be ready, let
  20 me just tell you that following Mr. Yates, we will have
  21 Mr. Sean Verhoeff, right? Okay.
  22         Sean Verhoeff after Mr. Yates. Then Mr. Ronald
  23 Dietz, Mr. James Winchester, and Alicia Perez.
  24         Mr. Yates, correct?
  25         MR. YATES: Yes, sir. Thank you.
  0167
   1        THE CHAIRMAN: Mr. Yates, thank you for being
   2 here.
   3        MR. YATES: My name is Charles Yates. I'm from
   4 Colorado Springs.
   5        I'm a normal citizen. I have a normal job. I
   6 do a normal daily thing. I'm a law-abiding citizen. And
   7 my problem with this bill, as stated here, is it does not
   8 -- I'm sorry for the representation. It does not address
   9 the criminals that are going after the weapons. It doesn't
  10 address the punishment or the criminals that are stealing
  11 guns out of homes, stealing guns out of cars, stealing guns
  12 at home invasions, and going in and doing what they will.
  13         It is a burden on people to go through the
  14 background. And we've heard stated it could take up to 10,
  15 could go up 12, could go up to 30 days with the amount of
  16 background checks that are going to have to be performed if
  17 you continue down this road.
  18         The background process is apparently a very
  19 costly process when it comes to the government checking
  20 everybody's background. I've had background checks done.
  21 I don't -- I didn't mind having a background check done
  22 because I'm a law-abiding citizen. I don't have to look
  23 for other ways to go about in getting weapons, but the
  24 criminals won't have to do that, and they won't do that.
  25 They are just going to go into people's houses.
  0168
   1        What are the possibilities of this law actually
   2 causing an uptick in criminal activity? Because they are
   3 now not even going to go through any kind of background
   4 check. They are just going to go ahead and go illegally
   5 obtain their weapon and cross the border into Mexico, get
   6 back in here. There's so many possibilities that this bill
   7 just does not affect.
   8        And that's what I'm here to state.
   9        THE CHAIRMAN: Well, thank you for coming here
                                                                                                    LEG HX 000556                   4471
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  10 and being    patientCase:  14-1290
                          and saying  it, sir. Document:  01019371763
                                               We appreciate the                      Date Filed: 01/16/2015           Page: 82
  11 input.
  12          Are there any questions for Mr. Yates?
  13          Seeing none, please take -- accept our thanks.
  14          Mr. Sean Ver -- Sean?
  15          Sir, please come forward.
  16          Please state your name, tell us who you
  17 represent, and proceed with your testimony.
  18          MR. VERHOEFF: My name is Sean Verhoeff. I'm
  19 representing myself, as well as the voices of southeastern
  20 Colorado.
  21          THE CHAIRMAN: Welcome.
  22          MR. VERHOEFF: Thank you.
  23          THE CHAIRMAN: Carry on.
  24          MR. VERHOEFF: I've got a couple issues with --
  25 with the current legislation. One of the things is the
  0169
   1 inherent -- is what happens if somebody who owns rifles and
   2 firearms passes away, what would be the -- what would
   3 happen to their stockpile of guns? You know, there's --
   4 there's many gun owners who have anywhere from 1 to 30
   5 guns, 50 guns to hundreds of guns.
   6          One of my cousins, for instance, died a couple
   7 years ago, and he had several hundred guns. And under this
   8 bill, it would not allow family members like myself to
   9 receive guns from his stockpile of weapons.
  10          THE CHAIRMAN: That's a very interesting
  11 question, and maybe the bill sponsor would like to answer.
  12          Representative McCann.
  13          REPRESENTATIVE McCANN: Thank you, Mr. Chair.
  14          There is an exception in the bill for a
  15 transfer that occurs by operation of law. And so I believe
  16 that if someone is -- if a will has been -- if something is
  17 included in a will, it will pass by operation of the
  18 probate law.
  19          So I believe that -- and this is something we
  20 can perhaps get clarification from the drafter if we need
  21 to, but I believe that property would be passed by law
  22 through a will through the probate court.
  23          THE CHAIRMAN: Thank you.
  24          MS. McCANN: So you would be able to inherit
  25 guns from a family -- from someone by operation of law.
  0170
   1          THE CHAIRMAN: Thank you, Representative
   2 McCann.
   3          MR. VERHOEFF: I have also another issue that
   4 the fact of this bill also would restrict my Second
   5 Amendment Right. I'm 19 years old, and if -- if -- it's
   6 not just this bill that comes down the pipe, but it's the
   7 next bill and the next bill and the next bill.
   8          What is the state of Colorado going to do to
   9 protect my gun rights? I would -- I've been shooting since
  10 I've been ten years -- since I was ten years old. I love
  11 shooting. It's a fun sport to do. It's also for the
                                                                                                    LEG HX 000557                   4472
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  13         So what is the state of Colorado going to do
  14 next? If we take this step, what are they going to do for
  15 the next step?
  16         THE CHAIRMAN: Thank you very much, Mr. --
  17 please tell me your last name again.
  18         MR. VERHOEFF: Verhoeff.
  19         THE CHAIRMAN: Mr. Verhoeff.
  20         Are there any questions for Mr. Verhoeff?
  21         Mr. Verhoeff, you make the point very clearly,
  22 and we appreciate you having done so.
  23         MR. VERHOEFF: Thank you.
  24         THE CHAIRMAN: Thank you for coming.
  25         Mr. Ronald Dietz, who will be followed by --
  0171
   1 welcome Mr. Dietz -- by James Winchester, then Alicia
   2 Perez, and Ian Jaeger, and then James Durden.
   3        Mr. Dietz, welcome to the House Judiciary
   4 Committee. Welcome back if you've been here before.
   5 Please give us your name, tell us who you represent, and
   6 proceed with your testimony.
   7        MR. DIETZ: Thank you, Mr. Chairman.
   8        My name is Ronald Dietz, and I am representing
   9 myself.
  10         THE CHAIRMAN: Please proceed, sir.
  11         MR. DIETZ: Okay. Thank you.
  12         I am going to direct my testimony to who has
  13 not been dressed at any of these meetings and by any of
  14 these bills, and that is the real cause of why someone
  15 would want to go in and shoot up a school or a mall or a
  16 theater.
  17         And I want to start this testimony by showing
  18 everybody a picture. This is a picture of the memorial
  19 plaque on my son's headstone. My son died for the same
  20 reason that those children in Newtown did and Columbine and
  21 the theater, and that reason is psychiatric drugs.
  22         Like Adam Lanza, my son had Asperser's syndrome.
  23 Like Adam Lanza, he could not function socially, and like
  24 all of the shooters and mall shooters, when I went to get
  25 him help, they put him on anti-depressant drugs.
  0172
   1 Every school shooter, every mall shooter has been on these
   2 drugs. There has never been a school shooter or a mall
   3 shooter who has not. Before these drugs came on the
   4 market, there were no school shootings. There were plenty
   5 of semi-automatic automatic weapons that could have done
   6 the job. And as I saw my son on these drugs go downhill,
   7 he became more suicidal, and he became violent. He became
   8 wanting to hurt people and attack people.
   9        One day, for example, he came to me, and he
  10 said, At school I was standing in a line, and I suddenly
  11 had this urge to attack everybody in front of me. He said,
  12 Why? Why do I need to do that?
  13         We went to the psychiatrist who was treating
                                                                                                    LEG HX 000558                   4473
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  14 him, and           Case:to14-1290
                they refused     accept that Document:
                                             as a symptom 01019371763
                                                            of the                    Date Filed: 01/16/2015           Page: 84
  15 drug. They refused to get him another treatment, and they
  16 said he had to stay on these drugs forever, for the rest of
  17 his life.
  18         Seeing the way things were going -- and my son
  19 also realized this problem, because he came to me and
  20 talked to me a lot -- we had to get ourselves off the drug
  21 against the doctor's advice. After that he got better but
  22 never got quite well, and he committed suicide when he was
  23 20 years old.
  24         After my son died, I assumed that things just
  25 couldn't get any worse, but then other people started
  0173
   1 coming and telling me, friends at work, other people I
   2 knew, forums I was on on the Web, where they had seen the
   3 same thing done to their loved ones. And I suddenly
   4 realized, yes, it can get a lot worse: My son could have
   5 done what Adam Lanza did, and I would have had to endure
   6 even greater pain and suffering.
   7         These bills do nothing to address this problem.
   8 We're overmedicating our kids. We're putting everybody on
   9 the drugs that they can, and these side effects, they are
  10 very serious. These drugs are very dangerous. They are
  11 killer drugs. They turn people into killers, and it's
  12 unacceptable that we continue to allow this to happen.
  13         THE CHAIRMAN: Mr. Dietz, you've shared a very
  14 painful story with us, and it takes a lot for you to do
  15 that, and we appreciate it. We know you are just trying to
  16 advance our state's public policy.
  17         Are there any questions for Mr. Dietz?
  18         Thank you, sir, for coming today.
  19         MR. DIETZ: Okay. Thank you.
  20         THE CHAIRMAN: Mr. James Winchester, please
  21 come forward.
  22         Mr. Winchester, welcome to the House Judiciary
  23 Committee. Please tell us your name. Tell us who you
  24 represent, not in your capacity as attorney at law. We
  25 don't want to hear your entire client list, but who you
  0174
   1 represent in your testimony and proceed to give us your
   2 testimony.
   3         MR. WINCHESTER: Thank you, Representative
   4 Kagan.
   5         Before I start, may these be passed out? It
   6 will be -- there are two pages. I didn't staple them
   7 together. I hope I have enough for everyone.
   8         My name's James Winchester. I'm an attorney,
   9 retired. I spent 27 years with the United States
  10 Department of Justice doing some criminal cases. I also
  11 spent a great deal of time on the Denver police reserve
  12 doing law enforcement work. But perhaps most
  13 significantly, I was the legislative director of the
  14 Colorado State Shooting Association when John Head and I
  15 crafted the current bill.
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              I have to Case:
                        say that14-1290
                                 I don't thinkDocument:
                                               either    01019371763                  Date Filed: 01/16/2015           Page: 85
  17 Mr. Head, nor could I foresee what was going to happen with
  18 this bill. Let me give you the history.
  19          In the 1990s a grand plan was establish to let
  20 CBI do background checks instead of the FBI. The firearms
  21 community had great concerns about this, but the carrot
  22 that was held out to us was the CBI checks would remain
  23 free, as are the FBI checks.
  24          Second, the InstaCheck program would be
  25 InstaCheck. Somehow I think we've strayed a bit from that.
  0175
   1         And the third carrot was that the program would
   2 be adequately funded to present day.
   3         We agreed to this, and we made a mistake. The
   4 mistake we made -- there are two. We should have insisted
   5 on a sunset so that there would -- this legislative body
   6 would be forced to review their competence and efficiency
   7 in the administration of the program.
   8         And the second error was that we did not have an
   9 oversight board appointed so they would be accountable to
  10 someone other than the executive branch of the state
  11 government, because I think they -- they need to be.
  12          So everyone in the state knows that CBI is
  13 many, many days behind. My understanding is it's seven or
  14 eight days, and this is far from what was ever intended.
  15 Mr. Head and I spoke before this meeting. We did not
  16 intend that this would ever become the problem as it has.
  17          About three weeks ago, I advised the governor
  18 that CBI was operating illegally, and essentially nothing
  19 was done. I advised the Post that CBI was operating
  20 illegally, and something was done. CBI then said they are
  21 going to consult with the Attorney General.
  22          THE CHAIRMAN: Mr. Winchester, since we've
  23 reached two minutes, I'm going to ask you to stop, but I
  24 can't -- I think it would be unfair not to ask you to
  25 explain in what respect the CBI has been operating the
  0176
   1 InstaCheck illegally in your view.
   2         MR. WINCHESTER: Thank you, sir.
   3         The handout, the first handout, is 18 United
   4 States Code, 922, Subsection T-1. And this is essentially
   5 the Brady National Check System. And the pertinent part is
   6 that it says a dealer cannot transfer to any person not
   7 licensed -- that means a gun buyer -- unless -- and if you
   8 look at double I down there, it says three business days,
   9 meaning a date on which state offices are open, have
  10 elapsed since the licensee contacted the system. That's
  11 critical language.
  12          Now, if you looked at the other page I gave
  13 you, you will see what CBI said they're doing. They have a
  14 very novel interpretation of that statute.
  15          What they are saying basically is they don't
  16 count the three days when the dealer initiates the check.
  17 They count the three days when they get around to doing it.
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              opinion, it's      14-1290
                            flagrantly illegal.Document:
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  19 about it, and I think it is a very serious problem.
  20          I don't know why the committee or anyone in this
  21 legislature would expect gun owners to trust a system that
  22 is basically corrupt the way it's going now. My opinion as
  23 a lawyer is that is operating outside the law.
  24          People are very concerned about their gun
  25 rights, and they are justifiably concerned because of this
  0177
   1 kind of problem. Laying a huge additional burden on the
   2 CBI for additional background checks when they cannot get
   3 it right now. And this is just not this year. We've had
   4 years of problems where they have taken hours and hours and
   5 hours, the medium wait time. I got the documents in
   6 (inaudible).
   7         It's not a new problem, and my request is that
   8 you simply PI this bill until you get an answer on how CBI
   9 is going to fix this problem and why it is violating the
  10 law. I -- I recommend you have a hearing on it because I
  11 think it needs to have some answers.
  12          That's my testimony, sir.
  13          THE CHAIRMAN: Mr. Winchester, the speed of the
  14 InstaCheck system, has been, especially in recent weeks,
  15 been less than instant. You're absolutely right. The time
  16 for the turnaround has gone from minutes to hours and now
  17 days. The demand on the system has gone from steady to
  18 massive, and I think that's a result of a spike of huge
  19 proportions in the number of people conducting firearms
  20 transactions in the state of Colorado.
  21          One can speculate as to why there has been such
  22 a rush of firearm transactions, and I don't want to do
  23 that. I'm not in the firearms business. But I know that
  24 there has been a massive rush of firearm transactions. The
  25 system has, therefore, slowed because of this catastrophic
  0178
   1 -- not catastrophic, but this massive rush of activity.
   2         But I think it would be wrong for the people of
   3 Colorado to conclude that once the spike is over and things
   4 settle back down the normal level of transactions, that the
   5 InstaCheck system will not be able to turn around the
   6 background checks in a very speedy fashion. And that's
   7 certainly my hope as a legislator here, that this is a
   8 temporary spike and this is not going to be the continual
   9 situation. And if it is, and if this background check
  10 carries on being this way, I certainly think there will be
  11 strong, strong pressure to provide additional resources and
  12 to -- to get those waiting periods down.
  13          So Representative Wright.
  14          REPRESENTATIVE WRIGHT: Thank you,
  15 Mr. Winchester, for your testimony.
  16          You have a particularly interesting background.
  17 I think I'd like to ask you this question specifically --
  18 you this question.
  19          Can you -- earlier we had testimony from the
                                                                                                    LEG HX 000561                   4476
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            Appellate
  20 CBI director        Case: appeals
                     regarding  14-1290to people
                                              Document:
                                                   that were 01019371763
                                                               turned                 Date Filed: 01/16/2015           Page: 87
  21 down, essentially, to purchased a weapon through
  22 InstaCheck.
  23          In that testimony we heard that 56 percent of
  24 those appeals were overturned. And I wonder if you have
  25 done any research into that or if you might be able to
  0179
   1 speak to a lack of competency there possibly, or if there's
   2 something else going on.
   3         MR. WINCHESTER: Well --
   4         THE CHAIRMAN: Mr. Winchester.
   5         MR. WINCHESTER: Thank you, sir.
   6         It's an interesting subject. CBI developed a
   7 program called Denial on Arrest. Now, the National
   8 InstaCheck System allows denial only for conviction. CBI
   9 developed a policy of denial on arrest.
  10          And basically what they said was your name is in
  11 the database as having been arrested. We do not have a
  12 disposition, therefore you are denied until you come back
  13 and prove to us that you're either not that person or there
  14 was a dismissal or a plea of such a nature as not to be a
  15 disqualifier.
  16          That was an enormous paper chase for some
  17 people. That's why a significant number of people get
  18 these reversed, is because they're wrongly denied.
  19          And I'd like to make a point, if you wouldn't
  20 mind, sir.
  21          Represent Kagan made a very interesting
  22 analogy, which I think really sums up the problem. He said
  23 that getting a background check is like waiting in line to
  24 vote. It's not. It's not even close. It's like waiting
  25 in line to vote, bringing your photo identification to
  0180
   1 prove who you are, having your background criminally
   2 investigated, waiting for hours, maybe days, to go exercise
   3 your right to vote. You would never accept this with
   4 voting conditions, but you're okay with it with these
   5 background checks.
   6         I think, as this system is currently being used
   7 with these delays, that it is unconstitutional because it's
   8 going beyond calling people's right into question. It
   9 literally is calling a right into question, but it's also
  10 making people wait prolonged periods of time.
  11          I cannot agree with you, Representative Kagan,
  12 that this is going to be remedied quickly. If I may
  13 explain why I say that.
  14          THE CHAIRMAN: Please.
  15          MR. WINCHESTER: The United States of America
  16 is panicked. Firearms owners nationally are sucking the
  17 system dry of ammunition and firearms. You can't find
  18 them.
  19          What will happen will be we will see a dip
  20 briefly because there's the giant black hole sucking the
  21 inventory out of the system. The demand is not going away.
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  22 The products       Case:
                     will      14-1290
                          then work           Document:
                                      their way  back, and 01019371763
                                                            the demand                Date Filed: 01/16/2015           Page: 88
  23 will peak, and the load on the system I expect will return.
  24 It might not be as bad as it is now.
  25          But I have no reason to believe, particularly if
  0181
   1 we add private sale checks, that there is not going to be
   2 an enormous additional load and that CBI, as presently
   3 funded or even if they get the extra $1 million, may have a
   4 very bad time catching up.
   5         That's somewhat speculative. I don't know. But
   6 we've seen this before, where there's been basically a
   7 panic and everybody -- and I'm an NRA instructor.
   8 Everybody who wants a gun who has been procrastinating on
   9 it for years has now rushed to their dealer to buy the gun,
  10 the ammunition, whatever, and if they can't get it, that
  11 demand is not going to go away. It's just going to be
  12 deferred for a while.
  13          THE CHAIRMAN: Representative Salazar.
  14          REPRESENTATIVE SALAZAR: Thank you, Mr. Chair.
  15          And thank you for being here and giving us your
  16 testimony.
  17          Your statement just now, though, doesn't that
  18 contradict your claim that background checks are
  19 unconstitutionally burdensome? Because if you are saying
  20 that by enacting this law here that it's going to be
  21 burdensome on people, but yet you just said that it's going
  22 to cause people to go and buy their firearms and going to
  23 be this huge spike, then that contradicts what you are
  24 saying about -- about the background checks, doesn't it?
  25          THE CHAIRMAN: Mr. Winchester.
  0182
   1         MR. WINCHESTER: Well, I don't think so. What
   2 I said was, as I think I recall it, was that there will be
   3 a temporary dip in the number of checks, and then it will
   4 spike back up. Then we go back into the problem that we
   5 have now, which is not hours, as it has been for years, not
   6 days, but where it is now over a week. I think that's a
   7 very long time for somebody to wait who needs a firearm for
   8 self-defense.
   9         And, you know, I really want to keep the
  10 committee's feet to the fire on this. If this was voting
  11 rights, how would you feel about this? If this was the
  12 right to counsel, how would you feel about this? Okay,
  13 we're going to delay your right to counsel, even when you
  14 ask for it, by four hours or five hours while we proceed to
  15 do what used to be done before the Supreme Court said there
  16 was a right to counsel, as you detain people and sometimes
  17 beat them. Okay?
  18          When you start chipping away at rights, it can
  19 become a slippery slope where you stop. Because, keep in
  20 mind, the reason people didn't get counsel and they didn't
  21 get their warning, their Fifth Amendment warning, was
  22 because the police believed they were criminals and,
  23 therefore, to capture and convict the criminals, you didn't
                                                                                                    LEG HX 000563                   4478
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  24 want Appellate
            them to have Case:
                            any 14-1290      Document:
                                rights. So until          01019371763
                                                 the Supreme  Court                   Date Filed: 01/16/2015           Page: 89
  25 said that there was that right, there wasn't. And as those
  0183
   1 of you from the minority group know, it was really bad.
   2         I worked in Washington, D.C., under a very
   3 famous judge who is a partner of Thurgood Marshall, Judge
   4 Brian. So I got to see this, and it was oppressive. So
   5 you have to be very careful when you start chipping at
   6 rights because somehow they can go away.
   7         And I'd like to -- since (inaudible) voting, I'd
   8 like to make one more point, if I can.
   9         THE CHAIRMAN: You're really pushing the
  10 envelope here.
  11          MR. WINCHESTER: I am indeed.
  12          In another committee, the equivalent --
  13          UNIDENTIFIED SPEAKER: Yeah.
  14          MR. WINCHESTER: Of a poll tax is being
  15 proposed. You now have to pay to exercise your right. I
  16 think it is pretty serious problems.
  17          That's all I have to say. Thank you.
  18          THE CHAIRMAN: Thank you, sir.
  19          Are there any further questions for --
  20 Representative Murray.
  21          REPRESENTATIVE MURRAY: Thank you, Mr. Chair.
  22 I appreciate that.
  23          Mr. Winchester, thank you so much. You know, I
  24 -- I sense some ire there against the CBI. I would say
  25 that you need to direct some of that ire to this
  0184
   1 legislature. We have the power of the purse, and we have
   2 not provided the resources to the CBI that they need to
   3 process these applications. So let's look at who really is
   4 at fault in this. This legislature needs to come forward
   5 and provide those resources as soon as possible. Then the
   6 problem goes away.
   7         And I also really appreciated the fact that you
   8 brought up the poll tax, because when you first started
   9 speaking, I thought you were going to be talking about the
  10 fee. And I'm surprised that it hasn't come up before now,
  11 that no one would tolerate having to pay before they vote,
  12 and that is exactly what we have here is a fee.
  13          And there's been a lot of discussion in the
  14 past, you know, the gun shows and all of the other
  15 background checks about whether that should come from the
  16 general fund or whether it should be a fee that someone
  17 pays.
  18          To my feeling, if this is a constitutional
  19 right, we need to be taking it out of the general fund of
  20 the state and not charging people for that. It is not like
  21 a motor vehicle driver's license. A driver's license is a
  22 privilege. It's not a right.
  23          Thank you.
  24          THE CHAIRMAN: Other -- Representative Salazar,
  25 and then we'll come to Representative Lee.
                                                                                                    LEG HX 000564                   4479
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  0185      Appellate Case: 14-1290 Document: 01019371763                             Date Filed: 01/16/2015           Page: 90
   1         REPRESENTATIVE SALAZAR: Let me -- let me just
   2 -- thank you very much, Mr. Chair. I appreciate your
   3 comments.
   4         Let me just push back a little bit, as a
   5 constitutional attorney who teaches us constitutional
   6 rights at -- at our local universities.
   7         And let's -- let's not try to compare a
   8 background check and a $10 background check with a poll
   9 tax. Poll taxes were used quite specifically for a
  10 discriminatory purpose, to target a particular race of
  11 individuals, and that's not what we have here with
  12 background checks.
  13          It appears to be a general rule of applicability
  14 that appears to all individuals regardless of what their
  15 race is. So let's not do that. Let's not jump into the
  16 realm of trying to elicit some type of sympathy because of
  17 past discrimination that has occurred to a particular group
  18 and compare it to what this bill doesn't do, which is to
  19 discriminate against a particular racial group.
  20          THE CHAIRMAN: Mr. Winchester, if you care to
  21 respond --
  22          MR. WINCHESTER: Very briefly.
  23          THE CHAIRMAN: -- please feel free to.
  24          MR. WINCHESTER: I could not disagree with you
  25 more. You are correct, it's not directed against a
  0186
   1 distinct racial group. It is directed against another
   2 distinct and discrete group: Firearms owners, who have a
   3 civil right.
   4         So I -- I don't accept your statement. I think
   5 it is very analogous to the civil right problems that we
   6 have had in the past where a group of people, who are hated
   7 and disliked and despised by, let's say, a minority or a
   8 large majority, whatever -- doesn't matter -- whose rights
   9 are attacked because of who they are. And that's what my
  10 concern is.
  11          THE CHAIRMAN: Representative -- Okay.
  12 Representative Lee.
  13          REPRESENTATIVE LEE: Thank you.
  14          My question is actually more to the Chair than
  15 to -- to Mr. Winchester.
  16          I'd like -- some questions were raised about
  17 CBI's addressing the background -- or addressing the
  18 backlog of cases, and I'd like to hear from the director of
  19 CBI about how they're going to address that problem, how
  20 they are going to get rid of the backlog, how long it's
  21 going to take and whether we can reduce the amount of time
  22 it takes for these background checks to be fulfilled.
  23          So I would just request that maybe toward the
  24 end of the hearing, we could hear from the CBI director
  25 again.
  0187
   1         THE CHAIRMAN: Representative Lee, I think if
                                                                                                    LEG HX 000565                   4480
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            Appellate
   2 the sponsors        Case:
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                            bill are amenable,Document:   01019371763
                                               I would certainly                      Date Filed: 01/16/2015           Page: 91
   3 entertain that possibility.
   4         REPRESENTATIVE McCANN: We would be amenable.
   5 I don't know if Director Sloan is still present but --
   6         THE CHAIRMAN: Right. That's an interesting
   7 suggestion, and I think it might help to hear what the CBI
   8 has to say at the points that the witnesses have raised. I
   9 think it's an important question and one we would be not
  10 remiss if we didn't follow it up.
  11          Representative Court.
  12          REPRESENTATIVE COURT: Thank you, Mr. Chair.
  13          I just want to point out that the Denver Post
  14 had a really excellent editorial on Saturday about the
  15 devil in the details on background checks and the backlog.
  16 So there was a lot of information in the Denver Post on
  17 Saturday about the issue you've raised.
  18          But what really provoked me to raise my hand,
  19 sir, was your comment comparing racial discrimination to
  20 gun owners or gun purchasers. And I will submit to you,
  21 sir, that when someone decides to buy a gun, it's a choice,
  22 and people who are black have no choice. So I think your
  23 analogy is far off the mark.
  24          THE CHAIRMAN: We think we have a disagreement.
  25          MR. WINCHESTER: I accept -- I accept her
  0188
   1 disagreement.
   2         THE CHAIRMAN: Yep.
   3         MR. WINCHESTER: And may I be excused?
   4         THE CHAIRMAN: All right. Certainly,
   5 Mr. Winchester. Thank you so much. And thank you so much
   6 for contributing to our discussion here and helping --
   7 helping us decide how best to frame our public policy here
   8 in Colorado. Thank you, sir.
   9         Our next witness is, if he or she is here,
  10 Mr. Ian Jaeger. Mr. Jaeger.
  11          Welcome, sir. Mr. Jaeger, just please tell us
  12 your name for the record, who you represent, and give us
  13 your testimony.
  14          MR. JAEGER: Thank you, Mr. Chairman.
  15          My name is Ian Jaeger, and thank you for
  16 pronouncing it correctly. Most people don't get that right
  17 on the first one. I'm representing myself here. I'm a new
  18 resident here in Denver. I moved here just a little while
  19 ago to attend grad stool and basically start a business
  20 here.
  21          One of the things that I had ready was a nice
  22 little commentary, and I'm going to go completely off scrip
  23 because of most of the things that I had ready to say have
  24 been pretty much beaten like a dead horse at this point.
  25          I did want to raise two points, though. The
  0189
   1 first one is that when we talk about the unchecked sales,
   2 when somebody sells a firearm to somebody that they may or
   3 may not know, we don't have to make that sale.
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   4        Appellate   Case:
             A lot of times, if 14-1290      Document:
                                we publish the              01019371763
                                                 fact that we                         Date Filed: 01/16/2015           Page: 92
   5 have an ad for a gun that I'd like to sell, if somebody
   6 comes up to me and says, I would like to buy this weapon,
   7 and the person obviously shouldn't have this weapon, I
   8 don't have to sell to that person. So this is just adding
   9 another layer or regulation to those of us who normally
  10 would be following the law.
  11         The other part of it is that a lot of these
  12 laws -- and I'm talking both about 1224 and 1229 now -- are
  13 really targeted against making trades and purchases and
  14 things like that that some of us, like grad students, don't
  15 have a lot of money, and we like to buy and sell and trade
  16 off of the main market. And this would absolutely
  17 eliminate most of that because now we are adding extra
  18 expenses and things.
  19         That's not going to have any effect whatsoever
  20 on the illegal side of what we are talking about right now.
  21 Where it is going to have an effect is on the people like
  22 me, the future leaders, CEOs hopefully, leaders of the
  23 bench, and things like that, where now we have extra
  24 burdens on us that really are going to start affecting our
  25 activities, our hobbies, and the things that we love to do.
  0190
   1         THE CHAIRMAN: Mr. Jaeger, thank you.
   2         Are there any questions for Mr. Jaeger?
   3         Thank you for coming forward, sir, and giving
   4 us your input. We appreciate it.
   5         Alicia Perez. And after Ms. Perez we will be
   6 going to James Durden, Jared Wolfe, and Tony Winchester.
   7         Welcome, Ms. Perez. Please give us your name,
   8 who you represent, and your testimony.
   9        MS. PEREZ: I'm Alicia Perez, and I am a mom. I
  10 home school four bays, and I am not a public speaker, so
  11 I'm sorry.
  12         I just have -- I was trying to read through
  13 this long bill, and I am not a lawyer, so I had some
  14 questions about some of it.
  15         It talks about, you know, the exceptions for
  16 being at the shooting range and that kind of thing being
  17 okay. Sometimes we have friends come over, and we just go
  18 out in our back field -- and actually it's not even ours.
  19 It's our neighbor's, and we have permission to go there.
  20         And, you know, when we're out there, sometimes
  21 we switch and trade just to try new things. And it sounds
  22 like that could be illegal under this new bill, the way
  23 it's worded, if I read it right.
  24         THE CHAIRMAN: That's a very good question, and
  25 I don't know if Representative McCann would like to answer
  0191
   1 it. I can certainly give you my understanding.
   2         Or, Representative McCann, if you'd like to
   3 address the matter.
   4         REPRESENTATIVE McCANN: Well, the bill does
   5 provide an exception for a temporary transfer while in the
                                                                                                    LEG HX 000567                   4482
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   6 home Appellate      Case:as14-1290
            of the transferee      long as theDocument:    01019371763
                                               unlicensed transferee                  Date Filed: 01/16/2015           Page: 93
   7 is not prohibited and as long as the transferee reasonably
   8 believes that the possession of the firearm -- that's a
   9 different -- I'm sorry, it's necessary to prevent imminent
  10 danger.
  11          It also provides for temporary transfer if it
  12 occurs at shooting range, at a target shooting competition,
  13 while hunting, fishing, or trapping. So if -- if the
  14 witness is talking about simply transferring a gun to
  15 someone in the home for purposes other than hunting,
  16 fishing, or trapping, I think the bill would probit that.
  17          THE CHAIRMAN: Um, and, Ms. Perez, I think you
  18 -- you bring up a very interesting point. This is one of
  19 the purposes of these hearings, is to acquaint the
  20 committee with possible unintended consequences and
  21 unintended probations. Yours may well be one of them.
  22          And if this bill should go forward, I think that
  23 this particular matter is one that the sponsors of the bill
  24 may want to look at, as will be many other matters that
  25 have been raised in committee. But it's particularly
  0192
   1 valuable that you raise these kind of questions, and we
   2 thank you for doing it because sometimes these bills can be
   3 improved and often are improved as a result of public
   4 testimony from folks who say, Do you realize your bill does
   5 this? And sometimes we don't, and quite often we can
   6 accommodate those concerns.
   7         So thank you for that.
   8         But you haven't used up your entire two
   9 minutes, so please carry on.
  10          MS. PEREZ: I do have another concern. Today I
  11 heard the words "incremental steps" and "taking steps
  12 forward." I was just -- you know, without knowing all
  13 kinds of legal stuff, is there a guarantee that this bill
  14 wouldn't be the first step in gun registration?
  15          UNIDENTIFIED SPEAKER: What did he ask?
  16          THE CHAIRMAN: Ms. Perez, this bill is not the
  17 first step to gun registration, but whether or not future
  18 general assemblies will choose to do A, B, or C, I, of
  19 course, have no idea. And -- but I can only tell you that
  20 we don't know what future general assemblies will do. This
  21 bill does nothing toward requiring registration. And what
  22 future general assemblies will do, I really can't say. But
  23 Representative Salazar can answer the question.
  24          REPRESENTATIVE SALAZAR: I feel like
  25 (inaudible) the Magnificat.
  0193
   1         Let me ask a question. Where -- did you mention
   2 you and your friends going out and target practicing? Is
   3 that -- is that what you are talking about?
   4         MS. PEREZ: Yes.
   5         REPRESENTATIVE SALAZAR: Okay. That's all I
   6 need to know. Thank you.
   7         THE CHAIRMAN: Representative Buckner.
                                                                                                    LEG HX 000568                   4483
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   8        Appellate    Case: 14-1290
             REPRESENTATIVE           BUCKNER: Document:  01019371763
                                                     When you said in your Date Filed: 01/16/2015                      Page: 94
   9 backyard, I assume that you don't live close to my
  10 backyard.
  11          MS. PEREZ: Yes. We have --
  12          REPRESENTATIVE BUCKNER: You are somewhere it's
  13 safe to shoot a gun in the backyard?
  14          MS. PEREZ: Yes.
  15          REPRESENTATIVE BUCKNER: Thank you.
  16          THE CHAIRMAN: Are there any questions further?
  17          Representative Murray.
  18          REPRESENTATIVE MURRAY: Thank you, Mr. Chair.
  19          Just to comment: So glad to see a female here
  20 testifying. I know there are a lot of women shooters, and,
  21 in fact, we're pretty good. And so thank -- thank you for
  22 being here, and I would encourage any other women in the
  23 audience to please feel free to participate.
  24          Thank you.
  25          THE CHAIRMAN: Thank you, Representative
  0194
   1 Murray.
   2         And I will remember the fact that you're a good
   3 shooter next time I'm deciding whether to let you speak.
   4         Thank you very much, Ms. Perez. Thank you for
   5 being here.
   6         James Durden. Thank you, sir.
   7         Please come forward.
   8         Mr. Durden, please state your name for the
   9 record, tell us who you represent, and give us your
  10 testimony.
  11          MR. DURDEN: I'm James Durden of Park Hill,
  12 Denver. Nice to meet you. I don't agree with you on this
  13 one, but, you know, we don't have to be disagreeable,
  14 right?
  15          I originally -- originally I was for background
  16 checks, universal checks, as a responsible gun owner, and
  17 even if this dies in committee or goes later, if I transfer
  18 my firearms to somebody else, I'm going to go ahead and get
  19 a background check anyway if it's just someone that I don't
  20 know.
  21          I don't think I should be criminalized for
  22 selling to someone that I do know very well, family,
  23 anywhere else like that. I don't think that should be a
  24 part of this -- you know, of the United States as it is.
  25          You know, I just think it's kind of far
  0195
   1 reaching, and I -- and I -- if you can't guarantee that
   2 this isn't the first step in legislation -- I mean,
   3 registration, then I think it should be stopped in
   4 committee and floor and thrown under the table and stomped
   5 on a couple times.
   6         But the -- you know, I was concerned about the
   7 registration comment, with all due respect, Representative
   8 McCann.
   9         I heard her use the phrase -- when she was
                                                                                                    LEG HX 000569                   4484
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            Appellate
  10 mentioning          Case: about
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                                      licensedDocument:
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                                                           kind of                    Date Filed: 01/16/2015           Page: 95
  11 skipped around, and we don't really have licensed persons
  12 as of yet in this nation as far as -- unless you are
  13 licensed to carry as far as, like, a law enforcement
  14 officer, but she was referring to just average citizens
  15 being a licensed person.
  16         And I -- I don't really want to be a part of a
  17 -- of that, you know. I have a carry permit, and I -- you
  18 know, I didn't have one in Colorado until after the theater
  19 shooting, and I realized that I need to be responsible for
  20 my own defense and give myself a chance to -- you know,
  21 while help is on the way. Being looked at as a licensed
  22 person I think means you can regulate me in many other
  23 different ways, and I think I would be opposed to that, and
  24 I stand in opposition to this.
  25         THE CHAIRMAN: Thank you, Mr. Durden, for
  0196
   1 coming and testifying here today.
   2         Are there any questions for Mr. Durden?
   3         Sir, please accept our thanks.
   4         MR. DURDEN: Thank you.
   5         THE CHAIRMAN: And I will now move -- because
   6 we are getting short of time, and we want to get as many
   7 witnesses in as possible. I'm chagrined that we won't be
   8 able to get to everybody, but we can get to Mr. -- Mr. or
   9 Mrs. Wolfe. I think it is Janet (sic) Wolfe, or I can't
  10 read the first name. It begins with a J, and last name is
  11 Wolfe.
  12         Are you Mr. Wolfe?
  13         Welcome, sir, and thank you for coming to
  14 testify here today.
  15         Please tell us your name.
  16         MR. WOLFE: My name is Jared Wolfe.
  17         THE CHAIRMAN: Jared Wolfe. Thank you for
  18 coming, and please proceed with your testimony.
  19         MR. WOLFE: First, I want to kind of explain my
  20 understanding of the current background check and the one
  21 proposed.
  22         I believe the current background check is
  23 necessary because it allows for a business to regulate
  24 where their guns go without discriminating based on
  25 personal characteristics; however, the proposed background
  0197
   1 check kind of takes that away from the individual, and I
   2 believe that it's the individual's responsibility to be
   3 able to judge a person's character and do it responsibly.
   4 Having that said, there are also ways to check a person's
   5 background without it being legally mandated.
   6         Um, also I wanted to point out that if the
   7 proposed background check on private sales is enforced,
   8 there is no real way to check on people, whether they are
   9 actually checking other people's background. There's
  10 nobody watching over your shoulder to make sure you're
  11 doing that.
                                                                                                    LEG HX 000570                   4485
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  12        Appellate    Case:
               So if there's     14-1290
                             a law  saying thatDocument:
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  13 that and then people aren't doing that, the next step to
  14 enforce that law is to have somebody looking over your
  15 shoulder, is to have gun registration. There's no other
  16 way to enforce that law.
  17           THE CHAIRMAN: Um, Mr. Wolfe, thank you for
  18 giving us your view.
  19           Are there any questions for Mr. Wolfe?
  20           Thank you, sir, for coming forwarded. We
  21 appreciate it.
  22           Toni Winchester, who will be followed by Robin
  23 Grattet and then Michael Billingsley, and then David
  24 Whiteaker, assuming we have time. But for now, we are with
  25 Toni Winchester.
  0198
   1          Thank you for coming.
   2          MS. WINCHESTER: Thank you, Chairman and
   3 representatives.
   4          My name is Toni Winchester. I've been a
   5 shooter for 21 years, and I am currently an NRA instructor.
   6          I see the purpose behind this bill, but it
   7 really concerns me because I see a lot of definitions in
   8 here transferring fire guns -- firearms. What constitutes
   9 family? Families are so blended. I may have a
  10 guardianship over someone for six months. Is that
  11 considered family? Can I transfer a firearm? I feel that
  12 there are a lot of regulations being put on the average law
  13 abiding citizen who enjoys the sport of shooting because we
  14 do not want to break the law.
  15           And this is very frightening to me because we
  16 see this today. If I take my students out to my property
  17 in the mountains and we shoot and I hand them a gun to use
  18 on the street and it's in my house and they take it home,
  19 what are the implications that can come back on me? So I'm
  20 very fearful of this law because it's requiring too much
  21 for the individual person who wants to enjoy the sport of
  22 shooting.
  23           THE CHAIRMAN: Thank you, Ms. Winchester. We
  24 appreciate your coming.
  25           Representative Pettersen.
  0199
   1          REPRESENTATIVE PETTERSEN: Thank you, Mr. Chair.
   2          On page 5, line 3 through 6, this identifies
   3 that it is relative to immediate family. So your kids,
   4 your husband, your parents is defined on page 5.
   5          MS. WINCHESTER: A second cousin?
   6          REPRESENTATIVE PETTERSEN: No, only immediate
   7 family.
   8          THE CHAIRMAN: No. That is something that's in
   9 the bill, and it's, I think, a valid question. But the
  10 answer is, no, it is restricted. The exemption is
  11 restricted in the bill to bona fide gift made between
  12 immediate family members, meaning limited to spouses,
  13 parents, children, siblings, grandparents, and
                                                                                                    LEG HX 000571                   4486
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            Appellate Case: 14-1290 Document: 01019371763
  14 grandchildren.                                                                   Date Filed: 01/16/2015           Page: 97
  15          Are there any -- Representative Court.
  16          REPRESENTATIVE COURT: Thank you, Mr. Chair.
  17          So obviously that's been one of the issues that
  18 various witnesses have struggled with, and I know the
  19 sponsors and members of the committee are struggling with
  20 that as well, as far as to whom we make or on whom we make
  21 the restrictions.
  22          But what I want to ask is: Are you in favor of
  23 extending the background check if we can work that piece
  24 out?
  25          THE CHAIRMAN: Ms. Winchester.
  0200
   1         MS. WINCHESTER: Generally speaking, no,
   2 because I feel that if the background check is done, I am
   3 off the hook. Well, if I'm going to sell -- no, I said
   4 that incorrectly.
   5         I would go through an FFL to sell the gun. He
   6 would do the background check, so nothing could come back
   7 on me, that it was my gun ten years ago.
   8         THE CHAIRMAN: Right, right.
   9         Representative Court.
  10          REPRESENTATIVE COURT: Thank you, Mr. Chair.
  11          Okay. Now I'm confused.
  12          MS. WINCHESTER: Okay.
  13          REPRESENTATIVE COURT: So the point -- the
  14 overarching point of this bill is to close that last
  15 loophole of where people can get guns, and to say that in
  16 individual purchases and exchanges we want to close that
  17 loophole.
  18          So -- and your point, I think, is well taken,
  19 and we've heard that. So addressing the issue of to whom
  20 guns can be given, you know, what that circle is, that
  21 needs to be addressed, I think. I think you have a valid
  22 point for us to consider.
  23          But I didn't understand your -- your answer when
  24 I asked what about closing that loophole totally, in
  25 general, if we could fix that. You said you weren't, but I
  0201
   1 couldn't understand why you said that.
   2         MS. WINCHESTER: I understand your question. I
   3 do hesitate because I feel, because this is an issue about
   4 guns, is that we are being overregulated, and the criminals
   5 will find those guns in such creative ways. No matter what
   6 law we pass, they will find the guns.
   7         And my concern is no matter what we do today or
   8 in two years or another four years, they are still going to
   9 get those guns, and then our rights are going to be taken
  10 away.
  11          THE CHAIRMAN: Representative Court.
  12          REPRESENTATIVE COURT: Thank you, Mr. Chair.
  13          Okay. So I want to push back on that, because
  14 I don't see how your rights are being taken away if you
  15 simply go through a background check and get it. You are
                                                                                                    LEG HX 000572                   4487
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  16 currently  able toCase:   14-1290
                        get guns            Document:
                                  at a gun show           01019371763
                                                 or at a gun  shop,                   Date Filed: 01/16/2015           Page: 98
  17 and you have no right being taken away. You go and make
  18 those purchases.
  19         So why would closing this last loophole remove a
  20 right that isn't removed in those other circumstances?
  21         MS. WINCHESTER: Because if --
  22         THE CHAIRMAN: Ms. Winchester.
  23         MS. WINCHESTER: Thank you, sir.
  24         If we close the loophole, criminals will still
  25 find ways to get guns, and the criminal check is not -- the
  0202
   1 criminal check is not going to check the heart of a man or
   2 their intent to do something illegal.
   3         And if we close that loophole, criminals still
   4 have the ability to get firearms, society is still going to
   5 be in an uproar, and then I fear that all guns are going to
   6 be banned.
   7         THE CHAIRMAN: Representative Salazar.
   8         REPRESENTATIVE SALAZAR: Thank you, Mr. Chair.
   9         So I think you're absolutely right, that
  10 criminals will find a way to get guns. That's the nature
  11 of a criminal. But by closing this loophole, that gives
  12 them one less method of obtaining a gun, meaning that if
  13 they know that they have to try to purchase it from someone
  14 instead of breaking into a house and stealing it, if they
  15 have to purchase it from someone that they don't know, and
  16 that person is like, I'm going to run a background check on
  17 you, then that criminal might think twice about going to
  18 someone to purchase a gun, whereas they could just go and
  19 steal it.
  20         I mean, there's nothing that's going to stop a
  21 criminal from obtaining a gun illegally, but this is
  22 closing one of those things, making it a requirement for
  23 the purchase or the -- the selling of a weapon, and that
  24 closes that option for them.
  25         I mean, do you agree with that -- that premiss?
  0203
   1         THE CHAIRMAN: Ms. Winchester.
   2         MS. WINCHESTER: Yes, it does close that one
   3 option to them.
   4         THE CHAIRMAN: And, Ms. Winchester,
   5 Representative Lee has a question for you.
   6         REPRESENTATIVE LEE: Thank you, Mr. Chairman.
   7         Let me thank you for coming here, because one
   8 of the purposes of these hearings is to help us understand,
   9 as the Chairman said, unintended consequences, and our goal
  10 is not to create difficulties for people legally, lawfully
  11 engaged in the types of activities that you are describing.
  12         And as you were describing your situation
  13 earlier, you were saying taking someone out to your
  14 property to engage in shooting at a shooting range, would
  15 it be illegal for you to lend them a firearm to use, and I
  16 want to know if the exception we have in the bill covers
  17 that situation.
                                                                                                    LEG HX 000573                   4488
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  18        Appellate   Case:
              And it says,   "The14-1290
                                  transfer is aDocument:
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  19 transfer of possession without transfer of ownership or
  20 title to ownership, which transfer takes place at a
  21 shooting range located in or on premises owned or occupied
  22 by a duly incorporated organization organized for
  23 conversation purposes or to foster proficiency in
  24 firearms."
  25          Would that cover the situation you've described?
  0204
   1         THE CHAIRMAN: Ms. Winchester.
   2         MS. WINCHESTER: No. This is my private
   3 property, and we go out and shoot and have fun. So we're
   4 not an organization; we're not an official shooting range.
   5         REPRESENTATIVE LEE: Okay. That's helpful.
   6 Thanks very much.
   7         THE CHAIRMAN: Thank you, Ms. Winchester, for
   8 coming here today.
   9         MS. WINCHESTER: Thank you.
  10          THE CHAIRMAN: Um, we have a group of six
  11 county sheriffs who would like to testify, and I would ask
  12 the county sheriffs to come forward and give us your names,
  13 please, who you represent, and present your testimony.
  14          MR. WIGGINGS: Thank you, Mr. Chairman, and
  15 thank you members of the Judiciary Committee.
  16          My name is Garrett Wiggings. I'm here for Routt
  17 County. I'm also an executive board member for the County
  18 Sheriffs of Colorado.
  19          With me today I have Sheriff Smith, Sheriff
  20 Heap, Sheriff Cook, Sheriff Becker, and Sheriff Hartman.
  21          I have spent approximately 25 years in the law
  22 enforcement profession, working for municipal police
  23 departments, as well as rural sheriffs offices in both
  24 Colorado and Florida.
  25          I believe it's very important for all of us here
  0205
   1 today to recognize that not only Colorado but America has a
   2 serious problem with violence in society. This issue is a
   3 serious problem that is going to take all of us -- and "us"
   4 I mean being the people of Colorado and the people of this
   5 great nation to correct.
   6         Whether you're here as an elected official,
   7 department head, community leader, we should not and cannot
   8 afford to politicize this issue.
   9         As with any investigation, we must gather the
  10 facts, process and analyze the evidence, identify those
  11 responsible, and take corrective action. This is not time
  12 for division between Democrats, Republicans, or
  13 Independents, and if ever there was an issue that demanded
  14 a unified approach, it is the issue of violence and evil in
  15 our society.
  16          And in the many years I have served as a law
  17 enforcement professional, I have personally investigated
  18 and supervised many crimes of violence where a firearm was
  19 used in its commission. I, like many officers of the law
                                                                                                    LEG HX 000574                   4489
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  20 testifying          Case:have
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                                     direct evidence-based  knowledge                Date Filed: 01/16/2015           Page: 100
  21 regarding human initiated acts of violence. I put emphasis
  22 on the selection of my wording when I say "human initiated
  23 acts of violence" because the common denominator behind
  24 every evil act is humans.
  25         I want to point out just a few facts here.
  0206
   1 The first fact is the majority of firearm-related crimes
   2 are not -- and let me repeat -- not committed using guns
   3 with high-capacity magazines or what some refer to as
   4 assault rifles.
   5         History indicates that the firearm of choice,
   6 one in the majority -- in the majority of violent crimes
   7 are revolvers, otherwise known as Saturday-night specials
   8 or cheap handguns with a capacity to hold less than seven
   9 to ten rounds. These proposed bills penalize only
  10 law-abiding citizens who possess the type of firearms for
  11 lawful reasons.
  12         This bill will have very little to no effect in
  13 reducing overall crime rates involving firearms. We all
  14 know criminals, and anyone intent on committing homicide or
  15 other crimes, are going to ignore law regardless of whether
  16 it is old or newly legislated. Criminals and delusional
  17 people see laws as nothing more but ink on a piece of
  18 paper.
  19         The next fact I want to point out is I want to
  20 mention a few cities, such as Chicago, New York,
  21 Washington, D.C. They have the strictest gun laws in our
  22 nation, but yet they have the highest rates of gun crime in
  23 our nation.
  24         The question must be asked, Why is this? If
  25 the fact that the cities with the most stringent gun laws
  0207
   1 in our nation are responsible for the highest gun violence,
   2 then why would anyone suggest or believe that having more
   3 gun laws would have a positive impact?
   4         The third fact is let's examine the most recent
   5 gun-related events, and I think these have been talked --
   6 mentioned some here today, so I apologize in advance for
   7 any reiteration.
   8         But most recent events around our nation have
   9 occurred -- or most or these atrocities have occurred in
  10 gun-free zones. Again, the question must be asked: Why?
  11         The fact is that these incidents are continually
  12 occurring in gun-free zones proves that criminals and
  13 mentally unstable seek out these areas to commit acts of
  14 violence as these cowards -- and I call them "cowards"
  15 because that's exactly what they are -- know that these are
  16 target-rich en -- are a target-rich environment of
  17 completely defenseless victims. And I think it was touched
  18 on a little bit here today, and I think we need to expound
  19 on it a little bit.
  20         The fourth is that all of these individual
  21 suspects in these most recent atrocities have histories of
                                                                                                    LEG HX 000575                   4490
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  22 mental  illness. ICase:
                        think 14-1290
                              we all agree Document:
                                           that no one in01019371763
                                                          their                      Date Filed: 01/16/2015           Page: 101
  23 right mind could commit the kinds of evil acts that we have
  24 witnessed in Aurora, Connecticut, and other places around
  25 our nation.
  0208
   1        These individuals were known to have severe
   2 mental illness by family members, schools, physicians, and
   3 the public, but yet they were still able to legally
   4 purchase firearms without out any delay.
   5        THE CHAIRMAN: Sheriff, may I just say how much
   6 we appreciate you being here, but we would like to see if
   7 the committee has any questions for you at this stage.
   8        Thank you very much for coming and -- oh, I've
   9 got two questions. I've got --
  10        Representative Court, do you have a question?
  11        REPRESENTATIVE COURT: I did.
  12        THE CHAIRMAN: Representative Court.
  13        REPRESENTATIVE COURT: Thank you, Mr. Chair.
  14        I want to know, because I represent Denver, if
  15 the Denver sheriff is in your group.
  16        MR. WIGGINS: Not at this time, no.
  17        REPRESENTATIVE COURT: Thank you.
  18        THE CHAIRMAN: Thank you, Sheriff. I'm sorry to
  19 cut you off, but we are ruthless on the House Judiciary
  20 Committee.
  21        MR. WIGGINGS: I understand. I -- I had a lot
  22 of points here to make, and some of them would have been
  23 redundant, so I was trying to expedite.
  24        THE CHAIRMAN: I really -- we appreciate you
  25 taking the trouble to come and give us the views of -- and
  0209
   1 you know what goes on out there, so it's particularly
   2 valuable and helpful.
   3        Thank you so much.
   4        MR. WIGGINS: You're welcome.
   5        THE CHAIRMAN: Oh. Representative McLachlan.
   6        REPRESENTATIVE McLACHLAN: Thank you,
   7 Mr. Chairman.
   8        Sheriff, would you tell us the counties from
   9 which your people represent? I heard Routt County, but I
  10 wanted to know the other counties too, please.
  11        MR. WIGGINS: Okay. We have Routt County,
  12 Larimer County, Elbert County. Help me out here a little
  13 bit.
  14        UNIDENTIFIED SPEAKER: Fremont.
  15        MR. WIGGINS: Fremont and -- Weld and Gilpin.
  16        UNIDENTIFIED SPEAKER: Gilpin.
  17        REPRESENTATIVE McLACHLAN: Thank you.
  18        MR. WIGGINS: Out of the six of us, five of us
  19 are county -- are board members of the County Sheriffs of
  20 Colorado.
  21        THE CHAIRMAN: Thank you. And I must say
  22 you've all come a long way, so that's doubly appreciated.
  23 We want to make the right decision here, and you are -- you
                                                                                                    LEG HX 000576                   4491
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           Appellate
  24 are helping   us. Case: 14-1290 Document: 01019371763                           Date Filed: 01/16/2015           Page: 102
  25         Thank you so much.
  0210
   1         MR. WIGGINS: Thank you.
   2         THE CHAIRMAN: We have very little time
   3 remaining, but we -- I'm going to take -- I'm going to take
   4 one, two, three, four more witnesses. And I wish we could
   5 take everybody's testimony, but we're simply running
   6 against the clock here.
   7         So we'll hear from Robin Grattet, then Michael
   8 Billingsley, David Whiteaker, and Robert Wareham.
   9         Ms. Grattet, welcome.
  10         MS. GRATTET: It's actually Grattet.
  11         THE CHAIRMAN: Sorry.
  12         MS. GRATTET: It's all right.
  13         THE CHAIRMAN: Ms. Grattet, welcome.
  14         MS. GRATTET: Thank you, Chairman, and thank
  15 you other members.
  16         My name is Robin Grattet, and I'm here
  17 representing myself and my four children who are standing
  18 on the back -- in the back and have been enjoying the
  19 proceedings today.
  20         THE CHAIRMAN: Thank you.
  21         MS. GRATTET: I didn't come prepared to speak
  22 today, so I hope that you will forgive me if I -- as I
  23 express some disjointed observations. I'm not a gun owner.
  24 I'm not a member of any rifle or gun association, so you
  25 might think it's a little odd that I'm sitting on this side
  0211
   1 of the fence.
   2         But I'm coming here because, one, I believe it
   3 is the citizen's responsibility to stand firm against any
   4 government encroachment on any right even if the government
   5 purports that that restriction is for our own good. That's
   6 one observation I have.
   7         But a more important observation is I believe
   8 that we are all here with a common goal, and some of us
   9 just disagree with our attempts to reach that goal. I
  10 believe that our goal is to have a safer society to raise
  11 our children in. Our goal is so that we can be safe.
  12         When I go into Costco with my children, I don't
  13 have to constantly be looking for exits if somebody is
  14 going to do something that they shouldn't, and it might not
  15 necessarily be someone with a gun.
  16         Our goal I don't believe can be reached through
  17 the avenue we are trying to take here today. I believe the
  18 avenue we are taking today is placing burdens, burdens of
  19 proof, on law-abiding citizen. If I want to purchase a
  20 gun, I have to prove that I'm not a criminal. And while
  21 that may seem expedient, I don't believe it's morale,
  22 ethical, or what the fathers of constitution intended.
  23         Our major concerns are the problem of violence
  24 in our society. We've talked a lot about gun violence
  25 today, and that's a myth. As previous testifiers have
                                                                                                    LEG HX 000577                   4492
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  0212     Appellate Case: 14-1290 Document: 01019371763 Date Filed: 01/16/2015                                       Page: 103
   1 said, guns do not commit violence, people do. And in order
   2 to change that, making more stringent gun laws isn't going
   3 to make a difference. We're wasting our time; we're
   4 wasting our money; we're wasting the depth of our thinking;
   5 we're wasting all of our resources here trying to, as my
   6 grandmother would say, shut the barn door after the horse
   7 got out.
   8         THE CHAIRMAN: Right.
   9         MS. GRATTET: The problem that we have here is
  10 our society. We have -- oh, my goodness, my notes. We've
  11 created a culture that glories in death and violence, the
  12 video games, the movies.
  13         My husband tried to rent a video the other night
  14 from -- I can't remember. It was Hudo or one of those
  15 places. We couldn't find anything that wasn't dangerous,
  16 that was putting dangerous violent thoughts into the heads
  17 of our children.
  18         We -- these are the things we need to look at,
  19 not at gun control, but we need to look at changing the
  20 hearts and preventing our young people from become
  21 disenfranchised, teaching everyone the value of life,
  22 protecting our mentally ill from causing harm to themselves
  23 and to others. And I would really like to see my state of
  24 Colorado put our resources toward that.
  25         Thank you so much for allowing me the time to
  0213
   1 speak today.
   2         THE CHAIRMAN: Well, thank you for coming and
   3 waiting so patiently and giving us the benefit of your
   4 input.
   5         Are there any questions for Ms. Grattet?
   6         Ms. Grattet, thank you.
   7         MS. GRATTET: Thank you.
   8         And if I may say one more thing, I have to say
   9 that I appreciate that as Americans we can all come here
  10 and stand on different sides of a fence and work toward a
  11 common goal together, and I hope that we are successful in
  12 that.
  13         Thank you.
  14         THE CHAIRMAN: Thank you, Ms. Grattet.
  15         Michael Billingsley.
  16         Mr. Billingsley.
  17         Please state your name, tell us who you
  18 represent, and go for it.
  19         MR. BILLINGSLEY: Okay. My name is Michael
  20 Billingsley. I represent myself, family, and friends. I
  21 am an NRA member, an RMGO member, but I am also a citizen
  22 of Colorado.
  23         Now, I did prepare some things to say to you
  24 today, but I feel that many of my points have already been
  25 made, and I would like to seed my time to Bob Edminston of
  0214
   1 the Firearms Coalition of Colorado, who has some more to
                                                                                                    LEG HX 000578                   4493
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   2 say. Appellate Case: 14-1290 Document: 01019371763                              Date Filed: 01/16/2015           Page: 104
   3        Can I give my time to --
   4        THE CHAIRMAN: Oh, to Bob Edminston, yes.
   5 Sorry. I was momentarily districted there, Mr. --
   6        MR. BILLINGSLEY: No problem.
   7        THE CHAIRMAN: -- Mr. Billingsley.
   8        Yes. Please do that.
   9        MR. EDMINSTON: Thank you, Mr. Billingsly.
  10         Thank you, Mr. Chair and committee.
  11         THE CHAIRMAN: Mr. Edminston, welcome.
  12         Let the record reflect that Mr. Edminston has
  13 given some pieces of writing to Ms. Shipley, which she is
  14 distributing to the members of the committee.
  15         And while she does that, Mr. Edminston, why
  16 don't you tell us your name and tell us who you represent,
  17 if anyone other than yourself, and proceed with testimony.
  18         MR. EDMINSTON: Thank you, Mr. Chair, and
  19 committee.
  20         My name is Robert Edminston, and I'm
  21 representing the Firearms Coalition of Colorado. We are an
  22 NRA affiliated organization. I am a volunteer lobbyist and
  23 a NRA member who is speaking in opposition to this bill.
  24 I'm am former U.S. Army officer. I have a master's degree
  25 in psychology, counseling, and guidance.
  0215
   1        When an evil or deranged individual commits an
   2 act of violence, everybody wants to do something to prevent
   3 another incident. We do not believe that this bill will
   4 have an effect on violence and that it will make it harder
   5 for honest citizens to defend themselves.
   6        Please refer to your handout, the 2003 study
   7 done by the Centers for Disease Control, could find not
   8 significant evidence that any gun control law reduces
   9 crime. National Academy of the Sciences study and the U.N.
  10 affiliated small arms survey indicate that there's no
  11 cause-and-effect relationship between gun ownership and
  12 crime.
  13         Research by Cleek, Lott, and Mustered and
  14 Wright and Rossi indicates that gun ownership in civilian
  15 hands detours tears criminals and their significant numbers
  16 of defensive gun uses every year documented by Dr. Cleek up
  17 to 2.5 million defensive uses per year.
  18         Research indicates that this bill is unlikely
  19 to do any good. Worst, this bill has what I believe to be
  20 a constitutional problem in that it does not apply to
  21 prohibited persons.
  22         According to the U.S. Supreme Court case U.S.
  23 V. Haines, prohibited persons cannot be prosecuted for
  24 failing to self-incriminate. Haines was a gun-registration
  25 case that I believe would apply to background checks. I'll
  0216
   1 quote very briefly from the opinion here.
   2        "We hold that a proper claim of the
   3 constitutional privilege against self-incrimination
                                                                                                    LEG HX 000579                   4494
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            Appellate
   4 provides           Case: 14-1290
                a full defense              Document:
                               to prosecutions either for 01019371763
                                                          failure                    Date Filed: 01/16/2015           Page: 105
   5 to register a firearm or for possession of unregistered
   6 firearm."
   7         We believe this bill only affects honest
   8 citizens and not the prohibited persons against who the
   9 bill is supposed to be directed.
  10          As a young man, who was a gang member in east
  11 Denver, said one time, If are you going to smoke somebody,
  12 you don't need any paperwork. We urge a note vote on the
  13 bill.
  14          Thank you very much.
  15          THE CHAIRMAN: Thank you, Mr. Edminston.
  16          Are there any questions for Mr. Edminston?
  17          Seeing none, thank you, sir, for coming and --
  18          MR. EDMINSTON: Thank you very much, Mr. Chair
  19 and committee.
  20          THE CHAIRMAN: Thank you.
  21          David Whiteaker, please come forward.
  22          Mr. Whiteaker, welcome to the House Judiciary
  23 Committee. Thank you for being here. Please tell us your
  24 name for the record and who you represent, and then tell
  25 us --
  0217
   1         MR. WHITEAKER: My name is David Whiteaker. I
   2 represent myself as a sovereign citizen of the state of
   3 Colorado.
   4         THE CHAIRMAN: Thank you, sir. Please proceed.
   5         MR. WHITEAKER: Thank you, Chair and committee.
   6         I have a two -- two issues with this bill.
   7 Number one is I've had firearms since I was about nine
   8 years old. I have bought many, sold many, given many away.
   9 A lot of those are registered -- or were bought in my name
  10 through the proper thing, fill out the proper forms. Some
  11 of those I no longer own. What happens if one of those
  12 turns up somewhere in a crime because I can't prove that I
  13 sold it? That's one of the questions.
  14          The other is: You say that this has nothing to
  15 do with registration. I don't see how you are going to
  16 enforce any of this thing without registration. I don't
  17 see that. You may have a mechanism, but I don't understand
  18 it.
  19          Other -- two other points I would make that are
  20 not with this bill, but I would say the gun-free zones are
  21 virtually an invitation for some kook to come in. If they
  22 want to shoot somebody, where are they going?
  23          And the other is: You tell the lady that's
  24 protecting her kids against some -- maybe a couple of guys
  25 that are high on meth that she can only have six, seven, or
  0218
   1 eight bullets in her gun. Those guys are known for being
   2 almost unstoppable.
   3         And with that, I'm done.
   4         THE CHAIRMAN: Thank you, Mr. Whiteaker.
   5         Are there any questions or Mr. Whiteaker?
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              Sir, thankCase:
                          you for14-1290
                                  coming. Document: 01019371763 Date Filed: 01/16/2015                                Page: 106
   7          MR. WHITEAKER: Thank you.
   8          THE CHAIRMAN: For waiting patiently and giving
   9 us you thoughts.
  10           And I'm afraid that the last witness that we
  11 have time for before -- in fact, we've already overrun, but
  12 I did state that we would be hearing from, so I would ask
  13 Mr. Robert Wareham to come forward.
  14           Mr. Wareham, welcome. Thank you.
  15           MR. WAREHAM: Thank you, Mr. Chairman.
  16           THE CHAIRMAN: Please state --
  17           MR. WAREHAM: My name is Robert Wareham. I'm an
  18 attorney here in Colorado. I specialize in domestic
  19 relation law.
  20           And I thought the testimony this afternoon was
  21 very helpful in pointing out that this bill should not be
  22 enacted. It was thrown together in a hurry, in a knee-jerk
  23 reaction, and it hasn't been clearly thought out.
  24           I tend to look at the unintended consequences.
  25 We deal with them every day in the trial courts. We look
  0219
   1 at it, and we go, well, we see you're well intentioned,
   2 members of the legislature, but did you anticipate this
   3 would be the result?
   4          An example that I would bring to mind in this
   5 bill is that there are provisions for judicial review.
   6 Ladies and gentlemen of the committee, I will tell you that
   7 if you file for a divorce in Douglas County today and you
   8 don't settle, you will not have a hearing for 18 months.
   9          Where is the urgency in this bill? Where have
  10 the authors provided for expedient judicial review? If
  11 there's going to be judicial review, it's meaningless if it
  12 doesn't take place for months or years, and I think
  13 everybody here has conceded that we are dealing with a
  14 fundamental right here. Justice delayed is justice denied.
  15           I met yesterday with a woman who's been the
  16 victim of domestic violence and sexual abuse for almost 20
  17 years. She showed me her protection order. I reminded her
  18 that that's just a piece of paper, that unfortunately we
  19 live in a world where we have to be prepared to take
  20 responsibility for our own families and for ourselves.
  21           To tell that woman that she has to have a delay
  22 of even a few days in acquiring a firearm and training to
  23 defend herself is to make that woman a victim all over
  24 again.
  25           Our jobs and our oaths were to uphold the
  0220
   1 constitution and protect our citizenry. While well
   2 intentioned, this statute -- or this bill is misguided.
   3          Thank you, Mr. Chairman.
   4          THE CHAIRMAN: Thank you, Mr. Wareham.
   5          Representative Salazar.
   6          REPRESENTATIVE SALAZAR: Thank you, Mr. Chair.
   7          Just a question for you, because I was looking
                                                                                                    LEG HX 000581                   4496
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   8 at theAppellate
            -- the bill Case:   14-1290
                        itself, when you saidDocument:
                                              it, about the01019371763 Date Filed: 01/16/2015                         Page: 107
   9 petition for relief.
  10          Having language that says that the hearing would
  11 be held at its earliest practical time, do you think that
  12 that would address at least that part of your concern?
  13          THE CHAIRMAN: Mr. Wareham.
  14          MR. WAREHAM: Thank you very much,
  15 Representative Salazar.
  16          In domestic relations law, we have several
  17 saying at the earliest practical time. Unfortunately, with
  18 the staffing in the judicial branch these days, that still
  19 could be a matter of weeks. We do have some limited ones
  20 involving the safety of children where the legislation
  21 later has said the Court must hear this within seven days.
  22          I think, if you're going to do that, it needs to
  23 be done in that fashion. We've joked about the InstaCheck
  24 and what nobody foresaw. Nobody would ever define an
  25 InstaCheck as taking ten days. And so having general
  0221
   1 language I think is inappropriate.
   2         I think what needs to come back here is really
   3 look at this and say we've heard it isn't going to drop
   4 the crime rate, it's going to affect law-abiding citizens,
   5 and it may actually engage law-abiding citizens.
   6         THE CHAIRMAN: Representative Salazar.
   7         REPRESENTATIVE SALAZAR: Thank you.
   8         And I understand that you have multiple aspects
   9 or multiple facets or your argument, but I'm just trying to
  10 pin down the -- the issue of the time. As we enter, like,
  11 open records act, you do earliest practical time. It's
  12 usually within about ten days and -- or would you rather
  13 see, instead of earliest practical time, would you rather
  14 see an actual time frame established, like within seven
  15 days of the petition for relief?
  16          THE CHAIRMAN: Mr. Wareham.
  17          MR. WAREHAM: Representative Gardner brought it
  18 up this morning. When you heard rule of sevens, if it had
  19 the rule of sevens, that's certainly a more specific time
  20 than as soon as practical. If a petition for review was
  21 done within seven days, that's certainly better than open
  22 ended.
  23          But I appreciate, yes. That's -- specifically I
  24 think it should be a specific one, and seven days seems
  25 like a good period of time.
  0222
   1         REPRESENTATIVE SALAZAR: Thank you, sir.
   2         THE CHAIRMAN: Representative Petterson.
   3         Representative PETTERSEN: Thank you, Mr. Chair.
   4         This situation that you described was a woman
   5 who had been raped and you were worried about her safety?
   6         MR. WAREHAM: That's correct.
   7         REPRESENTATIVE PETTERSEN: Wouldn't you want to
   8 make sure that that very woman that the person who raped
   9 her didn't have access to gaining a weapon?
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             THE CHAIRMAN:                  Document: 01019371763
                                     Mr. Wareham.                                    Date Filed: 01/16/2015           Page: 108
  11         MR. WAREHAM: I do have concerns about him
  12 having access to a weapon, but he's going to have access to
  13 weapons either way.
  14         REPRESENTATIVE PETTERSEN: Thank you.
  15         Wouldn't we want to make sure we sure reduce
  16 that probability?
  17         MR. WAREHAM: I don't think that this bill does
  18 anything to reduce that probability, with all due respect.
  19 It really doesn't. With the number of firearms already out
  20 there, I don't think it will have that effect.
  21         REPRESENTATIVE PETTERSEN: Thank you.
  22         THE CHAIRMAN: Representative Pettersen.
  23         REPRESENTATIVE PETTERSEN: And thank you also
  24 for bringing attention to worrying about the backlog and
  25 people who are in immediate danger and having to wait for a
  0223
   1 gun.
   2        On page 5, line 3 through -- sorry -- page 5,
   3 line 15 through 17, the exemption is that if somebody is in
   4 immediate danger, that you can lawfully give them a gun to
   5 protect themselves.
   6        I think that maybe clarity on what immediate
   7 danger means would be important, but there is that
   8 exemption there.
   9        MR. WAREHAM: Well, unfortunately --
  10         THE CHAIRMAN: Mr. Wareham.
  11         MR. WAREHAM: I'm sorry.
  12         THE CHAIRMAN: It's all right.
  13         MR. WAREHAM: Unfortunately some of these
  14 immediate exemptions come up after someone's had to pay my
  15 firm $10,000 to put forth an affirmative defense in a court
  16 of law, and that can be unduly burdensome and have a
  17 chilling effect on someone as well.
  18         It's great to put this language in there, but
  19 when you're faced with having to hire an attorney or a law
  20 firm and pay them $10,000 or $15,000 to prove you were
  21 right, then it does become a burden on a constitutional
  22 right.
  23         REPRESENTATIVE PETTERSEN: Great. Thank you
  24 very much.
  25         MR. WAREHAM: Thank you very much.
  0224
   1        THE CHAIRMAN: Thank you, Mr. Wareham.
   2        And Representative McLachlan.
   3        REPRESENTATIVE McLACHLAN: Thank you,
   4 Mr. Chairman.
   5        Mr. Wareham, you're focusing on the due process
   6 protections which are contained within the statute. And
   7 again, I realize in a domestic relations law you don't deal
   8 with constitutional issues on a daily basis.
   9        But let me ask you this question: Assuming for
  10 the sake of discussion that we could craft a constitutional
  11 statute here, that it could be done, or assuming that it
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  12 couldAppellate     Case:
             not be done,       14-1290
                            wouldn't          Document:
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                                                  of Colorado be                     Date Filed: 01/16/2015           Page: 109
  13 available for immediate injunctive relief in the event that
  14 the statute was unconstitutional, and couldn't the courts
  15 of Colorado grant relief that would stay the execution of
  16 this statute if it was unconstitutional, without -- without
  17 reference to the due process protections in the statute?
  18          THE CHAIRMAN: Well, Mr. Wareham.
  19          MR. WAREHAM: I brought up the -- the
  20 objections that I thought I was uniquely qualified, and
  21 I've been here all day listening to the testimony. So I
  22 was trying not to be duplicative.
  23          That's not the only problem I see with it. But
  24 again, when we get into going and getting injunctive relief
  25 from the courts, now all of a sudden, we've dropped
  0225
   1 exercising rights into the class of people who can afford
   2 to pay attorneys to do these things.
   3         In an ideal world, yes, we could call up, and
   4 I'd say, you know, I'm not busy today. I'll be happy to
   5 take your case pro bono, but that's not the reality.
   6 Taking a case to court like that and getting injunctive
   7 relief after the fact is -- is a proposition of a thousand,
   8 if not tens of thousands of dollars and takes time. It
   9 really does take time.
  10          And -- and while I appreciate having a hearing
  11 within seven days, one of the problems of having a hearing
  12 within seven days is it kind of turns this into MASH
  13 surgeons in the courtroom because we literally don't have
  14 the opportunity to prepare our cases as well as we would
  15 like, and it becomes kind of meatball surgery. But we do
  16 it, and we do it every day to the best of our ability.
  17          But I think that creates another problem with
  18 the injunctive relief and just the necessity of hiring
  19 legal counsel to exercise what is a fundamental right.
  20          THE CHAIRMAN: Thank you, Mr. Wareham. Thank
  21 you so much --
  22          MR. WAREHAM: Thank you.
  23          THE CHAIRMAN: -- for coming here and giving us
  24 your views and input.
  25          The witness testimony phase is now closed.
  0226
   1         And I would like to thank all those who have
   2 testified here today, because what you've done is you've
   3 taken time out of a busy schedule. You've come in some
   4 cases from a long way away, and you've done it simply to
   5 help make sure that we craft the best possible public
   6 policy for Colorado, and there's almost no higher public
   7 service than that. Jury service, testifying in these
   8 committees, these are the things that we depend on citizens
   9 to do to keep us representing you properly, and it's very
  10 much appreciated.
  11          Now, there have been some witnesses who signed
  12 up to testify in opposition to -- to House Bill -- I don't
  13 know what the number is.
                                                                                                    LEG HX 000584                   4499
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  14       Appellate   Case: 14-1290
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                                             1229.      01019371763 Date Filed: 01/16/2015                            Page: 110
  15         THE CHAIRMAN: -- 1229 that did not have the
  16 opportunity to do so. And I wish to give you the
  17 opportunity to register your opposition, if you'd like to.
  18 So I would like to ask all of those who came to testify
  19 against House Bill 1229 to register your opposition by
  20 standing now, and accept my apologies for not having been
  21 able to get to everybody.
  22         And I note for the record a large number of
  23 people who sadly were not able to testify, but it should be
  24 noted for the record a large number of people who would
  25 have testified in opposition to this bill had they had the
  0227
   1 opportunity.
   2        And I want to thank you as well for coming here,
   3 and your opposition is duly noted. Thank you very much for
   4 that.
   5        We will take a very brief recess, literally five
   6 minutes, and we will proceed to the amendment phase of
   7 House Bill 1229. This committee will stand in recess.
   8        (A recess was taken at this time.)
   9        THE CHAIRMAN: We are at the amendment phase of
  10 House Bill 1229, by Representatives Fields and McCann. And
  11 I would ask if there are any amendments that are to be
  12 offered. Oh.
  13         (Inaudible.)
  14         THE CHAIRMAN: Huh?
  15         REPRESENTATIVE FIELDS: If he's here to offer
  16 his amendment.
  17         THE CHAIRMAN: I'm going to be pretty indulgent
  18 of late arrivals, Representative Fields, given my own
  19 record in --
  20         REPRESENTATIVE FIELDS: Thank you,
  21 Mr. Chair.
  22         THE CHAIRMAN: Given my own record in that
  23 department.
  24         Representative Gardner, welcome.
  25         REPRESENTATIVE GARDNER: For -- for amendments,
  0228
   1 Mr. Chair?
   2        THE CHAIRMAN: We're here for amendments,
   3 Mr. -- Representative Gardner, yes.
   4        REPRESENTATIVE GARDNER: Okay. Thank you,
   5 Mr. Chair.
   6        Mr. Chair, I would move L.001.
   7        REPRESENTATIVE WRIGHT: Second.
   8        THE CHAIRMAN: The amendment L.001 has been
   9 moved by Representative Gardner and seconded by
  10 Representative Wright.
  11         Represent Gardner, tell us about Amendment
  12 L.001.
  13         REPRESENTATIVE GARDNER: Thank you,
  14 Mr. Chair.
  15         Mr. Chair, L.001 is a very straightforward
                                                                                                    LEG HX 000585                   4500
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  16 amendment.         Case:
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                             a concern         Document:
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                                                  to me by some licensed             Date Filed: 01/16/2015           Page: 111
  17 -- a particular licensed gun dealer, and perhaps more than
  18 one, that was concerned that because the legislation talks
  19 extensively about the requirement for the performance of a
  20 background check, that would be an expectation or an
  21 implied requirement that any licensed gun dealer in
  22 Colorado would be required to run these background checks
  23 for the particular fee when, in fact, there are many
  24 dealers that may not wish to sort of be in that business,
  25 if you will, and would not want to do so.
  0229
   1         So the amendment basically says nothing in the
   2 section shall be construed to require a licensed gun dealer
   3 to obtain a background check upon their request of a
   4 prospective firearm transfer. So they could simply choose
   5 not to do it.
   6         And I think one of things that militates in
   7 favor of this is simply the fact that there may be those
   8 that they know or suspect are not -- are not permitted to
   9 do the transfer, and they would prefer not to deal with
  10 them, and they just want to protect their right not to deal
  11 with someone if they wish to pursue that course.
  12          THE CHAIRMAN: Representative Gardner, thank
  13 you. Are there any comments by members of the committee on
  14 the subject of L.001?
  15          Representative Fields.
  16          REPRESENTATIVE FIELDS: Mr. Chair, I oppose
  17 this amendment. This is an unfriendly amendment. It would
  18 create an unstandared practice in our state. So I think it
  19 would gut the bill, so I urge a no vote on this amendment,
  20 L.001.
  21          THE CHAIRMAN: Representative Gardner.
  22          REPRESENTATIVE GARDNER: Yes, thank you.
  23          That is unfortunate that it's an unfriendly
  24 amendment because it seems to me that it puts the licensed
  25 gun dealer in a particular situation where they may have to
  0230
   1 deal with people or there is an implication they may have
   2 to deal with those that they may very well suspect are not
   3 permitted to transfer firearms or that it might be an undue
   4 burden on their particular business. Maybe they're really
   5 not sort of in the business of doing private transfers.
   6         I suspect, if this bill passes, there will be a
   7 large number of dealers who do the private transfer
   8 background check and would be willing to do so. But we
   9 ought to guarantee the right of someone not to do so and
  10 so.
  11          I would urge an aye vote on this amendment.
  12          THE CHAIRMAN: And I would urge a no vote on
  13 this amendment, members.
  14          I think it -- it's -- if we are going to pass
  15 this bill, and I don't know that we are, but if we do pass
  16 this bill and we require people to obtain these background
  17 checks from licensed dealers, then we certainly don't want
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                                                             bill                    Date Filed: 01/16/2015           Page: 112
  19 envisages will be necessary for people to undertake.
  20          That would be very burdensome on firearm owners
  21 if -- if they started to be unable to comply with the law
  22 and unable to get their transfers registered. So that
  23 would be very damaging to the entire effort, if indeed it
  24 is enacted into law that these transfers -- these
  25 background checks are required. We must make sure that we
  0231
   1 don't require somebody to do something that really -- and
   2 find it more difficult to do rather than easier to do.
   3         So I'm going to -- Representative Gardner.
   4         REPRESENTATIVE GARDNER: Yes, thank you.
   5         Then -- then am I to understand -- and I wonder
   6 if this is the sponsor's intent of the bill -- that the
   7 intent and the implication is that a licensed gun dealer,
   8 someone who is a federal firearms licensed dealer, would,
   9 in fact, under this bill by implication be required to
  10 perform these backgrounds checks even if they did not wish
  11 to do so.
  12          Is that the sponsor's position?
  13          THE CHAIRMAN: Representative Fields.
  14          REPRESENTATIVE FIELDS: Mr. Chair.
  15          It's just like any other laws. You can't
  16 decide not to follow a law. I mean, we have laws that you
  17 can't commit murder. You can't opt in and out. So I would
  18 like to make sure we have consistent practice. So if this
  19 does become law and we're asking private sellers to go to a
  20 licensed dealer for a background check, then they need to
  21 be able to go to a place of business to get that done.
  22          I think it puts a burden on the seller not
  23 knowing, you know, if this person is going to do it or not.
  24 So I think that we need to have a common standard and
  25 practice to avoid any confusion. So, yes, it would be a
  0232
   1 requirement.
   2         THE CHAIRMAN: Representative Gardner, I don't
   3 know whether it would be a requirement because this is
   4 going to be subject to rule making, which will go through
   5 the normal rule making procedures, if this bill becomes
   6 law, and that will all be subject to public comment. And
   7 in the normal rulemaking process, nothing is going to be
   8 done hastily.
   9         And I can't imagine -- I can't imagine that we
  10 -- the general tenants of law are clear in the bill, and I
  11 must say that I can't predict exactly the definitions of
  12 the rules.
  13          I don't think it's a good idea, though, to start
  14 putting big constraints in the rules, and that's why I'm
  15 urging a no on the amendment.
  16          Yes, Representative Gardner.
  17          REPRESENTATIVE GARDNER: Yes, thank you.
  18          You know, I'm, frankly, astounded. When the
  19 particular proponent brought the amendment to me, I
                                                                                                    LEG HX 000587                   4502
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                                 and I said that that could01019371763
                                                            hardly                   Date Filed: 01/16/2015           Page: 113
  21 be necessary, and the response from this particular
  22 stakeholder was, Well, you know, I don't think so, but I'm
  23 a little concerned about it. And now, after we've argued
  24 the amendment, I'm firmly, absolutely convinced that this
  25 amendment is necessary because there is language and
  0233
   1 discussion here that makes it sound like we're going to
   2 impose a duty upon FFLs to perform these private background
   3 checks and do so for $10, and that strikes me as an
   4 interference with constitutional rights as well.
   5         And so I appreciate the discussion on this, and
   6 I'm glad I've brought the amendment and urge an aye vote on
   7 it.
   8         THE CHAIRMAN: All right. Is there any further
   9 discussion of L-00 -- L.001?
  10          All right. Ms. Shipley, will you please take
  11 the roll.
  12          MS. SHIPLEY: Representatives, Buckner?
  13          REPRESENTATIVE BUCKNER: No.
  14          MS. SHIPLEY: Court?
  15          REPRESENTATIVE COURT: No.
  16          MS. SHIPLEY: Gardner?
  17          REPRESENTATIVE GARDNER: Yes.
  18          MS. SHIPLEY: Lawrence?
  19          REPRESENTATIVE LAWRENCE: Yes.
  20          MS. SHIPLEY: McLachlan?
  21          REPRESENTATIVE McLACHLAN: No.
  22          MS. SHIPLEY: Murray?
  23          REPRESENTATIVE MURRAY: Yes.
  24          MS. SHIPLEY: Pettersen.
  25          REPRESENTATIVE PETTERSEN: No.
  0234
   1         MS. SHIPLEY: Salazar.
   2         REPRESENTATIVE SALAZAR: No.
   3         MS. SHIPLEY: Wright?
   4         REPRESENTATIVE WRIGHT: Yes.
   5         MS. SHIPLEY: Lee?
   6         REPRESENTATIVE LEE: No.
   7         MS. SHIPLEY: Mr. Chair?
   8         THE CHAIRMAN: No.
   9         And that amendment fails by a vote of --
  10          UNIDENTIFIED SPEAKER: Three to eight.
  11          THE CHAIRMAN: -- three to eight.
  12          Are there any further amendments to House Bill
  13 1229?
  14          Are there any further --
  15          (Inaudible.)
  16          THE CHAIRMAN: Let the record reflect that
  17 amendment failed by a vote of four to seven, not by a vote
  18 of three to eight as previously announced. The amendment
  19 failed by a vote of four to seven.
  20          There are no further amendments before the
  21 committee, so I would invite the sponsors, if you would
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            to conduct Case:
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                                up.          Document: 01019371763                   Date Filed: 01/16/2015           Page: 114
  23          Would you like to do that?
  24          Representative Fields.
  25          REPRESENTATIVE FIELDS: Thank you, Mr. Chair,
  0235
   1 and committee members. Thank you so very much for your
   2 patience this afternoon.
   3         Today we are here addressing solutions. You've
   4 heard the NRA say some things like this bill doesn't
   5 address the real problem. And so what I would like to do
   6 is to recite the facts that I mentioned earlier in my
   7 opening remarks.
   8         And it just goes to show that when we closed the
   9 gun show loophole in Colorado, we were the 17th largest
  10 source of guns that were later found at the scene in other
  11 states.
  12          A year later after closing the gun show
  13 loophole, we ranked 27th, and then, in 2009 we ranked 32nd.
  14 By 2009 we ranked 32nd. So this just goes to show that
  15 closing that loophole does make a difference.
  16          I believe that background checks can save lives,
  17 because what we're trying to do is we're trying to keep
  18 guns out of the hands of dangerous people, those who have
  19 been known to be domestic violence abusers, those who may
  20 be mentally ill, or those who are felons.
  21          Now, if you are a felon, it's just well known
  22 that you can go on the Internet and you can buy a gun, all
  23 kinds of guns. This is just one way to keep our community
  24 safe by closing the loophole.
  25          We heard some testimony in reference to how this
  0236
   1 bill will help those who are -- are a part of domestic
   2 violence murders. We've heard some cases recently in the
   3 state of Colorado. If we can close that loophole denying
   4 access to someone getting a gun so they can later go in and
   5 commit murder because of an intimate relationship that they
   6 have with someone by using a gun, then that is a good
   7 thing. So closing the background check does save lives.
   8         We also have some statistics here that talks
   9 about fewer crimes. We would have fewer crimes in the
  10 state of Colorado. We can just close that loophole.
  11          So today I'm asking that you vote yes on House
  12 Bill 1229 so that we can update our laws as it relates to
  13 private sales. It's a loophole. We should close it, and
  14 we should keep our community safe.
  15          Thank you.
  16          THE CHAIRMAN: Representative McCann.
  17          REPRESENTATIVE McCANN: Thank you very much.
  18          And thank you, members of the committee, for
  19 your patience today.
  20          I would simply say that we are not imposing a
  21 new requirement for the purchase of a gun. We are simply
  22 extending the current requirements to all purchases of
  23 guns. We are saying wherever you buy a gun in the state of
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  25 factors. So we're simply making sure that everyone who
  0237
   1 purchases a gun has to comply with what we already require
   2 in our law for purchases of guns.
   3         So with that, I would ask for an aye vote on the
   4 bill. Thank you.
   5         THE CHAIRMAN: Thank you.
   6         And before we take a vote on House Bill 1229, is
   7 there any member who wishes to make any comment?
   8         Seeing none, Representative Court.
   9         REPRESENTATIVE COURT: Thank you, Mr. Chair.
  10          I -- I just want to acknowledge that a lot of
  11 people have said that this is isn't going to keep gun
  12 violence from happening. Yep, that's right. It's not
  13 going to. Just like every stop sign doesn't stop people
  14 from having traffic accidents, just like saying that murder
  15 is wrong doesn't stop murder, but if this bill stops one
  16 criminal from getting a gun and killing somebody who
  17 shouldn't be killed, because who should be, then this bill
  18 is a good bill.
  19          We, in a civil society, pass laws to make
  20 statements about our values, and I don't think anybody in
  21 this room disagrees that we do not want criminals having
  22 guns and killing innocent people.
  23          So as I said, if this bill can keep one criminal
  24 from getting a gun and killing one innocent person, it's
  25 worth it to me. So I will be a yes vote.
  0238
   1         Thank you.
   2         THE CHAIRMAN: Thank you.
   3         Representative Salazar.
   4         REPRESENTATIVE SALAZAR: Thank you, Mr. Chair.
   5         And thank you, Representative McCann and
   6 Representative Fields, for bringing this bill.
   7         I think I made a statement a little while ago
   8 that -- to one of the witnesses, and I asked the question
   9 of, you know, if by closing this loophole we could stop one
  10 criminal from gaining access to a weapon, because we know
  11 they can gain access in multiple ways, but with this one
  12 right here, would that be acceptable, and that witness
  13 agreed with that proposition in itself.
  14          I don't think that this is an unduly burdensome
  15 law on the constitutional right of individuals. Instead it
  16 is targeted to making sure that criminals have one less
  17 place where they can go to get a weapon.
  18          I'm from the San Luis Valley, and I grew up in
  19 Thornton, and I've had guns given to me by family members,
  20 and I anticipate that I'll be giving guns to family members
  21 in the future, maybe my daughters, maybe my grandsons, or
  22 grandchildren, or maybe some cousins.
  23          It's not so much that this bill shouldn't be
  24 brought, because it should be, it's about the exceptions
  25 and it's about language of the exceptions that seem to need
                                                                                                    LEG HX 000590                   4505
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  0239     Appellate Case: 14-1290 Document: 01019371763                             Date Filed: 01/16/2015           Page: 116
   1 some working on. I think that we've heard the young ladies
   2 back there talking about target practicing on their own
   3 property. That's not covered here, and I think that that's
   4 something that should be covered.
   5         But I think that this bill is so important and
   6 must be brought, that it be heard too, and that there's
   7 going to be a way to work on this language so that many of
   8 the things, many of the concerns that we've heard here
   9 today will be address. And I'm looking forward to working
  10 with Representative McCann and Representative Fields and
  11 addressing those issues as I vote yes on this bill.
  12          THE CHAIRMAN: Thank you.
  13          And Representative Wright and then
  14 Representative Lee.
  15          REPRESENTATIVE WRIGHT: Thank you, Mr. Chair.
  16          As a law enforcement official, I'm speaking
  17 from personal experience. In the performance of my duties,
  18 I've had loaded guns pointed at me. And I can tell you
  19 also from that same personal experience and having made
  20 untold arrests in crimes involving firearms, that I am
  21 certain that while well intentioned, this bill will do
  22 nothing to make the citizens of the state of Colorado
  23 safer.
  24          And worst yet, while not making them safer, it's
  25 going to cost us somewhere to the tune of $3.2 million in
  0240
   1 the next two years, creating more bureaucracy, and it will
   2 fundamentally restrict the civil rights of the citizens of
   3 this state.
   4         I am a wholehearted no vote on this bill.
   5         THE CHAIRMAN: Representative Lee.
   6         REPRESENTATIVE LEE: Thank you, Mr. Chairman.
   7         And I'd like to thank Representatives McCann and
   8 Fields for bringing this bill to us.
   9         We all came to this legislative session with a
  10 responsibility significantly to try to promote public
  11 safety and to try to ensure that our family, our wives, our
  12 children, our friends are kept safe, and this bill was
  13 brought with that responsibility in mind.
  14          Doing so, though, we are not unmindful of our
  15 oath to uphold the Second Amendment. We have that
  16 responsibility, and we take it seriously. As we have
  17 discussed, though, the Supreme Court has told us that no
  18 rights under our constitution or statutes are absolute
  19 except maybe the right to life and liberty and the persist
  20 of happiness that were granted in our declaration of
  21 independence.
  22          The balancing that we have to do to protect our
  23 amendment rights while promoting our public safety rights
  24 is the challenging task that we have as representatives.
  25          What we need to do is to prevent people who
  0241
   1 want to do us violence from obtaining weapons, and that, I
                                                                                                    LEG HX 000591                   4506
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                         what this bill is allDocument:
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                                                          bill        Date Filed: 01/16/2015                          Page: 117
   3 will screen out convicted felons. It will screen out drug
   4 addicts. It will screen out people who are dangerously
   5 mental ill -- mentally ill and prevent them from obtaining
   6 weapons, and that's what this bill is designed to do.
   7         As David Chipman, from the Alcohol, Tobacco,
   8 and Firearms division told us, it will be a shield to
   9 improve the protection against violence.
  10          As our bill sponsors have told us, most weapons
  11 that are obtained for criminal use are obtained through
  12 private sales. So we need to ensure the safety of our
  13 citizens by ensuring that private sales are subject to the
  14 same restrictions and limitations that gun shows sales are
  15 subjected to.
  16          I'm also persuaded by John Jackson, representing
  17 the chiefs of police, and telling that they -- these law
  18 enforcement officers -- are in unanimous support of this.
  19 So I will be a yes vote.
  20          Thank you.
  21          THE CHAIRMAN: Representative Gardner and then
  22 Representative Buckner.
  23          REPRESENTATIVE GARDNER: Thank you. Thank you,
  24 Mr. Chair.
  25          Representatives Fields and McCann, no doubt
  0242
   1 this bill is well intentioned. I know you both to be good
   2 legislators, good representatives, and people who care
   3 deeply about your community. I hope you grant those of us
   4 who vote no on the bill the same.
   5         Many asertations are made in my six years, and
   6 now my seventh year, about what differences are going to be
   7 made about a piece of legislation, and I think often
   8 sponsors think that things will -- legislation will
   9 accomplish things that, at the end of the day, they may
  10 not.
  11          My friend Representative Lee said something to
  12 the effect of most criminals obtain their gun by private
  13 sales. I think if they are criminals, I think they will
  14 continue to obtain their guns by private sales. On the
  15 street corner probably in exchange for drugs, and they're
  16 probably not going to go to an FFL and have a background
  17 check run because they probably will have a prior felony.
  18 They will just obtain their weapon the way they always
  19 have.
  20          But we will impose a requirement that I find
  21 out, at the end of the day, that dealers who may not want
  22 to do this, will be required to do. We will criminalize
  23 activities where honest citizens transfer a firearm to
  24 another honest and law-abiding citizen for legitimate
  25 purposes of self protection.
  0243
   1         And at the end of the day, the things that some
   2 of our witnesses talked about earlier, the horrific
   3 incidents, are not going to be prevented. And so we will
                                                                                                    LEG HX 000592                   4507
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                                             not have gained   a      Date Filed: 01/16/2015                          Page: 118
   5 whole lot in public safety in my view.
   6         I know you disagree with that, and I respect
   7 that, but I think we'll not have the gains in public
   8 safety. And we'll be back here -- well, I won't be back
   9 here. Maybe not you either, but someone will be back here,
  10 some set of legislators, no doubt, sometime in the future
  11 to enact some further restriction upon the Second Amendment
  12 rights of citizens somehow to -- on the premiss that it's
  13 going to gain something in public safety when it will not,
  14 in my view.
  15          And so I will be a no. I appreciate your
  16 bringing this in the sense of I appreciate the efforts of
  17 -- good faith efforts of all legislators, but I believe
  18 this is a piece of legislation, while well meaning, that it
  19 will not accomplish anything by way of public safety that
  20 is intended to accomplish.
  21          Thank you.
  22          THE CHAIRMAN: Representative Buckner.
  23          REPRESENTATIVE BUCKNER: Thank you, Mr. Chair.
  24          Representative McCann and Representative
  25 Fields, I appreciate you bringing a bill and your efforts.
  0244
   1         I'm going to vote yes on your bill because I
   2 think it contributes to public safety that we are all
   3 charged with trying to put in place. And so with that in
   4 mind and knowing that we don't have a perfect way to solve
   5 all of these problems, I think we have to keep contributing
   6 to the public safety and keep that as a goal for us.
   7         So I will be voting yes. And I appreciate you
   8 bringing the bill on behalf of citizens of Colorado.
   9         THE CHAIRMAN: Representative McLachlan.
  10          REPRESENTATIVE McLACHLAN: Thank you,
  11 Mr. Chairman.
  12          As a United States Marine, I take the Second
  13 Amendment rights extremely seriously. I appreciate the
  14 testimony of all the gun owners and the people of the state
  15 of Colorado, and I want you to know that I fully respect
  16 your gun rights.
  17          I also will -- and I go on the record here
  18 today. I will never support registration of guns. I have
  19 severe constitutional problems and political and
  20 philosophical problems with banning certain types of
  21 weapons, but I believe this bill is the reasonable purpose
  22 which promotes the public safety and welfare.
  23          I realize it is an owner's responsibility put on
  24 the licensed owner; however, I believe that it will promote
  25 the public safety, and it is not the beginning of the
  0245
   1 slippery slope. As long as I'm in this house, this is not
   2 the beginning of the slippery slope. This is simply a bill
   3 designed to promote the public safety and ensure that the
   4 people of the state of Colorado have a safer state than we
   5 have today.
                                                                                                    LEG HX 000593                   4508
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             And I thankCase:  14-1290
                            McCann          Document:McCann
                                     -- Representative   01019371763
                                                               and   Date Filed: 01/16/2015                           Page: 119
   7 Representative Fields for bringing this to our attention,
   8 and I will vote for this bill.
   9         THE CHAIRMAN: I think that the opponents of
  10 this bill have said it won't do any good, it won't make any
  11 difference. If you do background checks on 60 percent of
  12 those that are good people trying to buy firearms and they
  13 extend it to private sales, it won't make any difference at
  14 all. The criminals will still get their guns, you will
  15 have passed a law imposing a burden on legitimate gun
  16 buyers to absolutely no purpose.
  17          I don't share that view. I think that's unduly
  18 pessimistic. I think this will do some good. I think it
  19 will reduce the availability of firearms to some people who
  20 we all agree should not have access to them. It will not
  21 be a dead letter; it will not be a waste of time; it will
  22 not be a burden imposed on the law-abiding public for
  23 absolutely no reason.
  24          And so the question then becomes: Is it a
  25 burden that we, as citizens, are willing and should be
  0246
   1 willing to bear this requirement that we get a check done
   2 on the person to whom we sell a firearm? I think it's a
   3 burden that -- is a burden. There's no question about it.
   4 But I think it's a burden that we ought, as a society, to
   5 take on.
   6         I think just as we take on other burdens that
   7 are -- that are an imposition, in order to increase our
   8 collective public safety, this is burden that we should
   9 take on. It's worth the effort. It's worth the effort,
  10 and I'm going to be a yes vote for that reason.
  11          Ms. Shipley, please take the roll.
  12          Oh, we need a motion.
  13          Representative Court.
  14          REPRESENTATIVE COURT: I move House Bill 1229 to
  15 the full house with a favorable recommendation.
  16          UNIDENTIFIED SPEAKER: Second.
  17          REPRESENTATIVE COURT: It doesn't say
  18 (inaudible).
  19          Oh, it goes to approps. Sorry.
  20          I -- I revise my motion. I move House Bill 1229
  21 to the committee on appropriations with a recommendation.
  22          THE CHAIRMAN: House Bill 12 --
  23          REPRESENTATIVE BUCKNER: Second.
  24          THE CHAIRMAN: Seconded by Representative
  25 Buckner.
  0247
   1         The question before the committee is whether
   2 House Bill 1229 shall pass to the committee of
   3 appropriates.
   4         Ms. Shipley, would you please take the roll.
   5         MS. SHIPLEY: Representatives, Buckner?
   6         REPRESENTATIVE BUCKNER: Yes.
   7         MS. SHIPLEY: Court?
                                                                                                    LEG HX 000594                   4509
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021213.txt[11/12/2013 10:57:40 AM]
   8       Appellate    Case: 14-1290
             REPRESENTATIVE         COURT:  Document:
                                               Yes.      01019371763                 Date Filed: 01/16/2015           Page: 120
   9         MS. SHIPLEY: Gardner?
  10          REPRESENTATIVE GARDNER: No.
  11          MS. SHIPLEY: Lawrence?
  12          REPRESENTATIVE LAWRENCE: No.
  13          MS. SHIPLEY: McLachlan?
  14          REPRESENTATIVE McLACHLAN: Yes.
  15          MS. SHIPLEY: Murray?
  16          REPRESENTATIVE MURRAY: No.
  17          MS. SHIPLEY: Pettersen?
  18          REPRESENTATIVE PETTERSEN: Yes.
  19          MS. SHIPLEY: Salazar?
  20          REPRESENTATIVE SALAZAR: Yes.
  21          MS. SHIPLEY: Wright?
  22          REPRESENTATIVE WRIGHT: No.
  23          MS. SHIPLEY: Lee?
  24          REPRESENTATIVE LEE: Yes.
  25          MS. SHIPLEY: Mr. Chair?
  0248
   1         THE CHAIRMAN: Yes.
   2         And that vote -- that bill passes by a vote of
   3 seven to four.
   4         Thank you, and this committee will be in brief
   5 recess.
   6         Oh, yes. Is there another motion?
   7         No, no, we don't need another motion.
   8         (Inaudible.)
   9         THE CHAIRMAN: No. We don't need another
  10 motion.
  11          This committee will stand in recess.
  12          MS. FIELDS: Thank you. I appreciate your
  13 support.
  14          THE CHAIRMAN: Thank you.
  15          (Whereupon, the recording was concluded.)
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  0249
   1                  CERTIFICATE
   2 STATE OF COLORADO                      )
   3 CITY AND COUNTY OF DENVER                     ) ss.
   4
   5           I, Elissa Steen, Registered Professional
   6 Reporter and Notary Public in and for the State of
   7 Colorado, do hereby certify that this transcript was taken
   8 in shorthand by me from an audio recording and was reduced
   9 to typewritten form by computer-aided transcription; that
                                                                                                    LEG HX 000595                   4510
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  10        Appellate
       the speakers     Case:
                     in this    14-1290
                             transcript were Document:
                                             identified by01019371763
                                                           me to                     Date Filed: 01/16/2015           Page: 121
  11   the best of my ability and according to the introductions
  12   made and written materials provided; that the foregoing is
  13   a true transcript of the proceedings had; that I am not
  14   attorney, nor counsel, nor in any way connected with any
  15   attorney or counsel for any of the parties to said action
  16   or otherwise interested in its event.
  17             IN WITNESS WHEREOF, I have hereunto affixed
  18   my hand and notarial seal this 24th day of June, 2013.
  19
  20
  21
                         ________________________________
  22                      Registered Professional Reporter
                                and
  23                            Notary Public
  24
  25




                                                                                                    LEG HX 000596                   4511
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           Appellate Case: 14-1290 Document: 01019371763                             Date Filed: 01/16/2015           Page: 122
  0001
   1 CITY AND COUNTY OF DENVER
   2 STATE OF COLORADO
   3 Judicial Committee Meeting
   4 Held on February 14, 2013
   5 HOUSE BILL 13-1229
   6 -----------------------------------------------------------
   7 REPORTER'S TRANSCRIPT
   8 -----------------------------------------------------------
   9
  10          This transcript was taken from an audio
  11 recording by Elissa Steen, Registered Professional Reporter
  12 and Notary Public.
  13
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  0002
   1              PROCEEDINGS
   2            * * * * *
   3        THE CHAIRWOMAN: Committee, we do have another
   4 bill, House Bill 1229. It is 9:50. They are waiting for
   5 us on the floor. I do want to allow questions to be
   6 answered, but it is my prerogative to limit the time we
   7 spend, and if questions are repetitive, I will cut those
   8 questions off.
   9        I just -- I'm not going to establish a time
  10 limit right now because I do think we need to get into the
  11 bill, but at the point where the questions become
  12 repetitive and just dragging this out, I will cut them off,
  13 and we can resume discussion on the floor.
  14         Thank you for being with us this morning,
  15 Representative Fields and Representative McCann. Please
  16 tell us about House Bill 1229.
  17         REPRESENTATIVE FIELDS: Thank you, Mr. Chair --
  18 Ms. --
  19         THE CHAIRWOMAN: Madam.
  20         REPRESENTATIVE FIELDS: Thank you.
  21         THE CHAIRWOMAN: I am --
  22         REPRESENTATIVE FIELDS: Basically this bill
  23 creates an opportunity for us to close a loophole as it
  24 relates to the transfer of a private gun.
  25         And so what you see here is the funds that it
  0003

                                                                                                    LEG HX 000597                   4512
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           Appellate
   1 will take        Case: a14-1290
               to implement    --         Document: 01019371763 Date Filed: 01/16/2015                                Page: 123
   2        THE CHAIRWOMAN: Representative Duran.
   3        REPRESENTATIVE DURAN: Thank you, Madam Chair.
   4        I move J-003.
   5        REPRESENTATIVE LABUDA: Second.
   6        THE CHAIRWOMAN: Second by Representative
   7 Labuda.
   8        Is there any objection to J-003?
   9        Members, this is the appropriations clause which
  10 sets up an alternative that if House Bill 1228 becomes law,
  11 then Section 9 of the appropriations clause will not be
  12 become effective, and Section 10 will be in effect.
  13         THE CHAIRWOMAN: Representative Sonnenberg.
  14
  15         REPRESENTATIVE SONNENBERG: I'm objecting,
  16 Madam Chair.
  17         THE CHAIRWOMAN: Pardon me?
  18         REPRESENTATIVE SONNENBERG: I'm objecting.
  19         THE CHAIRWOMAN: Okay.
  20         Then, Mr. Harper, would you please call the
  21 roll.
  22         MR. HARPER: Representative DelGrosso?
  23         REPRESENTATIVE DelGROSSO: No.
  24         MR. HARPER: Representative Dore?
  25         REPRESENTATIVE DORE: No.
  0004
   1        MR. HARPER: Representative Gardner?
   2        REPRESENTATIVE GARDNER: Pass.
   3        MR. HARPER: Representative Gerou?
   4        REPRESENTATIVE GEROU: Pass.
   5        MR. HARPER: Representative Hamner?
   6        REPRESENTATIVE HAMNER: Yes.
   7        MR. HARPER: Representative Labuda?
   8        REPRESENTATIVE LABUDA: Yes.
   9        MR. HARPER: Representative Pabon?
  10         REPRESENTATIVE PABON: Yes.
  11         MR. HARPER: Representative Singer?
  12         REPRESENTATIVE SINGER: Yes.
  13         MR. HARPER: Representative Sonnenberg?
  14         REPRESENTATIVE SONNENBERG: No.
  15         MR. HARPER: Representative Tyler?
  16         REPRESENTATIVE TYLER: Yes.
  17         MR. HARPER: Representative Young?
  18         REPRESENTATIVE YOUNG: Yes.
  19         MR. HARPER: Representative Gardner?
  20         REPRESENTATIVE GARDNER: No.
  21         MR. HARPER: Representative Gerou?
  22         REPRESENTATIVE GEROU: No.
  23         MR. HARPER: Representative Duran?
  24         REPRESENTATIVE DURAN: Yes.
  25         MR. HARPER: Madam Chair?
  0005
   1        THE CHAIRWOMAN: Yes.
   2        So J-003 passes on a vote of eight to five.
                                                                                                    LEG HX 000598                   4513
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   3       Appellate
             And a motionCase:   14-1290
                               would          Document: 01019371763 Date Filed: 01/16/2015
                                      be in order.                                                                    Page: 124
   4         Representative Pabon.
   5         REPRESENTATIVE PABON: Thank you, Madam Chair.
   6         I move House Bill 1229 to the (inaudible) with a
   7 favorable recommendation.
   8         REPRESENTATIVE DURAN: Second.
   9         THE CHAIRWOMAN: Moved by Representative Pabon.
  10 Seconded by Representative Duran.
  11          Representative Sonnenberg.
  12          REPRESENTATIVE SONNENBERG: Thank you, Madam
  13 Chair.
  14          I don't know how to do this without talking
  15 about another bill, but the previous bill includes a $10
  16 fee. How will that work with this if this bill is passed?
  17          THE CHAIRWOMAN: Representative Sonnenberg, I
  18 appreciate your sensitivity to that issue, and I do think
  19 the two are intertwined by virtue of the appropriations
  20 clause, so I will allow that question.
  21          Representative McCann.
  22          REPRESENTATIVE SONNENBERG: Thank you.
  23          REPRESENTATIVE McCANN: Thank you, Madam Chair.
  24          Representative Sonneberg, as you can see in
  25 J-003, there are two different appropriations clauses. So
  0006
   1 if 1228 passes, then Section 10 of the appropriations
   2 clause will apply and the funding for the private-sale
   3 background checks will be recovered through the fee that
   4 was discussed in 1228. So it will come from the cash fund
   5 that's established by 1228.
   6         If 1228 does not pass, then Section 9 of the
   7 appropriations clause will apply, and there will be an
   8 appropriation out of the general fund.
   9         THE CHAIRWOMAN: Representative Sonnenberg.
  10          REPRESENTATIVE SONNENBERG: Okay. Thank you,
  11 Madam Chair.
  12          Then, if I give my -- give a couple of my guns
  13 to my son-in-law, which is not direct family, if I
  14 understand this correctly, how will that money be collected
  15 or paid for?
  16          THE CHAIRWOMAN: Representative McCann.
  17          REPRESENTATIVE McCANN: The transfer of a
  18 private -- a private sale of a firearm will have to be done
  19 through a federally licensed dealer. So you go to a
  20 federally licensed dealer, and the dealer, as was discussed
  21 previously, will actually collect the fee if 1228 passes.
  22          If not, it will -- the background check would be
  23 done through the federally licensed dealer and the fee
  24 would be paid from the general fund.
  25          THE CHAIRWOMAN: Representative Sonnenberg.
  0007
   1         REPRESENTATIVE SONNENBERG: One last question.
   2         Is there a difference between a federally
   3 licensed dealer or -- let me say it this way: Are all gun
   4 dealers federally licensed dealers?
                                                                                                    LEG HX 000599                   4514
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021413.txt[11/12/2013 10:57:44 AM]
   5        Appellate   Case: 14-1290Representative
             THE CHAIRWOMAN:                Document:McCann.
                                                          01019371763 Date Filed: 01/16/2015                          Page: 125
   6         REPRESENTATIVE McCANN: I -- I think they are,
   7 but honestly, I'm not absolutely sure.
   8         Do you know, Representative Fields?
   9         THE CHAIRWOMAN: Representative Fields.
  10          REPRESENTATIVE FIELDS: I believe so.
  11          REPRESENTATIVE SONNENBERG: Thank you.
  12          THE CHAIRWOMAN: Representative Gardner.
  13          REPRESENTATIVE GARDNER: Thank you, Madam
  14 Chair.
  15          And I want to formulate this carefully, so
  16 please bear with me.
  17          Representative Fields, I heard on several
  18 occasions in the committee the other evening, and I heard
  19 you again this morning refer to this as the closing of a
  20 loophole, and that's sort of a vernacular term that is used
  21 a lot. It sort of implies that somehow there's an
  22 unintended way that someone might do something that's used
  23 in the tax code and so forth, are using the concept.
  24          But right now this is not a misunderstanding in
  25 the law. There, heretofore, has been a conscious decision,
  0008
   1 or at least a legislative decision, not to impose a
   2 requirement for background checks on private transfers. So
   3 it's not like somebody is kind of doing something shady
   4 right now when they do a private transfer. At least maybe
   5 you don't intend that at all, but "loophole" sort of
   6 imparts the notion that somebody is doing something shady.
   7         It's not shady at all right now if I go and hand
   8 my next-door neighbor a gun for him to go hunting with or
   9 to protect himself. They are not doing anything shady
  10 right now, are they?
  11          THE CHAIRWOMAN: Representative Fields.
  12          REPRESENTATIVE FIELDS: Thank you, Madam Chair.
  13          Representative Gardner, no. In the scenario
  14 you just described, that would not be anything shady, but I
  15 just got -- shared some results that showed that we had
  16 over 968 felons, fugitives, domestic violation abusers.
  17 Close to 1,000 were denied access to a gun.
  18          And so what criminals do is they skirt sometimes
  19 around the rules of law to access guns. So the loophole
  20 that I am trying to close is for those who are felons, for
  21 those who may be involved in domestic violence where they
  22 have restraining orders. And they can bypass our
  23 background system by just going on the Internet buying a
  24 gun, or they can just look in a classified ad, or they can
  25 buy from their neighbor, because right now it's legal to
  0009
   1 buy a gun from a private seller, and you don't have to
   2 perform a background check.
   3         So felons know that, and they are skirting
   4 around that. So this would close that loophole and save
   5 lives.
   6         THE CHAIRWOMAN: And so, Representative Fields,
                                                                                                    LEG HX 000600                   4515
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021413.txt[11/12/2013 10:57:44 AM]
           Appellate
   7 I think          Case: 14-1290
              what Representative  GardnerDocument:
                                             was concerned01019371763
                                                              about is               Date Filed: 01/16/2015           Page: 126
   8 that the term loophole, which he did note we use in the
   9 vernacular, that implied that maybe somebody was doing
  10 something to try to get around the law, but I think what
  11 you've pointed out is that there is -- it's a gap in the
  12 law.
  13          The law currently does not cover private sales
  14 and requiring background checks and your -- and using
  15 loopholes, whether they are tax loopholes or any other, is
  16 perfectly legal, but there is a gap in the coverage of the
  17 background checks. Your bill would close that gap so that
  18 private sales would be covered subject to the exceptions in
  19 your bill.
  20          And are there other questions about the
  21 appropriations for this bill?
  22          Representative DelGrosso.
  23          REPRESENTATIVE DelGROSSO: Thank you, Madam
  24 Chair.
  25          And since we are talking about money here, I'm
  0010
   1 looking at this bill, and on page 3 it talks about a person
   2 who manufacturers a large-capacity magazine in Colorado
   3 commits a Class 2 misdemeanor, and they are punishable by
   4 law.
   5         Currently we have some companies in Colorado
   6 that produce these magazines, and some significantly large
   7 ones. One does over $400 million sales to people around
   8 the world. They employ over 700 Coloradoans -- we're
   9 talking about 700 families here -- and bring in about $46
  10 million into Colorado's economy. So --
  11          THE CHAIRWOMAN: Excuse me. Representative
  12 DelGross, are you talking about House Bill 1229?
  13          UNIDENTIFIED SPEAKER: Uh-huh.
  14          REPRESENTATIVE DelGROSSO: Oh, am I in the
  15 wrong one?
  16          UNIDENTIFIED SPEAKER: That was a great speech,
  17 though.
  18          UNIDENTIFIED SPEAKER: I think --
  19          REPRESENTATIVE DelGROSSO: I pulled up the
  20 wrong one on my folder.
  21          UNIDENTIFIED SPEAKER: Keep it going. You had
  22 me -- captivated me.
  23          THE CHAIRWOMAN: I think you want to make that
  24 speech -- thank you for a purview of coming attractions.
  25 We'll look forward to the rest of that speech when we
  0011
   1 address House Bill 1224.
   2         Representative Gardner, yes, I can see you.
   3         REPRESENTATIVE GARDNER: Thank you, Madam
   4 Chair.
   5         I have questions about this bill, although I
   6 can understand why one would be confused. We spent 12
   7 hours the other evening, but I don't think we exhausted all
   8 of the questions that we had. There are so many around
                                                                                                    LEG HX 000601                   4516
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           Appellate
   9 this and          Case:
               about the        14-1290 or about
                          appropriation     Document:     01019371763 Date Filed: 01/16/2015
                                                  the money.                                                          Page: 127
  10          One of the things I heard the other evening
  11 that's really caused me a great deal of concern is that the
  12 fee that is imposed or that an FFL is entitled to impose is
  13 limited at $10. And I think that's a good thing, on the
  14 one hand, but there -- there was some implication in that
  15 an FFL operating in the state of Colorado would then be
  16 required, if someone went to him or her with a private
  17 transaction, to do the background check on that, that FFL
  18 would, by virtue of operating in Colorado, be required to
  19 perform a background check.
  20          And the concern caused me to introduce an
  21 amendment that was rejected, which caused me even more
  22 alarm because it sounded to me like we have, in essence,
  23 turned FFLs in Colorado into public utilities in that
  24 they're required to provide a service even if they do not
  25 wish to.
  0012
   1         And I've had many, many people say that this $10
   2 fee was not -- if you were not selling, if you were not the
   3 dealer, so that it was an accommodation to your customer,
   4 but rather that I and my neighbor would have to go down to
   5 -- to the corner gun store and ask our local FFL before I
   6 loaned the weapon to my -- to my neighbor so he could go
   7 hunting with his brother-in-law; that we'd have to, you
   8 know, pay $10, but that that would not be enough.
   9         So is there -- is there some intent that FFLs
  10 are going to be required to do this, or are you willing to
  11 state that that is absolutely not the intent of this bill?
  12 And if so, why is there such resistance to an amendment to
  13 say so?
  14          THE CHAIRWOMAN: Representative McCann.
  15          REPRESENTATIVE McCANN: Thank you, Madam Chair.
  16          Representative Gardner, there is nothing in
  17 this bill that requires a specific FFL to perform a
  18 background check for -- in a private-sale situation. That
  19 would be completely up to FFL.
  20          The private buyer and seller do have to get --
  21 get it done through an FFL, but there's nothing in the bill
  22 that would require a specific FFL to provide that service.
  23          THE CHAIRWOMAN: And, members, I am going to
  24 call for a vote at the hour of 10:16. That allows -- by
  25 the clock there, I'm looking at about 11 more minutes of
  0013
   1 questioning.
   2         And so I would ask the committee members to
   3 please try to make your questions a little more concise so
   4 that if you are actually interested in getting an answer to
   5 the question, you and the other committee members can have
   6 the benefit of that answer.
   7         And so at 10:15 I will call for the vote. And
   8 so -- just so the committee is aware of that.
   9         Representative Sonnenberg.
  10          REPRESENTATIVE SONNENBERG: Thank you, Madam
                                                                                                    LEG HX 000602                   4517
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  11 Chair.Appellate Case: 14-1290 Document: 01019371763                             Date Filed: 01/16/2015           Page: 128
  12         And my question goes to page 1 of the canary
  13 sheet where it talks about if House Bill 1228 is enacted,
  14 the $1,612,006 in cash fund from the instant criminal
  15 background check cash fund.
  16         I'm curious as to -- this may be someone from
  17 the fiscal step. Are they assuming, then, that there will
  18 be 161,200 transfers? Is that -- is that how they came up
  19 with that number? And if so, how did they end up with
  20 6-odd dollars in a $10 fee?
  21         UNIDENTIFIED SPEAKER: Private transfers. It's
  22 just the money for the staff handle --
  23         REPRESENTATIVE SONNENBERG: JBC thing.
  24         THE CHAIRWOMAN: Okay. They forgot to carry
  25 the 1, Representative Sonnenberg.
  0014
   1        Representative McCann.
   2        REPRESENTATIVE McCANN: Thank you.
   3        And the fiscal analyst has assisted me. The
   4 number is based on an estimate of 200,000 transactions,
   5 private transactions.
   6        Over what time period? A year?
   7        One year.
   8        So that's based on the projected purchases that
   9 will go through the private sale.
  10         THE CHAIRWOMAN: Representative Sonnenberg.
  11         REPRESENTATIVE SONNENBERG: Thank you.
  12         And that includes the criminals that are
  13 currently illegally getting guns paying $10 as well, then?
  14         THE CHAIRWOMAN: Representative McCann.
  15         REPRESENTATIVE McCANN: It will include
  16 everyone who attempts to purchase a gun through a private
  17 sale.
  18         THE CHAIRWOMAN: Representative Gerou.
  19         REPRESENTATIVE Gerou: Thank you, Madam Chair.
  20         And I don't know if it does anything, but I did
  21 notice that on the fiscal note the difference between page
  22 1, when it talks about the 1,612,006 number, is different
  23 than the 1,000,007 number on the fiscal note, but that
  24 doesn't matter.
  25         What I was curious about, ladies -- and I
  0015
   1 appreciate your time here this morning because -- and I
   2 don't want to talk about a previous bill, but we are
   3 talking about the FTEs, in reference to the FTEs on this.
   4        When we were talking to the director of the
   5 department, he was talking about the amount of full-time
   6 and part-time staff that are required in order to provide
   7 the background checks for the gun shows and all the
   8 different gun sales that take place in the state.
   9        So my first question to you is if you could give
  10 me a breakdown of what you anticipate, how much of the FTEs
  11 you are anticipating being overtime rather than regular
  12 time. Because my concern in -- in -- this bill is
                                                                                                    LEG HX 000603                   4518
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           Appellate
  13 attempting         Case:
                  to solve     14-1290
                            a problem  with Document:   01019371763
                                            the background  checks, I                Date Filed: 01/16/2015           Page: 129
  14 believe. I'm going to take it at that, face value. But --
  15 so I want to know what percentage of full-time, part-time,
  16 and overtime employees you expect to see within the FTEs.
  17          My second question is: Just by way explanation,
  18 I don't want to take up time that I know is important. But
  19 I grew up in a -- in a ranching family. I'm from Wyoming.
  20 Guns are a part of my past. It's part of the culture. I'm
  21 actually more heavily armed than my husband, which
  22 sometimes scares him; sometimes doesn't.
  23          But I have guns that I've inherited from family
  24 members that are intact. I have guns that are not quite
  25 restored yet. For instance, I have a gun stock that is not
  0016
   1 complete. And -- and what my goal is, because those were
   2 inherited from family members that I very much care about
   3 and I want to make sure that I pass those on to my
   4 children, because they want them and it's part of the
   5 heritage of our family. And -- and that's what a lot of
   6 people in Colorado and in Wyoming feel, is that guns are a
   7 part of our heritage.
   8         So when I take those pieces and parts of my guns
   9 to a gunsmith and ask him to create a gun out of the pieces
  10 and parts that I have, will it be -- will he have to do a
  11 background check on me before he hands the gun over to me,
  12 or do I do a background check on him because he's touching
  13 my guns? I -- what -- how does this all work together?
  14 And if you could answer the FTE question and then my second
  15 question, I would appreciate it.
  16          THE CHAIRWOMAN: Representative McCann.
  17          REPRESENTATIVE McCANN: I think we would ask
  18 that Director Sloan come back for the first part of the
  19 question regarding part time and overtime and full time, if
  20 he's still here.
  21          He is here.
  22          THE CHAIRWOMAN: We can certainly do that,
  23 Committee. We do have five more minutes left on this bill.
  24          Director Sloan, you're welcome to come forward.
  25          Representative McCann -- or Gerou, it was the
  0017
   1 other bill that actually created the mechanism to pay for
   2 this bill and --
   3         UNIDENTIFIED SPEAKER: But we don't want to talk
   4 about another bill.
   5         THE CHAIRWOMAN: Right. But there are FTEs in
   6 this. I think it's going to be up to Director Sloan to
   7 manage his staff within the resources that are allowed
   8 under this bill.
   9         But, Director Sloan, if you could answer
  10 Representative Gerou's question.
  11          DIRECTOR SLOAN: Thank you, madam.
  12          Thank you, Madam Chair.
  13          And to be very succinct, the staffing
  14 calculations in this bill do not contemplate overtime.
                                                                                                    LEG HX 000604                   4519
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021413.txt[11/12/2013 10:57:44 AM]
  15 TheyAppellate    Case:
            contemplate       14-1290 staffing
                          appropriately     Document:    01019371763
                                                 to handle the                       Date Filed: 01/16/2015           Page: 130
  16 anticipated value contemplated in this bill in fiscal '14
  17 and fiscal year '15 -- I believe there are two-year figures
  18 there -- to handle that without an extended queue and to
  19 meet our -- our strategic goal of 15 minutes average per
  20 transaction.
  21         THE CHAIRWOMAN: Okay.
  22         And, Representative McCann, did you have an
  23 answer to the question of Representative Gerou's --
  24         REPRESENTATIVE McCANN: Yes.
  25         THE CHAIRWOMAN: -- gun parts and whether
  0018
   1 assembling them would require a background check.
   2        REPRESENTATIVE McCANN: Yeah.
   3        There's nothing in the bill that would require
   4 either you or the dealer -- or the gunsmith to get a
   5 background check if you are putting together parts of an
   6 antique gun.
   7        The bill also allows for transfer of firearms by
   8 operation of law, which would include passing through the
   9 will for family members. So if you want to leave those to
  10 your children, you will be able to do that even if this
  11 bill passes.
  12         THE CHAIRWOMAN: Representative Gerou.
  13         REPRESENTATIVE Gerou: Thank you, Madam Chair.
  14         Director Sloan, so in getting back to your --
  15         And thank you, Representative McCann. I
  16 appreciate that answer.
  17         Director Sloan, so when you were talking about
  18 this bill does not anticipate any overtime, so what I can't
  19 remember is -- is the FTE count consistent with what you've
  20 come to the joint budget committee with at times when
  21 you've sought relief for the -- for the background check,
  22 the numbers that we haven't accomplished?
  23         For instance, in this last joint budget
  24 committee hearing this year, I don't recall what the amount
  25 was as far as your preferred amount to elevate the backlog
  0019
   1 and the background check.
   2        Is this consistent with that number?
   3        THE CHAIRWOMAN: And, Representative Gerou, I
   4 believe you know this as well as I do, that what we've
   5 talked about at the joint budget committee has been
   6 backlogs in this fiscal year. This bill pertains to future
   7 background checks and the personnel it takes to conduct
   8 those background checks.
   9        Representative Sloan -- or Mr. Sloan.
  10         DIRECTOR SLOAN: Thank you, Madam Chair.
  11         The same formulas for calculation were done
  12 there. It's correct that when we presented the JVC, we
  13 were trying to address a 12,000 backlog queue in the
  14 current scenario.
  15         What this anticipates is what the anticipated or
  16 projected growth in volume would be, both on sales through
                                                                                                    LEG HX 000605                   4520
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  17 FFLsAppellate     Case: 14-1290
            and with universal             Document:
                                  background checks with01019371763
                                                           private  Date Filed: 01/16/2015                            Page: 131
  18 sales.
  19          THE CHAIRWOMAN: All right. And we have time
  20 for one more question.
  21          Representative Gardner.
  22          REPRESENTATIVE GARDNER: Thank you, Madam
  23 Chair.
  24          And, Director Sloan, as I always say, but I
  25 haven't had the opportunity to say in this committee, in
  0020
   1 this audience, how much I appreciate your work on behalf of
   2 the people of Colorado.
   3         And notwithstanding my questions about a very
   4 legitimate and serious disagreement concerning public
   5 policy, I very much appreciate your commitment to the
   6 people of Colorado and the public safety in Colorado. It
   7 means a great deal to me, and I have a lot of confidence,
   8 as we deal with these issues, that you have nothing but the
   9 best interest of the people of Colorado.
  10          Um, I have been asked since -- in the course of
  11 the hearing by some constituents who are sort of amateur --
  12 if that's even the right word -- gunsmiths about this
  13 universal background concept. And as you can imagine,
  14 these people, as Representatives Gerou alludes to, has
  15 pieces and parts, and they love firearms, and they love
  16 recreation. And for them it's the -- they love the making
  17 of the firearms.
  18          And it's not clear to me, and maybe you could
  19 tell me. Maybe there's a federal law; maybe there's a
  20 state law. When I take some hunks of metal and some wood
  21 and some plastic and some various things, and as I -- as I
  22 do that, I can see instances where someone takes a firing
  23 mechanism, but it doesn't have a barrel. They might have a
  24 stock and a barrel. They might have a sight.
  25          And all those pieces are laying there on the
  0021
   1 table, and maybe they get half done and they decide that
   2 they want to transfer that to someone who's not an
   3 immediate family member. As they go through all of that,
   4 they --
   5         THE CHAIRWOMAN: Representative Gardner --
   6         REPRESENTATIVE GARDNER: I'm sorry, Madam Chair?
   7         THE CHAIRWOMAN: Representative Gardner, if you
   8 have a question, ask your question, but your time is up for
   9 making speeches. Get to the question, and Mr. Sloan can
  10 answer it. Otherwise I will cut you off, and we will vote.
  11          REPRESENTATIVE GARDNER: Madam Chair, I was
  12 asking my question. I was trying to lay out a fairly
  13 complex hypothetical, and I apologize if it's complex, but
  14 what it is is a matter of concern to one of my constituents
  15 who asked me about this, Madam Chair, and I'm trying to lay
  16 it out and --
  17          THE CHAIRWOMAN: I've asked you to please ask
  18 the question or I will gavel you out of order.
                                                                                                    LEG HX 000606                   4521
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  19       Appellate   Case: 14-1290
             REPRESENTATIVE                  Document:
                                      GARDNER:           01019371763
                                                     Madam   Chair, I'm              Date Filed: 01/16/2015           Page: 132
  20 trying to get to the question but I -- please.
  21         So, Representative Sloan -- or Director Sloan,
  22 what I'm trying to get to is: When does that set of parts
  23 become a firearm by definition, and how would someone
  24 determine that so that they would know they needed to
  25 comply with the universal background check law?
  0022
   1         THE CHAIRWOMAN: Mr. Sloan.
   2         DIRECTOR SLOAN: Thank you, Madam Chair.
   3         Representative Gardner, I'm not qualified to
   4 answer that. I'm not an armor and -- I am just not
   5 qualified to answer that question as to when it becomes
   6 officially a firearm.
   7         THE CHAIRWOMAN: Okay. Thank you, Mr. Sloan.
   8         And, members, we have a motion on the table.
   9 The motion has been seconded.
  10         Mr. Harper, please call the roll.
  11         MR. HARPER: Representative DelGrosso.
  12         REPRESENTATIVE DelGROSSO: I just want to thank
  13 the sponsors for bringing this bill today. I mean, I -- I
  14 get what you're -- you're trying to address a problem and
  15 -- and I -- I know you guys have been working hard on this
  16 bill.
  17         But I can't support this bill today because,
  18 when I read through this and I look at how it's going to be
  19 -- try to be implemented, I don't see how it's enforceable.
  20         Let's say we're two guys out hunting and a game
  21 warden sees us swap guns. Are you guys selling these guns?
  22 How are you going to be able to prove who owned what gun?
  23         There's -- this is not enforceable. I think
  24 that this could have severe impacts with the appropriations
  25 committee. I think that we're not factoring in the amount
  0023
   1 of lawsuits that we could see as a result of this as far as
   2 people trying to prove who owns what. I think this is just
   3 opening us up for a lot of litigation.
   4         So with that, I'll be a no.
   5         MR. HARPER: Representative Dore.
   6         REPRESENTATIVE Dore: Sponsors, thanks for
   7 bringing this legislation. I -- I commend you for trying
   8 to address problems that we do have in our state.
   9         But I think this -- this legislation gives me a
  10 lot of anxiety. I feel it's a burden on law-abiding
  11 citizens, it's unnecessary and insignificant, and I will be
  12 a no vote.
  13         MR. HARPER: Representative Gardner.
  14         REPRESENTATIVE GARDNER: I'm -- I'm having
  15 trouble with the microphone here.
  16         THE CHAIRWOMAN: And, Representative Gardner,
  17 you will have one minute to state your -- to announce your
  18 vote.
  19         REPRESENTATIVE GARDNER: Thank you, Madam
  20 Chair.
                                                                                                    LEG HX 000607                   4522
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  21       Appellate   Case:
             And in that       14-1290
                          minute,   I will sayDocument:
                                               that I -- I, 01019371763 Date Filed: 01/16/2015                        Page: 133
  22 frankly, am concerned and upset that this debate has been
  23 curtailed. Many of you know of my work in former Soviet
  24 block countries where it's been hard to reach democracy,
  25 and one of the things that happens there and continues to
  0024
   1 happen as really an impediment to democracy is the ruling
   2 party shutting off debate altogether, finding ways to
   3 silence people. And I feel that's what happened here this
   4 morning by shutting it off.
   5        As a consequence, it is incredibly unfortunate
   6 that we are going to have to have a debate that will not be
   7 best on the floor, but we will do so. And so for that
   8 reason, among others of public policy, I vote no.
   9        THE CHAIRWOMAN: Okay. With four seconds to
  10 spare, very good.
  11         MR. HARPER: Representative Gerou.
  12         REPRESENTATIVE GEROU: Representatives, I
  13 appreciate your work. I -- I think you care very much
  14 about the people in Colorado, and I do too.
  15         A lot of what we do in the legislature when we
  16 run bills, my biggest fear is unintended consequences. And
  17 during the short time of our conversation this morning,
  18 there is a very glaring unintended consequence of this
  19 legislation.
  20         I don't think it will serve the end result that
  21 you want it to serve. I think, if it were constructed
  22 differently, I would feel differently about it, but with
  23 respect, I'm a no.
  24         MR. HARPER: Representative Hamner?
  25         REPRESENTATIVE HAMNER: Yes.
  0025
   1        MR. HARPER: Representative LABUDA?
   2        REPRESENTATIVE LABUDA: Yes.
   3        MR. HARPER: Representative Pabon.
   4        REPRESENTATIVE PABON: This bill naturally
   5 engenders vigorous debate, and it should, and I look
   6 forward to standing shoulder to shoulder with the sponsors
   7 to defend this bill on the floor.
   8        Yes.
   9        MR. HARPER: Representative Singer?
  10         REPRESENTATIVE SINGER: Yes.
  11         MR. HARPER: Representative Sonnenberg?
  12         REPRESENTATIVE SONNENBERG: I struggle with the
  13 fiscal note here. I don't know how we make the assertion
  14 that there will be 200,000 private sales. I don't know
  15 what the number of people that have guns in Colorado are.
  16 I know that is a small number if 10 percent probably sell a
  17 gun.
  18         My bigger concern, however, is that the only
  19 people that will comply with this are law-abiding citizens.
  20 You had stated earlier the criminals aren't going to -- or
  21 you are trying to keep criminals -- or guns out of
  22 criminals' hands, and I appreciate that, but I don't see a
                                                                                                    LEG HX 000608                   4523
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           Appellate
  23 criminal          Case:
                going to       14-1290
                          a federal        Document:
                                    gun dealer          01019371763
                                               and paying his 10    Date Filed: 01/16/2015                            Page: 134
  24 bucks to register. I appreciate your intent, but this
  25 doesn't get us anywhere close.
  0026
   1         So I have to be a no.
   2         MR. HARPER: Representative Tyler.
   3         REPRESENTATIVE TYLER: Yes.
   4         MR. HARPER: Representative Young?
   5         REPRESENTATIVE YOUNG: Yes.
   6         MR. HARPER: Representative Duran?
   7         REPRESENTATIVE DURAN: You know, I love being a
   8 legislator in the state of Colorado because every bill that
   9 is introduced gets a hearing, and we've taken many, many
  10 hours to look at this issue. There's no smoke-filed
  11 backroom deals that are being made. We do everything in
  12 the eye of the public.
  13         And I want to thank the members of the committee
  14 this morning who respected the process and made sure that
  15 their questions were to the fiscal issues, as this
  16 committee is deemed with working on.
  17         And I will be a yes. I do believe that this is
  18 necessary and look forward to having further debate with
  19 you on the floor concerning the substance of the bill.
  20         MR. HARPER: Madam Chair.
  21         THE CHAIRWOMAN: And the Chair votes yes.
  22         That bill passes on a vote of eight to five.
  23         Committee, we are adjourned. We will be back
  24 here at 7:30 tomorrow morning for the rest -- for the
  25 agenda of bills that are already on the calendar, and they
  0027
   1 are expecting us on the floor.
   2         Representative Sonnenberg.
   3         REPRESENTATIVE SONNENBERG: That was a
   4 question?
   5         THE CHAIRWOMAN: Yes.
   6         REPRESENTATIVE SONNENBERG: We are going to the
   7 floor?
   8         THE CHAIRWOMAN: We are going to the floor.
   9 Thank you.
  10         UNIDENTIFIED SPEAKER: Thank you.
  11         (Whereupon, the recording was concluded.)
  12
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  24
                                                                                                    LEG HX 000609                   4524
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  0028
   1                 CERTIFICATE
   2 STATE OF COLORADO                     )
   3 CITY AND COUNTY OF DENVER                   ) ss.
   4
   5          I, Elissa Steen, Registered Professional
   6 Reporter and Notary Public in and for the State of
   7 Colorado, do hereby certify that this transcript was taken
   8 in shorthand by me from an audio recording and was reduced
   9 to typewritten form by computer-aided transcription; that
  10 the speakers in this transcript were identified by me to
  11 the best of my ability and according to the introductions
  12 made and written materials provided; that the foregoing is
  13 a true transcript of the proceedings had; that I am not
  14 attorney, nor counsel, nor in any way connected with any
  15 attorney or counsel for any of the parties to said action
  16 or otherwise interested in its event.
  17           IN WITNESS WHEREOF, I have hereunto affixed
  18 my hand and notarial seal this 21st day of June, 2013.
  19
  20
  21
                      ________________________________
  22                    Registered Professional Reporter
                               and
  23                          Notary Public
  24
  25




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          Appellate Case: 14-1290 Document: 01019371763 Date Filed: 01/16/2015                                        Page: 136
  0001
   1 CITY AND COUNTY OF DENVER
   2 STATE OF COLORADO
   3 JUDICIAL COMMITTEE MEETING
   4 Taken on February 15, 2013
   5 HOUSE BILL 13-1229
   6 _____________________________________________________
   7             REPORTER'S TRANSCRIPT
   8 _____________________________________________________
   9
  10           This transcript was taken from an audio
  11 recording by Jana Mackelprang, Certified Realtime
  12 Reporter, Registered Professional Reporter, and
  13 Notary Public.
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  0002
   1             PROCEEDINGS
   2           *    * * * *
   3          THE CHAIRMAN: Representative McCann.
   4          REPRESENTATIVE McCANN: Thank you,
   5 Mr. Chair.
   6          I move House Bill 1229 and the committee
   7 report from appropriations.
   8          THE CHAIRMAN: Representative McCann to
   9 the committee report, please.
  10           REPRESENTATIVE McCANN: Thank you,
  11 Mr. Chair.
  12           The committee report is an appropriation
  13 that has two different appropriation possibilities. As
  14 you can see, there's a Section 9. And Section 9 will
  15 apply only if House Bill 1228 does not become law, so
  16 that the funding for the background checks would come
  17 from general funds.
  18           If House Bill 1228 becomes law, Section 10
  19 of the appropriation clause will be effective, so that
  20 the payment for the background checks comes from cash
  21 funds that will be as a result of the collection of the
  22 charge for the background check.
  23           So that is the extent of the committee
  24 report.
  25           THE CHAIRMAN: Thank you, Representative
  0003

                                                                                                    LEG HX 000611                   4526
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           Appellate
   1 McCann,            Case: 14-1290 Document: 01019371763
                 to the bill.                                                        Date Filed: 01/16/2015           Page: 137
   2           Oh, there's a further discussion on the
   3 committee report. Representative Gardner.
   4           REPRESENTATIVE GARDNER: Thank you,
   5 Mr. Chair. It was just enjoyable to see that moment of
   6 hope across the faces of the sponsors.
   7           Members, this bill is so-called uniform
   8 background checks, universal background checks. The
   9 fact of the matter is that I hope, I sincerely hope,
  10 that each of you have taken a very good and close
  11 reading of this bill and of the committee report. The
  12 committee report has -- is an appropriation. And the
  13 appropriation is associated with what this is going to
  14 cost the people of Colorado, and yet it's tied with
  15 another bill. And it makes it very difficult for us to
  16 talk about them separately, because if you do universal
  17 background checks, there is a cost that goes with it.
  18            And we talked about this in appropriations
  19 quite a bit yesterday, not as much as we needed to, but
  20 quite a bit. And it is problematic as to dealing with
  21 the appropriation under House Bill 1229.
  22            I was not satisfied. The debate in
  23 appropriations was curtailed. But suffice it to say
  24 that what the appropriation report does is really kind
  25 of set a contingency in case the bill, which is sort of
  0004
   1 a companion, is not passed to pay for this.
   2           I'm going to defer because I think people
   3 have been -- not intentionally, but somewhat loose with
   4 talking to the committee report versus the bill and
   5 simply saying that this appropriation, absent the
   6 passage of another bill, which should not pass, is an
   7 appropriation that is unnecessary.
   8           It does not promote public safety, and
   9 that goes to the merits of the bill. So I will stop
  10 with that and ask for another vote.
  11            THE CHAIRMAN: Is there any further
  12 comment on the committee report?
  13            Seeing none, the question before us is the
  14 adoption of the appropriations committee report. All in
  15 favor say aye.
  16            UNIDENTIFIED SPEAKERS: Aye.
  17            THE CHAIRMAN: Opposed.
  18            UNIDENTIFIED SPEAKERS: No.
  19            THE CHAIRMAN: The committee report is
  20 adopted.
  21            Representative Fields to the bill.
  22            REPRESENTATIVE FIELDS: Thank you,
  23 Mr. Chair.
  24            Members, currently right now in the state
  25 of Colorado, private sales are unregulated. Basically
  0005
   1 what House Bill 1229 will do, it will require a
   2 background check on all gun transfers in the state of
                                                                                                    LEG HX 000612                   4527
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           Appellate
   3 Colorado.           Case:our
                   Currently,  14-1290
                                  laws only Document:     01019371763
                                             require a background                    Date Filed: 01/16/2015           Page: 138
   4 check if you go to a licensed dealer -- that would be a
   5 new place to buy a gun -- or if you go to a gunshow in
   6 the state of Colorado, you have to complete a background
   7 check. So we're halfway there.
   8           What I'm trying to do at this point is to
   9 close the circle, close that loophole so that if you
  10 want to buy a gun from a private seller, then you also
  11 would have to complete a background check.
  12            It is estimated that 40 percent of all
  13 guns purchased occur without a background check. That
  14 allows hundreds and thousands of guns to get in the
  15 hands of criminals each year.
  16            A recent undercover investigation showed
  17 that 62 percent of private sellers on the Internet were
  18 willing to sell to someone who actually admitted that
  19 they couldn't pass a background check due to a prior
  20 felony.
  21            Also, according to a national survey of
  22 incarcerated individuals, 80 percent of those who used a
  23 handgun in a crime acquired it from a private seller.
  24 The private sales loophole is a way for criminals to
  25 skirt around our background check system so they can get
  0006
   1 access to guns.
   2           Just to remind you, it was in 2000, after
   3 Columbine in Colorado, we voted to close the gunshow
   4 loophole. That vote was 70 percent to a 30 percent
   5 margin, which meant that before any gun could transfer
   6 at a gunshow, the buyer had to pass a background check.
   7           So we know in order to close this
   8 loophole, we need to make sure that everyone who wants
   9 to buy a gun from a private seller has to complete a
  10 background check.
  11            Facts about it: States who require a
  12 background check for every handgun sale means that fewer
  13 women will be shot by an intimate partner because they
  14 will be restricted from buying that handgun, or whatever
  15 gun it is, from a classified ad or from the Internet,
  16 because if you are considered a domestic, violent
  17 abuser, they just skirt around our system, look on the
  18 Internet, and they buy a handgun.
  19            You may recall the situation that happened
  20 in Arizona. This person, this gunman, had a restraining
  21 order on him. He advertised in the paper he was looking
  22 for a gun. He had $300, and he would buy a gun. He
  23 bought the gun, went into an Arizona salon and shot his
  24 wife and two other employees at that salon. So
  25 background checks do save lives.
  0007
   1           I'm going to be sharing some statistics
   2 that relates to the number of denials that we have in
   3 the state of Colorado as it relates to CBI InstaCheck.
   4 And I'll put this over there for you all to look at.
                                                                                                    LEG HX 000613                   4528
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           Appellate
   5 But just          Case:alone
              in one month     14-1290     Document:
                                   -- and this           01019371763
                                                will be January                      Date Filed: 01/16/2015           Page: 139
   6 of 2013 -- 956 denials. We were able to keep those guns
   7 out of 956 people who were denied access to a gun. And
   8 this is with people trying to access the gun legally,
   9 through a gunshow or through licensed dealers.
  10           The kind of people who were trying to get
  11 guns in the month of January, 42 restraining orders. We
  12 had some that were fugitives, sexual assaults, robbery,
  13 burglary, larceny.
  14           So what House Bill 1229 will do, it will
  15 require private sellers to perform a background check
  16 before the sale is completed. It will require that the
  17 seller goes to a licensed dealer to get that background
  18 check.
  19           It does provide for several exemptions in
  20 the bill for those who might want to give it as a gift
  21 to a family member, for those who might want to transfer
  22 the gun if they're hunting or fishing or those kinds of
  23 things. And so we did provide lots of exceptions -- not
  24 a lot, but some that maybe would address some concerns
  25 that you might have.
  0008
   1          It also includes penalties for those who
   2 are not compliant with performing a background check
   3 before the gun is sold.
   4          So I will conclude my remarks by just
   5 asking for a yes vote on House Bill 1229.
   6          THE CHAIRMAN: Thank you, Representative
   7 Fields.
   8          Representative McCann.
   9          REPRESENTATIVE McCANN: Thank you,
  10 Mr. Chair.
  11           And I also rise in support of this bill.
  12 This truly is a public safety issue. It's another bill
  13 that we're considering that is directly related to
  14 public safety.
  15           So think to yourself: What would you do
  16 if you wanted to get a gun and you thought you wouldn't
  17 pass a background check? You would go to the Internet.
  18 You would go to a private person and try to purchase
  19 your gun that way. And you would be able to do that,
  20 even if you could not pass a background check in
  21 Colorado today. A convicted felon, someone who has a
  22 temporary restraining order against them, any of these
  23 folks can legally purchase a gun right now through the
  24 Internet or through a private seller.
  25           This bill is simply closing a loophole
  0009
   1 that we currently have in our background check law. And
   2 many of you know that here in Colorado, after the
   3 Columbine shooting, the public voted 70 percent to close
   4 the gunshow loophole.
   5          It's a common-sense requirement -- or we
   6 continue to hear that responsible gun owners do not
                                                                                                    LEG HX 000614                   4529
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021513.txt[11/12/2013 10:57:45 AM]
   7 commitAppellate
               crimes. Case:     14-1290
                         So it's hard        Document:
                                      for me to understand01019371763
                                                           how                       Date Filed: 01/16/2015           Page: 140
   8 responsible gun owners would have any objection to this
   9 bill. All it's doing is requiring everyone to go
  10 through the same background check that those who do it
  11 now go through. All of those people who purchase from
  12 licensed gun dealers or in a gunshow go through a
  13 background check. What this bill does is say anyone who
  14 wants to purchase a gun in Colorado has to go through
  15 that same background check.
  16             And I also want to cite a recent poll in
  17 January of 2013 that reflected that 80 percent of
  18 Colorado voters support requiring criminal background
  19 checks for all gun sales. 86 percent of NRA members
  20 nationwide believe that all gun buyers should be
  21 required to pass a background check.
  22             We're talking about ensuring that every
  23 sale is subject to the same background check. We're not
  24 imposing any new requirements. They're the same
  25 prohibitions against purchasing a gun that apply
  0010
   1 currently to those who purchase their guns legally.
   2            What we are doing -- and this bill
   3 directly goes to trying to prevent criminals from
   4 getting guns. That's what we have heard here today,
   5 that it's not the responsible gun owners; it's the
   6 criminals. Criminals currently can go and purchase guns
   7 on the Internet. They can purchase guns from private
   8 sellers with no background check. So this bill is
   9 clearly directed toward preventing criminals, those with
  10 domestic violence, fugitives from justice, those
  11 juveniles who have felonies, from purchasing a gun.
  12             I also want to comment briefly on the
  13 impact this has on domestic violence victims. We know
  14 now that about 30 to 40 percent of guns are purchased
  15 currently without a background check.
  16             Studies reveal that the presence of
  17 firearms significantly increases the lethality of
  18 domestic violence incidents. According to one study,
  19 domestic violence assaults involving a firearm are 23
  20 times more likely to result in death than those
  21 involving other weapons or bodily force.
  22             Another study found that abused women are
  23 five times more likely to be killed by their abuser if
  24 the abuser owns a firearm.
  25             According to justice -- Department of
  0011
   1 Justice statistics, in states that require background
   2 checks for every handgun sale, 38 percent fewer women
   3 are shot to death by intimate partners.
   4            In 2011, the most recent year for which
   5 data is available, at least 13 of the 34 domestic
   6 violence deaths in Colorado in one year occurred in
   7 cases where the domestic violence offender used a
   8 firearm despite being prohibited under the law from
                                                                                                    LEG HX 000615                   4530
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           Appellate
   9 purchasing         Case: 14-1290
                   or possessing  firearms. Document: 01019371763                    Date Filed: 01/16/2015           Page: 141
  10            We know that existing background check
  11 requirements keep guns out of the hands of domestic
  12 abusers because currently our background checks capture
  13 these people when they try to purchase them at gunshows
  14 or from licensed dealers. They are not captured when
  15 they purchase on the Internet or through private sales.
  16            We know that passing this bill will save
  17 lives in Colorado by keeping guns out of the hands of
  18 even more abusers.
  19            So what we're asking you to do here today,
  20 Colleagues, is to provide safety for our citizens by
  21 saying it's perfectly fine to purchase a gun as long as
  22 you can pass that background check, the same background
  23 check that those of you here in the gallery who own
  24 weapons go through.
  25            It's hard for me to understand why you
  0012
   1 wouldn't want everyone to go through the same background
   2 check that you had to go through, or that those
   3 responsible gun owners have to go through. It's simply
   4 a matter of fairness and equity and safety.
   5           I do have one amendment, however, to offer
   6 to the bill, Amendment L.016. If that could be
   7 displayed on the screen, please.
   8           THE CHAIRMAN: Amendment L.016 is properly
   9 displayed. Please proceed.
  10            REPRESENTATIVE McCANN: Thank you,
  11 Mr. Chair.
  12            During the hearing in the judiciary
  13 committee, we heard from a woman who was concerned about
  14 the fact that she target practices in her backyard,
  15 which is perfectly legal. But she was concerned that if
  16 she transferred her gun temporarily to her friend that
  17 was also there with her target practicing, that it might
  18 come under this bill -- she might be limited under this
  19 bill.
  20            So this amendment will make it very clear
  21 by amending page 5, line 27, inserting that a temporary
  22 transfer of possession of a weapon can take place under
  23 this bill while hunting, fishing, trapping, or target
  24 shooting. The same amendment -- or the same lines -- or
  25 the same language would be included on page 6, line 1,
  0013
   1 and page 6, line 4.
   2           Therefore, if someone is target shooting
   3 on their property, they would be able to exchange guns
   4 so they could try out different kinds of guns and each
   5 other's guns.
   6           So I would ask for the adoption of
   7 Amendment L.016 to House Bill 1229 to address the issue
   8 that was raised by the woman who testified in the
   9 committee.
  10            THE CHAIRMAN: Thank you, Representative
                                                                                                    LEG HX 000616                   4531
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  11 McCann.Appellate Case: 14-1290 Document: 01019371763                            Date Filed: 01/16/2015           Page: 142
  12            Is there any further discussion on the
  13 amendment? Representative Gardner.
  14            Hold for Representative McCann.
  15            REPRESENTATIVE McCANN: Thank you,
  16 Mr. Chair.
  17            I just want to make sure that I did move
  18 Amendment 016.
  19            THE CHAIRMAN: Amendment 016 is properly
  20 moved to the amendment. Representative Gardner.
  21            REPRESENTATIVE GARDNER: Yes, thank you,
  22 Mr. Chair and Representative McCann. I appreciate you
  23 bringing this amendment. However, it sort of highlights
  24 what is problematic here, because, as I read this
  25 exception -- and we will visit these exceptions later on
  0014
   1 the bill in some detail because people's criminal
   2 liability will be riding on how they understand these
   3 exceptions -- this particular exception will then read,
   4 while -- what it will do is read: The transfer -- well,
   5 the exception will read -- and you'll start at line
   6 11 -- it will say: A transfer that is temporary and
   7 occurs while in the home of the unlicensed transferee
   8 if -- and then you go to D at line 18 -- the transfer is
   9 a temporary transfer or possession without transfer of
  10 ownership or a title to ownership, which transfer takes
  11 place while hunting, fishing, target shooting, or
  12 trapping, if the hunting, fishing, target shooting, or
  13 trapping is legal in all places where the unlicensed
  14 transferee possesses the firearm and the unlicensed
  15 transferee holds any license or permit that's required
  16 for such hunting, fishing -- I assume target shooting or
  17 trapping.
  18            What's so interesting to me about this is
  19 that the poor, average citizen will now realize that if
  20 their next-door neighbor says, "Can I borrow your
  21 shotgun, I don't own one, but can I borrow your shotgun
  22 to go target shooting?" and you transfer the weapon to
  23 them temporarily in your living room, and that person
  24 goes the next day with another friend to target shoot,
  25 this exception will not apply to them. It doesn't
  0015
   1 apply.
   2           It really seems to me, if read
   3 literally -- and you're supposed to read these
   4 exceptions, I think, narrowly, not broadly -- I think
   5 this exception only occurs if you go with someone and
   6 they drive to the location. And once they get there --
   7 and it has to be a legal location -- God help you that
   8 you didn't accidentally trespass because you didn't know
   9 and you got on the wrong place, because it has to be
  10 legal. And then, since you're not target shooting yet,
  11 it will only be when you go out on the firing line that
  12 you can transfer this weapon.
                                                                                                    LEG HX 000617                   4532
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  13       Appellate   Case:
                Now, you   may14-1290        Document:
                                 scoff over there or not, I01019371763               Date Filed: 01/16/2015           Page: 143
  14 don't know, but I can almost imagine that there would be
  15 those that would scoff and say, "Well, Representative
  16 Gardner, that's just absurd." But that's what it says.
  17 It doesn't say, "for the purpose of." It doesn't say,
  18 "in anticipation of." It doesn't say any of that. It's
  19 written very narrowly, and I think that's what's
  20 intended. But that makes this exception for all of
  21 these other things in target shooting so narrow that you
  22 couldn't -- you couldn't borrow a weapon from your
  23 brother-in-law or your father-in-law or your son-in-law.
  24 We'll get to all of those, why I say in-laws and not
  25 "others" later. You couldn't borrow a shotgun from your
  0016
   1 father-in-law, who may be at a stage in life that he
   2 doesn't want to go target shooting with you and your
   3 brother-in-law or your best friend. That's not the
   4 exception.
   5           Now, if I'm reading that wrong, I would
   6 invite you to explain to me why those words say
   7 something other than what I say. And I think this
   8 exception, as amended or as written, either way, is very
   9 dangerous for the average citizen.
  10            THE CHAIRMAN: Representative McCann.
  11            REPRESENTATIVE McCANN: Thank you,
  12 Mr. Chair.
  13            Yes, Representative Gardner, the amendment
  14 does state that the transfer is legal while hunting,
  15 fishing, trapping, or target shooting. And the purpose
  16 for that is so that anyone who is stopped doesn't simply
  17 claim, "Well, I am on my way to go hunting, fishing,
  18 target shooting."
  19            The purpose of the amendment is to make it
  20 clear that if you are engaged in a legal activity with a
  21 weapon, with a gun, you can do a temporary transfer
  22 among friends or among relatives so that you can use
  23 each other's guns for hunting, fishing, trapping, and
  24 target shooting while you're engaged in that activity.
  25            So I would ask for an aye vote. All this
  0017
   1 amendment does is add target shooting to the other three
   2 items that are listed. So I would ask for a yes vote on
   3 Amendment 016.
   4           THE CHAIRMAN: Is there further discussion
   5 on the amendment? Representative Gardner.
   6           REPRESENTATIVE GARDNER: Thank you,
   7 Mr. Chair.
   8           Well, the problem is that this amendment
   9 to the provision that says you can transfer while
  10 trapping doesn't really -- or target shooting -- doesn't
  11 -- it just doesn't go far enough. That's my concern
  12 with this exception and this amendment.
  13            For instance, if you were, say, a senator
  14 who worked with the boy scouts and you gathered weapons
                                                                                                    LEG HX 000618                   4533
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  15 so theAppellate  Case:
             boy scouts  could14-1290      Document:
                               learn to target shoot, and01019371763
                                                          you                        Date Filed: 01/16/2015           Page: 144
  16 transferred those weapons to them in anticipation, or
  17 you loaned some weapons for the boy scouts to go, you
  18 would have violated this exception. And that is my
  19 objection. This exception, even as amended, does not go
  20 far enough.
  21           I would urge a no vote on the amendment
  22 simply because it doesn't do what it needs to do.
  23           THE CHAIRMAN: Further discussion on the
  24 amendment? Representative Holbert.
  25           REPRESENTATIVE HOLBERT: Thank you, Mr.
  0018
   1 Chairman. Honor to serve with you, sir.
   2          THE CHAIRMAN: And an honor to serve with
   3 you as well.
   4          REPRESENTATIVE HOLBERT: Thank you very
   5 much.
   6          Representative McCann, I have a legitimate
   7 question, and I would ask, though not required, but I
   8 would very much like to understand the answer to this
   9 question.
  10           My sons and I hunt together. And as they
  11 get older, they grow out of weapons, rifles that I
  12 purchased for them when they were youth, and now they're
  13 starting use weapons that I have because of their now --
  14 my older son is taller than I am. What I wonder, as my
  15 older son now, who is 18, as he starts to venture out
  16 over the next few years and maybe go out on a hunting
  17 trip of his own, under this bill, would I be allowed to
  18 loan him, allow him to take one of my hunting rifles,
  19 say, out into the national forest for a week or 10 days?
  20           If I was not there and I am the legal
  21 owner of that weapon, could I let my son go out on that
  22 hunting trip and use one of my weapons, or would I have
  23 to go to a gun dealer and go through that transfer to
  24 allow him to take that weapon for a week or so, or 10
  25 days, if I wasn't there?
  0019
   1          THE CHAIRMAN: Thank you, Representative
   2 Holbert.
   3          Representative McCann.
   4          REPRESENTATIVE McCANN: Thank you,
   5 Mr. Chair.
   6          Representative Holbert, I appreciate the
   7 question. The way I read this bill, you would be able
   8 to make a gift of your gun to your son with no
   9 consequence under this bill.
  10           THE CHAIRMAN: Representative Holbert.
  11           REPRESENTATIVE HOLBERT: Thank you,
  12 Mr. Chair.
  13           And, Representative McCann, as you say
  14 gift, does that mean permanent or temporary?
  15           THE CHAIRMAN: Representative McCann.
  16           REPRESENTATIVE McCANN: Thank you,
                                                                                                    LEG HX 000619                   4534
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            Appellate Case: 14-1290 Document: 01019371763
  17 Mr. Chair.                                                                      Date Filed: 01/16/2015           Page: 145
  18            I think under this bill, that can be
  19 either a permanent or temporary gift. So if it's an
  20 immediate family member, like your son, you would be
  21 able to transfer your weapon to him so he could use it
  22 for hunting.
  23            THE CHAIRMAN: Representative Holbert.
  24            REPRESENTATIVE HOLBERT: Thank you,
  25 Mr. Chair.
  0020
   1           So I appreciate that perspective. How
   2 immediate does the family member need to be? If -- I
   3 have neighbors who we converse about guns. And if a
   4 neighbor came and asked, "Could I borrow your hunting
   5 rifle for 10 days," but I'm not related, could I make
   6 that gift legally and have protection?
   7           THE CHAIRMAN: Representative McCann.
   8           REPRESENTATIVE McCANN: Thank you,
   9 Representative Holbert, and thank you, Mr. Chair.
  10            No, you could not transfer to a neighbor
  11 under the bill without -- you can transfer to immediate
  12 family members, which includes spouses, parents,
  13 children, siblings, grandparents, and grandchildren.
  14 You could make a temporary transfer to your neighbor if
  15 the neighbor was going to go hunting, fishing, trapping,
  16 or target shooting, but only while they're actually
  17 doing it. So you would need to be with them while they
  18 were doing that activity.
  19            THE CHAIRMAN: Representative Lawrence to
  20 the amendment.
  21            REPRESENTATIVE LAWRENCE: Well, I get to
  22 play with the fun toys. Thank you, Mr. Chair.
  23            I guess I'm still a little confused on the
  24 amendment. If -- as an example, we own a gravel pit,
  25 and sometimes we have people who like to go down there
  0021
   1 because it's a safe place to set up targets and shoot,
   2 and we would loan our weapons. But this says we have to
   3 loan them in our home and we have to be with them? So
   4 we couldn't loan them to a friend or a neighbor to go
   5 down to our private property?
   6           THE CHAIRMAN: Representative McCann.
   7 Excuse me. Representative McCann.
   8           REPRESENTATIVE McCANN: Thank you,
   9 Mr. Chair.
  10            And, Representative Lawrence, you could --
  11 you do not have to transfer them in your home. That's
  12 Section D, which is the transfer that occurs while in
  13 the home, if the person needs protection. But you can
  14 do a temporary transfer for other people to use your
  15 weapons for hunting, target shooting, et cetera, but you
  16 do have to be with them.
  17            So if you were going to have them target
  18 shoot in your gravel pit, you would need to be with them
                                                                                                    LEG HX 000620                   4535
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  19 whenAppellate
            they used Case:   14-1290 Document: 01019371763
                        your gun.                                                    Date Filed: 01/16/2015           Page: 146
  20           THE CHAIRMAN: Representative Lawrence.
  21           REPRESENTATIVE LAWRENCE: Okay. Still
  22 confusion because we're dealing with my private
  23 property, which is my firearm on my private property,
  24 which is my gravel pit, which I no longer have any
  25 control over. And, you know, there are instances when I
  0022
   1 might be going out of town, and as much as I would like
   2 to go down and target shoot, I'm not available to do
   3 that. But I have a friend who would like to try out one
   4 of my guns. This would make me a criminal if I did
   5 that. Am I reading that correctly?
   6          THE CHAIRMAN: Representative McCann.
   7          REPRESENTATIVE McCANN: Thank you,
   8 Mr. Chair.
   9          Under the bill, you cannot transfer one of
  10 your guns for someone else to use on your -- for target
  11 shooting unless you are present.
  12           THE CHAIRMAN: Is there any further
  13 discussion on Amendment L.016?
  14           Seeing none, the question before us is the
  15 adoption of Amendment L.016 to the bill. Those in favor
  16 say aye.
  17           UNIDENTIFIED SPEAKERS: Aye.
  18           THE CHAIRMAN: Opposed, no.
  19           UNIDENTIFIED SPEAKERS: No.
  20           THE CHAIRMAN: The amendment passes.
  21           I need a lesson from former Speaker
  22 McNulty on gable slamming.
  23           (Laughter.)
  24           (Inaudible discussion.)
  25           THE CHAIRMAN: To the bill Representative
  0023
   1 Fields.
   2          REPRESENTATIVE FIELDS: Thank you,
   3 Mr. Chair.
   4          I'd like to move Amendment L.008.
   5          THE CHAIRMAN: The amendment is properly
   6 displayed -- will be properly displayed. Is about to be
   7 properly displayed.
   8          Amendment L.008 is properly displayed.
   9 Please proceed.
  10           REPRESENTATIVE FIELDS: Thank you,
  11 Mr. Chair.
  12           And basically this amendment will allow a
  13 transfer of a firearm that could go to a gunsmith. So
  14 if you had a gun that needed to have repairs, you could
  15 make that transfer. The gunsmith can then work on this
  16 gun, have possession of the gun, and it can be
  17 transferred back to the owner.
  18           This was an idea that I need to contribute
  19 to Representative Gerou. She made my strong bill
  20 stronger.
                                                                                                    LEG HX 000621                   4536
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  21        Appellate
                And soCase:    14-1290
                        that's what L.008 isDocument:
                                             all about. I01019371763                 Date Filed: 01/16/2015           Page: 147
  22 urge an aye vote.
  23            THE CHAIRMAN: Is there any further
  24 discussion on the amendment?
  25            Representative Gerou.
  0024
   1           REPRESENTATIVE GEROU: Thank you,
   2 Mr. Chair.
   3           Members, this is not at all what I was
   4 talking about in appropriations. This is -- this is not
   5 at all what we were talking about in appropriations. So
   6 I -- as much as I appreciate Representative Fields
   7 calling me out like this, as if I need this today, thank
   8 you very much, this has absolutely nothing to do with my
   9 argument in appropriations. I will talk to you about my
  10 problem when we get to the bill, but I deny any
  11 attribution to this amendment.
  12            THE CHAIRMAN: Any further discussion on
  13 Amendment L.008?
  14            Seeing none, the question before us is the
  15 adoption of L.008 to the bill. Those in favor say aye.
  16            UNIDENTIFIED SPEAKERS: Aye.
  17            THE CHAIRMAN: Opposed, no.
  18            UNIDENTIFIED SPEAKERS: No.
  19            THE CHAIRMAN: The amendment passes.
  20            Representative Fields to the bill.
  21            REPRESENTATIVE FIELDS: Thank you,
  22 Mr. Chair.
  23            Members, background checks are the only
  24 systematic way to stop felons, domestic abusers, and
  25 people who are seriously ill from obtaining and buying
  0025
   1 firearms from private sellers. I'm going to share some
   2 statistics with you.
   3           After the mass shooting at Columbine, an
   4 overwhelming number of Coloradans voted to close the
   5 gunshow loophole. And since closing that loophole,
   6 Colorado has escorted significantly fewer crime guns to
   7 other states.
   8           In 2000, the state was the 17th largest
   9 exporter of guns later found at crime scenes in other
  10 states. A year after the law was passed, in 2009, it
  11 was reduced then to the 27th range. So that just shows
  12 that closing that loophole as it related to gunshows did
  13 prevent guns from being exported where crimes were being
  14 committed in other states.
  15            So, once again, I urge you to an aye vote
  16 that would close the private sales of guns without
  17 making sure that a background check is completed.
  18 Thanks.
  19            THE CHAIRMAN: Is there any further
  20 discussion on the bill? Representative DelGrosso.
  21            REPRESENTATIVE DelGROSSO: Thank you,
  22 Mr. Chair, and representative's question.
                                                                                                    LEG HX 000622                   4537
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  23       Appellate
                What isCase:
                        defined14-1290      Document:
                                 a transfer of ownership?01019371763                 Date Filed: 01/16/2015           Page: 148
  24 So if I'm out with, you know, Representative Gerou and I
  25 talk to her about: What did you guys do -- or what did
  0026
   1 you do this weekend? And I say, "Oh, I got this
   2 brand-new handgun that I bought." And we're out there,
   3 and she goes, "Oh, can I see it?" If I just set it in
   4 her hands, is that a transfer of ownership, if she
   5 wanted to look at it?
   6           THE CHAIRMAN: Representative Fields.
   7           REPRESENTATIVE FIELDS: Thank you,
   8 Mr. Chair.
   9           Absolutely not. If you just want to
  10 transfer a gun in your home and there's no sales that's
  11 associated with it, you're just letting the person see
  12 that firearm, then that's not a violation of this bill.
  13            THE CHAIRMAN: Representative DelGrosso.
  14            REPRESENTATIVE DelGROSSO: Thank you,
  15 Mr. Chair.
  16            But, no, I'm talking about not in my home.
  17 Let's say we're out in the parking lot. We're out in
  18 the parking lot, and a police officer or someone else
  19 sees me place that gun in Representative Gerou's hands.
  20 How does he not know -- is that considered a transfer of
  21 ownership if I'm putting that in her hands and she's
  22 looking at that? How would I prove -- I mean, would
  23 that be considered a transfer of ownership?
  24            THE CHAIRMAN: Representative Fields.
  25            REPRESENTATIVE FIELDS: Thank you,
  0027
   1 Mr. Chair.
   2           You know, you're kind of highlighting
   3 scenarios that I just have a hard time picturing how
   4 realistic that would be, where an officer would just be
   5 kind of hanging out watching you as you're transferring
   6 a gun in the parking lot. And what would be the
   7 intention of that transfer? If it's going to be a sale,
   8 then you are going to need to complete a background
   9 check before that transfer of that gun is considered
  10 legal.
  11            THE CHAIRMAN: Representative DelGrosso.
  12            REPRESENTATIVE DelGROSSO: But I think
  13 that happens all the time. Let's say I don't have a gun
  14 and I've got a bag of pills, and I place those bag of
  15 bills -- or bag of pills in Representative Gerou's
  16 hands. And then -- now the police officer observes
  17 that. That would be, I think, grounds for me
  18 distributing an illegal activity. So I think that is a
  19 legitimate scenario to where, if an officer does not
  20 know me and Representative Gerou are colleagues, they
  21 could assume that maybe we are engaging in this illegal
  22 activity of me handing her my weapon.
  23            THE CHAIRMAN: Representative DelGrosso.
  24            REPRESENTATIVE DelGROSSO: Thank you,
                                                                                                    LEG HX 000623                   4538
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           Appellate Case: 14-1290 Document: 01019371763
  25 Mr. Chair.                                                                      Date Filed: 01/16/2015           Page: 149
  0028
   1           And I guess that goes back to my next
   2 question, which is how is this bill actually going to be
   3 enforced? At what point -- how would the officer even
   4 know that the weapon that I'm giving to her is even
   5 mine, and that when she actually drives away, that that
   6 actually wasn't her weapon and that I was actually
   7 looking at it? So how would they know when she drove
   8 away and then they pulled her over and they say, "You
   9 know what? I saw Representative DelGrosso hand you that
  10 weapon. Did you guys perform a background check?" She
  11 can be like: That was my weapon in the first place, and
  12 I was letting him look at it. How would they ever prove
  13 what weapon belonged to who, if that belonged to her or
  14 if it belonged to me?
  15            So, to me, the only way you can possibly
  16 know that is if somehow there was some markings on the
  17 gun, and then somehow they are able to go back and look
  18 at these markings and say, "By these markings, this was
  19 a gun that belonged to Representative DelGrosso."
  20            I guess I'm trying to figure out how that
  21 would work.
  22            THE CHAIRMAN: Representative McCann.
  23            REPRESENTATIVE McCANN: Thank you,
  24 Mr. Chair.
  25            When people go through a background check,
  0029
   1 they will be able to show that they have been through a
   2 background check. So if you have legitimately purchased
   3 the gun, the CBI can verify with the law enforcement
   4 officer that it is in fact your gun because you legally
   5 went through a background check.
   6           So I think that scenario could be handled
   7 quite easily by law enforcement.
   8           THE CHAIRMAN: Is there further
   9 discussion? Representative DelGrosso.
  10            REPRESENTATIVE DelGROSSO: Thank you,
  11 Mr. Chair.
  12            And it's my recollection that when you go
  13 through a background check, it does not say what weapon
  14 it is that you got the background check for. So I might
  15 have a paper or something that says that I performed a
  16 background check, but they would not know what firearm
  17 that background check was for.
  18            So, there again, it leads me back to my
  19 original line of questioning of: There's no way to
  20 prove who owns what gun and if you actually did a change
  21 of possession with a private sale.
  22            THE CHAIRMAN: Representative McCann.
  23            REPRESENTATIVE McCANN: Thank you,
  24 Mr. Chair.
  25            Representative DelGrosso, if you are
  0030
                                                                                                    LEG HX 000624                   4539
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           Appellate
   1 charged             Case:you
               with a crime,     14-1290
                                     would haveDocument:
                                                  the ability01019371763
                                                              to                     Date Filed: 01/16/2015           Page: 150
   2 defend yourself by showing that you had legally
   3 purchased your weapon and gotten a background check,
   4 just like people do now.
   5           All this bill does is say those who
   6 purchase from private sellers have to do the same thing
   7 that those who purchase from licensed dealers or
   8 gunshows do.
   9           It's difficult for me to understand the
  10 opposition to this because those people who go through a
  11 background check, I would think they would want everyone
  12 to have to go through a background check. It would make
  13 all of us safer. I mean, that's the whole point of the
  14 background check. And we have this big, huge area where
  15 people can get around the need for a background check.
  16            So if you want to purchase a gun, you go
  17 to a licensed dealer, you submit to a background check,
  18 you get clearance, you buy your gun.
  19            To me, it seems as though you wouldn't
  20 want to have someone who has a felony conviction or a
  21 restraining order against them able to avoid what you
  22 yourself had to go through in order to get a gun, simply
  23 by going through the Internet.
  24            It's not -- this bill is not that
  25 complicated. We're just saying people who purchase guns
  0031
   1 need to have background checks so we can all be assured
   2 that they aren't felons, that they don't have domestic
   3 violence convictions, and that they can responsibly
   4 handle a weapon. It's really a safety for you, the
   5 legitimate gun owners, as much as it is for everyone
   6 else.
   7           THE CHAIRMAN: Representative Wright.
   8           REPRESENTATIVE WRIGHT: Thank you,
   9 Mr. Chair.
  10            Representative McCann, you speak to the
  11 fact that you feel everyone is safer if this background
  12 check goes through. The issue I have with that argument
  13 is that we place these labels on people. We say you're
  14 a criminal or you're a law-abiding citizen or you're a
  15 felon or -- but these are not static in time events.
  16 These are ever changing in a human being's life. We're
  17 going to have a human being who, one day, possibly wakes
  18 up as a law-abiding citizen, gets upset, loses his or
  19 her temper, has a mental health care crisis -- who knows
  20 what -- and they suddenly become a criminal in our
  21 minds.
  22            So this isn't a: You are always a
  23 criminal; and, therefore, this background check is going
  24 to solve all of our public safety problems. We need to
  25 look no further than I think the example that just
  0032
   1 occurred in Los Angeles with Chris Dorner. This was far
   2 more, Representative McCann, than a background check.
                                                                                                    LEG HX 000625                   4540
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           Appellate
   3 This was          Case: 14-1290
               a psychological  evaluationDocument:
                                            that he took,01019371763
                                                          the                        Date Filed: 01/16/2015           Page: 151
   4 same psychological evaluation that I have taken, and
   5 some may argue didn't take, but the same psychological
   6 evaluation that I went through. This was far more than
   7 a background check. And look what he did. He caused
   8 untold loss of life.
   9          So I guess I'm not seeing what's -- how is
  10 this making us safer when you could go to the gun store
  11 and transfer your weapon to another individual one
  12 morning and that evening become the criminal, as we are
  13 labeling it?
  14           THE CHAIRMAN: Representative McCann.
  15           REPRESENTATIVE McCANN: Thank you,
  16 Mr. Chair, and thank you, Representative Wright.
  17           This bill only says that everyone has to
  18 go through the same process. Someone doesn't become a
  19 criminal by having an episode in the morning. That's if
  20 they get a conviction. And the law currently says
  21 you're not supposed to purchase a weapon or possess a
  22 weapon or purchase a weapon if you are a convicted
  23 felon.
  24           So if you're a convicted felon today,
  25 where are you going to go to get your gun? You're going
  0033
   1 to go to the Internet so you can get a gun without
   2 having to go through the background check. So it's just
   3 really common sense.
   4          But to directly respond to you in how this
   5 is going to make us safer, I do have some research that
   6 was done regarding some incidents that occurred where
   7 people were killed who would not have been able to
   8 purchase a gun had they -- had this bill been in effect.
   9          There was a shooting at the ESL Company in
  10 California where a former employee, Richard Farley,
  11 gunned down seven people at his former workplace. He's
  12 now on death row. He is a person who had been involved
  13 in stalking someone in the past, and she had a temporary
  14 restraining order against him. Before he was fired, he
  15 was ordered to undergo psychological counseling.
  16           Now, his restraining order would have been
  17 picked up by a background check, if it had been in
  18 effect. And he used two semiautomatic handguns, two
  19 revolvers, two shotguns, and one assault weapon, killed
  20 seven people.
  21           In Kentucky, in Louisville, Kentucky,
  22 Joseph Wesbecker gunned down eight people at his former
  23 workplace before committing suicide. Prior to shooting,
  24 he had voluntarily checked into hospitals for mental
  25 problems. So his prior psychiatric hospitalization
  0034
   1 would have prevented him from purchasing a gun had he
   2 had to go through a background check. He used a
   3 semiautomatic handgun, a revolver, and three assault
   4 weapons.
                                                                                                    LEG HX 000626                   4541
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   5       Appellate
               In RoyalCase:
                         Oak, 14-1290
                               Michigan, a Document:     01019371763
                                            laid-off postal                          Date Filed: 01/16/2015           Page: 152
   6 worker opened fire at his former workplace before he
   7 committed suicide. And it turned out his CCW permit had
   8 been revoked for mental health issues.
   9           Another one was in Watkins Glen, New York,
  10 where John Miller killed four child-support workers in a
  11 county office building before he killed himself. He had
  12 a prior felony conviction and also a domestic violence
  13 report. I don't know if he actually had a temporary
  14 restraining order, so that might not have been picked
  15 up, but the felony would have been. He used a
  16 semiautomatic handgun.
  17            In Connecticut, lottery worker Matthew
  18 Beck gunned down four bosses over a salary dispute
  19 before committing suicide. He had also been
  20 hospitalized previously and used a semiautomatic
  21 handgun. So his prior psychiatric hospitalization would
  22 have prevented him from purchasing a gun.
  23            In Melrose Park, Illinois, a fired
  24 employee William Baker opened fire before he committed
  25 suicide at his workplace. He had a child abuse
  0035
   1 conviction, a sexual assault conviction, which would
   2 have prevented him from purchasing guns. He used a
   3 revolver, a shotgun, and two assault weapons.
   4           Another one was discharged from the
   5 military on mental health grounds, and I actually don't
   6 think that would have been picked up because I don't
   7 think currently that's a disqualification. But in the
   8 Virginia Tech massacre, the individual there did have an
   9 official history of mental illness. I don't know if
  10 he'd actually been hospitalized, which is what our
  11 current law requires, that you actually have a
  12 hospitalization, but he certainly had psychiatric
  13 problems.
  14            In Northern Illinois University in 2008, a
  15 young man opened fire in a lecture hall, then shot and
  16 killed himself. He had been hospitalized prior to the
  17 shooting for psychiatric reasons and discharged from the
  18 military on mental health grounds.
  19            So will this bill make us safer?
  20 Absolutely. It will prevent people who have psychiatric
  21 hospitalizations, who have felony convictions, who have
  22 restraining orders against them from purchasing weapons.
  23 It just makes sense.
  24            We don't want these people to be able to
  25 purchase weapons. I don't think you would want them to
  0036
   1 be purchasing weapons. So all we're saying is, because
   2 everybody else has to go through a background check, why
   3 shouldn't someone who's buying privately have the same
   4 responsibility? Makes sense to me.
   5           THE CHAIRMAN: Representative Gerou.
   6           REPRESENTATIVE GEROU: Thank you,
                                                                                                    LEG HX 000627                   4542
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           Appellate Case: 14-1290 Document: 01019371763
   7 Mr. Chair.                                                                      Date Filed: 01/16/2015           Page: 153
   8           Members, you know when we're talking about
   9 all these statistics, I think sometimes you get so
  10 passionate about coming up with proof and reasons for
  11 your bill that you forget that these statistics actually
  12 represent people. And the amount of lose of life that
  13 we've been talking about just over the course of the day
  14 is, to me, staggering and truly depressing. It makes me
  15 think of my family.
  16           I have a son and a daughter. My son lives
  17 here in Denver. My daughter lives in Chicago. And it's
  18 important to me that they stay safe and that their
  19 families stay safe. Then we all have an opportunity to
  20 live a full and productive life.
  21           In order to put this bill into context, I
  22 need to talk a little bit about when this bill was
  23 before appropriations. I was telling the sponsors that
  24 I grew up in a very rural setting. I had four brothers.
  25 I grew up in a ranching family. As the only girl, we
  0037
   1 didn't do anything that really involved girl things. We
   2 did a lot of hunting. We did a lot of shooting. We
   3 used to -- although the -- my father's family, it was a
   4 sheep ranch. My mother's family, it was a cattle ranch.
   5 So we -- we actually spent -- every fall, we would go
   6 out and hunt for the food that we would eat that winter.
   7           We prided ourselves in being law-abiding
   8 citizens. My parents took great pride in their
   9 children, and they took great pride in making sure that
  10 their children were taught gun safety and the importance
  11 and the respect that you need to have for firearm. It
  12 was very important to us.
  13           When Representative McCann was listing
  14 those statistics, the one point she didn't make that I
  15 didn't hear was where those individuals that committed
  16 those crimes got their weapons. She didn't say they got
  17 them from private sources. She just said they got
  18 weapons.
  19           So to go back to my story, when -- I have
  20 an aunt and an uncle that did not have children, and I
  21 became their caregivers at their end of life. If this
  22 bill were in effect at the time that I lost my uncle, it
  23 would be creating a problem because my uncle left me all
  24 of his firearms. I'm actually more heavily armed than
  25 my husband. And I respect those firearms and I value
  0038
   1 the heritage that my family passed them down to me with.
   2 And it's my intent to give these firearms to my children
   3 when they want them and when they're ready for them, and
   4 they do want them, eventually.
   5           The problem I have with the bill right
   6 now, the way it's written, is it makes a supposition.
   7 And the supposition with this bill is that you are
   8 guilty until you're proven innocent. When the joint
                                                                                                    LEG HX 000628                   4543
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   9 budget Appellate
              committeeCase:   14-1290
                          was asked        Document:
                                     whether  or not they01019371763
                                                           wanted to                 Date Filed: 01/16/2015           Page: 154
  10 give more money to the CBI background check so that we
  11 could make sure that we kept Colorado citizens safe, I
  12 was one of two legislators -- Representative Duran was
  13 the other legislator who had voted with me to give more
  14 money for the CBI background check.
  15            I appreciate the system we have in place,
  16 and it's valuable to me. And, unfortunately, we lost
  17 that vote because we were in the minority. But the idea
  18 that this bill assumes that we are guilty until you are
  19 proved innocent is bothering to me. It's bothering to
  20 me because, had this bill been law at the time that I
  21 inherited my uncle's guns, I couldn't have inherited his
  22 guns without a background check.
  23            I now own pieces and parts of rifles that
  24 my uncle was working on restoring. And if the bill had
  25 been in place when my uncle had passed or before he had
  0039
   1 passed, in order to get those guns restored and built, I
   2 would have to undergo a background check in order to
   3 receive those guns.
   4           And, Representative Kagan, I see you
   5 shaking your head no. And please, dear sir, I respect
   6 you; I would ask the same.
   7           So what I'm saying, Members, is that this
   8 bill is going to impact families. This bill does not
   9 allow my uncle to give me the guns in our family that is
  10 his right to give them to me. If the bill -- if I have
  11 pieces and parts of guns, and I take them in and have
  12 them built into a gun, I will have to have a background
  13 check in order to receive the guns that were made from
  14 the pieces and parts that I own.
  15            There have been a lot of conversations
  16 today about where I am on these gun bills and there's
  17 been a lot of rumors running rampant. You know, I -- I
  18 respect the people of Colorado. I want to keep them
  19 safe. But this won't keep them safe. If we can enforce
  20 the laws that we have right now, if he can fund CBI and
  21 let CBI do the background checks that we need to right
  22 now, if we can take care of the backlog of background
  23 checks that are out there sitting right now, that will
  24 help people in Colorado stay safe.
  25            With all due respect, Sponsors -- and
  0040
   1 please do not attribute any other amendment to me. With
   2 all due respect, I am -- I am not worthy of your
   3 attribution.
   4           I ask for a no vote.
   5           THE CHAIRMAN: Representative Fields.
   6           REPRESENTATIVE FIELDS: Thank you,
   7 Mr. Chair.
   8           Representative Gerou, if you look on
   9 page 5 of the bill, line 7 through 10, it identifies the
  10 operation of law where a family member can will you, and
                                                                                                    LEG HX 000629                   4544
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           Appellate
  11 you can            Case:
                pass those      14-1290
                            items           Document:
                                  down to your          01019371763
                                                family members.                      Date Filed: 01/16/2015           Page: 155
  12            THE CHAIRMAN: Representative Gardner.
  13            REPRESENTATIVE GARDNER: Thank you,
  14 Mr. Chair.
  15            Well, Representative Fields, I had not
  16 planned to address this until later, when I went through
  17 all of these particular exceptions, but since my friend
  18 Representative Gerou made such a compelling statement
  19 about how this affects family relations, the situation
  20 she described, while one that is very common in terms of
  21 family relations and how firearms may be passed from
  22 uncles to nephews and nieces, from fathers-in-law to
  23 sons-in-law -- and they might happen on the death bed;
  24 they may happen at the last illness.
  25            In fact, as a boy growing up in Texas --
  0041
   1 you say, "Well, how often does that happen?"
   2 Representative McCann just doesn't know about all these
   3 things happening. She said she didn't understand; and I
   4 believe that's true. I recognize that she doesn't
   5 understand because her cultural experience is so vastly
   6 different from mine.
   7           I know of multiple instances as I was
   8 growing up that a firearm was passed in someone's last
   9 illness. Well, that's not a transfer that occurs
  10 because of operation of law or because of the death of
  11 the person for whom the prospective transferor is an
  12 executor or administrator. That's a gift. That takes
  13 you back to the other exception. And that person is not
  14 a spouse or parent, a child, a sibling, a grandparent,
  15 or a grandchild.
  16            I will come back and discuss this later at
  17 great length, but the situation that my friend
  18 Representative Gerou describes is not, clearly not
  19 covered by that exception, by any stretch of the
  20 imagination. So I don't want the sponsor to be under
  21 some misapprehension or misguided instruction from those
  22 who are passionate about getting this into hand, that
  23 these exceptions are very broad because they are not
  24 that. They are incredibly narrow, and don't in any way
  25 cover some of the most common situations that occur in
  0042
   1 rural areas throughout Colorado and, indeed, in our
   2 suburban and other areas, and certainly in my community.
   3 So let's not be under any illusions just because it says
   4 "by operation of law." That particular, very touching,
   5 gift and understanding that representative engineer row
   6 talks about is not covered at all by this bill.
   7           THE CHAIRMAN: Representative Sonnenberg.
   8           REPRESENTATIVE SONNENBERG: Thank you,
   9 Mr. Chair.
  10            Members, as we talk about background
  11 checks and trying to keep people safe in Colorado and
  12 keep guns out of those that intend to do harm, all this
                                                                                                    LEG HX 000630                   4545
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           Appellate
  13 bill does         Case:
                 is make       14-1290 citizens
                          us law-abiding    Document:     01019371763
                                                   go through                        Date Filed: 01/16/2015           Page: 156
  14 another hoop.
  15            It doesn't stop criminals. Those that
  16 can't pass a background check, those that are felons, it
  17 doesn't stop them from breaking into my house and
  18 stealing my guns. It doesn't stop them from meeting the
  19 guy down the street here and buying the gun there,
  20 although you would like to have them, I know, do a
  21 background check, but I have a stinking suspicion that
  22 that gun sale in the alley between two hoodlums will
  23 never make it to the CBI.
  24            It comes back again to what do we want to
  25 do to law-abiding citizens, because the fact of the
  0043
   1 matter is what you're doing will have no impact on those
   2 criminals intent to do harm. We cannot keep evil people
   3 from doing evil things, unless we lock them up. And the
   4 fact of the matter is, we need to lock them up and keep
   5 them locked up. And those are the ways we make people
   6 safer in Colorado.
   7           This bill doesn't do it. This bill adds
   8 another hoop for legal citizens like me to jump through.
   9 If I want to hand my gun to my son-in-law or my
  10 neighbor, it makes me jump through that hoop. But rest
  11 assured, those intent on hurting me and hurting you or
  12 hurting our families, this bill will not deter them.
  13            I ask for your help in defeating this
  14 bill. I ask for a no vote.
  15            THE CHAIRMAN: Thank you, Representative
  16 Sonnenberg.
  17            Representative Saine.
  18            REPRESENTATIVE SAINE: Thank you,
  19 Mr. Chair.
  20            I keep hearing this figure -- and I
  21 believe Representative Fields had said something about
  22 it -- 40 percent of guns are transferred without a
  23 background check. Well, that seems like a pretty
  24 impressive figure, doesn't it? And I've heard President
  25 Obama say this several times. But if you consider that
  0044
   1 this 40 percent came from a 251-person survey, that's
   2 not a very large survey. 251 people from two decades
   3 ago. A 40 percent figure that came from a survey from
   4 two decades ago with 251 people.
   5           Well -- and if you consider, on top of
   6 that, that survey was conducted with more than
   7 three-quarters of that survey conducted before the Brady
   8 Act. Well, part of the fallacy of the survey is that
   9 the survey asked buyers if they thought they were buying
  10 firearms from licensed dealers. But all FFLs do
  11 background checks. And they thought that the only FFLs
  12 that counted were the brick and mortar stores.
  13            So out of this 251 people, if we look at
  14 two decades later, you'll find that actually 85 percent
                                                                                                    LEG HX 000631                   4546
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           Appellate
  15 of them            Case: FFLs
               went through    14-1290
                                     and thatDocument:   01019371763
                                              15 percent were                        Date Filed: 01/16/2015           Page: 157
  16 transferred without a background check.
  17            Now, we don't sell guns today like we did
  18 two decades ago. And because of increasing regulation
  19 and costs, most of these small dealers are out of
  20 business. So there are less than half of FFLs as there
  21 were small, small dealers that operated out of their
  22 home than there were two decades ago. Most of them are
  23 now brick and mortar stores.
  24            So if you consider these transfers
  25 actually occurred, the remaining 15 percent, from family
  0045
   1 members or inheritances, from a survey from two decades
   2 ago, that figure falls to 11.5 percent.
   3           I can't believe today, two decades later,
   4 that especially with less than half of the FFLs than
   5 there were two decades ago, we would have anything over
   6 single-digit figures for transfers without background
   7 checks. So I just wanted to bring this to your
   8 attention, that this is a myth, this 40 percent or
   9 anything higher than that. And, again, this is another
  10 bill that will not do anything to increase public
  11 safety, but decrease -- it will decrease public safety.
  12            I urge a no vote. Thank you.
  13            THE CHAIRMAN: Representative Holbert.
  14            REPRESENTATIVE HOLBERT: Thank you,
  15 Mr. Chairman.
  16            Members, I do rise in opposition to House
  17 Bill 1229. Probably not a great surprise, but I do see
  18 a fundamental problem with the bill. And Representative
  19 DelGrosso touched on this before.
  20            These universal background checks, one
  21 thing, will not be universal. There's a very
  22 significant class of people in our society who will not
  23 undergo background checks. And we see that time after
  24 time in places like the United Kingdom, in Australia, in
  25 Washington, D.C., in Chicago. Where people are not
  0046
   1 allowed certain types of weapons, violence tends to go
   2 up. Where guns are outlawed, only outlaws have guns.
   3 Some might say, "Oh, that's a cliché," and chuckle at
   4 that.
   5           The United Kingdom experienced a
   6 40 percent increase in gun violence after guns were
   7 outlawed in the United Kingdom. And that was
   8 confiscation. This bill is not confiscation, but I use
   9 those as examples to point to the unfortunate reality
  10 that criminals will not be prevented from obtaining
  11 guns. That won't happen. That's fiction.
  12            When this bill takes place, and when
  13 universal -- more background checks are conducted and
  14 more law-abiding citizens undergo background checks, it
  15 will continually put pressure on the market, the black
  16 market, for criminals to break into homes and steal
                                                                                                    LEG HX 000632                   4547
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  17 guns,Appellate    Case:in14-1290
            to obtain them      illegal ways,Document:    01019371763
                                              to break into gun                      Date Filed: 01/16/2015           Page: 158
  18 stores and steal guns.
  19           This won't prevent criminals from
  20 obtaining guns. That's fiction.
  21           The next step -- and this is the
  22 fundamental problem with the bill -- this is an
  23 incremental step towards registration. Some people
  24 might say, "Oh, there's no claim that registration is
  25 the next step. This bill has nothing to do with this."
  0047
   1          Functionally, that will be the next step
   2 because, as Representative DelGrosso pointed out, if I
   3 go to a private party, if I go to Representative Priola
   4 and I want to buy a gun from him, and we do one
   5 background check for one gun, and then we transfer
   6 ownership of 10 or 100 guns, there's only one background
   7 check.
   8          So until we can track, or those who would
   9 want to track every gun, this really doesn't do
  10 anything. This creates a greater need for universal
  11 registration of every firearm. And I believe there are
  12 plenty of people in this chamber who would say that's a
  13 great idea. But for those in the gallery, listening
  14 online, watching on Channel 165, this is the problem:
  15 This bill will not prevent criminals from getting guns.
  16 This bill will not prevent crime. It will encourage
  17 more criminals to come find you and your guns in your
  18 home and take them.
  19           It will encourage criminals to set up
  20 black market operations and sell guns that are not
  21 available in legal ways to people who want to use them
  22 for the worst purposes. And, ultimately, this will lead
  23 to universal registration.
  24           I ask us to please be thoughtful before we
  25 support 1229. I ask for a no vote.
  0048
   1          THE CHAIRMAN: Thank you, Representative
   2 Holbert.
   3          Representative Waller.
   4          REPRESENTATIVE WALLER: Mr. Minority
   5 Leader, thank you, Mr. Chair.
   6          Well, Members, here we are again. And I
   7 would at least like to thank the bill sponsors for
   8 actually bringing some data on this one. That's good to
   9 actually have some data on the piece of legislation as
  10 we're considering it.
  11           You know, Members, we've heard a lot of
  12 discussion. And, once again, this comes down to public
  13 safety. What we want to do -- and I know that it's in
  14 Representative McCann's heart, Representative Fields'
  15 heart, to increase -- to do what they think is right to
  16 increase public safety.
  17           Once again, here we are. These bills are
  18 going to do nothing, nothing to increase public safety.
                                                                                                    LEG HX 000633                   4548
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  19       Appellate   Case:a 14-1290
               Once again,                  Document:
                               feel-good measure  so we01019371763
                                                         can                         Date Filed: 01/16/2015           Page: 159
  20 walk out of here and say to our constituents that we've
  21 done something. Well, something is not better than
  22 nothing when something is bad.
  23           You know, Members, I'm a prosecutor in my
  24 off time. And over the years, I have charged a
  25 significant number of criminal cases. I've had the
  0049
   1 opportunity to charge all different kinds of crime,
   2 murder, all the way down to the lowest level felonies.
   3          But, Members, I'm here to tell you, a lot
   4 of times, you know, the cases that I've charged have
   5 involved violence with firearms. It happens from
   6 criminals.
   7          It is no secret that criminals use
   8 firearms to commit crimes. Well, guess what? Any time
   9 we've been able to track down where that criminal got
  10 that gun from, you know what? They didn't go to the
  11 store to buy it. Didn't go to the licensed federal
  12 firearms dealer to buy it. Most times, trading drugs
  13 for guns. That's what the criminals do. They don't
  14 even use cash most of the times. Trading something for
  15 the gun. That's how they get it. That's what they do
  16 when they commit crime.
  17           And I can tell you the last thing on their
  18 mind is: Oh, boy, I'm going to get in trouble if I
  19 don't go down to the federally licensed firearm dealer
  20 and complete this transaction with a federally licensed
  21 firearms dealer before I use this gun to go out and
  22 commit a crime. They don't think about that. That's
  23 not a consideration. When they're trading drugs for
  24 guns, that's absolutely not one of their considerations.
  25           So what does this bill do? Penalizes the
  0050
   1 law-abiding citizen. Does nothing more than that.
   2 Going to cost -- well, I guess it's not going to cost
   3 the taxpayers a significant amount of money because
   4 we're going to put that burden back on individuals to
   5 exercise their constitutional right.
   6          But don't be under the misconception that
   7 doing this is going to enhance public safety. It's not.
   8 Criminals get guns. They don't get guns legally. They
   9 get guns however they can get guns. And then they use
  10 those guns for their purpose, which is to commit a
  11 crime.
  12           Background checks don't help us accomplish
  13 that. Background checks don't get us to the point of
  14 enhancing our public safety.
  15           Now, maybe we could hear from
  16 Representative McCann or Representative Fields, because
  17 there's a lot of exceptions in this piece of
  18 legislation. It's going to grandfather all of us that
  19 have gotten firearms somewhere else down the road.
  20 Those aren't going to be tracked. Those aren't going to
                                                                                                    LEG HX 000634                   4549
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           Appellate
  21 be covered         Case:
                   in this piece14-1290      Document:
                                 of legislation. It's going01019371763
                                                            to                       Date Filed: 01/16/2015           Page: 160
  22 grandfather -- or it's going to give an exemption for
  23 transitioning between family members, and it's going to
  24 give exemptions for this and give exemptions for that.
  25            Completely unenforceable. As this bill is
  0051
   1 written under current Colorado law, this piece of
   2 legislation is just "feel good" because it's completely
   3 unenforceable.
   4           And I'd like to know: What's the plan?
   5 Now, I could potentially see an argument somebody might
   6 make to say, This works, if we create a registry. Is
   7 that what we're looking to do, Representative McCann?
   8 Do you want to create a registry for Colorado guns?
   9           Representative Fields, maybe you could
  10 answer that question for us. Is that the goal here? Do
  11 we want to create an opportunity for every Colorado
  12 citizen to have to let public officials or government
  13 officials know that they have a gun? Is that where this
  14 is headed? Because as the bill is written, completely,
  15 totally unenforceable.
  16            We need to be a no on this bill.
  17            THE CHAIRMAN: Representative McCann.
  18            REPRESENTATIVE McCANN: Thank you,
  19 Mr. Chair, and Representative -- or Majority Leader
  20 Waller --
  21            THE CHAIRMAN: That was the minority
  22 leader.
  23            REPRESENTATIVE McCANN: Minority leader.
  24 Oh, it's late in the day.
  25            Mr. Minority Leader, there is nothing in
  0052
   1 this bill that requires registration of guns. And what
   2 the bill does is simply extend the current background
   3 check requirement to people who purchase from private
   4 sales. It's not changing the procedure that CBI goes
   5 through now to check people's backgrounds. It simply
   6 adds those who purchase their guns through private
   7 sales.
   8           And I need to wait because I have some
   9 more data for you. Ready for some more data? All
  10 right.
  11            Recent state and industry data indicate
  12 that private transfers remain a large and growing share
  13 of total gun transfers. I need to wait until I have
  14 someone's attention.
  15            Okay. All right. Michigan is one of 13
  16 states that regulate private handgun transfers through a
  17 permit-to-purchase system. The Michigan State Police
  18 recently disclosed that 48 percent of handgun transfers
  19 in the state were conducted between private citizens.
  20            In 2010, the National Sports Shooting
  21 Foundation conducted an online survey of 7,000 assault
  22 weapon owners. Only 45 percent of them bought their
                                                                                                    LEG HX 000635                   4550
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  23 gunsAppellate       Case:background
             at stores where     14-1290 checks
                                              Document:    01019371763
                                                    were required.                   Date Filed: 01/16/2015           Page: 161
  24 So this is a problem nationwide and here in our state as
  25 well.
  0053
   1            We do need to make sure that everyone who
   2 purchases a gun does so with a background check, to make
   3 sure they aren't felons and they don't have domestic
   4 violence restraining orders against them.
   5            So thank you.
   6            THE CHAIRMAN: Thank you, Representative
   7 McCann.
   8            Representative Salazar.
   9            REPRESENTATIVE SALAZAR: Thank you,
  10 Mr. Chair.
  11             So I -- sitting on judiciary and listening
  12 to the ample conversation that we had, both proponents
  13 for this bill and opponents for this bill, some of you
  14 had heard me express quite directly that I had concerns
  15 for the bill. But I wanted to have the debate. And
  16 that's why I voted to have this bill move forward, so
  17 that way this committee, as a whole, could listen in on
  18 it.
  19             I had some concerns about the exceptions
  20 and about family members and things of that nature. I
  21 also had concerns about language involving hunting and
  22 fishing and trapping. But I wanted to have the debate,
  23 because this is important. And it's important because
  24 we know that 82 percent of gun owners, 74 percent of NRA
  25 members, support criminal background checks for anyone
  0054
   1 purchasing a gun. We know -- well, that in of itself
   2 right there is July 2012. They want to have this
   3 debate. But I walked away because I was still a little
   4 concerned about this bill.
   5            The next morning I come in and my aide
   6 says to me, "You've got to listen to this message." I'm
   7 going to read this message. It's right on my phone.
   8 It's right on my phone. You can go upstairs and listen
   9 to it, if you want. And this is what it says -- and
  10 I'll do my best to take out the expletives, but it's
  11 riddled with expletives, so there's going to be just a
  12 long beep.
  13             It says, Hey, Salazar, you (expletive)
  14 fascist. You want to outlaw magazines. Come and
  15 (expletive) take them. You willing to kill the
  16 (expletive) outlaw magazines, because you will
  17 (expletive) die.
  18             I started thinking to myself: Boy, I sure
  19 would want that guy to go through a universal background
  20 check.
  21             The reason why I wanted this bill to move
  22 forward wasn't just because of this. And, yes, you're
  23 right -- and this is what I said on judiciary -- I said:
  24 A criminal will do anything to try to get a gun. And
                                                                                                    LEG HX 000636                   4551
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           Appellate
  25 they'll            Case: 14-1290
             even go through                 Document:
                                 a private seller, because 01019371763
                                                           we                        Date Filed: 01/16/2015           Page: 162
  0055
   1 don't have data on how many criminals got a gun through
   2 a private seller because that data doesn't exist.
   3           And that's what this bill is about. It's
   4 created. Let's move the tool away from them. Yes, they
   5 will find a way to get a gun. They will. But this is
   6 one less option for them.
   7           I sure wish he would have left me his
   8 number because I'd like to have a conversation with him,
   9 but he didn't.
  10            Thank you. I support this bill. Let's
  11 get to it.
  12            THE CHAIRMAN: Thank you, Representative
  13 Salazar.
  14            Representative Murray.
  15            REPRESENTATIVE MURRAY: Well, thank you,
  16 Mr. Chair.
  17            How fortunate, Representative Salazar,
  18 that you asked for some data about criminals and how
  19 they bought their guns.
  20            I have here -- this is 1997, by the U.S.
  21 Justice Department. And there are a lot of small
  22 numbers here, until you get to 39.2 percent through an
  23 illegal or street source. And we would say, as
  24 Representative Waller pointed out, I guarantee you that
  25 they're not going to be volunteering for a background
  0056
   1 check during that exchange between someone that has
   2 drugs and exchanging it for a gun.
   3           39.6 percent got their guns through family
   4 or friends. So, you know, if we want to know where
   5 criminals -- and these were criminals that were in
   6 prison and used a firearm during their offense.
   7           But that was not the main thing I wanted
   8 to talk about. I wanted to chat about something that we
   9 haven't even dealt with yet. And that's the fact that
  10 this is a government mandate on retailers or private
  11 business people in order to perform an administrative
  12 process for government. So the government is telling
  13 someone in private business that even though there is no
  14 sale going on with a product that is under some control
  15 of the government in that shop, that you have to do our
  16 bookwork for us.
  17            I would expect that when we see a proposal
  18 like this, that it is a sign to some sort of a
  19 government department. This should be associated with
  20 an office, like a motor vehicle department, a real
  21 estate recording office, a health department. We should
  22 find some government office that manages this function
  23 for government because it's for government's purposes.
  24            And to say $10 is what we're going to
  25 allow them to charge -- I can guess that there are many
  0057
                                                                                                    LEG HX 000637                   4552
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   1 peopleAppellate   Case:
             that haven't   been14-1290     Document:
                                 in a mom and             01019371763
                                                pop gun shop. If                     Date Filed: 01/16/2015           Page: 163
   2 you'd been in a mom and pop gun shop on a weekend, it is
   3 a very busy place. There's a lot of guns being shown to
   4 people. They're trying to keep up with their business.
   5 They're trying to make some sales. And now we're saying
   6 that we're allowing -- or we're requiring them to accept
   7 these requests for these background checks from a line
   8 of people that are wanting to come into their business
   9 and not buying anything from them. I'm having a hard
  10 time picturing how this works.
  11            Furthermore, there are many gun shops that
  12 are out of their homes. And I've had a couple of them
  13 say, you know, I don't want people that are not wanting
  14 to buy product from me coming and knocking on my door,
  15 saying here is my $10, would you help me with my
  16 background check?
  17            So aside from the fact that I don't think
  18 that this function is going to work in the way that
  19 we're hoping for public safety, it's also a drastic
  20 imposition on a group of business owners that are being
  21 mandated by government to do -- to perform a function, a
  22 compliance function, that has nothing to do with the
  23 product that they're selling to that person.
  24            I urge a no vote on this bill.
  25            THE CHAIRMAN: Thank you, Representative
  0058
   1 Murray.
   2           Representative Saine.
   3           REPRESENTATIVE SAINE: Thank you,
   4 Mr. Chair.
   5           I had a thought considering this bill,
   6 along with the last one, but I'll stick with this bill.
   7           What Representative Waller said about this
   8 is a back door to background checks -- just imagine some
   9 of the unintended consequences of this bill, where
  10 you're stopped in a routine traffic stop or, you know,
  11 police are called to your home for some reason. They
  12 saw a gun laying out, and they asked, "Did you get a
  13 background check on that?" How much would it cost you
  14 to prove it? How much in lawyer time? Would your guns
  15 be taken from you?
  16            These are questions I'd like to ask
  17 representative Fields, if you can answer those questions
  18 for me.
  19            Sorry, I'll ask the question again.
  20            Would your guns be taken if you're stopped
  21 in a routine traffic stop? How much would it cost to
  22 prove that you did own the weapon? Is this a precursor
  23 to a background check? Those are just questions that
  24 I'd like to ask.
  25            THE CHAIRMAN: Representative Fields.
  0059
   1           REPRESENTATIVE FIELDS: Thank you,
   2 Mr. Chair, and thank you for your question.
                                                                                                    LEG HX 000638                   4553
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   3        Appellate
               So in theCase:  14-1290
                          scenario          Document:
                                   that you're describing,01019371763                Date Filed: 01/16/2015           Page: 164
   4 as long as you have already completed a background
   5 check, then there shouldn't be any problems at all with
   6 you having possession of that gun.
   7           THE CHAIRMAN: Representative Saine.
   8           REPRESENTATIVE SAINE: Thank you,
   9 Mr. Chair.
  10            Representative Fields, again, what if a
  11 background check -- how would they prove that they had
  12 owned the gun before this law had passed?
  13            THE CHAIRMAN: Representative McCann --
  14 Representative Fields.
  15            REPRESENTATIVE FIELDS: Because you would
  16 have had to already have completed a background check.
  17 If you were to have bought your gun at a gunshow or at a
  18 new Wal-Mart or something like that, a new dealer, then
  19 you would have to go through a background check already
  20 to have occupation of that gun, to have that gun in your
  21 possession.
  22            THE CHAIRMAN: Representative Saine.
  23            REPRESENTATIVE SAINE: Thank you,
  24 Mr. Chair.
  25            Representative Fields, again, I'm just
  0060
   1 confused because, again, if someone were stopped and the
   2 police asked, "Did you comply with this law after it was
   3 passed" -- I guess I'm confused -- how would the police
   4 know if you complied with the law or not?
   5           THE CHAIRMAN: Representative McCann.
   6           REPRESENTATIVE McCANN: Thank you and
   7 thank you, Representative Saine.
   8           It's the same way they do now. If someone
   9 is stopped with a gun in their car, the police contact
  10 CBI, and there is a record of whether or not that person
  11 has a legitimate background check on record. So the law
  12 enforcement officer would have the responsibility of
  13 determining what your situation was.
  14            So it doesn't change what we already do.
  15 It simply adds additional people to what we already do.
  16 It's the situation we have currently.
  17            REPRESENTATIVE SAINE: Mr. Chairman.
  18            THE CHAIRMAN: Representative Saine.
  19            REPRESENTATIVE SAINE: I guess I'm still
  20 confused. I'm sorry. Maybe I'm not understanding.
  21            How would they determine if somebody
  22 willfully is not complying with the law or not? Because
  23 they could say, "Well, Mr. Officer, I have obtained this
  24 gun before this law has passed; therefore, I did not
  25 need a background check."
  0061
   1           THE CHAIRMAN: Representative McCann.
   2           REPRESENTATIVE McCANN: They would handle
   3 it just as they handle it now.
   4           REPRESENTATIVE SAINE: Which is . . .
                                                                                                    LEG HX 000639                   4554
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   5       Appellate   Case: 14-1290
               REPRESENTATIVE              Document:
                                       McCANN:           01019371763
                                                    The law                          Date Filed: 01/16/2015           Page: 165
   6 enforcement officer has the responsibility to find out
   7 if you have a legal possession of your gun.
   8           THE CHAIRMAN: Representative Saine.
   9           REPRESENTATIVE McCANN: And if you're
  10 charged with an offense, you have the ability to come to
  11 court and say, "I legally possess this weapon." It's --
  12 we're not changing anything.
  13           REPRESENTATIVE SAINE: Mr. Chair.
  14           THE CHAIRMAN: Representative Saine.
  15           REPRESENTATIVE SAINE: I'm sorry, I'm
  16 still further confused. I just don't see how this law
  17 is enforceable. Who's determining if they've complied
  18 with the law or not? If the person says, "I obtained
  19 this weapon before this law passed," are you allowing
  20 the police officer to make that determination or the
  21 Court?
  22           THE CHAIRMAN: Representative McCann.
  23           REPRESENTATIVE McCANN: Thank you.
  24           Representative Saine, I don't really have
  25 any further -- I think I've answered your questions
  0062
   1 several times. And I'm sorry that you're not
   2 understanding it, but right now, an officer stops
   3 someone for probable cause for some offense. And if
   4 there's a gun in plain view, the officer has the right
   5 to determine whether or not you lawfully possess the
   6 weapon. And that would be the same if this bill passes.
   7           REPRESENTATIVE SAINE: Okay. So the --
   8           THE CHAIRMAN: Representative Saine.
   9           REPRESENTATIVE SAINE: Thank you,
  10 Mr. Chair.
  11           So the officer would determine whether to
  12 take your gun or not at that point in time?
  13           THE CHAIRMAN: Representative McCann.
  14           REPRESENTATIVE McCANN: This is up to the
  15 officer. I'm sorry if you don't understand it, but it's
  16 what we do now. I can't -- I have no further answer for
  17 you.
  18           REPRESENTATIVE SAINE: Okay. Thank you,
  19 Mr. Chair. Having not personally been in that
  20 situation, that's why I'm asking. Thank you.
  21           THE CHAIRMAN: Representative Wright.
  22           REPRESENTATIVE WRIGHT: Thank you,
  23 Mr. Chair.
  24           Well, since we are talking about facts and
  25 statistics on this bill today, I thought that I would
  0063
   1 point out some statistics from the Bureau of Alcohol,
   2 Tobacco and Firearms. And I think this is important and
   3 pertinent to this argument.
   4           The BATF reported that 37 percent of armed
   5 career criminals obtained firearms from street sales,
   6 34 percent from criminal acts and associates, 8 percent
                                                                                                    LEG HX 000640                   4555
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   7 from Appellate    Case:
           relatives, and  only14-1290      Document:
                                7 percent from  dealers. 01019371763                 Date Filed: 01/16/2015           Page: 166
   8 6 percent from flea markets and gunshows.
   9           Now, this was in 2001. So as you'll
  10 notice, we see 6 percent from flea markets and gunshows,
  11 and only 7 percent from dealers, both of which are
  12 requiring background checks. So what you see here is a
  13 shift away from methods where background checks are
  14 performed. The criminals always go for the illegal
  15 method, the method by which they can hide. And that's
  16 what we're going to see here.
  17           I don't understand, and I don't think I
  18 ever will, how this bill makes our community safer
  19 without some method of enforcement. Are we -- what is
  20 our next step?
  21           Sitting on judiciary, we heard a police
  22 chief testify that this was a slow, methodical,
  23 systematic approach toward limiting our Second Amendment
  24 rights. Slow, systematic, methodical approach. And
  25 that is the only way I see any form of enforcement being
  0064
   1 accomplished here, is if there -- the next step is
   2 registry. The next step is a gun registry. And I
   3 believe that my constituents certainly, and I believe
   4 the people of Colorado, are strongly against a registry.
   5           So I guess I would ask you: What's our
   6 next step? When we hear our own chiefs of police
   7 admitting that this is unenforceable without a next
   8 step, what is that next step?
   9           Now, we talk about a loophole in the law.
  10 And, apparently, our predecessors saw one of those
  11 loopholes as being gunshows. Now, when we closed the
  12 so-called gunshow loophole in 2000, for the next four
  13 years between 2000 and 2004, we saw a systematic murder
  14 rate increase in the state of Colorado from 3.1 to 3.6,
  15 to 4.0, to 4.1, to 4.4, year over year, an increase to
  16 the same extent in violent crime.
  17           So tell me where are the facts -- how are
  18 the facts there supporting that this loophole is somehow
  19 a real problem?
  20           Comparing to other states -- let's talk
  21 about some more facts and statistics -- HB 1229 is
  22 similar to the background check laws that are currently
  23 in place for private transfers in the state of
  24 California. California has failed to show conclusively
  25 any benefit to infringing upon the rights of law-abiding
  0065
   1 citizens.
   2           Now, comparing to Colorado, California and
   3 the national average as it relates to violent crime and
   4 murder rates from 1960 through 2011 illustrates one main
   5 overriding trend. Crime and murder in the last two
   6 decades have continued to decline at a similar rate in
   7 California as in Colorado, and nationally on average,
   8 with California consistently maintaining a higher
                                                                                                    LEG HX 000641                   4556
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           Appellate
   9 average  than bothCase:   14-1290
                         Colorado           Document:
                                    and nationally.  And01019371763                  Date Filed: 01/16/2015           Page: 167
  10 California already has this law in place.
  11           So I, too -- I can't overemphasize -- and
  12 I don't want this to be lost on the fact that I'm
  13 arguing against this bill -- that I care about public
  14 safety. I've committed the last six years of my life to
  15 public safety. But when I see fellow law men on both
  16 sides of this issue, I have to question whether we're
  17 moving in the right direction.
  18           We heard testimony in judiciary from
  19 county sheriffs from across the state, many of them in
  20 rural areas like mine, who are opposed to this bill and
  21 who see no benefit to public safety.
  22           And I guess let's cut to the chase here,
  23 since we heard a chief of police himself say that this
  24 is a systematic approach, that this law itself is not
  25 perfect and it will take more strict laws to be passed
  0066
   1 to reach a solution for public safety in the state of
   2 Colorado -- this is about gun control. And it will take
   3 a registry to enforce this law.
   4          So let's talk about the states -- or
   5 countries, for that matter -- that have established some
   6 of the most strict gun control laws in the world. Let's
   7 look at England.
   8          In 1997, Great Britain established and
   9 adopted one of the most stringent gun control measures
  10 in the world, that made ownership of almost all pistols
  11 and semiautomatic rifles illegal.
  12           Now, since the passage of that law, crimes
  13 involving firearms have increased from 13,874 in 1997
  14 to, in 2006, 21,521. That's a 55 percent increase in
  15 firearms-related crimes after the passage of this total
  16 gun control law.
  17           This is enforceable, ladies and gentlemen.
  18 These were guns that were rounded up from the
  19 individuals, the citizens of this country, taken
  20 forcibly and destroyed, and their violent gun crime rate
  21 went up.
  22           Once again, data. So we see data,
  23 apparently, on both sides of this issue. I'm not
  24 compelled that this is a solution to our public safety
  25 needs in the state of Colorado.
  0067
   1          And then the crescendo here to the people
   2 of Colorado is the fact that we just passed a law
   3 moments ago, on second reading, that essentially drove
   4 out a $46 million business -- my understanding is
   5 they're packing their bags -- 600 jobs lost, $46 million
   6 a year to the State of Colorado --
   7          THE CHAIRMAN: Representative Wright,
   8 would you deal with the background check bill, please.
   9          REPRESENTATIVE WRIGHT: Yes, thank you,
  10 Mr. Chair.
                                                                                                    LEG HX 000642                   4557
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021513.txt[11/12/2013 10:57:45 AM]
  11       Appellate   Case:
                House Bill     14-1290
                             1229             Document:
                                   will cost the people of 01019371763               Date Filed: 01/16/2015           Page: 168
  12 Colorado $1.6 million in fiscal year 2013 through 2014
  13 and another $1.6 million in 2014, 2015. That's
  14 $3.2 million over the next two fiscal years.
  15            Oh, that's right, back to the bill very
  16 quickly: But we have a bill coming up after this one
  17 that's shifting those costs to the individuals who are
  18 buying the firearms. How is that constitutional?
  19 Regardless, these costs are falling on the people of the
  20 state of Colorado.
  21            We're creating 25 new full-time positions
  22 just this year in the CBI and another 30 the next fiscal
  23 year. We're growing a state bureaucracy that has proven
  24 to me in testimony and committee that they are already
  25 experiencing problems in their management practices when
  0068
   1 I hear facts like these from the CBI director.
   2           56 percent of all appeals are sustained.
   3 56 percent. That's more than half of the people that
   4 appeal their purchase is legitimate, and that they can
   5 actually take possession of a weapon, are first denied.
   6 These individuals are forced to appeal, go through a
   7 waiting process, an overly bureaucratic waiting process.
   8 And then, oh, you know what? You're right, you can have
   9 your weapon; we were wrong.
  10            How is that right? And if you think that
  11 this is not going to increase, this statistic is not
  12 going to increase with requiring the CBI to perform more
  13 background checks, I think we're mistaken.
  14            So I ask you this: How is this good
  15 public policy? How is this good public policy? The CBI
  16 director then told me: Oh, I forgot, just to make sure
  17 you're clear, this is 56 percent of only the appeals
  18 that are being overturned, as if I'm supposed to rest
  19 easy with that statistic. I would argue that that
  20 makes that statistic likely worse because there are
  21 people that are being denied these transfers that may
  22 just give up and say, "You know what? I'm not even
  23 going to bother," that may legitimately be able to take
  24 possession of a firearm.
  25            So we already have problems within the
  0069
   1 CBI. We heard testimony from an individual named James
   2 Winchester, who himself worked on the first InstaCheck
   3 system as an attorney. He helped establish this policy
   4 for the state of Colorado, who testified to us that CBI
   5 is now well -- operating well beyond its legal scope and
   6 has become overly bureaucratic.
   7           So we're asking an agency of state
   8 government that is already experiencing problems to
   9 increase its burden of checks by, some say, 30 --
  10 somewhere between 30 and 40 percent on private
  11 transfers. This is -- ladies and gentlemen, this is
  12 just poor public policy for the state of Colorado from a
                                                                                                    LEG HX 000643                   4558
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            Appellate
  13 financial    sense, Case:
                         from an14-1290        Document:
                                  economic sense,    from a01019371763
                                                            revenue                  Date Filed: 01/16/2015           Page: 169
  14 sense to the state, from a constitutional sense.
  15             I just don't buy it. I rise as a no vote.
  16 Big surprise.
  17             THE CHAIRMAN: Thank you, Representative
  18 Wright.
  19             Representative Priola.
  20             REPRESENTATIVE PRIOLA: Thank you,
  21 Mr. Chair.
  22             Representative Court, it's been a while
  23 since you brought up those statistics for Michigan, but,
  24 you know, I'm glad you did because I'm going to plan my
  25 next trip to Detroit. I haven't read that much about
  0070
   1 it, but it seems like a wonderful place to visit because
   2 apparently they have solved all the ills of the world.
   3            I did have -- reading through the bill,
   4 came to mind, it looks like the penalty is a
   5 misdemeanor. But where are the bill sponsors?
   6            Representative Fields. I don't see
   7 Representative Fields.
   8            No one is here. The bill sponsors are not
   9 here. Where'd they go? Don't they know this is what
  10 we're supposed to do, is discuss legislation?
  11             THE CHAIRMAN: To the bill, Representative
  12 Priola.
  13             REPRESENTATIVE PRIOLA: I have a question
  14 for the sponsors, and neither of the sponsors -- you
  15 would assume that if there are two sponsors on a house
  16 bill, that at least one of them would be in the well to
  17 answer questions concerning the bill. I don't think --
  18 the chair cannot answer questions to the bill. Can the
  19 chair? I don't think that's in the rules.
  20             I do have a question to the bill, but I
  21 would at least like to have one of the sponsors here,
  22 but apparently the sponsors have lost interest in their
  23 own bill. Maybe that's a good sign. Maybe that's a
  24 good sign. They finally realized, you know, this really
  25 isn't good policy of the state of Colorado and only
  0071
   1 law-abiding citizens are going to follow this.
   2            Well, I'll throw my question out there and
   3 maybe they'll show up soon.
   4            Say you have a situation of someone is
   5 trading drugs for a stolen gun. Which person is charged
   6 with the misdemeanor for not doing a background check?
   7 Is it the person that is offering the payment or the
   8 person selling the stolen gun? It's not clear in this
   9 bill if both of them or one of them can be charged with
  10 that misdemeanor.
  11             So I really would like either of the bill
  12 sponsors to be down here to answer that question. But
  13 maybe someone could inform them -- maybe they're
  14 listening someplace else to this debate and could answer
                                                                                                    LEG HX 000644                   4559
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021513.txt[11/12/2013 10:57:45 AM]
           Appellate Case: 14-1290 Document: 01019371763
  15 that question.                                                                  Date Filed: 01/16/2015           Page: 170
  16            Also, on page 3, line 20, I have a
  17 question concerning recordkeeping, but, again, neither
  18 of the bill sponsors are here in the chambers to answer
  19 the question. So maybe I'll just have to come back up
  20 when they're down here to answer that question.
  21            And then I had a further question on the
  22 definition of Class 1 misdemeanor, but I'll just wait.
  23            THE CHAIRMAN: Thank you, Representative
  24 Priola.
  25            Representative Levy.
  0072
   1           REPRESENTATIVE LEVY: Thank you,
   2 Mr. Chair.
   3           I really just have one -- one thing to
   4 say, and it harkens back to our other bill. You know --
   5 what it goes to is: What is the solution to this
   6 problem? When I listen to the national debate about gun
   7 violence and gun safety, what I hear from the
   8 proponents, the so-called gun rights people, is that we
   9 have to do more to keep guns out of the hands of
  10 criminals. That's the problem; it's criminals.
  11            So Representative McCann and
  12 Representative Fields propose a bill, the only legal
  13 tool I think we really have to keep guns out of the
  14 hands of criminals; and the answer from this side of the
  15 aisle is no.
  16            And I guess what I'm having a problem with
  17 is, if we -- if there are too many gun deaths -- and I
  18 hope there isn't any dispute that 30,000 gun deaths a
  19 year is a problem -- if there are too many gun deaths,
  20 and the assertion is that the problem is not law-abiding
  21 people, the problem is criminals, and they have proposed
  22 using the tools at our disposal to keep guns out of the
  23 hands of criminals, and this is not the solution, and
  24 you're going to spend the next several hours telling us
  25 why it's not the solution -- I am still waiting for
  0073
   1 something more constructive, more helpful than what
   2 we've seen so far this session, which is let's have more
   3 guns.
   4           This is a good bill. I urge a yes vote.
   5           THE CHAIRMAN: Thank you, Representative
   6 Levy.
   7           Representative Lawrence.
   8           REPRESENTATIVE LAWRENCE: Thank you,
   9 Mr. Chair.
  10            One of the issues that I have with this
  11 bill is that, per CBI policy, once they've approved a
  12 background check, the name and information of that
  13 person is deleted from their records within 24 hours.
  14 So should there be a stop, the police don't have any
  15 information to go back to, unless this is a registration
  16 bill, which my understanding is that it is not.
                                                                                                    LEG HX 000645                   4560
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021513.txt[11/12/2013 10:57:45 AM]
  17       Appellate    Case:
                So, really, the 14-1290
                                police don't Document:
                                              have       01019371763                 Date Filed: 01/16/2015           Page: 171
  18 information saying that they were successful going
  19 through a background check. They would only have
  20 information if the gun had been reported stolen, or if
  21 that person had failed a background check.
  22            So I think parts of this bill have been
  23 misrepresented. And maybe there's a misunderstanding on
  24 the policy of the CBI, but my understanding, after being
  25 briefed by Director Sloan, was that any approved
  0074
   1 background check, all data is deleted from their
   2 database within 24 hours.
   3           I see this as a fatal flaw for this bill
   4 and enforcement, and I would ask for a no vote.
   5           THE CHAIRMAN: Thank you, Representative
   6 Lawrence.
   7           Representative Coram.
   8           REPRESENTATIVE CORAM: Thank you very
   9 much, Mr. Chairman.
  10            And perhaps the bill sponsor could answer
  11 this because I do not believe that all states have a
  12 background check in these situations. Is that correct?
  13            THE CHAIRMAN: Representative Fields.
  14            REPRESENTATIVE FIELDS: Thank you,
  15 Mr. Chair.
  16            That's correct, not all states require a
  17 background check.
  18            THE CHAIRMAN: Representative Coram.
  19            REPRESENTATIVE CORAM: Thank you very
  20 much, Mr. Chairman.
  21            Okay. This creates a bit of a problem for
  22 me because I go to another state, I buy a weapon, I
  23 bring it back across the Colorado line. I might have a
  24 heavy foot. I'm stopped. It's laying in the seat. How
  25 do I prove to that officer that I have a right to have
  0075
   1 this weapon in my possession? Is that possible without
   2 a registry?
   3           Could I get the sponsor to respond to
   4 that, please?
   5           THE CHAIRMAN: Is there further discussion
   6 on House Bill 1229? Representative Coram.
   7           REPRESENTATIVE CORAM: Thank you,
   8 Mr. Chairman.
   9           I didn't hear an answer to my question.
  10 Am I entitled to an answer, or is that out of order?
  11            THE CHAIRMAN: Is there any further
  12 discussion on House Bill 1229?
  13            Representative Stephens.
  14            REPRESENTATIVE STEPHENS: Thank you,
  15 Mr. Chair. Thank you, Members.
  16            In reviewing this bill and the fiscal
  17 note, I was -- I was intrigued because I think that we
  18 are going to see this bill cost Colorado -- even though
                                                                                                    LEG HX 000646                   4561
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021513.txt[11/12/2013 10:57:45 AM]
  19 we'reAppellate     Case:
             told that we have14-1290
                               a semi, kindDocument:      01019371763
                                             of, fiscal answer                       Date Filed: 01/16/2015           Page: 172
  20 to it in terms of attacks on it, on a background check
  21 or fee on a background check, it says, This fiscal note
  22 should be considered preliminary. And I know, as it
  23 went through appropriations, that we were looking at the
  24 basic -- at full-time positions, 24 and 29,
  25 respectively, and 14 and 15.
  0076
   1           But I was very struck as I was going
   2 through the fiscal note about the departmental
   3 differences, because not all departments have weighed
   4 in. So we really don't know what this bill is going to
   5 cost the general fund. And the Department of Public
   6 Safety made several assumptions concerning the number of
   7 private gun transfer background checks. And what struck
   8 me is that now they're saying: Well, you know, we may
   9 have to modernize our system because we're going to have
  10 to know the court record search process. We may have to
  11 line up and we may have to modernize that.
  12            And the bill would require $3,471,000 from
  13 general fund and 49 full-time people and 56 full time,
  14 if we have to go in that direction.
  15            And so my question, I guess, was: Okay,
  16 well, why would you put this in? I mean, we don't
  17 really know. And I always look at this as kind of a
  18 cover yourself because you can pretty much be assured
  19 it's coming. Pretty much be assured that this bill is
  20 going to cost us, I think, a whole lot more than what is
  21 said. It's going to cost a whole lot more than the fee
  22 or tax that are going to be put on law-abiding citizens
  23 to have this done, to try to pay for their right to
  24 Second Amendment freedom.
  25            And the other thing that strikes me is
  0077
   1 that, for so many years, we have tried to deal with the
   2 drunk-driving issue, tried to get the penalties up. I
   3 know Representative Waller has tried. And yet here,
   4 here in revenue and fines, you could have up to six to
   5 18 months imprisonment in a county jail. So this is an
   6 unfunded mandate on our counties. Our counties are
   7 going to be on the hook for this, fines, imprisonment, a
   8 fine of $500 to $5,000 or both.
   9           Folks, our counties are so burdened
  10 enough. The rights of law-abiding citizens to be able
  11 to hold and carry and have their guns and transfer as
  12 they see fit -- to me this is crazy. And I'm telling
  13 you, when anyone puts that in that fiscal and they say,
  14 "Oh, just by the way, we may have to modernize this
  15 system; and, by the way, we may need about 49 or 50 more
  16 full-time employees of the state to do it," I take note,
  17 because you can be sure -- maybe not today, but next
  18 year, we'll be hearing that, indeed, they need to
  19 modernize the system and they'll need a number of people
  20 to be able to do this.
                                                                                                    LEG HX 000647                   4562
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021513.txt[11/12/2013 10:57:45 AM]
  21       Appellate    Case:
                Folks, this bill14-1290      Document:
                                 is fraught with some 01019371763                    Date Filed: 01/16/2015           Page: 173
  22 problems. I urge a no vote.
  23            THE CHAIRMAN: Thank you, Representative
  24 Stephens.
  25            Representative Humphrey -- Wilson. I
  0078
   1 apologize. Representative Wilson.
   2           REPRESENTATIVE WILSON: Thank you,
   3 Mr. Chair.
   4           I was up here earlier talking about I
   5 really didn't have experience doing this, but I'm
   6 gaining a lot of experience, I see.
   7           I'm very much concerned, and I need to ask
   8 some questions, because all the people that have been
   9 talking about the people that have high-capacity
  10 magazines, that have semiautomatics, that have shotguns,
  11 that would be me. And not only do I need answers for
  12 myself, but I need it for my constituents. And I think
  13 we owe it to our constituents to be able to tell them
  14 how this might be enforced.
  15            For those of you who have seen me in
  16 committee, you know that I played a game of "just
  17 suppose." So I'd like to play that game of "just
  18 suppose," if I could.
  19            If I've been to the Chaffee County
  20 shooting range with my family and I'm stopped for
  21 speeding like Representative Coram indicated, and there
  22 are six weapons in the vehicle, how do I prove that
  23 those weapons were legal before this bill? How do we
  24 answer that? Representative McCann, Representative
  25 Fields?
  0079
   1           If there is no answer, I have to answer my
   2 constituents that we have no way of enforcing this,
   3 therefore, good luck. How do we enforce it?
   4           THE CHAIRMAN: Representative McCann.
   5           REPRESENTATIVE McCANN: Thank you,
   6 Representative Wilson. I think I've already answered
   7 that question several times, but thank you.
   8           REPRESENTATIVE WILSON: Well,
   9 Representative McCann -- oh, Mr. Chair.
  10            THE CHAIRMAN: Representative Wilson.
  11            REPRESENTATIVE WILSON: The response was
  12 that it's up to the officer. So the officer says,
  13 "Mr. Wilson, do you have evidence?" And I say, "I don't
  14 need it." If the burden of proof lies on me, then
  15 that's against my constitutional right of being assumed
  16 innocent until proven guilty, and I think that that's
  17 wrong.
  18            The other piece to that would be the only
  19 way to prove that is with registration. I know that
  20 some of the conversation has moved towards: Well, this
  21 really isn't registration. I would ask the bill
  22 sponsors: What all information is required on the 4473
                                                                                                    LEG HX 000648                   4563
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  23 formAppellate
            at the timeCase:  14-1290
                        that you have to passDocument:    01019371763
                                                 the background                      Date Filed: 01/16/2015           Page: 174
  24 check?
  25            REPRESENTATIVE McCANN: Representative
  0080
   1 Wilson, we already have a background requirement in our
   2 law. And this will continue to be enforced, just as it
   3 is now, by law enforcement. I don't have any further
   4 answer. It will be enforced as it currently is by law
   5 enforcement. Thank you.
   6           THE CHAIRMAN: Thank you, Representative
   7 McCann.
   8           Representative Wilson.
   9           REPRESENTATIVE WILSON: Thank you,
  10 Mr. Chair.
  11            The question was actually: What's on the
  12 form? The form that's required at that point is full
  13 information, name, address, height, weight, date of
  14 birth, type of firearm, serial number, make, model, and
  15 caliber. That information is kept on file for 20 years
  16 by the FFL, and the duty-bound book that you're required
  17 to keep is then turned over to the ATF. So there is a
  18 registration of every firearm.
  19            And just to give us a little bit more to
  20 discuss at a later time, the FFL 4473 prohibits anyone
  21 who uses marijuana from owning a firearm. That might be
  22 an interesting debate coming up later in this house.
  23            Thank you.
  24            THE CHAIRMAN: Thank you, Representative
  25 Wilson.
  0081
   1           Representative Gardner.
   2           REPRESENTATIVE GARDNER: Thank you,
   3 Mr. Chair.
   4           Well, as I think everyone in this body
   5 knows, I was admonished yesterday in appropriations that
   6 there would be plenty of time for my questions on the
   7 floor of the house. Now, I'm not at all sure that I can
   8 get my questions answered here because the witnesses
   9 from the executive branch aren't here on the floor of
  10 the house with me to answer those questions, but I
  11 suppose, being a person who accepts admonishment so
  12 well, I will make that attempt and hope that the
  13 sponsors and others will address my questions and
  14 concerns about this bill.
  15            And so -- I know that all of you have read
  16 it carefully. Have every confidence that you have. And
  17 you have your bill with you. I would just ask that if
  18 you're interested in following along in this discussion,
  19 that you turn to page 3 of the bill.
  20            And one of the first questions I have, in
  21 no particular order of the things that have come up
  22 during the debate here, is something that I asked of
  23 Director Sloan of the CBI yesterday. And the origin of
  24 that question really kind of came from my friend
                                                                                                    LEG HX 000649                   4564
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  25 Representative     Case: 14-1290       Document:
                               who was talking           01019371763
                                                 about having been                   Date Filed: 01/16/2015           Page: 175
  0082
   1 given various pieces and parts and having received those
   2 as a gift, and her assumption or belief that she would
   3 need to have a background check to receive those, or
   4 whether she would or not. And it raises the question
   5 of: At what point does something become a firearm?
   6           And, actually, I've had an opportunity
   7 since yesterday to take a look at that issue, but I
   8 don't have a good answer. In fact, it's sort of
   9 astounding to me that as much time and as much energy
  10 and effort and discussion and in anticipation that there
  11 would be many of us who were opposed to this that I
  12 don't -- I don't know that there's any good guidance on
  13 this. In fact, I asked Director Sloan yesterday. And
  14 this is the director of the organization that will be
  15 responsible for background checks and all of this
  16 program. I laid out this hypothetical, although I was
  17 interrupted a couple of times because there were those
  18 who, I guess -- I don't know -- thought that somehow
  19 laying out what was a serious set of facts not an
  20 appropriate way to approach that.
  21            The question I put to Director Sloan was:
  22 I've got pieces of a firearm. I've got a firing
  23 mechanism. I've got a barrel. I've got a stock. I've
  24 got a trigger. I want to hand those over to somebody.
  25 Or another possibility is I take a weapon apart. There
  0083
   1 are people in this room, I know, who know how to do
   2 that, as do I. And pieces of it are transferred. And
   3 so a question that I would like to ask the sponsors is:
   4 What is a firearm and when does a set of parts become a
   5 firearm?
   6           Mr. Chairman, may I continue?
   7           THE CHAIRMAN: You may, Representative
   8 Gardner.
   9           REPRESENTATIVE GARDNER: I -- I am met
  10 with silence. I am met with silence, members of this
  11 body, because I was told yesterday in committee I would
  12 have plenty of time and I would receive my answers. But
  13 I am met with silence when I ask the question that I
  14 asked in committee. When will a person have a set of
  15 parts constructed -- because this is a serious question.
  16            You say, oh, Representative Gardner,
  17 you're just making things up. No, this is a serious
  18 question. I have amateur gunsmiths. I have hobbyists.
  19 I have people who want to know: When will I be liable
  20 for a crime? And yet I am met with silence.
  21            Is there no answer to when is a firearm a
  22 firearm? In fact, there's no answer to what is a
  23 firearm, in this bill?
  24            In federal law, kind of ironically under
  25 the federal definition, a firearm doesn't actually
  0084
                                                                                                    LEG HX 000650                   4565
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           Appellate
   1 include           Case:
              a revolver       14-1290
                          or pistol. That's aDocument:
                                              different 01019371763                  Date Filed: 01/16/2015           Page: 176
   2 definition.
   3           And there is a definition of a firearm
   4 over in another title and article in a Colorado Revised
   5 Statute. But it isn't clear at all to me that that's
   6 what applies here.
   7           So what is a firearm and when are a set of
   8 components a firearm? Perhaps I do have an answer now.
   9           Finally, Mr. Chair, if I have to
  10 ultimately raise my voice, as regrettably -- as
  11 regrettably as I have to do so, maybe perhaps there is
  12 an answer to when is a firearm a firearm?
  13            THE CHAIRMAN: Representative Fields.
  14            REPRESENTATIVE FIELDS: Mr. Chair, thank
  15 you. And, Representative Gardner, it's not necessary
  16 for you to raise your voice just to get a response to
  17 your question.
  18            But when is a firearm a firearm? I'm
  19 thinking if you have bits and pieces of equipment that's
  20 not assembled, then it's not considered a firearm. So
  21 if you can't operate and use the firearm, then I would
  22 say it's not one. If you have bits and pieces, I would
  23 say it's not a legitimate firearm. But I'm going to
  24 look in the statutes to see if I can find the definition
  25 of a firearm, but, in my belief, if you have bits and
  0085
   1 pieces and it's not assembled, and it's not functional
   2 and it's not operational, then it's not considered a
   3 firearm.
   4           THE CHAIRMAN: Representative LaBouda.
   5           REPRESENTATIVE LaBOUDA: Thank you,
   6 Mr. Chair.
   7           Representative Gardner, I was in the
   8 committee yesterday, and I recall when Director Bob
   9 Sloan, who's head of the Colorado Bureau of
  10 Investigation, came back to answer that question. And
  11 you posed it to him. And he said: No, it is not a
  12 firearm if it's in pieces. He answered that very
  13 clearly.
  14            THE CHAIRMAN: Representative Gardner.
  15            REPRESENTATIVE GARDNER: Representative
  16 LaBouda, I would admonish you -- perhaps he answered
  17 that off the record to you, but I would admonish you and
  18 ask you to listen to the record. What Representative
  19 (sic) Sloan said to me is: I don't know, Representative
  20 Gardner. I'm not an armorer.
  21            But I am pleased to hear Representative
  22 Fields' answer when a firearm is not a firearm. So
  23 that, if I understand it clearly, if you want to
  24 transfer -- if you want to break your weapon down, you
  25 want to remove the firing mechanism and you want -- you
  0086
   1 want to transfer it, that will be a pretty
   2 straightforward thing. You can take out the cylinder.
                                                                                                    LEG HX 000651                   4566
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           Appellate
   3 You can   take outCase:
                         -- you14-1290
                                can take theDocument:    01019371763
                                             barrel off. It                          Date Filed: 01/16/2015           Page: 177
   4 will no longer be a firearm. And I'm pleased to know
   5 that.
   6           Let me move on. Another concern I have
   7 about this bill is one that was raised by the many, many
   8 federal firearms licensed dealers in the state. Some of
   9 these people have large outlets, and many of them have a
  10 license and they work out of their home. They're very
  11 small dealers. They want to be able to deal in firearms
  12 and they want to do so legitimately. And it's a side
  13 business for them, or even a hobby, but they have an FFL
  14 as a hobby.
  15           Now, if you look at this bill, what you
  16 see is that we're going to expect all of those dealers
  17 to do background checks and go through all of this
  18 process with all of these private transfers for $10.
  19 We're going to expect them to engage in all of that
  20 activity.
  21           Now, we're going to hear another bill
  22 later that's sort of part and parcel to this bill. And
  23 I don't want to debate the merits of that bill at the
  24 moment, but we're going to hear a bill about -- you
  25 know, paying the State for its cost of doing this, but
  0087
   1 we are only going to allow the private FFL and the
   2 transferor to collect $10. Now, that's what they're
   3 getting now. But, you know, if you're doing a transfer
   4 and you're doing a sale, or you're running a gunshow and
   5 you're engaged in a sale, $10 may just kind of be the
   6 cost of doing business. But if you're doing private
   7 transfers, that may not be what you want to do.
   8           Now, I was concerned, and I asked during
   9 judiciary committee about this. And, in fact, I tried
  10 to address the concern, because the concern is this:
  11 That FFLs operating in this state, even at the smallest
  12 level, will be concerned that they have to do this when
  13 requested. And you know what? The people who came to
  14 me and asked me to carry that amendment, I kind of -- I
  15 was kind of inclined to say: Well, that seems rather
  16 unnecessary. Surely that wouldn't be what the
  17 understanding was. But if you're -- if you're concerned
  18 about that, I guess I kind of understand.
  19           And so I carried an amendment during
  20 judiciary committee that did exactly that, that said you
  21 don't have to do this. If you're an FFL in Colorado,
  22 you do not have to do a private transfer. You can turn
  23 it away. You don't have to accommodate people.
  24           And you know what happened is the
  25 discussion of that amendment -- there were comments from
  0088
   1 those on the committee who gave me pause because it
   2 began to appear as if what really needed to happen was
   3 we needed to have this amendment. There were those on
   4 the committee whose comments and remarks made me think
                                                                                                    LEG HX 000652                   4567
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            Appellate
   5 that what  an FFLCase:    14-1290
                         in Colorado        Document:
                                      will be             01019371763
                                              after this bill is                     Date Filed: 01/16/2015           Page: 178
   6 like a public utility. They'll have to service
   7 everybody just by their existence here, and they will
   8 have to do so for $10.
   9           Now, when I offered the amendment,
  10 everybody said: No, no, no, unnecessary, we don't need
  11 to do that. But the remarks by members of the committee
  12 were of the genre of: Well, you know what? If we have
  13 all these people out there and we need to do this, maybe
  14 they will have to do it.
  15            So for that reason, Members, I come to you
  16 once again and I offer L.009 and I move L.009 and ask
  17 that it be displayed.
  18            THE CHAIRMAN: The amendment is properly
  19 displayed to the amendment.
  20            Representative Gardner.
  21            REPRESENTATIVE GARDNER: Yes, thank you,
  22 Members.
  23            Members, this is an amendment that very
  24 clearly just says that nothing in this section shall be
  25 construed to require a licensed gun dealer to obtain a
  0089
   1 background check upon their request of a prospective
   2 firearm transferor.
   3           You know, I hope people will do this, but
   4 I don't think that we should impose the duty and the
   5 obligation upon small FFLs to do this, people who work
   6 out of their homes, people who have a small shop where
   7 it's not economic for them to do it. And I wouldn't
   8 have thought that this amendment would be necessary to
   9 say what ought to be the law, but what I see is that
  10 this has become so regulated that we better make this
  11 clear, because the legislative record so far makes it
  12 pretty unclear.
  13            And so for that reason, I ask for a very
  14 straightforward amendment. A very straightforward
  15 provision in this statute is that small gun dealer does
  16 not have to do private transfers. Nothing can make them
  17 do it. If they want to do it for $10, they can do it
  18 for $10. If they want to do it for free, they can do it
  19 for free, but they do not have to do it.
  20            And I ask for an aye vote.
  21            THE CHAIRMAN: Representative Fields.
  22            REPRESENTATIVE FIELDS: Thank you,
  23 Mr. Chair, and thank you, Representative Gardner, for
  24 bringing this amendment back up again, but just like in
  25 committee, I did not support the amendment. So today on
  0090
   1 the floor, I cannot support this amendment as well. So
   2 I urge a no vote on this amendment.
   3           THE CHAIRMAN: Representative Gardner.
   4           REPRESENTATIVE GARDNER: Thank you,
   5 Mr. Chair.
   6           Well, Representative Fields, is it your
                                                                                                    LEG HX 000653                   4568
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021513.txt[11/12/2013 10:57:45 AM]
            Appellate
   7 position,          Case:
                then, that      14-1290
                           the small  dealersDocument:    01019371763
                                             must or somehow                         Date Filed: 01/16/2015           Page: 179
   8 should be required or might well be required to conduct
   9 these background checks for these private transferors
  10 for which they're not the seller, they're not the buyer?
  11 And yet because they're a gun dealer here in Colorado
  12 and operate under Colorado laws as well as federal laws,
  13 that they should be required to do them? Is that your
  14 position? Because I can't think of any reason you would
  15 oppose this amendment unless that is your position.
  16            THE CHAIRMAN: Representative McCann.
  17            REPRESENTATIVE McCANN: Thank you,
  18 Mr. Chair.
  19            There is nothing in the bill that requires
  20 that a licensed firearm dealer do a particular
  21 transaction. So this amendment is unneeded.
  22            THE CHAIRMAN: Representative Gardner.
  23            REPRESENTATIVE GARDNER: And that being
  24 the case, Representative McCann, what's the problem with
  25 the amendment, to make it very clear so that it's never
  0091
   1 construed that way? Because there were comments in the
   2 committee that made it very clear. And I have to tell
   3 you, I fear that this will become a problem, because at
   4 $10 a pop, I don't think that there are going to be a
   5 lot of people out there wanting to engage in this
   6 activity.
   7           The State is going to be getting -- I
   8 don't know how much -- I would bet you it will be 25,
   9 30, or $40 that the State will be getting for this
  10 activity pretty quickly. And I will suspect that FFLs
  11 are not going to want to do this when they are not part
  12 of the transaction. And they have people who are coming
  13 through for background checks just to loan their weapon
  14 to their brother-in-law so he can go hunting. They're
  15 not going to want to do it. And I don't blame them.
  16            So let's make it clear and let's not leave
  17 it unclear. It's not enough -- there is a concern about
  18 this. It was brought to me, and it got to be a larger
  19 concern whenever I heard comments from the committee,
  20 which was: Well, maybe. Maybe.
  21            This is going to be a problem. And I ask
  22 you, if it's not required and that is not your intention
  23 to leave this open, then there is no reason not to have
  24 this amendment, other than some surreptitious thought
  25 that perhaps we will want to do this later. Either that
  0092
   1 or just -- substantively, if that's your intention, this
   2 is all that this does, is say that you don't have to do
   3 it.
   4           THE CHAIRMAN: Representative Murray.
   5           REPRESENTATIVE MURRAY: Thank you,
   6 Mr. Chair.
   7           Yes, in committee, it was very clear to
   8 me, whenever we were looking at this amendment or one
                                                                                                    LEG HX 000654                   4569
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           Appellate
   9 similar  to it, thatCase:  14-1290said:Document:
                          the opposition       No, we want01019371763                Date Filed: 01/16/2015           Page: 180
  10 everyone to do this background check. So I'm amazed to
  11 hear that nothing in the bill requires someone to
  12 perform these background checks when they have not been
  13 responsible for the sale of the firearm.
  14            So if that is true, I would agree with
  15 Representative Gardner, that everyone should fully
  16 support this, because this is an important understanding
  17 that we need to have for this bill.
  18            I urge an aye vote on this amendment.
  19            THE CHAIRMAN: Representative Salazar.
  20            REPRESENTATIVE SALAZAR: Thank you,
  21 Mr. Chair.
  22            So I guess we could dance and prance as
  23 much as we want instead of actually getting to the vote
  24 on this bill. But, Representative Gardner, on page 3,
  25 line 15 through 17, it says: A prospective firearms
  0093
   1 transferor who is not a licensed gun dealer shall
   2 arrange for a licensed gun dealer to obtain the
   3 background check required by this section.
   4           That meaning that a prospective firearm
   5 transferor will go to somebody who is willing to do it.
   6 It doesn't mean that they go to somebody and they're
   7 required to do it. It says that they can arrange for
   8 it. This amendment is unnecessary because there is
   9 nothing in the language of this bill that requires a
  10 licensed gun dealer to say, "Oh, you've come to me, so
  11 now I must do it." There's nothing in here for that.
  12            Let's move on. Let's vote on this thing.
  13            THE CHAIRMAN: Representative Gardner.
  14            REPRESENTATIVE GARDNER: Well, yes, thank
  15 you, Representative Salazar. And I didn't think that
  16 this was prancing and dancing to avoid voting on the
  17 bill. This was a serious amendment brought in
  18 judiciary, and it's a serious amendment brought here.
  19 It became even more serious in terms of its need when,
  20 in fact, as Representative Murray attested to and
  21 supports, we heard members of the committee actually
  22 indicate that it was their belief that, yes, indeed,
  23 these gun dealers might well be required to do this.
  24 These gun dealers ought to be doing this, and they --
  25 this was a duty.
  0094
   1           Now, Representative Salazar, with due
   2 respect, I would have initially read this the way you
   3 did, but I had -- I had constituents who were FFLs who
   4 were concerned, and I brought the amendment. I said:
   5 Really? You think? And they said: You know, the way
   6 this is going and the way it seems and our small FFLs,
   7 this is a problem. So I offered it. I offered it, and
   8 I found out that they were right. They were right.
   9 There are those members of this body who hold the view
  10 that that's what we're doing.
                                                                                                    LEG HX 000655                   4570
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  11       Appellate
                And whenCase:  14-1290
                            that's             Document:
                                    the case, it's simple 01019371763                Date Filed: 01/16/2015           Page: 181
  12 enough -- it's simple enough, Representative Salazar, we
  13 can get right to voting on this bill, after we answer my
  14 other questions that didn't get answered in committee,
  15 we can get right to that. We can pass this amendment,
  16 and we can move on.
  17            So I ask for an aye vote.
  18            THE CHAIRMAN: Representative Salazar.
  19            REPRESENTATIVE SALAZAR: Thank you,
  20 Mr. Chair.
  21            And, Representative Gardner, I hear what
  22 you're saying about your constituents, I really do, that
  23 there's some concern about this bill. If it said in
  24 there that a prospective firearms transferor who is not
  25 a licensed gun dealer shall arrange for a licensed gun
  0095
   1 dealer to obtain the background check required by this
   2 section, and the licensed gun dealer must perform the
   3 background check, well, then, I think that people would
   4 definitely want to take a look at your amendment. But
   5 it doesn't say that.
   6           It just says that it will arrange for a
   7 licensed gun dealer, which means that they're going to
   8 go to somebody who will say, Yeah, you know what? I
   9 don't want to do that. Go to somebody else. And
  10 they'll go do it with somebody else. And they will
  11 eventually find somebody who will actually perform the
  12 background check.
  13            There's nothing in here that creates a
  14 duty for a licensed gun dealer to do the background
  15 check. You're reading much too much into this
  16 amendment -- into this bill. I appreciate your concern,
  17 but you know that that doesn't say that.
  18            THE CHAIRMAN: Representative Murray.
  19            REPRESENTATIVE MURRAY: Thank you,
  20 Mr. Chair.
  21            Then, Representative Salazar, why don't
  22 you support the amendment? If you agree with the
  23 thinking that's contained in the amendment, why are you
  24 disagreeing? Now you're walking away because you're not
  25 wanting to support this amendment, and yet you're saying
  0096
   1 that you agree with what it says. So you either agree
   2 with what it says and support it or you say, Well, no,
   3 we would rather leave it vague so that, at some point,
   4 we can say to these gun dealers: You have to do it.
   5           Why leave it vague?
   6           THE CHAIRMAN: Representative Holbert.
   7           REPRESENTATIVE HOLBERT: Thank you,
   8 Mr. Chairman.
   9           Members, I support this amendment, and I
  10 believe that it is true, that there's nothing in this
  11 bill that compels the dealer to do this, but let's make
  12 that clear.
                                                                                                    LEG HX 000656                   4571
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               I equateCase:
                         this to14-1290
                                 automobileDocument:
                                             dealers. And01019371763                 Date Filed: 01/16/2015           Page: 182
  14 having, back in the '80s, worked at a dealership, people
  15 would come in often and say, "Appraise my car. You're a
  16 car dealer. Appraise my car." And car dealers are
  17 compelled to offer that service for free, and they can
  18 choose to do it. But there's an expectation among the
  19 public that a dealer would do that.
  20           And I'm concerned with these background
  21 checks that we effectively change the role of that
  22 licensed firearm dealer from a private company that
  23 makes its own decisions as to what services it will or
  24 will not offer and the products that it carries to an
  25 expectation that the public would come in and say, "I'm
  0097
   1 required to do this; so, therefore, you are required to
   2 do this business with me."
   3          I think that, with this amendment, we
   4 allow firearm dealers in Colorado to make that decision
   5 for themselves. If, for some reason, they don't want to
   6 be involved in private transfers -- for instance, maybe
   7 they don't want to have any liability associated with
   8 something that could go wrong with the item or the
   9 people, the individuals, because we're doing a
  10 background check on the purchaser; we're not doing a
  11 background check on the seller. And maybe there's
  12 something wrong in that transaction and all of a sudden
  13 that retailer, that firearms dealer, is caught in a
  14 lawsuit.
  15           I can certainly understand why the gun
  16 shop in Parker might say: We don't want to be involved
  17 in that, or we at least want to be able to refuse
  18 business when we think it's right for us to do this.
  19 And with this amendment, that could happen. But without
  20 this amendment, I think that Representative Gardner has
  21 hit on a factual concern.
  22           I don't see any political motivation. I
  23 don't see this as any sort of poison pill. I don't see
  24 this as any sort of sabotage to the bill. If the
  25 problem isn't in the bill, then there's no problem with
  0098
   1 this amendment, and I urge you to please vote for L.009.
   2          THE CHAIRMAN: Representative Lawrence.
   3          REPRESENTATIVE LAWRENCE: Thank you,
   4 Mr. Chair.
   5          I, too, rise in support of this amendment.
   6 I've been approached by several small FFL dealers who
   7 are one-man operations. They work out of their home.
   8 They don't want people they don't know knocking on their
   9 door saying, "Hey, you need to run a background check so
  10 that I can sell this gun." That's intrusive on their
  11 private life.
  12           They have this -- they have their FFL
  13 designation, but not because they're selling guns. They
  14 might be collecting. They might be sampling. It might
                                                                                                    LEG HX 000657                   4572
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  15 just be  for their Case:  14-1290
                        own personal    use. Document:    01019371763
                                             And they don't run                      Date Filed: 01/16/2015           Page: 183
  16 these background checks. And they have told me -- I've
  17 been contacted by many -- they do not want people
  18 knocking on their door because this law says that it has
  19 to be a licensed dealer who's going to run this
  20 background check.
  21            So I would ask you to please support this
  22 amendment.
  23            THE CHAIRMAN: Is there any further
  24 discussion on Amendment L.009?
  25            A division has been called for. Would any
  0099
   1 who are not permitted in the chamber, please take their
   2 seats.
   3           (Inaudible discussion.)
   4           THE CHAIRMAN: The question is the
   5 adoption of Amendment L.009 to House Bill 1229. A
   6 division has been requested of all those in chamber not
   7 entitled to vote. Please be seated.
   8           All those in favor of L.009 please stand
   9 and remain standing in one place until the count is
  10 taken.
  11            You may be seated.
  12            All those opposed please stand and remain
  13 standing in one place until the count is taken.
  14            You may be seated.
  15            The amendment is lost.
  16            Representative Gardner to the bill.
  17            REPRESENTATIVE GARDNER: Thank you,
  18 Mr. Chair.
  19            Well, Members, if you recall, before we
  20 dealt with the amendment, we were talking about the
  21 various provisions of the bill about which there were
  22 many questions. One that did not really get discussed
  23 as it should have been during committee is on page 4,
  24 lines 22 through 25.
  25            Says a person who transfers a firearm in
  0100
   1 violation of the provisions of this section may be
   2 jointly and severally liable for any civil damages
   3 proximally caused by the transferee's subsequent use of
   4 the firearm.
   5           So here's the problem: I'm sure -- I
   6 don't want to assume too much, but I think it's kind of
   7 safe to assume that the proponents of the bill think
   8 that if you illegally transfer a firearm, it's nothing
   9 but right that you be jointly and severally liable for
  10 anything that happens thereafter. But, you know, it's
  11 not as if every one of these transfers is going to be
  12 because of a really bad actor.
  13            The really bad actors, as Representative
  14 Waller talked about earlier today, the really bad actors
  15 are going to do these transfers on the street corner in
  16 exchange for drugs. And, by the way, they're not going
                                                                                                    LEG HX 000658                   4573
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  17 to haveAppellate
               a lot of Case:   14-1290
                        assets in the bank toDocument:    01019371763
                                              be jointly and                         Date Filed: 01/16/2015           Page: 184
  18 severally liable against.
  19            But if someone loans a firearm and they
  20 don't exactly meet one of these exceptions -- and we're
  21 not even talking about prosecutions now. We're talking
  22 about somebody who has -- who loans a firearm and
  23 they're not exactly within these exceptions, and there's
  24 a hunting accident or a shooting accident -- there are
  25 accidents in that activity like there are in rock
  0101
   1 climbing, in motorcycling, and almost any other
   2 activity -- there's an accident. Guess what? The
   3 person who loaned that firearm and loaned it before the
   4 person borrowing it went hunting, instead of going
   5 hunting with them -- that person is going to be jointly
   6 and severally liable for anything that happens after
   7 that.
   8           And by the way, I think a pretty good
   9 trial lawyer -- and there are many -- would have a
  10 pretty good time saying: Well, you violated the statute
  11 when you loaned that firearm to your neighbor. And in
  12 the skeet shooting, somebody got injured. And now
  13 you're jointly and severally liable.
  14            And I don't really have a question about
  15 this. I don't have a question about this because this
  16 is a fact.
  17            And if the sponsors want to come and
  18 disagree with me, I welcome them doing so, but I can
  19 tell you that I can make that case and I could write
  20 that pleading right now. I could write that pleading
  21 for that case in between my colleagues coming and asking
  22 other questions and having it displayed as an exhibit
  23 here because it wouldn't take me but about half an hour.
  24            So we're going to expose innocent
  25 citizens, those who do something as a favor for a
  0102
   1 friend, to a liability for something over which they had
   2 no control.
   3           Now, Members, one of the things that I
   4 find most objectionable in discussion of this bill --
   5 and people can describe things however they wish; they
   6 can use whatever language they would like to to
   7 characterize things -- but one of the things I find most
   8 objectionable is the notion that this bill is to close a
   9 loophole. We've got a loophole in the law. There's a
  10 loophole. A loophole is somehow a nefarious,
  11 underhanded, tricky, devious thing.
  12            There's not a loophole in the law
  13 presently, Colleagues. There was a public policy
  14 judgment made by the people of Colorado and those
  15 running a ballot issue to ask the people to require
  16 background checks at gunshows, but not for private
  17 transfers, because they most surely could have done so.
  18 And subsequent legislators most surely could have
                                                                                                    LEG HX 000659                   4574
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  19 required   this. Case: 14-1290 Document: 01019371763                            Date Filed: 01/16/2015           Page: 185
  20           This is not a loophole. What people are
  21 doing today when they loan a firearm to a neighbor, when
  22 they have a private sale, they are following the law.
  23 They are obeying the law.
  24           What we are discussing is whether or not
  25 we're going to change the law of Colorado, not somehow
  0103
   1 close some inadvertent exception that the people or
   2 prior legislators didn't make a public policy judgment
   3 was going to be the law. It's not like: Oh, my
   4 goodness, when this ballot issue for gunshow background
   5 checks went up, those people just didn't think about it,
   6 they just weren't that smart, it just got by them.
   7 Well, subsequent legislators aren't as smart as all of
   8 us and just couldn't figure it out. And, oh, my
   9 goodness, they woke up the next day and they said: Oh,
  10 we forgot all about private transfers.
  11           No, Members, this represents a public
  12 policy judgment. And you say: Well, why would they do
  13 such a thing? And the proponents of this bill say:
  14 Well, there's all this gun violence. And I recognize
  15 there have been horrific events, and that even more to
  16 the point, there are 30,000 gun-related deaths in the
  17 United States every year, and that many on our highways
  18 and all sorts of accidental deaths, and on and on.
  19           So why did we have this public policy that
  20 we would not require background checks for private
  21 transfers? Well, I suggest to you that it was
  22 intrusive, it was unworkable, it was unenforceable, and
  23 it really didn't get to the problem.
  24           Let me show you what I mean by unworkable.
  25 On page 5, we start the exceptions. Actually, at the
  0104
   1 bottom of page 4. The provisions of this section do not
   2 apply to a transfer of an antique firearm as defined by
   3 18 USC 921(a)(16), as amended, or a curio or relic as
   4 defined by 27 CFR 478.11, as amended. I'm not even
   5 going to go down that road this evening, to have 18 USC
   6 921(a)(16) displayed on the board and discuss the finer
   7 points of what is an antique firearm or a curio or a
   8 relic under 27 Code of Federal Regulations 478.11, as
   9 amended, although that might be fun.
  10           Suffice it to say that someone who has one
  11 of those weapons is probably going to need a law degree
  12 to find those and figure that out.
  13           The next exception, except as prohibited
  14 by Section 18-12-111 -- that's of the CRS -- a transfer
  15 that is a bona fide gift between immediate family
  16 members, which are limited to spouses, children,
  17 siblings, grandparents, and grandchildren.
  18           So the first example: You have a fiancee.
  19 She lives in an apartment building where there have been
  20 some problems. You'd like to loan her a firearm. And,
                                                                                                    LEG HX 000660                   4575
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021513.txt[11/12/2013 10:57:45 AM]
  21 by theAppellate   Case:
              way, since      14-1290 no target
                         you regulated     Document:    01019371763
                                                  shooting                           Date Filed: 01/16/2015           Page: 186
  22 together under the other exception here, and you never,
  23 never loan that weapon to her except when you're out on
  24 the range, because you wouldn't want to violate the
  25 law -- guess what? You can't loan that weapon to your
  0105
   1 fiancee. That seems absurd.
   2           Your father-in-law who considers you just
   3 like one of his own wants to give you a weapon for
   4 Christmas. Can't do that. Got to have a background
   5 check. Don't be wrapping up that bow on Christmas.
   6 Don't be opening that package on Christmas Day.
   7           That's absurd, Members. That's why this
   8 hasn't been the law of the state of Colorado. This is
   9 not a loophole. This was bad public policy.
  10           It has to be a bona fide gift. You know,
  11 I asked Director Sloan during the testimony on this, I
  12 said, Well, you know, my brother -- and not withstanding
  13 the fact my brother lives in Texas -- let's assume he
  14 got tired of the August heat and came to Colorado with
  15 his gun collection -- if he gives me one of his Colt
  16 revolvers, that's okay. If I swap him, if you will,
  17 trade him my 9 millimeter for one of the Colt revolvers,
  18 we better do a background check, because that isn't a
  19 bona fide gift. That's called an exchange. That's
  20 called a sale, in fact.
  21           Oh, and, by the way, the State of Colorado
  22 would like to have sales tax on that, once they value
  23 the weapon, but we won't go down that rabbit trail.
  24           Now, some of you were raised in blended
  25 families, I would expect. So you may have a stepbrother
  0106
   1 or a stepson or stepdaughter, and you might want to give
   2 them a weapon, or, you know, your parent that raised you
   3 both passes away and there's nothing in the will --
   4 we'll get to operation of the law later and discuss that
   5 in some detail, what operation of law means, because I
   6 know inquiring minds wish to know, because we are voting
   7 on this and we ought to understand what we are voting
   8 on. But, you know, this doesn't allow you to make a
   9 gift to your stepbrother or your stepparent. It doesn't
  10 allow your uncle, on his death bed or in his last
  11 illness, to call you over to the house and say, "You
  12 know, there's something I really want you to have."
  13           And, oh, by the way, if you accidentally
  14 hurt yourself with a weapon later, he would be jointly
  15 and severally liable. And if he passed away, you could
  16 go after his estate. And I think, if I can stand down
  17 here and do that, I think some smart trial lawyer can
  18 figure that one out as well.
  19           Something else you can't do under this
  20 exception -- you've got to make a complete gift. So you
  21 can't loan your brother or your sister a weapon. Now,
  22 you could say, "Well, is the law going to do that? Are
                                                                                                    LEG HX 000661                   4576
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021513.txt[11/12/2013 10:57:45 AM]
  23 they Appellate
           going to goCase:     14-1290 Document: 01019371763
                         after that?"                                                Date Filed: 01/16/2015           Page: 187
  24            You know what? We make assumptions here
  25 all the time that people are honest and tell the truth.
  0107
   1 And I like to believe that. So if that person is honest
   2 and tells the truth and says, "No, it wasn't a gift; I
   3 loaned it to them" -- you should have had a background
   4 check.
   5           Now, I don't know if these were intended;
   6 I don't know if all of these very common hypothetical
   7 but real fact patterns were intended. I kind of think
   8 they were. I mean, I kind of think that these
   9 exceptions were intended to be window dressing, not very
  10 broad. We've got to have them. We've got to have them
  11 because people say, "You mean, I can't -- I can't give
  12 my son a .22 rifle for Christmas without doing a
  13 background check?"
  14            Well, let's go to the next exception, C,
  15 on page 5. A transfer that occurs by operation of law
  16 or because of the death of a person for whom the
  17 prospective transferor is an executor or an
  18 administrator of an estate or a trustee of a trust
  19 created in a will.
  20            Well, setting aside that the uniform
  21 probate code refers to personal representatives and not
  22 executors anymore -- so I'm kind of wondering about why
  23 we're using the word "executive" -- or "executor" --
  24 this seems like it ought to take care of Representative
  25 Gerou's situation, but it doesn't. You know, if my mom
  0108
   1 has my dad's -- really, my grandfather's rifle, and she
   2 wants to make a gift of it to me, but it's not really
   3 hers because my brother, who is the personal
   4 representative, and is fully cognizant and aware of what
   5 she's doing, is the personal representative or executor,
   6 then my mom will have violated the law, because she
   7 didn't -- she's not one of these people.
   8           Oh, then we get to temporary transfers
   9 that occur while in the home of the unlicensed
  10 transferee. So don't -- don't invite someone to your
  11 home to hold and use and sort of enjoy handling and
  12 understanding about that weapon, because that's not the
  13 home of the unlicensed transferee. That's the home of
  14 the transferor. And, besides, the unlicensed transferee
  15 has to reasonably believe that the possession of the
  16 firearm is necessary to prevent imminent death or
  17 serious bodily injury to the unlicensed transferee.
  18            Well, so I should be able to loan my
  19 single personal -- or administrative assistant a
  20 firearm, if she lives alone and she's had some problem?
  21 Well, no. No. She has to call me whenever the person
  22 is at her door. And then I can rush over because then
  23 she's in imminent bodily danger, et cetera. This is not
  24 very broad either.
                                                                                                    LEG HX 000662                   4577
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021513.txt[11/12/2013 10:57:45 AM]
  25       Appellate
                I mean Case:    14-1290
                        -- in fact,           Document:
                                    I don't even          01019371763
                                                 understand                          Date Filed: 01/16/2015           Page: 188
  0109
   1 how it works, Members, because the transfer has to be
   2 temporary and has to occur in the home of the unlicensed
   3 transferee. So if you're in my home and somebody is
   4 breaking in, I can't hand you a weapon, even though
   5 maybe I'm lying in bed with a broken leg, because that's
   6 my home, not your home. And, of course, if you shoot
   7 somebody who's trying to break in, even though "Make My
   8 Day" might save you -- I don't know -- you might be
   9 jointly and severally liable because I couldn't transfer
  10 to you.
  11            And so the bad guy gets to sue you. And
  12 if you think that doesn't happen, I read the newspapers
  13 as well as any of you, and you know it does.
  14            We talked earlier about transfers that
  15 take place when someone goes target shooting and so
  16 forth. It wouldn't be okay for the scout leader to
  17 borrow some weapons or have those 16-year-old Explorer
  18 scouts borrow a weapon and take it with them as you go
  19 out for supervised target shooting. Everybody who loans
  20 that weapon has to take it with them.
  21            Now, these exceptions, they only work a
  22 little bit, and they only work on their circumstances
  23 and their facts. And if you don't get them right, you
  24 commit a Class 1 misdemeanor and you shall be punished.
  25 And you won't be able to possess a firearm for two years
  0110
   1 beginning on the date of your conviction. And, of
   2 course, you can't possess a firearm while you're under
   3 charges, so give yourself another six months.
   4           Members, as I said yesterday, you can
   5 choose to trivialize my argument, if you wish. That may
   6 be the easiest thing for you to do. But the fact of the
   7 matter is, those are not far-fetched examples that I
   8 use. We all have blended families, many of us. It's
   9 very common. We couldn't transfer to a stepbrother or
  10 stepsister, a stepparent, a stepchild, half-inlaw. We
  11 couldn't loan the weapon for legitimate purposes. We
  12 would have to go along.
  13            So Representative Lawrence, who was
  14 planning on going target shooting tonight with her
  15 family, couldn't loan that weapon because she's stuck on
  16 the floor of the house. My point about that is things
  17 happen in life.
  18            Members, this is -- with respect, I truly
  19 believe the sponsors are well intended and believe that
  20 this bill is good public policy. I sincerely respect
  21 and believe that that is their belief. But what this
  22 bill is is ill-considered public policy. It is -- the
  23 exceptions are ill-considered.
  24            The idea that FFLs are going to want to
  25 deal with every one of these private transfers for $10
  0111
                                                                                                    LEG HX 000663                   4578
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021513.txt[11/12/2013 10:57:45 AM]
            Appellate Case:
   1 is ill-considered.       14-1290
                        I think it's going toDocument:
                                              expose them01019371763
                                                           to                        Date Filed: 01/16/2015           Page: 189
   2 a regulatory finding that if they're a regulated dealer
   3 in Colorado, they have to do this. Why do I think that?
   4 Because the sponsors are unwilling to have a very simple
   5 amendment that says they don't have to. And I scratch
   6 my head and I say, Why is that? Why is that? It's
   7 pretty simple. It doesn't change what they intended.
   8 They tell me they didn't intend that, but they won't do
   9 it.
  10           And then I begin to wonder if really we're
  11 not on our way to a whole system of firearm registry,
  12 because the way to enforce is to create the system and
  13 require the background check and require the dealers to
  14 do it.
  15           And so I hope, during your evening dinner
  16 hour, as we've discussed this bill, you may have had a
  17 moment to consider that the exceptions are not nearly
  18 broad enough, that the utility of the bill, when you
  19 think about the fact that really bad actors don't get
  20 background checks; they just trade guns for drugs on the
  21 street corner, that this will be an imposition, it will
  22 be a prior restraint upon law-abiding citizens with no
  23 correlative gain in public safety. And so I ask for a
  24 no vote.
  25           THE CHAIRMAN: Representative Saine.
  0112
   1           REPRESENTATIVE SAINE: Thank you,
   2 Mr. Chair.
   3           Colleagues, Representative McCann, if
   4 you're here, I had the privilege of talking to some
   5 members over at Fein (phonetic) Colorado Law
   6 Enforcement. And they have some concerns that if 1229
   7 would pass in conjunction with a bill that, say,
   8 redefines an unloaded gun is a deadly weapon, and these
   9 members made a routine traffic stop or a potential
  10 domestic violence call because some neighbors called 911
  11 because some other neighbors had their voices raised a
  12 little too loud, and a cell phone was thrown and
  13 destroyed. And while investigating this, the officer or
  14 sheriff sees a 30-round magazine and an unloaded weapon
  15 in the home -- and, nowadays, a domestic violence call,
  16 police must arrest both the parties in a dispute. And
  17 an unloaded weapon and a magazine gives reasonable
  18 suspicion, so the gun is confiscated.
  19           So the owner, male or female, even after a
  20 favorable adjudication, which is often the case, must
  21 now go to a court of law to prove they have obtained the
  22 weapon legally.
  23           Law enforcement tells me the only way to
  24 mitigate the backlog this would create or for the owner
  25 to avoid costly court fees would be to have a gun
  0113
   1 registration program.
   2           So Representative McCann or Representative
                                                                                                    LEG HX 000664                   4579
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021513.txt[11/12/2013 10:57:45 AM]
           Appellate
   3 Fields,             Case:
              if she would   be 14-1290       Document:
                                available to answer       01019371763
                                                     a couple                        Date Filed: 01/16/2015           Page: 190
   4 questions -- I have two -- are the consequences rendered
   5 by this bill intended to pave the way for gun
   6 registration, or is it really intended for a gun buyback
   7 program without the buyback? Or, my second question is,
   8 is this an unintended consequence rendered by this bill?
   9            THE CHAIRMAN: Is there any further
  10 discussion?
  11             REPRESENTATIVE SAINE: I need an answer
  12 from the sponsors, if I could, Mr. Chair.
  13             THE CHAIRMAN: They need not.
  14             Is there any further discussion?
  15             Representative Szabo.
  16             REPRESENTATIVE SZABO: Thank you,
  17 Mr. Chair.
  18             We've spent many hours debating 1229 and
  19 the bill before it. And I would like to just bring it
  20 back to the original assertion. And that is, if we can
  21 just save one life. Well, you know, that's been the
  22 talk this week, about one life. There was a bill
  23 brought last Wednesday that can save many lives. It was
  24 Jessica's Law. But it was sent immediately to the kill
  25 committee. Are we really worried about saving one life,
  0114
   1 or are we not?
   2            THE CHAIRMAN: To the bill.
   3            REPRESENTATIVE SZABO: I want to know, are
   4 we really willing to talk about the true issue, to save
   5 one life? These gun violence issues are not the only
   6 way we can save one life. And Jessica's Law was a way
   7 we can save many lives.
   8            THE CHAIRMAN: Representative Szabo, would
   9 you talk to the bill, about the background.
  10             REPRESENTATIVE SZABO: Thank you,
  11 Mr. Chair.
  12             THE CHAIRMAN: Representative Saine.
  13             REPRESENTATIVE SAINE: Thank you,
  14 Mr. Chair.
  15             I have a rationale for some of the
  16 questions I asked earlier. And one is, in The Denver
  17 Post, it says the CBI is facing questions over its
  18 inability to meet the three-day federal background
  19 check. It also has an appeals process where they
  20 received 300 -- 3,814 and reversed 2,183, reversed. And
  21 that takes some time.
  22             There was a discussion earlier about
  23 women, and do more guns really solve any problems?
  24 Well, it's been proven nationwide that women, in an
  25 assault situation, are much more likely to be hurt
  0115
   1 without a firearm. They are smaller than the man is.
   2 If those women were armed, maybe so many of them
   3 wouldn't be killed by a domestic partner.
   4            And if -- again, I ask, is this bill
                                                                                                    LEG HX 000665                   4580
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021513.txt[11/12/2013 10:57:45 AM]
   5 paving Appellate    Case:
               the way for  gun 14-1290
                                registration?Document:
                                                And if it is,01019371763
                                                              or                     Date Filed: 01/16/2015           Page: 191
   6 if it isn't, with the CBI process in place, those women
   7 who may be arrested even for throwing a cell phone are
   8 entered into the criminal justice system and can't
   9 obtain a weapon because they're in that system. They go
  10 back home to the situation and they are defenseless.
  11              I have some real questions about this
  12 bill. I do not believe this is going to save lives, but
  13 may endanger more women in domestic violence situations.
  14 Thank you.
  15              THE CHAIRMAN: Representative Moreno.
  16              REPRESENTATIVE MORENO: Thank you,
  17 Mr. Chair.
  18              Members, I wasn't planning to come to the
  19 well today on this bill, but I would just like to point
  20 out that I do have cupcakes. Now that you've all had
  21 your dinner, please stop by my office -- my desk. We
  22 have birthday cupcakes in honor of my birthday this
  23 weekend. It is a passionate debate, but I would
  24 encourage you not to use your cupcake as a deadly
  25 weapon.
  0116
   1             So thank you, Members, and feel free to
   2 come grab a cupcake.
   3             THE CHAIRMAN: Representative Scott.
   4             REPRESENTATIVE SCOTT: Thank you,
   5 Mr. Chair, and happy birthday, Representative Moreno.
   6 No capitol choir for you, buddy.
   7             I do have a clarification that I would ask
   8 for from my little sponsor or one of the proponents of
   9 the bill.
  10              On page 5, lines 21 through 23, when it
  11 talks in respect to gun ranges, I would like some help
  12 understanding real quickly -- it says, basically, at a
  13 shooting range located in or on premises owned or
  14 occupied by a duly incorporated organization organized
  15 for conservation purposes or to foster proficiency in
  16 firearms. I have no idea what the conservation purpose
  17 of a firing range is. I'm hoping that one of the
  18 proponents of the bill can maybe answer that for me.
  19              THE CHAIRMAN: Is there any further
  20 discussion? Is there any further discussion on House
  21 Bill 1229?
  22              Seeing none, the question before us is --
  23 Representative Priola, under the wire.
  24              REPRESENTATIVE PRIOLA: Thank you,
  25 Mr. Chair. And, Members, I am back here to give some of
  0117
   1 my other questions a shot for the sponsors. Let me find
   2 my notes.
   3             And in the time between that, actually
   4 another question came to mind. What if you're out
   5 hiking with your buddy or your family and you find a
   6 firearm? This bill, as far as I can tell, doesn't
                                                                                                    LEG HX 000666                   4581
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021513.txt[11/12/2013 10:57:45 AM]
           Appellate
   7 address  anythingCase:
                        about 14-1290
                              time period. Document:     01019371763
                                             As soon as you pick                     Date Filed: 01/16/2015           Page: 192
   8 up that firearm, you are technically breaking the law.
   9 It might take you a day or two to get back to your
  10 vehicle. It might take you a couple days to get into
  11 town to actually find someone to run a background check
  12 on yourself for a firearm that you found, because it
  13 fell out of someone's rucksack up in the mountains or
  14 so.
  15            So I would really like to have that
  16 component of the bill addressed as well as my previous
  17 questions, but I really don't think it's going to get
  18 addressed because the sponsors are not here. I don't
  19 know where they're at.
  20            Actually, one is right back there.
  21 Representative McCann.
  22            UNIDENTIFIED SPEAKER: They're talking to
  23 Joe Biden.
  24            REPRESENTATIVE PRIOLA: They're talking to
  25 Joe Biden, okay.
  0118
   1           Representative McCann?
   2           I saw Representative Fields leave out the
   3 back.
   4           I would really appreciate having that
   5 question and others addressed.
   6           THE CHAIRMAN: Is there any further
   7 discussion?
   8           Seeing none, the question before us is the
   9 passage of House Bill 1229. All in favor say aye.
  10            UNIDENTIFIED SPEAKERS: Aye.
  11            THE CHAIRMAN: Those opposed, no.
  12            UNIDENTIFIED SPEAKERS: No.
  13            THE CHAIRMAN: House Bill 1229 passes.
  14            (WHEREUPON, the audio recording was
  15 concluded.)
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  0119
   1                 CERTIFICATE
   2 STATE OF COLORADO                  )
                       )ss.
   3 CITY AND COUNTY OF DENVER )
   4          I, Jana Mackelprang, Certified Realtime
   5 Reporter, Registered Professional Reporter, and Notary
   6 Public for the State of Colorado, do hereby certify
   7 that this transcript was taken in shorthand by me from
                                                                                                    LEG HX 000667                   4582
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021513.txt[11/12/2013 10:57:45 AM]
          Appellate
   8 an audio         Case:
               recording and 14-1290
                             was reducedDocument:      01019371763
                                           to typewritten form                       Date Filed: 01/16/2015           Page: 193
   9 by computer-aided transcription; that the speakers in
  10 this transcript were identified by me to the best of
  11 my ability and according to the introductions made and
  12 the information provided; that the foregoing is a true
  13 transcript of the conversations; that I am not an
  14 attorney nor counsel nor in any way connected with any
  15 attorney or counsel for any of the parties to said
  16 action or otherwise interested in its event.
  17          IN WITNESS WHEREOF, I hereunto affix my
  18 hand and notarial seal this 27th day of June, 2013. My
  19 commission expires January 24, 2016.
  20
  21                 ___________________________
                    Jana Mackelprang
  22                 CRR, RPR, Notary Public
                    Calderwood-Mackelprang, Inc.
  23
  24
  25




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           Appellate Case: 14-1290 Document: 01019371763                             Date Filed: 01/16/2015           Page: 194
  0001
   1 CITY AND COUNTY OF DENVER
   2 STATE OF COLORADO
   3 Judicial Committee Meeting
   4 Held on February 18, 2013
   5 HOUSE BILL 13-1229
   6 ----------------------------------------------------
   7 REPORTER'S TRANSCRIPT
   8 ----------------------------------------------------
   9
  10         This transcript was taken from an audio
  11 recording by Elissa Steen, Registered Professional
  12 Reporter and Notary Public.
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  0002
   1           PROCEEDINGS
   2          * * * * *
   3       THE CLERK: -- Representatives
   4 Fields and McCann, also Senator Carroll,
   5 concerning criminal background checks
   6 performed pursuant to the transfer of
   7 firearms, in connection there with making an
   8 appropriation.
   9       SPEAKER OF THE HOUSE: Representative
  10 Fields.
  11        REPRESENTATIVE FIELDS: Mr. Speaker,
  12 I move House Bill 1229 on third reading and
  13 final passage.
  14        SPEAKER OF THE HOUSE: Is there any
  15 discussion?
  16        Representative Gardner.
  17        REPRESENTATIVE GARDNER: Thank you,
  18 Mr. Speaker.
  19        Members, colleagues, by the time we
  20 reach our third reading vote on a bill,
  21 there's seldom, if anything, to be said that
  22 might change any member's vote. That clearly
  23 is the case this morning.
  24        And so, as I speak to you, this
  25 principal audience from my remarks are not
  0003

                                                                                                    LEG HX 000669                   4584
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   1 thoseAppellate    Case:
            of you in this     14-1290
                           chamber,         Document:
                                      but rather the  01019371763                    Date Filed: 01/16/2015           Page: 195
   2 citizens of Colorado, thousands of whom have
   3 communicated with all of us over the past
   4 several days. In fact, more than on any
   5 issue that I have received in seven sessions.
   6 And overwhelmingly those voices have been in
   7 opposition to these bills. And some of these
   8 may -- in fact did -- take me to task for not
   9 having compelled others of you to vote no on
  10 these bills.
  11         The e-mails, letters, phone calls
  12 cited various facts and arguments against
  13 this and the other bills.
  14         But citizens, Coloradans, as you
  15 watch these votes this morning, you should
  16 understand very clearly, those facts do not
  17 matter. Those arguments have little
  18 persuasive power, because the underlying fact
  19 is that there are, when we face a bill of
  20 this sort and its companions, two basic world
  21 views that are in competition.
  22         Now, one could write a whole
  23 doctoral thesis on the differences and the
  24 sociological reasons why one may hold those
  25 world views, but for the moment, suffice it
  0004
   1 to say, and I will say, as evenly as I
   2 possibly can, that with respect to these
   3 bills, the one view is that greater
   4 government control -- greater government
   5 control of firearms -- will be both
   6 successful and make us safer and more secure,
   7 and that any loss or infringement of rights
   8 or liberty is offset by that security.
   9        The other view, held by myself and
  10 others, is that greater gun control will not
  11 promote public safety, but rather make us
  12 less safe, less secure, and most assuredly
  13 less free.
  14         Once you subscribe to one view or
  15 the other, facts can be disputed. Competing
  16 facts are easily presented. Arguments made,
  17 arguments dismissed, all based on one's world
  18 view.
  19         And perhaps a member of the other
  20 side of the aisle will come to you, even on a
  21 Friday evening late, and say you were very
  22 compelling. And I might say, And it changed
  23 your vote? And the answer would be, Well, of
  24 course not, but you were compelling, because
  25 there are two competing world views on this
  0005
   1 issue.
   2        So people of Colorado, citizens,
                                                                                                    LEG HX 000670                   4585
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021813.txt[11/12/2013 10:57:47 AM]
   3 there Appellate
            is only oneCase:
                        debate14-1290        Document: 01019371763
                                  and one argument                                   Date Filed: 01/16/2015           Page: 196
   4 that has mattered on this bill and its
   5 companions. That debate was done and
   6 complete on November 6, 2012. Now, the facts
   7 do not matter, and the politics are very
   8 simple.
   9        Coloradans, I want to speak to you,
  10 each of you, as personally as I can from this
  11 chamber and in this venue. Citizen, if you
  12 voted for one set of candidates on that
  13 election day, you effectively voted to
  14 support these bills --
  15         SPEAKER OF THE HOUSE:
  16 Representative Gardner, can you keep to the
  17 topic of the bills?
  18         REPRESENTATIVE GARDNER: Indeed,
  19 Mr. Speaker. And if my argument is too
  20 subtle, I apologize, because this is on the
  21 bills and why these bills are being voted on
  22 as they are and will have the outcome that
  23 they do.
  24         Notwithstanding any small numbers of
  25 the majority party that may vote against one
  0006
   1 or all of these bills, it is the world view
   2 that controls the vote of these bills. One
   3 being that greater control of firearms by
   4 government, and even perhaps in the future
   5 registration of weapons, for which this bill
   6 and the others set this stage, that greater
   7 control, greater public supervision, greater
   8 government supervision, is not only
   9 necessary, but it is the right thing to do
  10 for our citizens. And if you voted
  11 otherwise, then you voted in opposition to
  12 these bills, citizen.
  13         But, there were not enough. Not
  14 enough of you, not enough of us here in this
  15 chamber, and not enough, I believe,
  16 understanding of what is at stake here, for
  17 it is nothing less at stake on this bill and
  18 the others than our liberty.
  19         Our founders knew that the majority
  20 was not always right. The Bill of Rights was
  21 written and adopted to prevent the tyranny of
  22 the majority. And the Second Amendment, no
  23 less than the First or the Fourth or the
  24 Fifth, was adopted to protect the safety and
  25 security of those who find themselves in the
  0007
   1 minority of opinion.
   2        This bill and the others are no less
   3 a part of that greater debate, that battle
   4 between those competing world views. This
                                                                                                    LEG HX 000671                   4586
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021813.txt[11/12/2013 10:57:47 AM]
   5 right Appellate     Case:
            is no less than  the 14-1290
                                 right of free Document: 01019371763                 Date Filed: 01/16/2015           Page: 197
   6 speech, or the right of privacy in one's
   7 home, or the safety and security of one's
   8 person and effects.
   9         It is the question of the power of
  10 government versus the power -- the
  11 individual. And I know not what end, if any,
  12 that larger debate may reach, as it seems to
  13 be so stark in our country today.
  14          I know that however well-intentioned
  15 -- I do indeed believe that the sponsor and
  16 those voting for this bill are
  17 well-intentioned -- but no matter how
  18 well-intentioned, this bill is an
  19 infringement. A court may call it a
  20 reasonable infringement. A court may call it
  21 a necessary infringement. A court -- and
  22 courts can be wrong, as you well know -- may
  23 say that it's an infringement that can be
  24 done, but it is, nevertheless, an
  25 infringement, and it will bring less safety,
  0008
   1 less security, and surely less freedom.
   2         And so to our colleagues in the
   3 Senate who have yet to hear this bill, I
   4 would ask you to consider what is at stake.
   5         And to our Governor, who has
   6 recognized that such bills may well bring
   7 little, if any, public safety, I ask you to
   8 consider the infringement and our safety and
   9 our security that will be lost by that
  10 infringement.
  11          And, to my fellow citizens and
  12 Coloradans, no matter the outcome, I ask you
  13 to consider in the next and ultimate battle,
  14 whether to stand with liberty and to know
  15 that when you do so, you stand with our
  16 founders for the rights that they understood
  17 so clearly and fought for so dearly. For
  18 this bill, and each like it, places liberty
  19 in opposition to the power of the state, and
  20 that is what, in the larger sense, this bill
  21 brings to us, the decision that we make
  22 today, as we do something, do something, for
  23 liberty.
  24          Thank you.
  25          SPEAKER OF THE HOUSE: Representative
  0009
   1 McCann.
   2         REPRESENTATIVE McCANN: Thank you,
   3 Mr. Speaker.
   4         This bill is really about a level
   5 playing field for everyone who wants to
   6 purchase a gun in Colorado. We already
                                                                                                    LEG HX 000672                   4587
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021813.txt[11/12/2013 10:57:47 AM]
           Appellate
   7 require           Case:
              background       14-1290
                            checks.  And theDocument:
                                              reason we 01019371763                  Date Filed: 01/16/2015           Page: 198
   8 do that is because we don't want people who
   9 have felony convictions, who have domestic
  10 violence convictions, who have restraining
  11 orders against them to purchase guns here in
  12 our state of Colorado. And this is a public
  13 safety issue.
  14        So -- and we know people do fail the
  15 background checks. Just in January we had
  16 56,000 background checks run here in
  17 Colorado. Of that amount, almost a thousand
  18 were denied. So background checks do prevent
  19 people who shouldn't have guns from buying
  20 guns.
  21        All this bill is doing is saying, we
  22 are not going to let someone who fails a
  23 background check through a licensed firearm
  24 dealer go a different route because they
  25 can't legally possess a firearm. We're not
  0010
   1 going to let them go on the Internet and buy
   2 a gun from someone out of state, from someone
   3 in state. We're not going to let them buy
   4 from a private seller. Because the whole
   5 point of the bill -- the whole point of
   6 background checks -- is to prevent people who
   7 shouldn't have guns from having them.
   8        And that's an argument that we have
   9 heard from several of you today, about why
  10 don't we do something about keeping people
  11 from getting guns who shouldn't have guns.
  12 Well, that's what this bill does. This bill
  13 says, if you have the things that are already
  14 in our law that say you should not possess a
  15 gun, then you should not be able to buy a gun
  16 here in Colorado.
  17        During the debate on Friday, I went
  18 through some of the situations where there
  19 have been shootings by people who would not
  20 have passed a background check under our --
  21 the background check requirements here in
  22 Colorado. I won't go through those again,
  23 but, suffice it to say, there are several.
  24        Many of these mass shootings, where
  25 people who would not have passed a background
  0011
   1 check under this law in Colorado, were able
   2 to -- to obtain guns and use them for
   3 horrific crimes.
   4        And the other thing that really
   5 concerns me a lot, having worked with
   6 domestic violence victims, is access to guns
   7 by those who have restraining orders or those
   8 who've been involved in domestic violence.
                                                                                                    LEG HX 000673                   4588
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021813.txt[11/12/2013 10:57:47 AM]
   9        Appellate
           And          Case:
                  we know   that14-1290
                                 people who Document:
                                              get into 01019371763                   Date Filed: 01/16/2015           Page: 199
  10 emotional situations in domestic violence
  11 situations often end up using a weapon
  12 against their -- their loved one, their
  13 partner, their spouse, and then often against
  14 themselves as well. These are people who
  15 should not have access to weapons here in
  16 Colorado.
  17         As I mentioned before, 13 women were
  18 murdered last year by those who had been in
  19 relationships with them, even though they had
  20 restraining orders.
  21         What this bill will do is say to
  22 those people you cannot purchase a weapon if
  23 you have a restraining order against you or
  24 if you have a domestic violence conviction.
  25         It's a very, very sad situation for
  0012
   1 people who are living in fear every day from
   2 someone that they have been in a relationship
   3 with, and this bill will increase their
   4 safety.
   5        As I mentioned previously, I
   6 find I -- I don't really understand the
   7 objection to this bill because those of you
   8 who have purchased your guns legally went
   9 through a background check. I don't
  10 understand why you wouldn't want everyone to
  11 have to go through a background check just
  12 like you did so that we don't have people
  13 getting these weapons who should not possess
  14 them.
  15         So I would ask for a yes vote on
  16 this bill. It clearly is a matter of public
  17 safety. It clearly will make our state safer
  18 and will result in less death and less
  19 suicide by gun here in our state of Colorado.
  20        Thank you.
  21         SPEAKER OF THE HOUSE: Representative
  22 Gerou.
  23         REPRESENTATIVE GEROU: Thank you,
  24 Mr. Speaker.
  25         And I think we're all pretty clear
  0013
   1 about you're either one way or you're --
   2 you're the other way on this bill and all the
   3 bills probably today. I don't think anybody
   4 is sitting on the fence. And -- and I'm
   5 not -- I'm not going to assume that -- that I
   6 can change a mind today, but I would like to
   7 address what this bill means to me
   8 personally.
   9        Representative McCann just told us
  10 that what the bill does is it creates a level
                                                                                                    LEG HX 000674                   4589
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           Appellate
  11 playing            Case:
               field. And   with14-1290      Document:
                                 all due respect, it   01019371763                   Date Filed: 01/16/2015           Page: 200
  12 does not. What it does is it completely
  13 changes the playing field.
  14        During the course of our debate on
  15 the bill on Friday, I mentioned the fact that
  16 I had received firearms from my uncle when he
  17 passed away. And -- and I was concerned
  18 because had this bill been in effect when my
  19 uncle passed away, I would not have been able
  20 to receive those firearms without going for a
  21 background check. And a lot of people might
  22 say, who cares? I mean, so it's a background
  23 check. If you've got nothing to hide, you've
  24 got nothing to be worried about.
  25        I bring up again the supposition of
  0014
   1 this bill is that you are guilty until proven
   2 innocent. And that's not what we do in this
   3 country. That's not the way we live. That's
   4 not the way we were raised.
   5       I think you've heard me say before
   6 in the past that I'm -- I'm from Wyoming. I
   7 grew up in a ranching family. I grew up with
   8 four brothers. I have two brothers that are
   9 surviving. One of my brothers that I lost
  10 about -- oh gosh, I think it's probably been
  11 about seven years ago -- has two sons. And
  12 it's very important to my sister-in-law,
  13 their mother, that they not lose their ties
  14 to our family.
  15        My parents have set up a trust such
  16 that when they're gone, the family ranch is
  17 split evenly among the children, those
  18 surviving and those not, which is pretty
  19 incredible because in Wyoming girls don't
  20 normally inherit.
  21        I mean, there's a reason why I am so
  22 stubborn, crusty and definite about
  23 everything. If you grew up with my four
  24 brothers, you'd be the same way I am. You
  25 might be worse. But I'm also grateful for
  0015
   1 that background because what it does is it
   2 helps me come down here and make decisions.
   3 Sometimes I'm on this side of the aisle;
   4 sometimes I'm on that side of the aisle.
   5       But as Representative Vigil so
   6 eloquently put it, I believe in the same
   7 thing he does: Vote your conscience, vote
   8 your district, vote your party. And by the
   9 time I get through those first two, I really
  10 have a hard time deciding. The third, the
  11 party, is usually one of the last things that
  12 I look at.
                                                                                                    LEG HX 000675                   4590
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  13        Appellate    Case:
             So let's talk about14-1290      Document: 01019371763
                                 what this bill                                      Date Filed: 01/16/2015           Page: 201
  14 will do. What this bill will do is -- I am
  15 struggling because I have multiple firearms
  16 that my uncle gave to me. My uncle gave them
  17 to one child out of five. And I have a --
  18 two nephews: Chris is a senior -- well,
  19 he's -- he's in his last year of -- he's
  20 getting his doctorate in neuroscience
  21 engineering, and he's at Berkeley.
  22         It's really important to Chris to
  23 maintain his -- his connections to Wyoming.
  24 It really is. I mean, he doesn't live there.
  25 He hasn't lived there. He grew up in
  0016
   1 Colorado until they moved to Kentucky. He
   2 hasn't been in Wyoming at all, but that --
   3 that heritage -- that heritage is important.
   4        So if I make a transfer of the guns,
   5 I can't do it in Colorado. He was born in
   6 this state. I can't do it in Colorado
   7 without a background check. What kind of a
   8 message am I sending to my nephew? I love
   9 you. I miss your father. He was my -- my
  10 best friend. But you can't have anything
  11 that has to do with the heritage of the men
  12 in your family that has to do with a firearm
  13 unless you go through a background check.
  14 That's what I'm telling him.
  15         His younger brother, Peter, all
  16 Peter wants to do is finish college and teach
  17 high school. Same thing, what am I telling
  18 him? And you might think, oh, well, she's
  19 just whining, this is just family. But you
  20 know what? This is family. This is our
  21 heritage.
  22         And I know I'm not going to change
  23 your minds, but what I would like you to
  24 remember is that when you vote yes on this
  25 bill, you're killing a part of the heritage
  0017
   1 of our state, and you're killing part of the
   2 liberties of our state.
   3        Thank you.
   4        SPEAKER OF THE HOUSE: Representative
   5 Stephens.
   6        REPRESENTATIVE STEPHENS: Thank you,
   7 Mr. Speaker.
   8        Members, this bill and its companion
   9 bill, as I think in our second reading
  10 debates and now today, we kept talking about
  11 what does this really do?
  12         I understand Representative McCann's
  13 concern and certainly understand that through
  14 this people that would -- that have domestic
                                                                                                    LEG HX 000676                   4591
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021813.txt[11/12/2013 10:57:47 AM]
           Appellate
  15 violence    recordsCase:
                         are now14-1290       Document:
                                  on some level  -- the 01019371763                  Date Filed: 01/16/2015           Page: 202
  16 belief is that they be identified; however,
  17 I'm of the belief that -- and we have seen
  18 that when evil's intent on doing evil, evil
  19 wins.
  20         But what concerns me most -- and I
  21 know some have said, Well, this creates a gun
  22 registry, that this can move on to something
  23 far beyond what we thought, and, you know,
  24 normally I might say not so sure about that.
  25         But, you know, I brought up this
  0018
   1 fiscal note, and I'm going to bring it up
   2 again because this fiscal talks about 24
   3 people to 29 people, and then we move on to
   4 the part that -- that really wasn't
   5 announced, and that's 56 more people on top
   6 of those 24 and 29 people, for a supposed
   7 system update.
   8        Folks, we don't -- we don't have
   9 50-something people even right now doing
  10 background checks. If this doesn't concern
  11 you, I don't know what will. I -- I -- so
  12 now we'll be at somewhere between 70- to
  13 80-something people.
  14         And -- and because this wasn't
  15 brought out in the front part of the fiscal,
  16 it says, well, he might ask for it at budget
  17 time. We'll -- we'll ask for it at budget
  18 time later. The reason this is brought up is
  19 because it will be. It will be. Mark my
  20 words. I've seen this one too many times,
  21 that this absolutely will be brought up.
  22         Why? 79-80 people? Do we have that
  23 many transfers? I mean, do we have that many
  24 things that will be going on to close the
  25 loophole that we're going to require that
  0019
   1 many people?
   2        Folks, I have a very big concern
   3 about this and about where it goes. And in
   4 other states that -- that look and talk about
   5 this, I just have to say, you know, I know
   6 we're at the front edge of this, and I -- I
   7 understand that.
   8        And I think what's happening today
   9 is historic, and I think we should be very
  10 somber about it. I think we should be very
  11 somber about this and very somber about the
  12 other things, the other bills coming up
  13 before us.
  14         But I have to say, if this isn't
  15 registry and we are not doing what we should
  16 do in a very quick manner -- I know we have
                                                                                                    LEG HX 000677                   4592
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021813.txt[11/12/2013 10:57:47 AM]
  17 someAppellate      Case:
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                                 not for      Document: 01019371763                  Date Filed: 01/16/2015           Page: 203
  18 80-something-plus people. We're creating new
  19 departments in and of themselves, and that to
  20 me is a pause for concern.
  21         So with that, I do not support House
  22 Bill 1229 or any of the other four bills.
  23        Thank you.
  24         SPEAKER OF THE HOUSE: Representative
  25 DelGrosso.
  0020
   1        REPRESENTATIVE DELGROSSO: Thank
   2 you, Mr. Speaker.
   3        And Representative Stephens took a
   4 little bit of my thunder, but I will try to
   5 expand on what she was trying to hint at and
   6 the fact that we brought this up the other
   7 day on second reading, and we still never
   8 heard how is this bill going to be enforced.
   9        You can enforce the up-front gun
  10 registration, when I go into the local dealer
  11 or if I go to the gun -- gun -- to the gun
  12 show. But you know who owns the weapon at
  13 that point, and so you can say we're
  14 transferring that.
  15         But if there's two guys out in the
  16 woods, they're hunting, and Representative
  17 Gerou has one of the guns that she inherited
  18 from her uncle and she's out there with us
  19 too and she shows me this awesome gun that
  20 she inherited, and I was like, you know,
  21 Representative Gerou, I'd really love to have
  22 that. And somehow, whether through a trade
  23 or a purchase or whatever it is, I acquire
  24 that weapon, but there is no -- nothing out
  25 there that shows that she owns those weapons.
  0021
   1 And when I take possession of that, that I
   2 own the weapon.
   3        And so there is -- the only way this
   4 bill can be enforced is through a registry.
   5 You have to know who owns the weapon to be
   6 able to get this fiscal note to know who's
   7 breaking the law and who's transferred a
   8 weapon from one person to the other.
   9        So let's not kid ourselves when we
  10 think that this is only black helicopter
  11 stuff, that that's a registry. That's the
  12 only way this bill can be enforced.
  13         I urge a no vote on House Bill 1229.
  14         SPEAKER OF THE HOUSE: Representative
  15 Lawrence.
  16         REPRESENTATIVE LAWRENCE: Thank you,
  17 Mr. Speaker.
  18         I rise in opposition to this bill
                                                                                                    LEG HX 000678                   4593
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            Appellatereasons
  19 for numerous      Case:really.
                               14-1290I haveDocument:
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  20 information in front of me. There was a CDC
  21 panel review, 51 studies regarding the
  22 effectiveness of gun control laws. Based on
  23 that review, they could not say that gun laws
  24 prevented a single crime.
  25         The survey included, among other
  0022
   1 issues, studies of the effectiveness of gun
   2 and ammunition bans, licensing and
   3 registration laws, child access laws, and
   4 waiting periods.
   5        There was some slight evidence that
   6 a waiting period to purchase a firearm may
   7 reduce gun suicide rate in older persons,
   8 while not affecting the overall suicide rate.
   9        And again, I have to go back to what
  10 Representative Stephens and Representative
  11 DelGrosso brought up. If this is not gun
  12 registration, how is a transfer of arms going
  13 to be verified?
  14         The CBI has stated that once you go
  15 through a background check, that information,
  16 once you are approved for that sale, that
  17 information is deleted from their database in
  18 24 hours. So if you're stopped by a police
  19 officer and you say, I have a weapon in the
  20 car, how is he going to be able to check to
  21 see whether you went through a background
  22 check unless this is registration?
  23         And I've been told over and over
  24 again by the sponsors that's not what it is,
  25 but I also just heard from Representative
  0023
   1 Fields that these are all incremental steps,
   2 and we're not done with this yet. That
   3 certainly gives me pause on all four of these
   4 bills.
   5        There are issues in this bill that
   6 are just unclear and unenforceable.
   7        The transfer of a family item from
   8 one generation to the next. This bill only
   9 allows for a direct transfer to direct family
  10 members. Well, what about blended families,
  11 aunts and uncles, cousins, nephews? I think
  12 it's unreasonable to ask a member of my
  13 family to go through a background check to be
  14 given something that was owned by a member of
  15 their own family.
  16         But ultimately this law is
  17 unenforceable. If, as Director Sloan of the
  18 CBI stated several times, background check
  19 information is deleted after 24 hours, this
  20 law is unenforceable, and it is just a bad
                                                                                                    LEG HX 000679                   4594
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  21 law. Appellate    Case:
            We don't need    to 14-1290     Document:
                                add layer upon  layer 01019371763                    Date Filed: 01/16/2015           Page: 205
  22 of things that are unenforceable in this
  23 state.
  24        I urge a no vote on this bill.
  25        SPEAKER OF THE HOUSE: Representative
  0024
   1 Saine?
   2       Representative Holbert.
   3       REPRESENTATIVE HOLBERT: Thank you,
   4 Mr. Speaker.
   5       Members, I rise in opposition to
   6 House Bill 1229.
   7       As Representative Stephens and
   8 Representative Lawrence have both accurately
   9 pointed out, this system cannot work without
  10 some future move towards registration. You
  11 cannot account for these objects -- rifles,
  12 handguns. You can't account for them unless
  13 you have some registration database.
  14        And I believe Representative
  15 Stephens is absolutely right, to have that
  16 many people coming online, that many
  17 full-time equivalents into our state payroll,
  18 there's got to be something bigger. Maybe we
  19 haven't seen all the bills. Maybe that's yet
  20 to come this -- this session. I -- I don't
  21 know. Maybe that's some time off in the
  22 future, but this is designed obsolescence.
  23 This is designed failure. This bill can't
  24 work.
  25        It troubles me that sometimes I --
  0025
   1 I'm left with the impression that people who
   2 have never purchased a gun, never gone
   3 through that background check, are attempting
   4 to regulate and modify that process.
   5       This process, if this bill becomes
   6 law, could provide greater protection for
   7 firearms dealers because they keep the
   8 documentation. But if you've ever purchased
   9 a firearm, I would be shocked to know that
  10 you actually have a copy of that form that
  11 you fill out or any sort of receipt that
  12 shows that you actually passed that
  13 background check, because it's not for your
  14 security, it's not for the purchaser's
  15 security, it's for the firearms dealer, that
  16 they cannot conduct this transaction without
  17 going through that background check.
  18        So now two private citizens will
  19 walk into a firearms dealer, and we had the
  20 conversation on second reading as to whether
  21 the firearms dealer would be required to
  22 provide this service, and we were assured no,
                                                                                                    LEG HX 000680                   4595
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   9 here. Appellate
            Do you -- Case:
                       can you14-1290     Document:
                                tell me what the likely 01019371763                  Date Filed: 01/16/2015            Page: 206
  10 scenario is of this law going into effect in Colorado
  11 in affecting criminals' access to high-capacity
  12 magazines? Or is this just designed to make sure that
  13 the law-abiding citizen is held back?
  14           THE CHAIRWOMAN: Mr. Chipman.
  15           MR. CHIPMAN: My prediction would be that
  16 it would have a similar impact as we've seen in other
  17 places. I described, and I believe the senator
  18 described, what the experience was in Virginia. And
  19 what I would imagine is over time, and not immediately,
  20 but over a length of years you would see reductions in
  21 their use and seeing them in crimes.
  22           SENATOR LUNDBERG: Okay. Thank you.
  23           THE CHAIRWOMAN: Thank you.
  24 Senator King.
  25           SENATOR KING: Thank you, Madame Chair.
  0028
   1          Mr. Chipman, can you tell me, do you know
   2 the most popular personal safety firearm in the United
   3 States?
   4          THE CHAIRWOMAN: Mr. Chipman.
   5          MR. CHIPMAN: No.
   6          THE CHAIRWOMAN: Senator King.
   7          SENATOR KING: It's a Glock 17. Do you
   8 know why it has 17 in its name?
   9          THE CHAIRWOMAN: Mr. Chipman.
  10           MR. CHIPMAN: One thing I would ask you
  11 is I don't know that that's -- what you're saying is
  12 correct, I don't know that. But I will take it that
  13 you believe that the Glock 17 is the most popular. And
  14 I would imagine it's called a 17 because it has a
  15 capacity of 17 rounds.
  16           SENATOR KING: Correct.
  17           THE CHAIRWOMAN: Senator King.
  18           SENATOR KING: I'm done.
  19           THE CHAIRWOMAN: Okay. Any other
  20 questions?
  21           Mr. Chipman, thank you for being here
  22 today.
  23           MR. CHIPMAN: Thank you.
  24           THE CHAIRWOMAN: Patricia Maisch? Oh,
  25 Mr. Chipman, could you sign a slip outside so that we
  0029
   1 know that you were here today? Thank you.
   2          Welcome, Ms. Maisch. Please introduce
   3 yourself and proceed with your testimony.
   4          MS. MAISCH: I'm Patricia Maisch from
   5 Tucson, Arizona. My sister Mickey Zay is a 40-year
   6 resident of Colorado Springs, and she is here with me
   7 today and stands by my word to you. We are asking you
   8 to support your House Bill 1224 to limit magazine
   9 capacity to 15 rounds.
  10           Thank you, distinguished members of this
                                                                                                     LEG HX 000681                   4596
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           Appellate
  23 but again,        Case: 14-1290
                  an amendment    to clarify Document:
                                             that was  01019371763                   Date Filed: 01/16/2015           Page: 207
  24 defeated.
  25        But that firearms dealer doesn't
  0026
   1 give the purchaser or the seller
   2 documentation to show that that transaction
   3 was conducted legally. The firearms dealer
   4 maintains that documentation for him or
   5 herself, for their own protection. So it's
   6 been pointed out over and over again, if
   7 you're driving down the street with a firearm
   8 in your car, which, by the way, in Colorado
   9 is legal, now it may not be unless you can
  10 prove how you came into possession of that
  11 firearm, and you can't without registration.
  12       How can you tell where that handgun
  13 with that serial number came from? If you
  14 can show that you bought a particular model
  15 handgun, how can you prove that it's that
  16 one?
  17        You can't. It is impossible. And
  18 given that impossibility, it is clear that
  19 this bill is either totally misguided and the
  20 people do not understand what they're doing,
  21 or it's completely intentional, and it leads
  22 to registration. That's not -- that's not
  23 black helicopters, as was mentioned earlier,
  24 that's blatantly obvious. And the people of
  25 Colorado know it.
  0027
   1       Look at the e-mails that you've
   2 received. Listen to those phone messages.
   3 The voters understand what we're doing here.
   4       And I ask for a no vote on 1229.
   5       SPEAKER OF THE HOUSE: Representative
   6 Kagan.
   7       REPRESENTATIVE KAGAN: Thank you,
   8 Mr. Speaker.
   9       I ask, members, is there no middle
  10 ground? Is there nothing in the area of
  11 public safety on which we can agree, not even
  12 these modest steps? I suggest there is. I
  13 suggest there should be.
  14        This bill asks that when people
  15 transfer a firearm, they should be careful.
  16 They should do it with care. They should
  17 know to whom they are giving a gun. And this
  18 bill suggests is that we will all look out
  19 for each other.
  20        That is a modest step on which I
  21 would have hoped that we could agree, because
  22 I think there should be a middle ground, and
  23 a middle ground is this: Let's look out for
  24 each other and make sure that we're all
                                                                                                    LEG HX 000682                   4597
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           Appellate
  25 careful            Case:
               for the good of 14-1290      Document:
                               all of us when  we     01019371763                    Date Filed: 01/16/2015           Page: 208
  0028
   1 transfer a firearm. Let's make sure that we
   2 do not give firearms, sell firearms, transfer
   3 firearms to people who none of us want to
   4 have them. Let's cover for each other.
   5 Let's work together. Let's stand together.
   6       And for that reason, let's vote yes
   7 on House Bill 1229.
   8        SPEAKER OF THE HOUSE: Representative
   9 Saine.
  10         REPRESENTATIVE SAINE: Thank you,
  11 Mr. Chair.
  12         Esteemed colleagues, I stand before
  13 you today in opposition of this bill because
  14 I do not believe this bill will prevent
  15 criminals from buying guns. It will just
  16 keep criminals from buying them from a
  17 certain avenue.
  18         Sponsor, Representative McCann, said
  19 that she didn't understand the objections to
  20 bill. So let me see if I can explain.
  21         CBI has been criticized for the
  22 length of time it takes over a federal
  23 background check. I'll explain a little bit
  24 more on that in just a moment.
  25         But I want to express that I know
  0029
   1 that if you hear a thousand negative stories
   2 about something, it's hard to change your
   3 paradigm.
   4        There's been a lot of hypotheticals
   5 here as far as what could happen in a certain
   6 scenario without a background check. So
   7 allow me to run a few nonhypotheticals past
   8 you.
   9        For example, in Clearwater, Florida,
  10 at 1:05 in the morning, a man started banging
  11 on a patio door, beat on the family's truck,
  12 and then opened that patio door. And after
  13 numerous shouted warnings to stop, to stop, a
  14 single -- a 16-year-old boy fired a single
  15 rifle shot, wounding the attacker.
  16         Columbia, South Carolina, two gas
  17 station employees had just left work after
  18 midnight, and two men attempted to rob them,
  19 beating them about the head and neck with a
  20 shovel handle. The male employee broke away
  21 long enough to draw a handgun from his pocket
  22 and shoot his attacker.
  23         Detroit, Michigan, a mentally
  24 disturbed man yelled that the President was
  25 going to have him killed and started firing
  0030
                                                                                                    LEG HX 000683                   4598
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           Appellate
   1 at people          Case:
                 in passing    14-1290
                            cars. A man at Document:
                                            the      01019371763                     Date Filed: 01/16/2015           Page: 209
   2 scene had a permit to carry a concealed
   3 handgun and fired shots that forced the
   4 attacker to run away.
   5       I'll give you just a couple more.
   6      What if you had an ex-boyfriend or
   7 abusive spouse that broke in your door? What
   8 do you expect those women to do while they're
   9 waiting on a background check? Throw a
  10 kitchen knife? Throw a shoe?
  11        Well, let me tell you about what
  12 happened in Columbia Falls, Montana. This
  13 indeed happened. An ex-boyfriend broke into
  14 a woman's home to sexually assault her. She
  15 got away long enough to get her pistol and
  16 hold her attacker at gunpoint until the
  17 police arrived.
  18        There are 40 such stories, where
  19 folks used handguns or guns or rifles
  20 defensively, 40 of these stories in a
  21 two-week period.
  22        The two-week period was between
  23 March 11-17 of 2001, and July 22-28, 2001.
  24        It may shock you to know that guns
  25 are actually used 1.5 to 3.4 million times a
  0031
   1 year, defensively used. So why don't we hear
   2 about this more often? You don't seem to
   3 hear about these stories because probably
   4 nothing, you know, nothing bad happened or
   5 something bad or worse was avoided.
   6       There are many surveys where people
   7 are asked if they were victims of a gun
   8 incident. Often that survey is a little bit
   9 skewed because they're not going to answer
  10 that they were victims, some of these folks.
  11 They're not going to answer that they're
  12 victims of a crime because simply they
  13 weren't because they had a gun to defend
  14 themselves and quickly.
  15        Background checks would not have
  16 stopped the killers at Newtown. There were
  17 three instances the week that Newtown
  18 happened. We had Newtown, we had a shooting
  19 in the Clackamas Mall in Washington State,
  20 and we had a theater shooting down in San
  21 Antonio.
  22        Consider, again, folks, that we know
  23 the killers intend to die at the scene.
  24 Consider that when equal force showed up, the
  25 shooting stopped. Either a concealed-carry
  0032
   1 weapon holder showed up, pointed his weapon,
   2 and the shooter took his own life, or the
                                                                                                    LEG HX 000684                   4599
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   3 policeAppellate
              showed and Case:
                            shot14-1290
                                 the shooter. Document:
                                                Killers 01019371763                  Date Filed: 01/16/2015           Page: 210
   4 are cowards. They're stopped only when equal
   5 force shows up or the threat of equal force
   6 shows up.
   7        And criminals agree that they prefer
   8 unarmed victims. And this background check
   9 on transfers is certain to create more
  10 victims.
  11         Consider this: The wait time for a
  12 background check of a woman seeking to
  13 protect herself against an abusive partner;
  14 an employee who switched to evening shift
  15 suddenly and finds himself in a dangerous
  16 situation, how long shall they wait? How
  17 long shall these women wait?
  18         Or a college student who decides
  19 they need to take night classes, and they
  20 have to walk on campus alone, there's no call
  21 boxes. How long shall they wait? How long
  22 should they wait to defend themselves when we
  23 know that only the law-abiding will abide
  24 with these gun laws? Criminals will never,
  25 ever abide by these gun laws. They will not
  0033
   1 be caught by background checks, and if they
   2 are, they'll just simply buy them someplace
   3 else.
   4        I urge a no vote, colleagues. I
   5 urge a no vote on this bill. Don't let them
   6 wait. Don't let them wait.
   7        Thank you.
   8        SPEAKER OF THE HOUSE: Representative
   9 Wilson.
  10         REPRESENTATIVE WILSON: Thank you,
  11 Mr. Speaker.
  12         It's an interesting situation I find
  13 myself in. Because of my age, I'm one of the
  14 more senior members here on the floor, but
  15 because of my experience, I'm a newbie. So
  16 it's a rather unique experience.
  17         In the short time I've been here,
  18 there's three things that I've learned, and I
  19 think they are important things to consider
  20 as we talk about these bills.
  21         Number one, I'm amazed at the
  22 collective wisdom of this body. It's -- it's
  23 truly humbling and -- and an honor to serve
  24 with you. It's just amazing to me the -- the
  25 collective wisdom that's -- that's here.
  0034
   1        I've also been amazed that both
   2 sides tend to dig in their heels, and I must
   3 have missed that part in anatomy class in
   4 college, where it said when you dig in your
                                                                                                    LEG HX 000685                   4600
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   5 heels,Appellate    Case:shuts
             it automatically   14-1290
                                     off yourDocument: 01019371763                   Date Filed: 01/16/2015           Page: 211
   6 hearing because I've noticed that,
   7 unfortunately, these impassioned speeches
   8 that we make up here oftentimes fall on deaf
   9 ears, and that's a shame.
  10         For example, Representative Fields,
  11 I passionately believe in the same things
  12 that you do, and I -- I fully understand what
  13 you're -- what you're working on and what
  14 you're trying to do. I also passionately
  15 disagree with how you're trying to do it.
  16        But that's the way it is, and that's
  17 why I think we need to listen to both groups
  18 and try to find that common ground, because
  19 that's what's going to make the difference.
  20         The third thing I've learned is that
  21 our best-intentioned legislation that we are
  22 passing or trying to pass in this body,
  23 oftentimes, the unintentioned (sic)
  24 consequences make it bad legislation. And
  25 I've had some of my bill ideas fall prey to
  0035
   1 that, essentially because my best intentions
   2 didn't work out that well.
   3        1229, 1229. It's not bad
   4 legislation in its intent, but the
   5 enforcement of 1229 makes it bad legislation
   6 in its function.
   7        This last Friday evening I asked one
   8 of the bill's cosponsors, Representative
   9 McCann, if I were stopped by law enforcement,
  10 how would I prove that the weapons in my
  11 backseat were owned legally before this
  12 legislation went through?
  13         The first response was, You'll have
  14 a background check. No, I won't, because I
  15 owned these weapons before this went into
  16 effect, and part of them were passed down.
  17 The second answer, Well, you'll have a
  18 receipt. No, I won't, because my parents are
  19 dead, my grandparents are dead, and some of
  20 those weapons that I now possess were
  21 acquired 10, 20, even 30 years ago. Third
  22 answer, then the police will decide.
  23         That's when the lights went off.
  24 The police would decide my guilt or
  25 innocence. Am I really innocent until proven
  0036
   1 guilty? You see, we've been talking about
   2 infringement on Second Amendment rights, I
   3 think this is larger than that.
   4        That tramples, ladies and gentlemen,
   5 on my fundamental right to be innocent until
   6 proven guilty. It should not be on my
                                                                                                    LEG HX 000686                   4601
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           Appellate
   7 shoulders         Case:
                 to prove      14-1290 in Document:
                          my innocence       that   01019371763                      Date Filed: 01/16/2015           Page: 212
   8 situation.
   9       In fact, in one of the other bills
  10 during that debate in front of our committee,
  11 the statement was made, you should be happy
  12 to prove your innocence. No, I am happy that
  13 I am innocent until proven guilty. In this
  14 country that assumes that right, ladies and
  15 gentlemen, the fact remains, even the most
  16 heinous of crimes, they are presumed innocent
  17 until proven guilty. That famous word,
  18 alleged, that we hear on the news channels
  19 each and every day.
  20        Colleagues, this bill presents a
  21 quagmire of presumed guilt. A quagmire of
  22 presumed guilt. I find it unbelievable that
  23 we would even consider a bill that would open
  24 myself and the law-abiding citizens of
  25 Colorado to the assumption of guilt in any
  0037
   1 degree.
   2       I urge a no vote on 1229.
   3       SPEAKER OF THE HOUSE: Madame
   4 Majority Leader.
   5       REPRESENTATIVE HULLINGHORST: Thank
   6 you, Mr. Speaker.
   7       I stand in support of this bill, and
   8 I thank the sponsors for bringing it. It is
   9 a very reasonable bill. It's a bill that
  10 protects public safety.
  11        There are all kinds of facts and
  12 figures that show that that happens with the
  13 current legislation about background checks,
  14 the current law that we all abide by in this
  15 state.
  16        This is a -- an expansion of that.
  17 This closes a loophole. This will keep us
  18 safer. And I hear from my constituents that
  19 they think that this is a very good approach.
  20 It's a very important approach that we should
  21 pursue. That's why I support it so strongly.
  22 This will keep people safer.
  23        I resent the implication that unless
  24 we all arm ourselves, we will not be
  25 adequately protected. I hope that there are
  0038
   1 people that really don't believe that. I
   2 certainly don't believe that. I resent the
   3 implication that I should arm myself to
   4 protect myself.
   5       Now, I know some of you think I'm
   6 slightly petite and small, but I feel like I
   7 can protect myself pretty well. But guess
   8 what? What the chips are down, I want to be
                                                                                                    LEG HX 000687                   4602
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   9 able toAppellate
              rely on a Case:  14-1290 Document:
                        good government.    I want to 01019371763                    Date Filed: 01/16/2015           Page: 213
  10 be able to rely on the law enforcement people
  11 that we rely on and that we hire as a
  12 government and a people to protect us.
  13         There are situations where I cannot
  14 protect myself, and I will not pretend that
  15 buying a gun will solve that problem. But I
  16 do want to know that we do things here that
  17 make us safer, and this bill will make me
  18 feel safer because I know that we will
  19 prevent additional people who should not own
  20 guns from having guns.
  21         The people in this state want us to
  22 do this. I believe it's the right thing to
  23 do, and I ask for a yes vote.
  24         SPEAKER OF THE HOUSE: Representative
  25 Murray.
  0039
   1        REPRESENTATIVE MURRAY: Thank you,
   2 Mr. Speaker.
   3        In addition to many of the arguments
   4 that have been brought in opposition to this
   5 bill, I would like to add my questioning
   6 of -- of the procedures that have been set
   7 up.
   8        Basically we are asking people who
   9 are not selling the product that they're
  10 having to perform a background check for, for
  11 $10, to perform a government function.
  12         If any of you've been in a
  13 mom-and-pop gun shop on a weekend, it's a
  14 very busy place, and people are looking at
  15 guns, you know, and so they generally have
  16 employees that are -- are helping customers.
  17 And I'm just picturing a line of people out
  18 the door that -- that have just, you know,
  19 been willed a gun or have privately bought
  20 and sold a gun, and literally lined up at the
  21 door, you know, getting impatient like at the
  22 post office, why aren't these people helping
  23 me to get my background check for this
  24 transaction?
  25         That's not a reasonable expectation
  0040
   1 of government to have of a retail operation.
   2        So I would say that, you know,
   3 when -- when this procedure was structured,
   4 it should have been through government, if
   5 that's government's desire, rather than
   6 forcing it upon retailers for a $10 fee, for
   7 Pete's sake. They're going to have to hire
   8 additional employees to effect this bill.
   9        And so I think what we'll see next
  10 is, they'll be coming to us saying we need
                                                                                                    LEG HX 000688                   4603
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  11 moreAppellate
              money forCase:    14-1290
                         this. Well, so thenDocument:
                                             we're    01019371763                    Date Filed: 01/16/2015           Page: 214
  12 charging more for a Second Amendment right
  13 that we shouldn't be charging anything for.
  14         So I -- I take to heart
  15 Representative Fields' comments that this is
  16 just a first of many bills, or this group is
  17 a first of many bills. And it saddens my
  18 heart, because, you know, what we're seeing
  19 is the beginning of the end of some freedoms
  20 that we've always enjoyed here in the West.
  21         And I urge -- I urge a no vote on
  22 this bill.
  23         SPEAKER OF THE HOUSE: Representative
  24 Salazar.
  25         REPRESENTATIVE SALAZAR: Thank you,
  0041
   1 Mr. Speaker.
   2         So I spoke here in the well on
   3 Friday, and I said that I had some concerns
   4 about this bill. I thought that this bill
   5 didn't take into consideration, I think what
   6 Representative Lawrence had indicated,
   7 blended families. I certainly didn't feel
   8 that the definition of immediate family in
   9 this bill took into consideration how Latino
  10 families are.
  11         I have a cousin who is raised with
  12 us, and I call him my brother, I don't even
  13 call him my cousin. And he's younger than
  14 me, so he's my little brother, even though
  15 he's much larger than I am. And I was
  16 concerned that I wouldn't be able to -- to
  17 just give him my guns if I so decided to do
  18 so.
  19         But I had some -- I had dinner with
  20 him last night, and I said, man, I said this
  21 bill is just killing me because it just
  22 doesn't take into consideration some factors,
  23 particularly when it comes to family.
  24         And he looked at me, and he goes,
  25 Dang Brother, I've already passed one
  0042
   1 background check, I can always pass another
   2 one. Why do I care?
   3         And I just looked at him, and I was
   4 like, Well, yes, but it's the imposition of
   5 it all.
   6         And he says, Well, when you go
   7 purchase a weapon, that's already there. If
   8 you're going to give me the gun, I'm fine to
   9 go through another background check. And I
  10 said, Are you sure about that? He said,
  11 Yeah. What's the problem?
  12         And that clarified an awful lot of
                                                                                                    LEG HX 000689                   4604
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  13 thingsAppellate   Case:
              for me. And      14-1290
                            that's         Document:
                                   why I'm going to  01019371763                     Date Filed: 01/16/2015           Page: 215
  14 urge a yes vote on this bill. Because, as I
  15 indicated during our Judiciary Committee
  16 meeting, I wanted to see this bill move
  17 forward, and I wanted to see this bill move
  18 forward because, if it takes one tool away
  19 from a criminal in being able to purchase a
  20 weapon from a private seller, then that's
  21 what we should be doing.
  22        I have to agree with Representative
  23 Kagan, I really don't see what's wrong with
  24 this bill. There's nothing wrong with it at
  25 all.
  0043
   1        So I urge a yes vote.
   2        SPEAKER OF THE HOUSE: Representative
   3 Szabo.
   4        REPRESENTATIVE SZABO: Thank you,
   5 Mr. Speaker.
   6        And to acknowledge Representative
   7 Hullinghorst, I am small in stature also.
   8 And I am standing up.
   9        But you know what? Maybe I don't
  10 have the confidence of Representative
  11 Hullinghorst. If a 200-pound, six-four man
  12 comes after me, I want equal force. That's
  13 all I want. I don't want more force. I want
  14 equal force to know that I have a chance to
  15 become a grandmother, to play with my
  16 grandchildren whenever they come.
  17        I don't want to have to choose
  18 whether I walk in the streets, go about my
  19 community alone. I don't want to have to be
  20 fearful if I choose not to be. I want every
  21 tool that would be at my disposal.
  22        I believe that this bill gives
  23 empowerment to the criminals.
  24        Representative Kagan mentioned
  25 common ground. Common ground is equal force.
  0044
   1 It's not someone being stronger or bigger
   2 than you.
   3        So many of the bills we bring here
   4 highlight the criminal's rights. And there
   5 are two opinions on that. The question is:
   6 Who am -- who are we obligated to protect,
   7 our children, our law-abiding citizens, or
   8 the criminal?
   9        Thank you for your time.
  10        SPEAKER OF THE HOUSE: Representative
  11 Schafer.
  12        REPRESENTATIVE SCHAFER: Thank you,
  13 Mr. Speaker.
  14        Members, I want to make a general
                                                                                                    LEG HX 000690                   4605
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           Appellate
  15 comment     about Case:   14-1290
                       all these bills. AndDocument:
                                             that's a 01019371763                    Date Filed: 01/16/2015           Page: 216
  16 comment I've heard many times, that there's
  17 nothing we can do, we can't prevent gun
  18 violence.
  19        If you would think back about 30
  20 years ago, do you remember when we said
  21 there's nothing we can do about sexual
  22 assault. People are just going to get raped,
  23 harassed? Do you remember when we said
  24 there's nothing we can do about drunk
  25 driving? People have a right to drive, they
  0045
   1 have a right to drink? How about there's
   2 nothing we can do about smoking? There's
   3 nothing we can do today about gun violence,
   4 right?
   5        Well, I urge you to think back on
   6 what we have done over the last 30 years for
   7 dangerous, violent practices that were
   8 killing millions of people, shattering the
   9 lives of their families, and costing the
  10 government millions of dollars.
  11        I refuse to stand here or to sit
  12 here and vote for doing nothing.
  13        Will these things we vote for
  14 eliminate gun violence? Of course not. The
  15 previous bills we've passed did not eliminate
  16 rape, sexual harassment, smoking, drunk
  17 driving. Did they significantly reduce these
  18 dangerous, violent practices against us,
  19 against our family members, against our
  20 citizens? They certainly did.
  21        And, therefore, I ask for your
  22 support on this bill, 1229, and the other
  23 bills.
  24        Thank you.
  25        SPEAKER OF THE HOUSE: Representative
  0046
   1 Saine.
   2        REPRESENTATIVE SAINE: Colleagues,
   3 we've heard there's nothing we can do about
   4 gun violence. Well, I think there is
   5 something we can do. We can sure -- make
   6 sure that more law-abiding citizens have guns
   7 to protect themselves.
   8        Consider the Aurora Theater
   9 shooting. There -- there would have been
  10 numerous theaters around the Aurora Theater
  11 that was chosen, but the killer didn't go to
  12 the one that was the largest theater. He
  13 didn't go to the closest theater. He had to
  14 drive past several theaters, in fact, the one
  15 that advertises itself as being the largest
  16 theater in Colorado. He went to the only one
                                                                                                    LEG HX 000691                   4606
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021813.txt[11/12/2013 10:57:47 AM]
           Appellate
  17 that had          Case: 14-1290
                a sign posted:                 Document: 01019371763
                                 No conceal-carry                                    Date Filed: 01/16/2015           Page: 217
  18 weapons are allowed.
  19        So, Representative Salazar, I
  20 disagree. Let's not give criminals another
  21 tool because if you only delay the
  22 law-abiding citizens from getting guns, you
  23 give an advantage to the criminal.
  24        And let me tell you something about
  25 being a woman having been attacked by a man
  0047
   1 much larger than myself. It's not equal
   2 force, even in hand-to-hand situations.
   3       And if you're in a rural area, the
   4 police can be up to 30 minutes away. And a
   5 kitchen knife just doesn't -- that just
   6 doesn't cut it. It just -- it just really
   7 doesn't.
   8       And if we're going to rely on
   9 government, even in the urban areas, the
  10 reason I want a concealed-carry is it's too
  11 hard to carry a policeman around.
  12        And let's consider one more thing.
  13 Background checks, restrictions on gun
  14 ownership, actually hurt the people,
  15 particularly poor blacks in urban areas where
  16 there is high crime, statistically because
  17 they cannot protect themselves.
  18        If there are background checks in
  19 the transfer of weapons, you will only slow
  20 down the law-abiding citizens and give
  21 another tool to aid the criminal.
  22        I urge a no vote.
  23        Thank you.
  24        SPEAKER OF THE HOUSE: Representative
  25 Fields.
  0048
   1       REPRESENTATIVE FIELDS: Thank you,
   2 Mr. Speaker.
   3       And I -- I -- I guess I first need
   4 to respond to Representative Saine's comment
   5 about the -- the shooter in Aurora because
   6 that did happen in my district. And where he
   7 lived, you know, that theater was right in
   8 the neighborhood, was right in the community.
   9 He did not have to pass other theaters to get
  10 there. That theater was the closest theater
  11 to his residence. Okay.
  12        This bill is not about equal force.
  13 This bill is about addressing private sales
  14 because right now, in the State of Colorado,
  15 private sales are unregulated.
  16        We've been hearing some comments
  17 about, you know, these bills do absolutely
  18 nothing. This bill will not do anything.
                                                                                                    LEG HX 000692                   4607
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021813.txt[11/12/2013 10:57:47 AM]
  19 And Appellate      Case:
            I can tell you that 14-1290
                                80 percent ofDocument:
                                              the      01019371763                   Date Filed: 01/16/2015           Page: 218
  20 voters in Colorado believe that a background
  21 check is a reasonable thing to do before a
  22 gun is transferred.
  23         40 percent of all guns are purchased
  24 privately. And convicted felons know that if
  25 they want to buy a gun, simply go on the
  0049
   1 Internet or simply look at a classified ad.
   2 And if you see someone advertising a gun,
   3 all's you have to do is call them up, and
   4 that gun will be transferred.
   5        Currently the CBI system works. I
   6 have a chart here that says that 956 people
   7 were denied access to a gun based on
   8 completing a CBI check. 956, that's close to
   9 a thousand.
  10         What this bill does, it expands our
  11 current system, which is proven to work.
  12 It -- it proved that 956 people in the month
  13 of January should not have a gun. Why? And
  14 this is from CBI InstaCheck, because they had
  15 committed homicide, because 22 of them had
  16 sexually assaulted someone. Some of them had
  17 robbery, some of them had burglary and
  18 dangerous drugs and other situations. So it
  19 works.
  20         We had -- we heard conversation
  21 about evil. If people are intending on doing
  22 evil, they will just do evil. Well, I will
  23 tell you evil cannot prevail in the presence
  24 of right. And I believe this bill is doing
  25 the right thing, because we are our brother's
  0050
   1 keepers, and we need to make sure that before
   2 a gun is transferred, if that person doesn't
   3 meet the disqualifiers, to keep that person
   4 from having a gun.
   5        This bill is widely supported by a
   6 whole host of people. This bill is supported
   7 by law enforcement. This bill is
   8 supported -- I mean, there's just a whole
   9 list of organizations that support background
  10 checks before a transfer of a gun.
  11         This should be a bill that -- where
  12 we should have some common ground. We should
  13 all be able to agree that we don't want to
  14 see someone who doesn't meet the criteria to
  15 owning a gun, which means if you're a
  16 convicted felon or if you are mentally ill
  17 and you're not supposed to have access to a
  18 gun, then you shouldn't have one.
  19         And that's what this bill does.
  20 It's going to keep the hand -- the guns out
                                                                                                    LEG HX 000693                   4608
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  21 of theAppellate
             hands of Case:
                        people 14-1290      Document:
                                who are dangerous and 01019371763                    Date Filed: 01/16/2015           Page: 219
  22 for people who should not have them.
  23        So, members, I urge you to join me
  24 and 80 percent of the Colorado voters in
  25 supporting background checks for the transfer
  0051
   1 of guns.
   2       Thank you.
   3       SPEAKER OF THE HOUSE: Representative
   4 McCann.
   5       REPRESENTATIVE McCANN: Thank you,
   6 Mr. Speaker.
   7       I'd like to address some of the
   8 points that were made.
   9       First, actually, Representative
  10 Saine, Representative Hullinghorst, this bill
  11 actually will make you safer because that
  12 large man that you described will not be able
  13 to have a gun if he has a record, if he is a
  14 criminal. This is the point of this bill, is
  15 that those who should not have weapons will
  16 not be able to purchase them.
  17        So the bill is not about taking away
  18 Representative Saine's right to have a gun or
  19 any of -- anyone in this chambers right to
  20 have a gun -- as long as they can pass a
  21 background check.
  22        So arguments about being overpowered
  23 aren't really relevant to the issue of this
  24 bill, which is that it will require
  25 background checks by everyone.
  0052
   1       And that is currently our situation
   2 with respect to people who buy them from
   3 licensed dealers or at gun shows.
   4       The arguments that are being made
   5 would argue against background checks at all.
   6 Delays in waiting for the background check to
   7 clear, things of that sort, would argue
   8 against what is already in our law, and that
   9 is that we do require background checks. The
  10 $10 fee is already in our law. The fact that
  11 the dealers must keep the record of a sale is
  12 already in our law. The fact that if the
  13 purchaser requests a copy of the background
  14 check clearance, that's already in our law.
  15        And, Representative Wilson, I have
  16 wanted to speak directly to you because we
  17 did have this conversation.
  18        This is -- this is the way the law
  19 is now for background checks. So if you have
  20 guns in your car that you have obtained
  21 through a background check, that's the way
  22 the law is now. There's no requirement that
                                                                                                    LEG HX 000694                   4609
file:///X|/...B%201224%20and%201229/HB%201229/Transcripts%20of%20legislative%20history/House%20Bill%2013-1229-021813.txt[11/12/2013 10:57:47 AM]
           Appellate
  23 you show           Case:
                 the police     14-1290 Document: 01019371763
                             something.                                              Date Filed: 01/16/2015           Page: 220
  24        What happens is it's the transfer of
  25 the weapon that's illegal. So if you were
  0053
   1 ever charged with something like that, your
   2 dealer has a record of that, and that is our
   3 current law.
   4       So it's -- we're not changing
   5 anything of that proof requirement or any
   6 enforcement requirement in this bill. All
   7 we're doing is extending our current law to
   8 people who purchase the guns privately or
   9 through the Internet.
  10        We're not changing enforcement
  11 requirements. We're not changing any of
  12 that. It's really a very simple bill to
  13 expand that the -- the fact that everyone who
  14 purchases a gun needs to have a background
  15 check. It's common sense. It's
  16 reasonable -- it's a reasonable requirement,
  17 and it is supported by the vast majority of
  18 our constituents.
  19        I would remind our colleagues that
  20 in 2000 -- in 2000, the people of Colorado
  21 voted 70 percent to 30 percent to require
  22 background checks in gun shows. That's
  23 already in our statute. And the way this
  24 bill would apply does not change any of that,
  25 does not change enforcement, does not change
  0054
   1 the way we do the business. It simply
   2 expands it to private sales, clearly
   3 supported by the majority of Colorado
   4 residents.
   5       And just -- I just want to also
   6 mention that -- respond to this idea that you
   7 can't will a gun to your -- your child. The
   8 law -- the bill allows for transfer to family
   9 members and also by operation of law. So
  10 Representative Gerou will be able to leave
  11 her firearms to her children under this bill.
  12        And, finally, I want to just point
  13 out again a few statistics because of the
  14 need for data.
  15        According to Department of Justice
  16 statistics, in states that require background
  17 checks for every handgun sale, 38 percent
  18 fewer women are shot to death by intimate
  19 partners.
  20        In 2011 the most -- the year for
  21 which most recent data is available, at least
  22 13 of the 34 domestic violence deaths in
  23 Colorado occurred in cases where the domestic
  24 violence offender used a firearm despite
                                                                                                    LEG HX 000695                   4610
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  25 beingAppellate
            prohibitedCase:
                         under 14-1290
                               the law fromDocument: 01019371763                     Date Filed: 01/16/2015           Page: 221
  0055
   1 purchasing or possessing firearms. So this
   2 bill will directly address those situations
   3 where a domestic violence offender is able to
   4 purchase a firearm.
   5       We also know that -- well, according
   6 to one study, domestic violence assaults
   7 involving a firearm are 23 times more likely
   8 to result in death than those involving other
   9 weapons or bodily force.
  10        Another study found that abused
  11 women are five times more likely to be killed
  12 by their abuser if the abuser owns a firearm.
  13        This bill is a common-sense response
  14 to require everyone, not just those of you
  15 seated here, but everyone who wants to
  16 purchase a firearm to -- to go through a
  17 background check. It's a safety issue. It
  18 will provide a safer environment for all of
  19 us here in Colorado.
  20        And I urge a yes vote.
  21        SPEAKER OF THE HOUSE: Any further
  22 discussion?
  23        Seeing none, the question before the
  24 House is the passage of House Bill 1229 on
  25 third reading and final passage.
  0056
   1       Mr. Kolar, please open the machine.
   2       And, members, proceed to vote.
   3       Close the machine.
   4       With 36 aye votes, 29 no votes, zero
   5 excused, and zero absent, House Bill 1229 is
   6 passed.
   7       Cosponsors, closed --
   8       (Whereupon, the recording was concluded.)
   9
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   1      Appellate    Case: 14-1290 Document: 01019371763
                   CERTIFICATE                                                       Date Filed: 01/16/2015           Page: 222
   2 STATE OF COLORADO                     )
   3 CITY AND COUNTY OF DENVER                   ) ss.
   4
   5         I, Elissa Steen, Registered
   6 Professional Reporter and Notary Public in and for
   7 the State of Colorado, do hereby certify that this
   8 transcript was taken in shorthand by me from an
   9 audio recording and was reduced to typewritten form
  10 by computer-aided transcription; that the speakers
  11 in this transcript were identified by me to the best
  12 of my ability and according to the introductions
  13 made and written materials provided; that the
  14 foregoing is a true transcript of the proceedings
  15 had; that I am not attorney, nor counsel, nor in any
  16 way connected with any attorney or counsel for any
  17 of the parties to said action or otherwise
  18 interested in its event.
  19          IN WITNESS WHEREOF, I have hereunto
  20 affixed my hand and notarial seal this 21st day of
  21 June, 2013.
  22
                 ________________________________
  23              Registered Professional Reporter
                          and
  24                     Notary Public
  25




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           Appellate Case: 14-1290 Document: 01019371763 Date Filed: 01/16/2015                                       Page: 223
  0001
   1 CITY AND COUNTY OF DENVER
   2 STATE OF COLORADO
   3 JUDICIAL COMMITTEE MEETING
   4 Taken on March 4, 2013
   5 HOUSE BILL 13-1229
   6 _____________________________________________________
   7            REPORTER'S TRANSCRIPT
   8 _____________________________________________________
   9
  10           This transcript was taken from an audio
  11 recording by Jana Mackelprang, Certified Realtime
  12 Reporter, Registered Professional Reporter, and
  13 Notary Public.
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  0002
   1 PUBLIC SPEAKERS:
   2 IN SUPPORT:
   3 Ron Sloan                      Page 8
     Mark Kelly                     Page 19
   4 Dan Oates                      Page 29
     David Chipman                     Page 33
   5 Jane Dougherty                    Page 38
     Del Phillips                  Page 41
   6 Karina Vargas                    Page 43
     Dave Hoover                     Page 51
   7 David Moses                      Page 52
     Katie Lyles                   Page 54
   8 Marjorie Sloan                   Page 57
     Tom Mauser                      Page 60
   9 Donald Macalady                    Page 65
     Alan Franklin                   Page 68
  10 Mark Thrun                       Page 75
     Jack Dais                    Page 77
  11 Amy Miller                       Page 80
  12
     IN OPPOSITION:
  13
     Krista Ceresa                  Page 86
  14 John Cooke                       Page 94
     Tom Grounder                      Page 104
  15 Doug Hamilton                      Page 108

                                                                                                    LEG HX 000698                   4613
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           Appellate Case: 14-1290
     Gene Pearcey                      Page Document:
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  16 David Kopel                        Page 117
     Adam Thompson                        Page 129
  17 Dudley Brown                        Page 134
     Daniel Carey                     Page 141
  18 Terry Maketa                       Page 144
  19
  20
  21
  22
  23
  24
  25
  0003
   1               PROCEEDINGS
   2            *     * * * *
   3           THE CHAIRWOMAN: Welcome to the
   4 presentation on 1229.
   5           SENATOR CARROLL: Thank you, Madam Chair.
   6 Thank you, Committee.
   7           I'm here today to present House Bill 1229
   8 for your consideration. And intense -- intense issue
   9 though it is, I wanted to start with -- I do think
  10 everyone agrees that law-abiding citizens should be able
  11 to own firearms and that guns should be kept out of the
  12 hands of dangerous criminals.
  13            As we all know, it is illegal for someone
  14 convicted of certain crimes to own or possess a firearm,
  15 but how do we enforce that? The only way we have to
  16 know whether or not someone is a law-abiding citizen or
  17 dangerous criminal is through a background check.
  18            House Bill 1229 simply requires the exact
  19 same background check before the private purchase of a
  20 gun that we already use when a gun is purchased from a
  21 licensed dealer or at a gunshow.
  22            I'm hearing this bill because gun violence
  23 has become an epidemic. And while 34 Americans die on
  24 average every day as a result of gun violence, this
  25 issue hit personally home for me when 70 people were
  0004
   1 shot down in the Aurora Century Movie Theater in my
   2 district this summer, fatally injuring 12 people.
   3           It's true a background check may not have
   4 stopped his first killing spree, but at least he
   5 couldn't pass a background check and legally purchase
   6 guns for a second one.
   7           We have been performing background checks
   8 for licensed gun sellers since 1993 and for gunshows in
   9 Colorado since 2002. But times have changed. And in
  10 the modern reality as we know, right now approximately
  11 40 percent of all the guns that are being sold are
  12 happening in private transactions. So at one point,
  13 your licensed firearms dealers and your gunshows were
  14 really where most people were making their purchases,
                                                                                                    LEG HX 000699                   4614
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           Appellate
  15 and that          Case:
               of course      14-1290
                          has made  sense. Document: 01019371763                     Date Filed: 01/16/2015           Page: 225
  16           Yet, if we leave 40 percent of the
  17 purchases without any screening mechanism of any kind,
  18 again to draw the line between law-abiding people who
  19 are fully entitled to the purchase and people who, under
  20 current Colorado law, convicted felons, who are not.
  21           This matters, this loophole matters when
  22 we do realize that 80 percent of the handguns that are
  23 found at crime scenes were actually purchased through
  24 private sellers. And if you think about it, that makes
  25 sense. If you are a criminal and you know you can't
  0005
   1 pass a background check, why would you go to a licensed
   2 gun dealer or a gunshow where you know they're going to
   3 run a background check?
   4          Now, that said, many do. And we've caught
   5 a good number of people who are ineligible under
   6 Colorado law through that mechanism. Yet, right now, by
   7 leaving this loophole, it is an exception that threatens
   8 to swallow the norm. And if we don't close it, it
   9 really begs leave to the effectiveness of running
  10 background checks in the other 60 percent when it is so
  11 easy to circumvent.
  12           Under the current law, 100 percent of
  13 criminals could purchase their guns through private
  14 sellers. Every criminal in the state of Colorado could
  15 simply evade a background check.
  16           We have data to tell us that background
  17 checks do work. And I'll be the first to acknowledge
  18 that nothing is perfect. This mechanism has, in fact,
  19 detected in block sales of over 700,000 sales nationally
  20 of guns that would have gone to criminals but for the
  21 background check. In 2012, in Colorado alone, 5,607
  22 applicants were denied because background checks
  23 revealed ineligible criminal purchasers.
  24           So why are background checks a good idea?
  25 In states that require a background check for every
  0006
   1 handgun sale, there are 38 percent fewer women who are
   2 shot to death by intimate partners, according to the
   3 Department of Justice. Data also shows that after
   4 Colorado closed the gunshow loophole, Colorado went from
   5 the 17th largest source of guns found at crime scenes in
   6 other states, down to 32nd by 2009.
   7          The rate of suicide with a firearm in
   8 states with background checks on every gun sale is
   9 49 percent lower than on states that don't. And to be
  10 clear, the attempts are equivalent across states, of
  11 49 percent fewer suicide fatalities in the states that
  12 do the universal background.
  13           The overwhelming majority of the public,
  14 including NRA members polled, support background checks
  15 and closing loopholes for private sales, according to
  16 three separate polls, the most recent of which was
                                                                                                    LEG HX 000700                   4615
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  17 actually          Case:
               conducted      14-1290
                          February   21st toDocument:
                                             24th.      01019371763                  Date Filed: 01/16/2015           Page: 226
  18           That's not why we do what we do. At the
  19 end of the day, this is a difficult issue to approach,
  20 but the background check is the one and only way we have
  21 as a society to filter between making sure that
  22 law-abiding citizens can enjoy 100 percent of their
  23 rights to purchase the firearms of their choosing, but
  24 make sure that, at the same time, we keep guns out of
  25 the hands of dangerous criminals or convicted felons.
  0007
   1          I ask for your support on House Bill 1229.
   2 In my view, it is time to modernize Colorado's gun laws
   3 so that no one can purchase a firearm without a
   4 background check. Thank you.
   5          THE CHAIRWOMAN: Let me turn that on.
   6          Thank you so much, Senator Carroll.
   7          So I'll open it up to any of the committee
   8 members who might have a question for the sponsor, also
   9 reminding all of us here that we want to hear as many --
  10 as much of the public on these bills as possible.
  11           Is there any questions from committee
  12 members?
  13           See none.
  14           I think we have a list of -- of your
  15 expert witnesses. So I can first call your first
  16 witness, Ron Sloan.
  17           And, Ron, as you're walking up, I'll let
  18 everybody know that what I'll ask is that when you get
  19 up to the mic, that you would introduce yourself and who
  20 you're representing, if anybody. But there are a lot of
  21 individuals that aren't able to be here today that are
  22 listening, so we want to be as clear.
  23           And, also, as a communication for all of
  24 us, the norm that we have is that we come through the
  25 chair. And then we identify -- so I can identify who's
  0008
   1 speaking for our listening audience.
   2          Go ahead, Mr. Sloan.
   3          MR. SLOAN: Thank you, Madam Chair.
   4          My name is Ron Sloan, and I am the
   5 director of the Colorado Bureau of Investigation. And I
   6 am here today representing the Colorado Department of
   7 Public Safety and the Colorado Bureau of Investigation
   8 in support of House Bill 1229.
   9          What I thought I might do is briefly go
  10 through the process that is currently in place and has
  11 been in place since Colorado InstaCheck was reinstated,
  12 if you will, in 1999.
  13           Currently, all firearms transfers by
  14 licensed firearms dealers that we refer to as FFLs,
  15 those federally -- federal firearms licensees, and at
  16 gunshows require a background check on the transferee,
  17 the individual who will be receiving the firearm in the
  18 transfer. And what that background check is intended to
                                                                                                    LEG HX 000701                   4616
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  19 do isAppellate    Case:whether
            try to determine   14-1290      Document:
                                       or not             01019371763
                                              that transferee,                       Date Filed: 01/16/2015           Page: 227
  20 the individual receiving the firearm, can legally
  21 possess a firearm by federal law and Colorado law.
  22            In calendar year 2012, just to give you an
  23 idea of the volume that we've been experiencing through
  24 Colorado InstaCheck, we processed 343,302 transfer
  25 requests. Of those 343,302, we denied transfer on 7,362
  0009
   1 of those transfers. That's about 2.1 percent. The
   2 numbers of denials have been running at that rate for
   3 about three years now, at the 2 to 2.5 percent denials.
   4           In Colorado, those denials are based upon
   5 firearms prohibitors, factors that would require that
   6 the transfer be denied because there is a prohibitor to
   7 that individual being transferred the firearm to possess
   8 a firearm, to legally possess it. And by my count, I
   9 believe there are 11 different prohibitors that we
  10 utilize.
  11            In order to attempt to determine that, we
  12 check seven different databases. Four of those
  13 databases are the same databases that FBI NICS checks.
  14 That's the National Crime Information Center, the FBI
  15 NICS database, the FBI III, Interstate Identification
  16 Index, and immigration databases. And then in Colorado,
  17 we check three more databases. Colorado Division of
  18 Motor Vehicles and, nationally, the Division of Motor
  19 Vehicles to verify ID, the Colorado Crime Information
  20 Center, and the Colorado judicial database, PAS, P-A-S.
  21            Those are unique to Colorado. And because
  22 of our checking of those three unique databases, we were
  23 able to identify 1915 of those 7,362 denials that would
  24 not have been caught by FBI NICS checks alone.
  25            The types of things that we're able to see
  0010
   1 in those three databases that the FBI would not see in
   2 FBI NICS are issues such as protection orders that are
   3 not in the National Crime Information Center, felony
   4 juvenile adjudications -- in other words, an individual
   5 has been adjudicated as a juvenile for an offense that
   6 would be considered a felony if that individual were an
   7 adult -- domestic violence convictions not contained in
   8 the National Crime Information Center, fugitives of
   9 justice, individuals who have active warrants for their
  10 arrests, and felony convictions that are not contained
  11 in the National Crime Information Center.
  12            House Bill 1229 would require that all
  13 firearms transfers undergo the same background check of
  14 the transferee; and that's the key here. It's the
  15 individual who would be receiving the transfer of the
  16 firearm. That would be accomplished through federally
  17 licensed firearms dealers, through FFLs. And it's an
  18 identical process that we would use within CBI
  19 InstaCheck to do those background checks as those
  20 firearms are taken into the inventory technically of an
                                                                                                    LEG HX 000702                   4617
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  21 FFL.Appellate
             And the FFLCase:  14-1290
                            would  completeDocument:
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  22 and Firearms Form 4473 for the transaction and the
  23 request for the transfer. And they would send that
  24 information to CBI, either electronically via the Net --
  25 we have a secure Internet connection with the FFLs -- or
  0011
   1 telephonically to CBI.
   2           Truly we believe this would add value by
   3 preventing transfer of firearms to prohibited
   4 individuals who are prohibited by law, by existing law,
   5 to possess a firearm.
   6           Important in the bill are the issues that
   7 are -- the components that are built in that would
   8 attempt to assure compliance with private firearms
   9 transfers. And those are the civil -- the civil
  10 liability provisions of the criminal offense of a class
  11 1 misdemeanor for failing to comply with those
  12 provisions, and upon conviction for that class 1
  13 misdemeanor an individual would be prohibited, again, to
  14 possess a firearm for two years, if they were convicted
  15 of not complying with the provisions of this particular
  16 bill, should it become law.
  17            Additionally, in House Bill 1229 are the
  18 components of CBI InstaCheck being able to receive
  19 information and data on mental health adjudications in
  20 real-time, electronically, from Colorado Judicial.
  21 Currently, we do receive that information; however,
  22 there is a delay in that information, and it can be
  23 delayed up to six months' time.
  24            That information currently is
  25 batch-processed on a CD by Colorado Judicial, is
  0012
   1 directly sent to FBI NICS, and entered into the FBI NICS
   2 system. And that's entered in on an every-six-month
   3 basis by FBI NICS. So when Colorado InstaCheck checks
   4 that database, you can have as much as a six-month delay
   5 in accessing that information, if someone has been
   6 adjudicated mentally ill and prohibited to possess a
   7 firearm.
   8           Also in that provision in House Bill 1229
   9 are the provisions for the restoration of rights for
  10 those individuals who would be adjudicated as mentally
  11 ill and prohibited to possess a firearm. And the
  12 restoration of rights is a very important piece of House
  13 Bill 1229.
  14            That's the extent of the technical
  15 testimony that I wanted to provide for all of you. And
  16 I would be happy to answer any questions Madam Chair or
  17 any members of the committee might have.
  18            THE CHAIRWOMAN: Thank you, Mr. Sloan. So
  19 I would ask -- thank you, and thank you, Mr. Sloan.
  20            So is there any questions from the
  21 committee? Senator Crowder.
  22            SENATOR CROWDER: Thank you, Madam Chair.
                                                                                                    LEG HX 000703                   4618
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                                             capitol today.                          Date Filed: 01/16/2015           Page: 229
  24           I was curious, you said out of the 343,000
  25 that were checked, there's roughly 2.1 percent that were
  0013
   1 caught as being an illegal purchaser of firearm. Do you
   2 have some type of a conviction rate on that? If these
   3 individuals -- if there's 2.1 percent that are caught,
   4 what is your conviction ratio to that 2.1 percent?
   5           THE CHAIRWOMAN: Mr. Sloan.
   6           MR. SLOAN: Madam Chair.
   7           Senator Crowder, the denial of transfer of
   8 a firearm is not a criminal charge. So none of those
   9 individuals would be convicted, per se, for the simple
  10 act of denying the transfer of a firearm.
  11           THE CHAIRWOMAN: Thank you. Senator
  12 Harvey.
  13           SENATOR HARVEY: Thank you, Madam Chair.
  14           I wanted to follow up on that question,
  15 before I got to my real question. Thank you for being
  16 here.
  17           Of that 2.1 percent that were denied, how
  18 many -- was that completely denied, or was that on the
  19 initial denial and then they came back and proved
  20 something other than what they got caught on and then
  21 were able to purchase the gun, do you know?
  22           THE CHAIRWOMAN: Mr. Sloan.
  23           MR. SLOAN: Madam Chair, thank you.
  24           Senator Harvey, of the 7,362 that were
  25 denied, 54 percent of those individuals availed
  0014
   1 themselves to the appeal process that is available for
   2 anyone who is denied the transfer of a firearm. Of that
   3 54 percent -- and I have the numbers here I can go to --
   4 of that 54 percent, 56 percent of that 54 percent -- so
   5 you're getting down to about 30 percent, 31 percent --
   6 actually, their denials were reversed.
   7           Now, I need to bring it to your attention
   8 that those 7,362 denials were all lawful denials by
   9 factors that would indicate they are prohibited to
  10 possess. When an individual appeals, pursuant to House
  11 Bill 1411, House Bill 10-1411, the onus is now on CBI to
  12 do the research for the appellate to determine whether
  13 or not that denial should stand or be overturned. And
  14 that is the work that we do in our appeals section of
  15 InstaCheck.
  16           THE CHAIRWOMAN: Senator Harvey, continue.
  17           SENATOR HARVEY: But what I'm trying to
  18 get to, that 2.1 percent denied is not the number of
  19 individuals who should not have been buying guns; it's
  20 the number of denials. So if you actually got down to
  21 the total number of individuals who actually should have
  22 been denied the purchase of a gun, that was probably
  23 down to about one and a half percent, if I do my numbers
  24 correct. What are your thoughts? Isn't that right?
                                                                                                    LEG HX 000704                   4619
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  25       Appellate   Case: 14-1290 Mr.
                THE CHAIRWOMAN:              Document:
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  0015
   1           MR. SLOAN: Madam Chair.
   2           Senator Harvey, the numbers would be
   3 pretty close to that. And I bring your attention to the
   4 fact that those denials were lawful denials, but there
   5 are issues that come up with the denial of any firearm
   6 transfer in terms of being able to determine whether or
   7 not there are factors that also exist that would reverse
   8 that denial, whether it's done through Colorado
   9 InstaCheck or whether it's done through FBI NICS, as it
  10 is in other states.
  11            SENATOR HARVEY: I understand that.
  12            THE CHAIRWOMAN: Senator Harvey
  13 continuing.
  14            SENATOR HARVEY: Should I ask my real
  15 question? My biggest concern with this bill is the
  16 definition of a transfer, because we're getting into a
  17 point where I can't leave town and give my wife
  18 permission to use my gun to protect herself if I haven't
  19 done a background check on that, with my reading of the
  20 bill. And I think that's an unnecessary burden to put
  21 on the citizens of Colorado, but I think it's an
  22 unnecessary burden to put on you to have to have a
  23 background check on every transfer of lending of a gun
  24 to somebody when they -- whatever the circumstances may
  25 be. It's not a sale of a gun; it's the transfer of a
  0016
   1 gun, the way the bill is written. What are your
   2 thoughts about that?
   3           THE CHAIRWOMAN: Mr. Sloan.
   4           MR. SLOAN: Thank you, Madam Chair.
   5           I believe that there are a number of
   6 exceptions that are built into the bill, one of which is
   7 the transfer of a firearm to an immediate family member
   8 as long as they are not prohibited to possess. And
   9 there are a number of other provisions that would be an
  10 exception to having to go through the transfer process.
  11            THE CHAIRWOMAN: Senator Harvey.
  12            SENATOR HARVEY: You're halfway correct.
  13 That is, if I'm giving the gun to somebody, a family
  14 member, the bill has an exception for that. If I'm just
  15 lending the gun to somebody, there is no exception to
  16 that. So if I'm leaving town, my wife is left
  17 unprotected. I'd have to do a background check on her
  18 to lend her the gun, the way the bill is written, for
  19 her to be able to utilize my gun, or I will have a
  20 misdemeanor charge that could put me in jail for 18
  21 months.
  22            Do you believe that's appropriate?
  23            THE CHAIRWOMAN: Mr. Sloan, you may answer
  24 that, if you wish.
  25            MR. SLOAN: Madam Chair, thank you.
  0017
                                                                                                    LEG HX 000705                   4620
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   1       Appellate
               I'm not Case:   14-1290
                        in a position        Document:
                                      really to interpret 01019371763                Date Filed: 01/16/2015           Page: 231
   2 what the exceptions are at this point. And if you were
   3 ever in a position where you had to do the
   4 interpretation of whether or not that was a temporary
   5 transfer of a firearm to an immediate family member,
   6 then you would be put in the position of deciding
   7 whether or not that person was prohibited to possess
   8 that firearm under those circumstances.
   9           THE CHAIRWOMAN: Senator Harvey.
  10            SENATOR HARVEY: So I'm trying to
  11 understand what you just said. It's up to me to
  12 determine whether it's appropriate to give my wife the
  13 gun or not when I leave town to protect herself. Under
  14 this rule, under this bill, the way it's written, a
  15 transfer is a transfer, but the exception is if I'm
  16 giving it to my wife. So if I'm just loaning it to my
  17 wife when I leave town, that is an illegal transfer.
  18            I'm asking the department for whom you are
  19 speaking for, if you think that's an appropriate use of
  20 your time and of the citizen's right to self-protection.
  21            THE CHAIRWOMAN: Mr. Sloan.
  22            MR. SLOAN: Thank you, Madam Chair.
  23            If you transferred it to your wife, and
  24 you felt it didn't comply with the provision that's
  25 currently in the bill, if this becomes law, and you were
  0018
   1 to take that firearm to an FFL and do the transfer
   2 check, we would do our job and carry it through and do
   3 that, do that transfer background, if you chose to
   4 interpret it that way, that you needed to do that.
   5           And as long as your wife was not
   6 prohibited to possess a firearm, we do that just like
   7 any check that we do.
   8           THE CHAIRWOMAN: I'm going to give you one
   9 more question, just so we can try to get through.
  10            SENATOR HARVEY: I appreciate that.
  11            This is the key part for me. I'm asking
  12 the department who is coming here to testify in support
  13 of this bill, if you think that it's appropriate for me
  14 to have to do an FFL on my wife when I leave town so
  15 that she can protect herself. Yes or no?
  16            THE CHAIRWOMAN: Mr. Sloan, again, we
  17 don't want to give the impression that you're under
  18 cross-examination, so you're either welcome to answer
  19 that or not. Mr. Sloan.
  20            MR. SLOAN: Thank you, Madam Chair.
  21            If you choose to call it other than a bona
  22 fide gift to your wife, then she would be required to go
  23 through this transfer, yes, process.
  24            SENATOR HARVEY: Yes, you think that's
  25 appropriate?
  0019
   1           MR. SLOAN: It would be appropriate under
   2 the law, yes.
                                                                                                    LEG HX 000706                   4621
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   3       Appellate   Case: 14-1290 Try
              THE CHAIRWOMAN:              Document:    01019371763
                                             to go through the                       Date Filed: 01/16/2015           Page: 232
   4 chair as well, I remind our committee members.
   5          Thank you, Mr. Sloan. Any other
   6 questions?
   7          Thank you, I appreciate it.
   8          Our next witness is Mr. Mark Kelly. Is
   9 Mr. Mark Kelly . . .
  10           MR. KELLY: Hello.
  11           THE CHAIRWOMAN: Welcome, Mr. Kelly. Go
  12 ahead and identify yourself for our listening audience
  13 and who you're representing today, and welcome.
  14           MR. KELLY: Well, my name is Mark Kelly.
  15 I'm a retired Navy captain, retired astronaut, husband
  16 of Congresswoman Gabrielle Giffords, and also am part of
  17 an organization called Americans for Responsible
  18 Solutions, which is looking for a common-sense gun law
  19 legislation.
  20           THE CHAIRWOMAN: Great. Thank you,
  21 welcome, and go ahead and proceed with your testimony.
  22           MR. KELLY: Thank you, Madam Chair.
  23           Thank you for inviting me here today.
  24 Arizona and Colorado don't just share a border; we share
  25 strong traditions of gun ownership and sportsmanship.
  0020
   1 With that tradition has always come an abiding
   2 commitment to the responsible exercise of our Second
   3 Amendment rights. That responsibility will be the focus
   4 of my remarks today.
   5          As you know, my family has been
   6 immeasurably affected by gun violence. Gabby's gift for
   7 speech is a distant memory. She struggles to walk and
   8 she's partially blind. And a year ago, she left a job
   9 she loved, serving the people of Arizona. But in the
  10 past two years, we have watched Gabby's determination,
  11 spirit, and intellect conquer her disabilities.
  12           We don't come to the debate on gun
  13 violence as victims. We offer our voices as Americans.
  14 We're a lot like many of your fellow citizens, following
  15 this debate about gun violence here in Colorado. We're
  16 moderates. Gabby was a Republican long before she was a
  17 Democrat. We're both gun owners, and we take that right
  18 and the responsibilities that come with it very
  19 seriously. And our hearts break every time the TV news
  20 breaks to yet another shooting. After 20 kids and six
  21 of their teachers were gunned down in their classroom at
  22 Sandy Hook, we said, This time must be different;
  23 something needs to be done. We're simply two reasonable
  24 Americans who have said: Enough.
  25           On January 8 of 2011, a young man walked
  0021
   1 up to Gabby at her constituent event in Tucson, leveled
   2 his gun, and shot her through the head. He then turned
   3 down the line and continued firing. In 15 seconds, he
   4 emptied his magazine. It contained 33 bullets and there
                                                                                                    LEG HX 000707                   4622
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   5 were Appellate
           33 wounds.Case:
                         As the14-1290      Document:
                                 shooter attempted      01019371763
                                                   to reload, he                     Date Filed: 01/16/2015           Page: 233
   6 fumbled. A woman named Patricia Maisch, who is here at
   7 the state capitol today, grabbed the next magazine,
   8 others restrained him, and the carnage ended.
   9           The killer in the Tucson shooting suffered
  10 from severe mental illness, but even after being deemed
  11 unqualified for service in the Army and expulsion from
  12 Pima County College, he was never reported to mental
  13 health services.
  14           On November 30th of 2010, he walked into a
  15 sporting good store, passed a background check, and
  16 walked out with a semiautomatic handgun. He had never
  17 been legally adjudicated as mentally ill. And even if
  18 he had, Arizona at the time had over 121,000 records of
  19 disqualifying mental illness that had not been submitted
  20 into the system.
  21           Looking back, we can't say with certainty,
  22 only if we had done, this wouldn't have happened. There
  23 wasn't just one thing that would have prevented the
  24 Tucson shooting from being written into the history
  25 books.
  0022
   1           You know, Gabby is one of roughly of
   2 100,000 victims of gun violence in America each and
   3 every year. Behind every victim lays a matrix of
   4 failure and inadequacy, in our families, in our
   5 communities, in our values, in our society's approach to
   6 poverty, violence, and mental illness, and, yes, also in
   7 our politics and in our gun laws.
   8           We have a simple message: The breadth and
   9 complexity of gun violence is great, but that is not an
  10 excuse for inaction.
  11           There's another side to our story as well.
  12 Gabby is a gun owner, and I'm a gun owner. We have our
  13 firearms for the same reasons that millions of Americans
  14 just like us have guns, to defend ourselves, to go
  15 hunting or target shooting. We believe wholly and
  16 completely in the Second Amendment and that it confirms
  17 the power on all Americans the right to own a firearm
  18 for protection, collection, and recreation. We take
  19 that right very seriously, and we would never, ever give
  20 it up, just like Gabby would never relinquish her gun
  21 and I would never relinquish mine.
  22           But rights demand responsibility. And
  23 this right does not extend to criminals. And it does
  24 not extend to the mentally ill. When dangerous people
  25 get guns, we are all vulnerable. At the movies, at
  0023
   1 church, conducting our everyday business, meeting with
   2 the government official, and time after time after time,
   3 at school, on our campuses, and in our children's
   4 classrooms.
   5           When dangerous people command the
   6 lethality of 33 or 100 round magazines, we are all the
                                                                                                    LEG HX 000708                   4623
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   7 more Appellate
           vulnerable.Case:   14-1290
                        Dangerous   peopleDocument:
                                            with weapons 01019371763                 Date Filed: 01/16/2015           Page: 234
   8 specifically designed to kill quickly and efficiently
   9 have turned every single corner of our society into
  10 places of carnage and gross human loss.
  11           Gabby and I are pro gun ownership. We are
  12 anti-gun violence. And we believe that in this debate,
  13 our leaders should look not towards special interests
  14 and ideology, which would push us further apart, but
  15 towards compromise, which brings us together.
  16           80 percent of Coloradans support requiring
  17 all private sales to go through a licensed dealer and be
  18 subject to a background check. 92 percent of Americans
  19 want universal background checks, democrats and
  20 republicans and gun owners and NRA members and everybody
  21 else.
  22           We believe whether you call yourself pro
  23 gun or anti-gun violence or both, that we can all work
  24 together to pass sensible laws and save lives.
  25           Thank you.
  0024
   1          THE CHAIRWOMAN: Thank you, Mr. Kelly.
   2 Appreciate that.
   3          We have a question from a couple committee
   4 members. So Senator Crowder.
   5          SENATOR CROWDER: Thank you for being
   6 here, Mr. Kelly. My condolences. I know it's an
   7 unfortunate situation you've been through.
   8          What I have heard you tell us is that the
   9 gentleman who did the shooting did go through a
  10 background check, but it was the mental -- the mental
  11 illness was what was not adhered to. Don't you think
  12 we'd be a little more apt to go after mental illness if
  13 we would background check?
  14           You indicated several issues about
  15 compromise. And I can tell you I'm not an NRA
  16 cardholder, but I am very, very pro Constitution. And
  17 my stand on this particular deal so far is that it is an
  18 infringement on gun rights, and that's where I stand.
  19           But what I'm asking you is: Would we not
  20 be far better off going after a mental illness type
  21 situation than we would for background checks, because
  22 the background check, as you described it, was followed
  23 by the letter of the law, yet there was a shooting?
  24           THE CHAIRWOMAN: Mr. Kelly.
  25           MR. KELLY: Well, I believe the most
  0025
   1 common-sense thing we can do, that most Americans
   2 support, is to provide for universal background check.
   3          To address your question about
   4 specifically what happened in Arizona, yes, he passed a
   5 background check. He should not have passed a
   6 background check. I mean, he was clearly mentally ill.
   7 The Army knew that he was an admitted heavy drug user.
   8 Those records should have been in the system. If they
                                                                                                    LEG HX 000709                   4624
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   9 weren'tAppellate
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                                              the system,01019371763
                                                          he                         Date Filed: 01/16/2015           Page: 235
  10 would have failed the background check at the gun store.
  11 But he had another option. I suppose if that happened
  12 that day, he would have went down the street to the
  13 gunshow or bought his gun through a private sale on the
  14 Internet. That should not be an option for criminals.
  15            Since 1999, 1.7 million criminals have
  16 failed a background check. Why do we give them the
  17 option to go to a gunshow or the Internet to get their
  18 gun? How many lives would we have saved if over --
  19 since 1999, a criminal couldn't get a gun without
  20 passing a background check? I'm sure it's probably
  21 thousands.
  22            So the most common-sense thing we can do
  23 right now is to close the gunshow loophole, to close the
  24 private seller loophole to prevent criminals from
  25 getting a gun.
  0026
   1           THE CHAIRWOMAN: Again, I'm going to let
   2 people -- we have a couple questions because we were
   3 taking a lot of time, I think, from the public that
   4 they're not going to get. So, Senator Crowder, go
   5 ahead.
   6           SENATOR CROWDER: I guess the point I'm
   7 trying to make, when the gentleman bought the gun, he
   8 did pass the background, he was not a criminal. He
   9 didn't turn criminal until after he bought the gun.
  10            THE CHAIRWOMAN: Yes, Mr. Kelly.
  11            MR. KELLY: When he bought the gun, he was
  12 conspiring to assassinate a member of Congress. He
  13 wasn't a convicted criminal. But, by any measure, by
  14 any common-sense measure, this is somebody who should
  15 not have had a gun. And if the record of his mental
  16 illness and his record from the U.S. Army was included
  17 in the system, he would have never passed that
  18 background check. So that's certainly something that
  19 needs to be fixed.
  20            I mean, in some cases, the background
  21 check needs to be better. But we can't give criminals
  22 and the mentally ill the option of walking down the
  23 street to a gunshow and buying a gun without a
  24 background check. I mean, it doesn't make any sense.
  25 It's like having the two lines at the airport. Here's
  0027
   1 the one where you have to go through security and here's
   2 the one with no security. Which one is the terrorist
   3 going to choose?
   4           THE CHAIRWOMAN: Senator Carroll.
   5           SENATOR CARROLL: Thank you, Madam Chair.
   6           I also just wanted to point to one of the
   7 important parts of the bill that isn't going to get as
   8 much attention is the fact that it moves us to
   9 real-time, live-time mental health upload and download
  10 of information. So that will move from every six months
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           least simultaneous,              Document:in01019371763
                                but with information       and                       Date Filed: 01/16/2015           Page: 236
  12 out. And it's not a very talked-about provision of the
  13 bill, but to your point on properly detecting the mental
  14 health stuff, that is one of the upgrades in the bill.
  15            THE CHAIRWOMAN: Thank you, Senator
  16 Carroll.
  17            I'll now move to Senator Harvey.
  18            SENATOR HARVEY: Thank you. And thank
  19 you, Mr. Kelly, for being here. You're an American hero
  20 and one of mine. I appreciate your service to the
  21 country and your efforts in the astronaut program. I'm
  22 jealous. But you're also an incredible husband to step
  23 aside from that incredible career to be by your wife's
  24 side, and that is commendable.
  25            Throughout your testimony, you talked
  0028
   1 about private sales, and you said, I think it was,
   2 92 percent -- is that your figure? -- that respondents
   3 in polls said that they supported background checks on
   4 private sales. But that's not what this bill is, as you
   5 heard my previous questions. This bill is specifically
   6 talking about transfers of guns.
   7           I'm not sure the public would think
   8 92 percent in favor of saying I can't give my wife my
   9 gun when I leave town to protect herself. Can you
  10 clarify where you come down on the transfer part or the
  11 private sales part?
  12            THE CHAIRWOMAN: Mr. Kelly.
  13            MR. KELLY: Well, I certainly -- you know,
  14 both Gabby and I are strong supporters of universal
  15 background checks. And before the transfer of ownership
  16 of a gun is made, there should be a background check
  17 with that.
  18            I bought a gun in October -- it was
  19 October or November -- a hunting rifle at Wal-Mart. I
  20 went through a five-minute background check. It took
  21 something less than five minutes. I think it's a small
  22 price to pay to keep all of us a little bit safer, is
  23 where everybody is required to do a background check,
  24 like most responsible gun owners do now.
  25            With regards to the specifics about the
  0029
   1 Colorado bill, I'm not an expert on the specifics of the
   2 legislation, so I can't answer that question directly.
   3 But both Gabby and I are strong supporters of making
   4 sure criminals and the mentally ill do not have easy
   5 access to firearms.
   6           THE CHAIRWOMAN: Thank you, Mr. Kelly. So
   7 I think we'll go ahead -- thank you for being here, and
   8 I certainly would echo all of what Senator Harvey
   9 said -- I know your name -- and thank you for being here
  10 and certainly send our regards to your wife.
  11            MR. KELLY: You're very welcome. Thank
  12 you for the opportunity to testify in front of the
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  13 committee.        Case:
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  14           THE CHAIRWOMAN: And so I think the
  15 next -- we have a video from Dan Oates, the Aurora
  16 police chief.
  17           MR. OATES: Good afternoon. I want to
  18 thank Chairman Giron and all the members of the state
  19 affairs committee for this opportunity to testify by
  20 video and not appear in person.
  21           I am testifying today wearing two hats.
  22 First, I represent the City of Aurora and the city
  23 council. We all know that Aurora has had its share of
  24 gun violence recently. Council feels strongly that
  25 House Bill 1229 will make Aurora safer.
  0030
   1           Second, I represent the Colorado
   2 Association of Chiefs of Police, the 115 executives who
   3 work every day throughout Colorado to keep people safe
   4 and to reduce gun violence.
   5           The challenge against gun violence in
   6 Aurora and in Colorado and in America is broad and
   7 multifaceted. There is no easy solution. There is no
   8 one bill that does it all. We need to do many smart
   9 things at once. House Bill 1229 won't stop all our
  10 problems, but it will stop some, and it will do so
  11 simply and smartly.
  12           We need to be better at enforcing existing
  13 laws. Everyone says they agree on this, including the
  14 NRA, the gun lobby, and those who are passionate about
  15 the Second Amendment. While we have admitting rules,
  16 state and federal, that say felons can't possess guns,
  17 the same is true with persons convicted of domestic
  18 violence and persons adjudicated under the EO
  19 (phonetic).
  20           These rules mean nothing without
  21 background checks on all gun sales. Today, 40 percent
  22 of gun sales are transfers that occur without a
  23 background check, and this is madness.
  24           Whoever says a convicted felon cannot
  25 possess a gun means nothing if the felon can buy the gun
  0031
   1 from someone who doesn't know or doesn't want to know
   2 that he is a felon. A rule that says a man that's been
   3 convicted of abusing his partner cannot have a gun means
   4 nothing if the same man can buy a gun from a private
   5 dealer without a background check.
   6           Police chiefs are all too fully aware of
   7 the tragedies that have occurred, and will continue to
   8 occur, because members who should not have access to a
   9 gun can get a gun without a background check and kill
  10 their partner in a deranged moment.
  11           In 2000, the citizens of Colorado voted by
  12 70 percent to support closing the gunshow loophole. The
  13 passage of Amendment 22 requires that Colorado verify
  14 that a person purchasing a gun at a gunshow is not a
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  16 is a common-sense measure that those who talk about
  17 law-abiding citizens possessing firearms should not have
  18 a disagreement with. Still, our existing law has a much
  19 bigger loophole than the one closed by Amendment 22.
  20           Today it is certainly legal for someone to
  21 sell firearms to another individual with no background
  22 check. We police chiefs know the tragic consequences of
  23 this loophole. Our officers routinely recover weapons
  24 from convicted felons. Why? Because they obtain them
  25 through this loophole. Sometimes our (inaudible) are
  0032
   1 too late and a horrible and violent crime has already
   2 occurred.
   3          According to a recent John Hopkins report,
   4 nearly 80 percent of inmates could have used a handgun
   5 in a crime, had acquired it through a transaction with
   6 an individual who was not a licensed gun dealer.
   7          Colorado's current system allows criminals
   8 and dangerously mentally ill persons to legally buy and
   9 possess these weapons through a private sale, with no
  10 background check. Again, this is madness.
  11           You have the power in your hands today to
  12 correct this. It's true that this bill will not solve
  13 all the gun crime in Colorado, but this is not a reason
  14 to deny its passage. It will solve some of our
  15 problems. House Bill 1229 will reduce gun crime and
  16 violence in Colorado.
  17           For the safety of all Coloradans, I urge
  18 you to pass this bill. Thank you.
  19           THE CHAIRWOMAN: Thank you. And so since
  20 we are not able to ask any questions -- that's
  21 (inaudible), Senator Harvey.
  22           SENATOR HARVEY: He said everything that I
  23 wanted to say about sales.
  24           THE CHAIRWOMAN: Great.
  25           So our next witness is David Chipman.
  0033
   1 Welcome, Mr. Chipman. Go ahead and introduce yourself
   2 and who you represent today.
   3          MR. CHIPMAN: My name is David Chipman,
   4 and I served as a special agent with ATF for 25 years.
   5 So I'm going to share my experience through that. I'm
   6 also a consultant with Mayors Against Illegal Guns.
   7          This past May, I retired as a special
   8 agent from the Drug and Alcohol, Tobacco, Firearms and
   9 Explosives following 25 years of service. As a SWAT
  10 team member, I apprehended some of the most heavily
  11 armed and violent criminals in America.
  12           As a leader of ATF's firearms programs
  13 division, the attorney general tasked me with developing
  14 a comprehensive strategy to prevent gun violence in 15
  15 targeted cities. During my tenure at ATF, I learned
  16 firsthand which policing efforts work and which do not.
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  17 I actually        Case:
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                               laws on the books.                                    Date Filed: 01/16/2015           Page: 239
  18            Robert F. Kennedy said that Americans
  19 needed a system of justice to serve as a shield for the
  20 weak and the powerless. I'm here today to confirm what
  21 many of us already know. Our shield is not sufficient.
  22 Background checks work. They will strengthen our
  23 shield. We have seen the positive impact of public
  24 safety, of stronger regulations involving gun sales in
  25 Colorado and across the nation.
  0034
   1           After the shooting at Columbine,
   2 70 percent of Coloradans voted to require unlicensed
   3 sellers at gunshows to conduct criminal background
   4 checks. In 2000, this state was the 17th largest
   5 exporter of guns later found at crime scenes in other
   6 states. A year after the law was passed, Colorado
   7 ranked 27th.
   8           The number of women killed with a firearm
   9 by an intimate partner is 38 percent lower in states
  10 that have closed the private sale loophole for handguns
  11 than in states that do not regulate such sales. The
  12 firearms suicide rates in states that require a
  13 background check before every handgun sale is 49 percent
  14 lower than in states where it is not required.
  15            As an ATF agent, I know criminals acquire
  16 many of their guns through unregulated private sales.
  17 Researchers confirm nearly 80 percent of inmates who
  18 used a handgun obtained it through a private transfer.
  19 Through all of these numbers and figures, we can arrive
  20 at an obvious conclusion. Requiring background checks
  21 for gun sales will prevent violent crimes. Lives will
  22 be saved, plain and simple.
  23            Following the 9/11 attacks, our government
  24 acted with urgency and committed to ensuring that
  25 terrorists would never victimize our citizens again.
  0035
   1 The strategy was aggressive and, although not perfect,
   2 it has worked.
   3           Our government has failed to respond with
   4 similar urgency to prevent future acts of gun violence.
   5 Thirty-three Americans continue to be murdered with guns
   6 every day in this country. That's over 2400 people
   7 murdered with a firearm since Sandy Hook.
   8           We need to act comprehensively. The Brady
   9 Bill requires background checks only at licensed
  10 firearms dealers, while an estimated 40 percent of gun
  11 sales are made by unlicensed persons not required to
  12 conduct a check. The Brady Bill operates like a flawed
  13 airport security system that ensures only 60 percent of
  14 travelers are free of dangerous weapons through
  15 screening, while allowing 40 percent of travelers to
  16 board the plane unchecked.
  17            In Colorado, the same holds true.
  18 Coloradans closed the gunshow loophole only to allow the
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                                                marketplace                          Date Filed: 01/16/2015           Page: 240
  20 where prohibited persons can easily purchase firearms
  21 with no paperwork and no questions asked.
  22           Why do we continue to make attempts to
  23 prevent the last attack as opposed to predicting where
  24 we will be attacked next and shore up that
  25 vulnerability? The fact that this state and our
  0036
   1 government continues to allow the sale of guns without a
   2 background check is reckless, irresponsible, and
   3 downright dangerous.
   4          Will criminals continue to thwart this
   5 regulation? Of course. That's what criminals do. Will
   6 law enforcement prevent all crime? Unfortunately, no.
   7 But this new law will help police crack down on gun
   8 traffickers and trace guns recovered in violent crimes
   9 by requiring dealers to maintain the same records
  10 they've kept for license sales for 40 years.
  11           This system ensures that there's no
  12 registry of gun owners and at the same time helps law
  13 enforcement solve crimes.
  14           After Aurora, I thought: Never again.
  15 But after Sandy Hook, I think this is going to happen
  16 again, and it will until we act. A system that requires
  17 a background check for every gun sale is common sense.
  18 It works, and it's supported by 92 percent of Americans.
  19           Let's do our best to stop the next attack
  20 and let's do it today. Thank you for your time.
  21           THE CHAIRWOMAN: Thank you, Mr. Chipman.
  22           Are there any questions? Question from
  23 Senator Harvey.
  24           SENATOR HARVEY: Thank you.
  25           If you'll go back a couple pages in your
  0037
   1 speech there, you mentioned a percentage of suicides and
   2 murders with handguns in states that have background
   3 checks. Do you remember those statistics?
   4          MR. CHIPMAN: Sure, I do.
   5          SENATOR HARVEY: Are those in states that
   6 have universal background checks on handguns, or just
   7 like in Colorado where you have handgun sales at gun
   8 stores?
   9          THE CHAIRWOMAN: Mr. Chipman.
  10           MR. CHIPMAN: I think it's a variety of
  11 systems that get background checks beyond what is
  12 traditionally just in the gun stores. So different
  13 aspects of the private commerce is regulated.
  14           THE CHAIRWOMAN: Senator Harvey.
  15           SENATOR HARVEY: I don't know this
  16 question, so hopefully you can answer it. How many
  17 states have universal background checks on sales?
  18           THE CHAIRWOMAN: Mr. Chipman.
  19           MR. CHIPMAN: It's less than a dozen. I
  20 don't know specifically. What we do know, though, is
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  21 that there's  one Case:   14-1290whoDocument:
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  22 background checks on handgun sales. And through intense
  23 lobbying, they did away with that process. And
  24 immediately after that law was thrown out and no more
  25 background checks were conducted, gun homicides went up
  0038
   1 by 25 percent in Missouri.
   2           So that's another way to look at how these
   3 background checks impact things and how they don't work
   4 if they're removed.
   5           THE CHAIRWOMAN: Thank you.
   6           A quick question from Senator Harvey.
   7           SENATOR HARVEY: Did they outlaw the
   8 transfer of guns without a background check, or was it
   9 just the sale of guns without the background check?
  10            THE CHAIRWOMAN: Mr. Chipman.
  11            MR. CHIPMAN: That's a good question that
  12 I do not know.
  13            THE CHAIRWOMAN: Thank you.
  14            And seeing no other questions, thank you
  15 so much for your testimony.
  16            And so Jane Dougherty.
  17            Thank you, Mrs. Dougherty. Go ahead and
  18 introduce yourself and who you represent today.
  19            MS. DOUGHERTY: My name is Jane Dougherty
  20 and I represent my family.
  21            I'm from Littleton, Colorado, and I'm here
  22 to support House Bill 1229 background checks for all gun
  23 sales. We are all sitting here in this room because of
  24 one horrific tragedy, the massacre at Sandy Hook
  25 Elementary. It was the tipping point for our country,
  0039
   1 the point at which we had finally said: Enough to gun
   2 violence.
   3           Sitting here in this room are gun control
   4 supporters as well as those who oppose gun legislation.
   5 We have different viewpoints, opinions, and goals.
   6           On December 14th, 20 children and six
   7 women lost their lives at Sandy Hook Elementary School.
   8 One of those women was my sister, Mary Sherlach. The
   9 murder of my sister has had a profound impact on me. I
  10 am now deeply involved in this issue, and I have been
  11 educating myself to the facts.
  12            I have heard that the gun rights
  13 extremists feel that a background check is somehow a
  14 burden, that requiring a background check on every gun
  15 sale, including private sales, is too much of a burden
  16 to law-abiding gun owners. In that case, I would like
  17 to speak directly to all law-abiding gun owners. I
  18 would like to tell you what is truly a burden.
  19            A burden is hearing about a mass shooting
  20 in Connecticut, working with your family through the
  21 chaos, trying to confirm it is your sister's school. A
  22 burden is getting a call from your niece telling you,
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  23 "We Appellate      Case:
            lost her," that your14-1290      Document:
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                                                 and having to                       Date Filed: 01/16/2015           Page: 242
  24 call your own children to tell them that their aunt has
  25 been killed. A burden is everything that comes after
  0040
   1 this horrific news, explaining a mass shooting to your
   2 10-year-old son, trying to get 15 family members across
   3 the country the week before Christmas, walking into your
   4 sister's house and seeing your devastated brother-in-law
   5 and nieces, then standing in a wake line for four hours,
   6 listening and comforting more than 800 mourners who have
   7 come to pay their respect to your sister, Mary.
   8 Touching the small wood box that holds your sister's
   9 remains and trying to hold yourself up during her
  10 funeral mass.
  11            A true burden is waking up every day with
  12 the realization that you will never see your sister
  13 again.
  14            A background check is not a burden. It is
  15 a process that will save lives. It will help prevent
  16 guns from getting into the hands of those that will do
  17 harm. It may even save the lives of your family, your
  18 children, your sister.
  19            If you are truly a law-abiding gun owner,
  20 you should support background checks for all gun sales.
  21            Thank you.
  22            THE CHAIRWOMAN: Thank you so much.
  23 Appreciate your being here today and being able to give
  24 that powerful testimony, as difficult as it was, I'm
  25 sure, and continues to be.
  0041
   1           So is there any questions from the
   2 committee? Thank you so much.
   3           MS. DOUGHERTY: Thank you.
   4           THE CHAIRWOMAN: So we have some others
   5 that are -- and I think we'll go to a three-minute timer
   6 phase. And Julia is going to go ahead and keep that for
   7 us.
   8           Our first witness on that is Del Phillips.
   9           Welcome, Pastor Phillips. Go ahead and
  10 introduce yourself and who you represent today. Thanks
  11 for being here.
  12            PASTOR PHILLIPS: Thank you very much.
  13            I'm Pastor Del Phillips. I'm pastor of
  14 The House Worship Center here in Denver, Colorado. I
  15 also serve as the vice president of the Greater Metro
  16 Denver Ministerial Alliance. I pastor a congregation
  17 that is multicultural and diverse in its membership. We
  18 have a congregation that's filled with Hispanic members,
  19 African Americans, messianic Jewish members, all
  20 worshipping together in one house.
  21            I'm here today to share my voice as a
  22 pastor representing a diverse membership that's a part
  23 of our community. I'm here today to represent the
  24 ministerial alliance that represents more than 100
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   1 also here simply to represent myself as a citizen of our
   2 community.
   3           And I want to be on record in support of
   4 background checks for those private citizens who own
   5 guns here in our community. And I want to make it clear
   6 that I am not against a gun owner's second right, Second
   7 Amendment rights to own a gun.
   8           I am actually in favor of making sure that
   9 all of the citizens of our community have a right -- a
  10 right to safety, a right to make sure that, as a nongun
  11 owner or as a gun owner, that I have a safe environment
  12 to take my children to school and a safe environment for
  13 my teenagers to go to a movie theater, that I have a
  14 safe environment for politicians to leave their
  15 community and not to have their life threatened.
  16            And I'm concerned that, as a community,
  17 that we are open to the requirements for having
  18 background checks for simpler things such as to get a
  19 credit card to open up a bank account, to be able to
  20 have employment here in our community. We have
  21 employers that will pursue background checks.
  22            We don't allow our children to go to
  23 certain places for childcare without having background
  24 checks. And, more importantly, government officials
  25 won't be employed without having background checks. So
  0043
   1 my greater question is: Why would we not want to make
   2 sure that a person who is carrying a weapon who has the
   3 potential to take the life of another individual would
   4 not have a background check to make sure that they are
   5 fit, to make sure that they are stable, and to ensure
   6 that the safety of other citizens in our community is
   7 protected?
   8           So I would encourage our leaders that are
   9 present here today to support this issue for background
  10 checks. You've heard statistics already throughout the
  11 day. I won't renew -- I won't renumerate those
  12 statistics, but I encourage you to simply consider the
  13 necessity of background checks for something that is
  14 this vital.
  15            THE CHAIRWOMAN: Thank you so much, and
  16 thank you so much for sticking within our time frame.
  17            So any questions from the committee?
  18            Seeing none, thank you so much for being
  19 here, and thank you for the work that you do.
  20            Our next witness is Karina Vargas.
  21            Welcome, Ms. Vargas. Go ahead and
  22 introduce yourself, who you're representing today, and
  23 welcome.
  24            MS. VARGAS: My name is Karina Sartidine,
  25 and I am a youth leader with Together Colorado.
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   2 life changed completely. Like a regular junior in high
   3 school, we loved hanging out with our friends after
   4 school, but that day was different. Someone so
   5 carelessly took my ability to walk by shooting that gun.
   6 If it wouldn't have been for my friends that took my
   7 life in their hands, I wouldn't be speaking to you guys
   8 today. My 16th year of life was nearly ended. Nothing
   9 would ever be the same. Even sleeping wasn't the same.
  10             Everyone loves that good morning stretch
  11 when all their bones pop. I don't even get that
  12 anymore.
  13             I remember always getting ready in the
  14 morning for school, changing like a million times
  15 because it was so easy and effortless. Now, it's a
  16 workout to even get dressed once. Even when I'm
  17 exhausted from pushing myself in my wheelchair all day,
  18 I still have to lift my body just to get in bed.
  19             After the shooting, I had a fear of going
  20 back because I felt like someone was following me, like
  21 people were going to look and stare and feel bad for me,
  22 and I didn't want nobody's pity.
  23             That day not only changed my physical
  24 life, it literally changed everything. I was left with
  25 nothing. My friends abandoned me. My school dropped
  0045
   1 me. I was left alone. I was lucky enough to have my
   2 family to help me through this because nobody else was
   3 around.
   4            Never would I wish this on anybody because
   5 it's no picnic. Until this day, there's not one second
   6 that goes by that I don't wish that I could walk. I
   7 will never give up until the day that I do, and it's a
   8 journey that I'm ready to overcome.
   9            If God can move mountains, then I believe
  10 that he can help me through this. If that guy didn't
  11 have that gun, my goals would be completely different.
  12             I lost a couple of years of my teen years
  13 that I will never get back. You take your kids to
  14 school thinking that they will be safe, and then the
  15 unexpected happens.
  16             Our families have to live in fear because
  17 you don't know what can happen anymore. If this bill
  18 would have been put in place two years ago, I would be
  19 on my feet today. Those who have lost loved ones would
  20 be at home with them.
  21             For those who oppose this bill, don't
  22 think it's a problem because they haven't been victims.
  23 You haven't lost anyone due to this problem. Step in
  24 our shoes and you will see that it's not easy.
  25             I'm here today to share my story and bring
  0046
   1 awareness to what gun violence does to innocent people
   2 in our communities. Thank you.
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                                                 you so much. I                      Date Filed: 01/16/2015           Page: 245
   4 really appreciate how articulate and your willingness to
   5 be with us here today and what an advocate you are. So
   6 thank you.
   7           Are there any questions?
   8           Senator Harvey.
   9           SENATOR HARVEY: Just one. I didn't get
  10 your name.
  11            MS. VARGAS: Karina Sartidine Vargas.
  12            SENATOR HARVEY: I'll just put Karina
  13 down.
  14            MS. VARGAS: Just put Karina Vargas. It's
  15 easy.
  16            SENATOR HARVEY: Thank you.
  17            THE CHAIRWOMAN: Thank you so much for
  18 being here.
  19            The next witness we have are Theresa and
  20 Doug Hoover -- Dave. Sorry. Theresa and Dave Hoover.
  21            Good morning and welcome. I'll go ahead
  22 and have you introduce yourself and who you represent
  23 today, and each of you will get three minutes, and
  24 however you want to proceed.
  25            MR. HOOVER: Good.
  0047
   1           Good morning. My name is Dave Hoover.
   2 This is my sister Theresa. My nephew, her son, was AJ
   3 Boik, who was killed in the theater last year,
   4 July 20th, 2013.
   5           THE CHAIRWOMAN: '12.
   6           MR. HOOVER: 2012. Sorry.
   7           I've been directly affected by gun
   8 violence and have been the victim of gun violence during
   9 my life. I'm one of five children. My parents have 18
  10 grandchildren. My father is a true American hero who
  11 served one tour in Korea, two tours in Vietnam.
  12            The worst day of our life growing up as
  13 young children was the day we found out that he was shot
  14 down over Vietnam. He couldn't be here today. He spent
  15 eight days at home when we lived in Ohio and was sent
  16 back to Vietnam to finish out his tour. He supports
  17 this bill. He supports all these bills, to be honest
  18 with you. He knows the battlefield. That's a man who
  19 understands the responsibility that comes with the right
  20 of owning a firearm. He and my mother are in Arizona
  21 right now taking care of a long friend -- a long-term
  22 friend.
  23            I'm a police sergeant and have been in law
  24 enforcement for over 29 years. I do not speak for the
  25 department I work for, but I can tell you the vast
  0048
   1 majority of men and women I work with support this bill.
   2 We want to see change.
   3           You're going to hear that we need to
   4 enforce the laws that we currently have on the books.
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                                  is happening every day 01019371763
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   6 Colorado. We are, and the laws are being enforced in
   7 this state. These words of wisdom were given to me when
   8 I first started, and I passed them on to those who
   9 worked for me: You can't put them all in jail forever,
  10 and it's only a 72-hour mental health hold.
  11             Our society gives people the opportunity
  12 to change. Some take advantage of this, and many do
  13 not.
  14             These children that were killed in our
  15 Aurora theater, these children that were killed in Sandy
  16 Hook, these children that were killed in Columbine were
  17 children of republicans; they were children of
  18 democrats. I'm a republican. My family are
  19 republicans.
  20             Many of us understand the importance --
  21 and so what? -- to have some reasonableness applied to
  22 our state right now. We've had two major shootings in
  23 our state, Columbine and now the Aurora theater
  24 shooting. It's time for us to make a difference. Many
  25 men and women that I work with and am friends with want
  0049
   1 to see a difference.
   2            And I'm going to take some of my sister's
   3 time, just so you know.
   4            We want to see a difference made in the
   5 state, and we want to see our republican representatives
   6 do the right thing. Vote -- these could be your
   7 children next -- vote for universal background check.
   8 If somebody is not willing to take a background check or
   9 go through a background check, then they probably
  10 shouldn't own a gun.
  11             Finally, I want to leave you with this:
  12 On July 20th, at 2:37 a.m. -- my wife and I loved AJ --
  13 received a phone call from a historical woman that
  14 didn't know where her son was. I love my sister and she
  15 has had to raise two boys alone. My parents were with
  16 them daily as they grew up.
  17             AJ was a renaissance man who was
  18 first-chair viola at Gateway High School. He loved
  19 doing ceramics. He was a catcher on the baseball team,
  20 and wanted to be an art teacher when he graduated from
  21 the Rocky Mountain College of Art and Design.
  22             My daughter Amanda was born three months
  23 before AJ. They were very close, more best friends than
  24 cousins.
  25             AJ took Amanda, her friends from college,
  0050
   1 and his girlfriend, Lasamoa, who was the love of his
   2 life at the time -- he said he wanted to marry her --
   3 camping the weekend before he was murdered. I watched
   4 this young man walking towards his '89 Honda, which was
   5 a really bad car, by the way, filled with these
   6 wonderful girls, and I told him, "Take care of them."
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   7        Appellate    Case:
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                                              came back, and                         Date Filed: 01/16/2015           Page: 247
   8 gave me a hug. He said, I love you, Uncle David." That
   9 was the last time I saw him. I hold on to that every
  10 day.
  11            The day he was going to watch a midnight
  12 premier with his girlfriend, he was at our house mowing
  13 our yard to earn money. I got home to the surprise from
  14 my wife, and was more surprised when she told me that
  15 she had paid him $40 to mow our yard. He also helped
  16 load the recyclables and pull some weeds. She said,
  17 "Stop, he's your nephew. He's taking his girlfriend to
  18 the movie." She bought him, my daughter and friend
  19 pizza. There was one slice left. When AJ was offered,
  20 he said, "That's okay, I'll leave the scraps for Uncle
  21 David. He'll be hungry when he gets home."
  22            I'd eaten before getting home and didn't
  23 touch that piece of pizza. I can't bring myself to get
  24 rid of it; it's still in the freezer.
  25            AJ was a very special young man. There
  0051
   1 were very special people that day that were killed in
   2 the theater, 11 of them, and 58 others that were
   3 wounded. They deserve better than this. They deserve
   4 to have some reasonableness. They deserve to have you,
   5 as our elected representatives, do the right thing, not
   6 just for our families -- it's too late -- but possibly
   7 for your families and everybody else's in Colorado.
   8 It's time for us to make a difference.
   9           Thank you.
  10            THE CHAIRWOMAN: Thank you so much,
  11 Mr. Hoover.
  12            Theresa, would you like to say something?
  13            MS. HOOVER: It's really difficult for me
  14 to be here today, but I just pray that this does not
  15 happen to anybody else's families. This is something
  16 that you should never -- you should never have to bury
  17 your child. And I just want you to keep that in mind
  18 and realize how important that this one thing -- what a
  19 big difference it can make, a huge difference. You can
  20 save somebody else's life. That's what it comes down
  21 to. Thank you.
  22            THE CHAIRWOMAN: Thank you, Theresa.
  23 Thank you, Dave. And, of course, we have no idea, but
  24 our condolences go out to you, what it would be like to
  25 experience what you all are having to experience every
  0052
   1 day.
   2           MR. HOOVER: Thank you.
   3           MS. HOOVER: Thank you.
   4           THE CHAIRWOMAN: Thank you for being
   5 willing to share your story with us.
   6           Our next witness is Dave Moses.
   7           So, Mr. Moses, go ahead and introduce
   8 yourself and who you represent today. And thank you for
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  10            MR. MOSES: Hello. My name is David
  11 Moses, and I'm representing myself and my family.
  12            One of the reasons that I'm testifying
  13 today is that my brother Steven Moses was murdered with
  14 a gun in 1986.
  15            My brother was a 23-year-old, talented
  16 artist who was winning his battle against the genetic
  17 disease cystic fibrosis when he was killed. He was not
  18 part of a mass shooting with any notoriety. He was like
  19 most of the 11,000 Americans that are killed every year
  20 in a homicide with gun violence. He was shot once to
  21 the head from behind, on a street in San Francisco, by a
  22 complete stranger in a random act of violence.
  23            Though this happened 26 years ago, I think
  24 about my brother every day and still grieve over his
  25 murder. While it is difficult to describe my own pain
  0053
   1 over my brother's murder and the continued impact on my
   2 life, my children and my sister and her family, the
   3 effect on my mom is truly indescribable. She was, and
   4 is, absolutely destroyed by my brother's murder. And
   5 each time she hears of a murder on the news, and of
   6 course each time there's a mass shooting, it is like
   7 pouring salt in her open wounds that have not healed
   8 over the course of 26-plus years.
   9           The common-sense legislation that is
  10 before you likely could have prevented my brother's
  11 murder. My brother's murderer could not have passed a
  12 background check.
  13            It boggles my mind that, in Colorado,
  14 where we have enough common sense and enough pain after
  15 the Columbine massacre to close the gunshow loophole,
  16 that we have not long ago closed the gun sale loophole.
  17 It is self-evident to me and I would think all
  18 law-abiding Coloradans that making someone undergo a
  19 background check prior to obtaining a gun is a good and
  20 necessary thing that does not infringe on anyone's
  21 rights.
  22            It is incomprehensible to me that private
  23 gun sales, which account for 40 percent of all gun
  24 sales, do not require background checks. The purchasers
  25 in these private sales are still buying a gun that could
  0054
   1 be used to kill someone like my innocent brother.
   2           Closing the private gun sale loophole is
   3 common sense and is the right thing to do.
   4           THE CHAIRWOMAN: Thank you so much. And,
   5 certainly, I can imagine 26 years still doesn't heal
   6 that. So thank you for being here today.
   7           Is there any questions from the committee?
   8 I see none.
   9           Thank you so much.
  10            Katie Lyles. Welcome so much and go ahead
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  11 and proceed       Case: 14-1290
                    to introduce            Document:
                                  yourself and          01019371763
                                               who you represent                     Date Filed: 01/16/2015           Page: 249
  12 today. Thank you.
  13           MS. LYLES: Thank you. My name is Katie
  14 Lyles, and I'm here to express my support of House Bill
  15 1229. I represent myself.
  16           This bill is a step towards the
  17 comprehensive solution we need to help ensure the safety
  18 of our student at schools as well as the safety of the
  19 people of Colorado. I speak as a teacher and also as a
  20 survivor of the school violence that occurred at
  21 Columbine High School.
  22           As a sophomore at Columbine when the
  23 shootings happened, and after Columbine, the people of
  24 Colorado chose to close the gunshow loophole, but we
  25 cannot stop there. It's time to take the next step to
  0055
   1 close this major loophole in our gun laws.
   2          On the morning of April 20th, 1999, I
   3 headed to Columbine High School, worried about my tenth
   4 grade math test that I was supposed to take that day and
   5 my upcoming track meet. That math test was never
   6 finished due to the tragic events that unfolded at my
   7 school, leaving 13 dead and countless others wounded,
   8 and all of our innocence shattered.
   9          The shooters at my school obtained their
  10 guns illegally through private sales and straw
  11 purchases. Today they could easily go online and buy
  12 these same weapons without a background check. What is
  13 to stop the next person who chooses from doing just
  14 that?
  15           Now as a teacher of eight years, I
  16 consider every day that I go to work a privilege to be
  17 with my students. I cherish their joy and enthusiasm
  18 and, most importantly, their innocence. I believe it is
  19 our job as a society to protect these virtues in our
  20 young people. I want them to be worried about math
  21 tests and track meets and about science fairs and
  22 student council elections. That is the normal stuff
  23 that builds character.
  24           But we are creating a school culture that
  25 is instead worried about safety and intruders, something
  0056
   1 that no student should be aware of.
   2          This became even more apparent about a
   3 year ago when I was sitting in complete silence in inky
   4 black dark of my classroom storage room. I was
   5 surrounded by 24 second-graders who crouched on the
   6 floor with me. I whispered to my students that they
   7 were doing such a respectful job hiding, and a quiet
   8 hand found mine as Anthony, a seven-year-old boy that
   9 was crammed next to me, searched for comfort from such
  10 an unnatural scenario.
  11           We were conducting our monthly emergency
  12 drill. In this case, a lockdown. My heart broke for
                                                                                                    LEG HX 000724                   4639
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           Appellate
  13 Anthony     and hisCase:   14-1290
                         classmates,         Document:
                                      that they          01019371763
                                                would have to                        Date Filed: 01/16/2015           Page: 250
  14 learn these types of drills at such a young age, if at
  15 all. And I thought to myself: This is the result of
  16 the Columbine shootings, and this is my reality, and now
  17 it is theirs, too.
  18            This is the reality that we live in, and
  19 it is a sad one, but I dare say not a helpless one. And
  20 that is why we need your help.
  21            I ask you today to pass House Bill 1229 to
  22 ensure the safety of our students. We have the power to
  23 work together as a society to create a safer world for
  24 our schools, and that starts today with the passage of
  25 HB 1229. Learn from my experience and do not wait until
  0057
   1 you have to experience it firsthand to realize that
   2 action needs to happen.
   3           This bill still allows the Second
   4 Amendment to thrive while also allowing our young people
   5 to be safe and also thrive. This is a reasonable
   6 restriction.
   7           Thank you for your time and
   8 open-mindedness.
   9           THE CHAIRWOMAN: Thank you so much, and
  10 right under the time frame here.
  11            Is there any questions for Ms. Lyles?
  12            Doesn't look like it. Thank you so much
  13 for being here and for your service to your students.
  14            MS. LYLES: Thank you.
  15            THE CHAIRWOMAN: Amy Miller. Maybe I'm
  16 looking at not the revised one. Maybe there's a
  17 revised.
  18            Who do you have? Oh, Marjorie Sloan. I
  19 must have -- Marjorie, I'm so sorry.
  20            MS. SLOAN: (Inaudible.)
  21            THE CHAIRWOMAN: Well, I apologize. I
  22 certainly don't want to miss you.
  23            Mrs. Sloan, go ahead and introduce
  24 yourself and who you represent today.
  25            MS. SLOAN: Thank you so much.
  0058
   1           THE CHAIRWOMAN: My apologies.
   2           MS. SLOAN: Madam Chair and the committee,
   3 I am Marjorie Sloan. I'm the mayor of Golden. I'm here
   4 today to represent Golden City Council, which, in
   5 October 2012, unanimously passed a resolution in support
   6 of a background check on all gun sales. I'm also
   7 speaking as a member of the national bipartisan
   8 coalition of Mayors Against Illegal Guns. It too
   9 supports closing the private sales loophole.
  10            When discussing this issue, I've often
  11 asked if Golden has a gun violence problem. The answer
  12 is: Gun violence menaces all communities in Colorado,
  13 whether urban, suburban, or rural. The steady stream of
  14 shootings in our country has shocked all of us out of
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  15 our trust   and theCase:
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                                 in our communities. We01019371763
                                                         have a                      Date Filed: 01/16/2015           Page: 251
  16 problem. And HB 1229 will help solve the problem.
  17            As the NRA says, criminals obtain guns
  18 through theft, black market transactions, and straw
  19 purchases. The private sale loophole is part of the
  20 market for trafficking illegal guns.
  21            The facts are these: 62 percent of
  22 private gun sale sellers on the Internet agree to sell
  23 firearms to buyers who, frankly, admitted they probably
  24 couldn't pass a background check.
  25            80 percent of criminals who use the gun in
  0059
   1 their crimes obtain one through a private sale.
   2           Background checks are the only systematic
   3 way to stop felons, domestic abusers, and the
   4 dangerously mentally ill from buying guns. We can't
   5 prevent every gun crime, but conducting a background
   6 check on all private transactions will sharply reduce
   7 gun violence across the state.
   8           Background checks work. Last year in
   9 Colorado alone, background checks stopped 5,832
  10 prohibited purchasers from obtaining a gun. It's
  11 difficult to estimate or even imagine the number of guns
  12 that slipped through the private sales loophole and
  13 found their way into criminal hands.
  14            It's time to take action to fix this
  15 loophole. Colorado is a can-do state. At least
  16 83 percent of Coloradans, including a large majority of
  17 NRA gun owners, recognize the value of background checks
  18 on all gun sales. Please listen to them, like the rest
  19 of Colorado, and fix the hole in the fence. Do it and
  20 vote yes on HB 1229.
  21            Thank you.
  22            THE CHAIRWOMAN: Thank you so much, Mayor
  23 Sloan. I appreciate you being here.
  24            Is there any questions from the committee?
  25 Thank you.
  0060
   1           MS. SLOAN: Thank you.
   2           THE CHAIRWOMAN: Now we can have Amy
   3 Miller, if she's in the room.
   4           Well, Amy might come a little bit later.
   5           I'm going to go ahead and go to Tom
   6 Mauser.
   7           Mr. Mauser, welcome. Go ahead and
   8 introduce yourself and who you represent today.
   9           MR. MAUSER: Thank you, thank you, Madam
  10 Chair.
  11            My name is Tom Mauser. I'm the father of
  12 Daniel Mauser, who was one of the victims at Columbine
  13 High School. I'm here today honoring him by wearing the
  14 shoes he was wearing that tragic day. And I'm here
  15 asking for your support of 1229.
  16            My son was a member of the debate team at
                                                                                                    LEG HX 000726                   4641
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  17 Columbine.     AndCase:   14-1290
                          one night he askedDocument:   01019371763
                                              me a question at the                   Date Filed: 01/16/2015           Page: 252
  18 dinner table: Dad, did you know there are loopholes in
  19 the Brady Bill? Two weeks later he was killed with a
  20 gun purchased through one of those loopholes by two
  21 teenagers who knew they wouldn't have to face a
  22 background check or leave a paper trail if they bought
  23 from a private seller. So I dedicated myself to closing
  24 those loopholes.
  25           In 2000, I was spokesman for the Amendment
  0061
   1 22 ballot initiative that closed that gunshow loophole
   2 in Colorado by an overwhelming vote of 70 percent to
   3 30 percent.
   4          Now, opponents of Amendment 22 predicted
   5 the demise of private sellers at gunshows and even the
   6 death of the gunshows themselves if Amendment 22 passed.
   7 Well, that didn't happen. And you'll no doubt hear the
   8 same kind of dire predictions here today. Opponents
   9 will say that criminals will always be able to get
  10 firearms. Well, they will if you're going to make it
  11 easy for them with loopholes. So let's not make it
  12 easy. Let's put in a measure of prevention.
  13           I'm sure you've all been flooded with an
  14 awful lot of calls and e-mails on this issue, but I ask
  15 you to keep in mind that polls show over 85 percent of
  16 Coloradans support background checks. So I urge you,
  17 listen to the voices of the main streamists, not the
  18 extremists.
  19           Finally, the eyes of the nation are upon
  20 Colorado. They're looking to see how we respond to
  21 these tragedies. Will it be with disregard or concern?
  22 With denial or change? With hopelessness or hope?
  23           I'm proud of the choice that Colorado
  24 voters made in 2000, and I urge you to make that same
  25 choice and make Colorado proud again. Thank you.
  0062
   1          THE CHAIRWOMAN: Thank you so much,
   2 Mr. Mauser.
   3          I have a question from Senator Crowder.
   4          SENATOR CROWDER: Yes, thank you for being
   5 here today. I was just curious: On your 85 percent
   6 mark, what do you base that on?
   7          MR. MAUSER: That was a Denver Post poll.
   8          SENATOR CROWDER: A Denver Post poll?
   9          MR. MAUSER: Yes.
  10           THE CHAIRWOMAN: I'm going to go ahead and
  11 have us continue to stay and go through the chair.
  12           MR. MAUSER: I'm sorry.
  13           THE CHAIRWOMAN: That's fine. We're all
  14 trying to follow our rules up here, too.
  15           SENATOR CROWDER: Thank you, Madam Chair.
  16           THE CHAIRWOMAN: Thanks.
  17           Is there any other questions?
  18           Thank you so much.
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                MR. MAUSER:                 Document: 01019371763
                                   Thank you.                                        Date Filed: 01/16/2015           Page: 253
  20            SENATOR CROWDER: Nice shoes.
  21            THE CHAIRWOMAN: I'll go ahead and ask for
  22 Amy Miller. No.
  23            Okay, we're going to go to Ted Pascoe.
  24            Thank you, Mr. Pascoe. Welcome. Go ahead
  25 and introduce yourself and who you represent.
  0063
   1           MR. PASCOE: Thank you very much.
   2           My name is Ted Pascoe, and I'm testifying
   3 on behalf of Colorado Ceasefire, which is an
   4 organization that has been fighting for stronger gun
   5 laws for 14 years here in Colorado. We are here to
   6 voice our enthusiastic support for House Bill 1229.
   7           The current law requires licensed gun
   8 dealers to subject gun buyers to background checks.
   9 However, if you are not a licensed gun dealer, you can
  10 sell your gun freely without having to bother with the
  11 check. In Colorado, this means that anyone can easily
  12 acquire a gun through armslist.com, for instance,
  13 without having to pass a background check.
  14            A study by the National Institute of
  15 Justice found that, due to this loophole in the law,
  16 40 percent of all gun sales are not subject to
  17 background checks.
  18            It is through this enormous loophole that
  19 felons and other prohibited purchasers are easily able
  20 to get guns. A national survey of inmates revealed that
  21 80 percent of those who had used a handgun in a crime
  22 acquired it in this fashion.
  23            The cavalier way in which we currently
  24 sell guns in this country is tantamount to making
  25 passing through airport security prior to flying
  0064
   1 optional. Background checks prior to all gun sales will
   2 preserve public safety and provide peace of mind to the
   3 seller, assuring him he's not selling to a criminal.
   4           Private gun sellers have a competitive
   5 advantage over licensed dealers because dealers must
   6 subject all buyers to background checks. The private
   7 seller can mark up his prices significantly because the
   8 buyer is not subject to a background check.
   9           This legislation will level the playing
  10 field for responsible, licensed gun dealers.
  11            To those opponents of this legislation who
  12 would invoke the Second Amendment, let's turn to the
  13 landmark 2008 Heller decision in which the U.S. Supreme
  14 Court found background checks to be reasonable and
  15 constitutional. The majority opinion written by Justice
  16 Scalia reads, quote: Like most rights, the Second
  17 Amendment is not unlimited. The Court's opinion should
  18 not cast doubt on longstanding prohibitions on the
  19 possession of firearms by felons and the mentally ill or
  20 laws imposing conditions and qualifications on the sale
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  21 of arms,   quote. Case: 14-1290 Document: 01019371763                           Date Filed: 01/16/2015           Page: 254
  22            In a recent poll by Keating Research,
  23 80 percent of Coloradans favor background checks prior
  24 to all gun sales. In another recent poll by The Denver
  25 Post, the response in favor to the same question was
  0065
   1 83 percent.
   2           There's overwhelming public support for
   3 background checks prior to all gun sales.
   4           On behalf of Colorado Ceasefire, I ask for
   5 a yes vote on HB 1229. Thank you.
   6           THE CHAIRWOMAN: Thank you. Perfect
   7 timing. Appreciate it, Mr. Pascoe.
   8           Any questions from the committee?
   9           Thank you so much.
  10            MR. PASCOE: Thank you.
  11            THE CHAIRWOMAN: Don Macalady.
  12            MR. MACALADY: Madam Chairman --
  13            THE CHAIRWOMAN: Thank you. Welcome,
  14 Mr. Macalady. Go ahead and introduce yourself and who
  15 you represent today.
  16            MR. MACALADY: Thank you for the
  17 opportunity to speak to you today.
  18            My name is Donald Macalady, and I live in
  19 Golden, Colorado, and I represent an organization called
  20 Hunters Against Gun Violence. My group was established
  21 to put to rest the notion that all gun owners,
  22 specifically hunters, are opposed to reasonable
  23 legislation concerning firearms. We are a growing group
  24 of hunters, including hunters varying in age from 20 to
  25 75. We are in strong support of House Bill 13-229.
  0066
   1           As a young man, I joined the National
   2 Rifle Association to learn gun safety and to participate
   3 in their educational programs concerning guns. The
   4 hunting rifle that I use to this day is a modified gun
   5 purchased through an NRA program to sell surplus
   6 military weapons. I left the NRA many years ago as it
   7 moved from primarily promoting gun safety to primarily
   8 promoting guns.
   9           I have lived and hunted in Colorado for
  10 the past 30 years. All of my children are hunters, and
  11 they all grew up helping to provide meat for our family
  12 through our hunting activities. They are all gun owners
  13 and have a healthy respect for guns and their safe use.
  14            My family and the members of our
  15 organization are testimony to the fact that many, if not
  16 most, gun owners are in favor of sensible gun
  17 legislation. As hunters, we understand that gun
  18 ownership means responsibility.
  19            We urge all -- we all believe and support
  20 the Second Amendment. It is, in fact, one reason we
  21 urge passage of this bill. It actually protects our
  22 Second Amendment rights to make sure that guns do not
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  23 fall into          Case:
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                           hands, the handsDocument:
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                                                            are                      Date Filed: 01/16/2015           Page: 255
  24 not able or willing to handle the serious responsibility
  25 of gun ownership.
  0067
   1           Background checks, of course, are no
   2 panacea for gun violence, but they are a necessary and
   3 desirable step to move us toward a society less plagued
   4 by senseless gun crimes. Many such crimes are committed
   5 by persons who have no right to own or use or
   6 otherwise -- own them or use otherwise legal weapons.
   7 There are, of course, questions about the costs and the
   8 administration of the system HB 13-229 starts.
   9           The legislation itself does not
  10 effectively deal with the questions. And in proclaiming
  11 our support for this bill, we assume that you will
  12 tackle these difficult issues in a manner that does not
  13 represent a large burden for taxpayers of Colorado.
  14            Opponents to universal background checks
  15 cite the difficulties for certain types of transfer of
  16 gun ownership. We are impressed with the fact that HB
  17 13-229 does not ignore these difficulties and attempts
  18 to deal with them in a fair and unobtrusive manner.
  19            Thank you for your attention.
  20            THE CHAIRWOMAN: Thank you.
  21            I'm just so impressed with how everybody
  22 is able to stick with these three minutes. Thank you,
  23 Mr. Macalady.
  24            Is there any questions from the committee?
  25 Senator Crowder.
  0068
   1           SENATOR CROWDER: Thank you, Madam Chair.
   2           In your delivery here, you talked a lot
   3 about what you support and, you know, the individuals
   4 who are a criminal element. Could you give me an
   5 opinion on what you think about the vast -- the
   6 99 percent of the American people who are not involved
   7 in a situation where they would do something illegal?
   8 Do you think this would not be an imposition on them, on
   9 their ability as a free people to have to adhere to
  10 this?
  11            Thank you.
  12            THE CHAIRWOMAN: Mr. Macalady.
  13            MR. MACALADY: No, I don't think so. I
  14 think most of us, most hunters, most gun owners, would
  15 be perfectly willing to submit to the minor
  16 inconvenience of a background check in order to promote
  17 gun safety.
  18            THE CHAIRWOMAN: Thank you so much. Thank
  19 you.
  20            I'm going to go to Alan Franklin.
  21            Welcome, Mr. Franklin. Go ahead and
  22 introduce yourself and who you're representing today.
  23            MR. FRANKLIN: Good afternoon, and thank
  24 you for giving me the opportunity.
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                My name Case:   14-1290
                           is Alan  Franklin,Document:
                                               and I am the01019371763               Date Filed: 01/16/2015           Page: 256
  0069
   1 political director of Progress Now Colorado. We are the
   2 state's largest online progressive advocacy
   3 organization, originally founded in 2003 as the Rocky
   4 Mountain Progressive Network.
   5           There are many ways to evaluate my
   6 organization's effectiveness in Colorado politics. One
   7 the committee might find useful is this: Our
   8 preliminary information indicates some 73,000 Progress
   9 Now Colorado members voted in the 2012 elections.
  10            I am here today to ask gun lobbyists and
  11 republican legislators to stop misleading and inciting
  12 the public about proposed gun safety legislation. We
  13 could have chosen any of the gun safety bills now up for
  14 debate in the Colorado Senate, but the case of House
  15 Bill 1229 is one of such clear deception on the part of
  16 the gun lobby that the rebuttal to the campaign against
  17 common-sense gun safety legislation must begin here.
  18            Closing the background check loophole is
  19 supported by an overwhelming majority of voters. One
  20 CBS New York Times poll in January found that over
  21 90 percent of respondents favor background check for all
  22 gun buyers. The percentage varies in studies, but
  23 without a doubt a substantial number of gun sales in
  24 Colorado today are unregulated transactions where no
  25 background check of the buyer takes place.
  0070
   1           Rocky Mountain Gun Owners, the same,
   2 quote/unquote, nonprofit group organizing protests
   3 against legislators in this body runs a paid access
   4 website called the Colorado Gun Market, which makes
   5 bypassing background checks and buying guns as a
   6 criminal simple.
   7           This is critical to understand. The group
   8 leading the fight against this bill is profiting from
   9 keeping the background check loophole open and may
  10 itself even be facilitating the sale of guns to
  11 criminals. The fact is, the public overwhelmingly
  12 supports closing this loophole. That's why the gun
  13 lobby has resorted to outright lies, claiming that the
  14 bill would criminalize and prohibit the private transfer
  15 of firearms. It's not true.
  16            All this bill requires is that buyers of
  17 guns, including private transfers, which undeniably
  18 results in guns being acquired by criminals today,
  19 complete the same background check required at retail
  20 stores and gunshows.
  21            The arguments against House Bill 1229 run
  22 the gamut from misinformed and nonsensical. Closing the
  23 background check loophole will not require the
  24 registration of guns any more than the background checks
  25 the CBI performs today. And the CBI supports this bill.
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                                                                                                    LEG HX 000731                   4646
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   1        Appellate   Case:
                And while        14-1290
                            it's true          Document:
                                      that criminals will 01019371763                Date Filed: 01/16/2015           Page: 257
   2 still be criminals, break laws such as this one, that's
   3 no excuse for failing to pass a law that will stop some
   4 criminals who would otherwise be able to buy a gun
   5 today.
   6            The provisions in this bill exempt
   7 immediate family members and other specific
   8 circumstances that are appropriate.
   9            Now, in conclusion, it is not enough for
  10 me to tell members of this committee on behalf of the
  11 thousands of Colorado progressives that I speak for that
  12 we urge a yes vote on 1229.
  13             On behalf of every Coloradoan who is
  14 disgusted by the right wing's unreasonable opposition to
  15 common-sense reform --
  16             THE CHAIRWOMAN: Mr. Franklin.
  17             MR. FRANKLIN: -- and willingness to
  18 misrepresent --
  19             THE CHAIRWOMAN: Mr. Franklin.
  20 Mr. Franklin, your time is up. I'm sorry. Your time is
  21 up.
  22             MR. FRANKLIN: Any questions?
  23             SENATOR CROWDER: Yes, I have one.
  24             THE CHAIRWOMAN: I'll go ahead and ask for
  25 questions.
  0072
   1            So, Mr. Crowder, Senator Crowder.
   2            SENATOR CROWDER: Well, thank you, Madam
   3 Chair.
   4            I guess I would start by saying, you know,
   5 it's interesting to hear you talk, but I really don't
   6 agree with that. As a republican myself, I do not
   7 follow the line of the NRA. I do not follow the line of
   8 what you speak of. What I follow is the laws of this
   9 country.
  10             We have a Second Amendment right, and we
  11 also have -- we have a right in this country to
  12 basically believe what we want without being intimidated
  13 by anybody. And as a republican, I assure you that we
  14 are not intimidated by anyone.
  15             But as far as your -- I have received over
  16 5,000 e-mails on this subject alone. And I dispute very
  17 dramatically that the overwhelmingly people do support
  18 this, because what I have done on the 5,000 e-mails I
  19 have received this past week, 2 or 3 percent are in
  20 favor of this. The rest of the state is opposed to it.
  21             So when you say that the republicans are
  22 the right wing inciters of this -- what we're looking
  23 for is actual laws that we as men can live by. We do
  24 not -- we do not fall into the trap of inciting one side
  25 against the other. What we want is reasonable. And I'm
  0073
   1 talking about reasonable laws that people can live by.
   2            But I also believe that we are a free
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           Appellate
   3 nation.          Case:if 14-1290
              And, indeed,    we are a freeDocument:    01019371763
                                             nation, we should                       Date Filed: 01/16/2015           Page: 258
   4 be looking at ways to reduce the amount of restrictions,
   5 not expanding it, you know.
   6           And, you know, I appreciate what you do,
   7 and I'm sure you adhere to your beliefs very much, but
   8 these are your beliefs, not the rest of the people of
   9 the state of Colorado.
  10           We have to -- I don't want to go on too
  11 long, but we need to realize that there are more than
  12 just one view on this subject matter than the
  13 progressive that you adhere to. But I do somewhat
  14 resent the idea that, as a republican, I'm going with
  15 some kind of right-wing issue, because it's not that way
  16 at all. But I thank you for your time.
  17           MR. FRANKLIN: Well, thank you.
  18           THE CHAIRWOMAN: Thank you. I'm going to
  19 go ahead and -- because we still have some other people
  20 and we're running out of time and there's still people
  21 -- thank you so much.
  22           MR. FRANKLIN: I look forward to
  23 responding to you via e-mail, Senator. Thank you.
  24           Will I get the opportunity to respond to
  25 any of these responses?
  0074
   1           THE CHAIRWOMAN: You know, not in this
   2 format. I apologize that we don't have that
   3 opportunity. And I --
   4           MR. FRANKLIN: Well, I've got their
   5 e-mail. That's fine. Go ahead.
   6           THE CHAIRWOMAN: Thank you. We're not
   7 going to ask any questions. I'm going to go to the
   8 next --
   9           UNIDENTIFIED SPEAKER: Can I make a
  10 response? I'm not going to ask a question. I just need
  11 to clarify something that was said.
  12           THE CHAIRWOMAN: Well, what I'll do is go
  13 ahead and extend the time, then, because I still have
  14 some more witnesses, if that's comfortable.
  15           UNIDENTIFIED SPEAKER: That's fine.
  16           THE CHAIRWOMAN: Okay, go ahead.
  17           UNIDENTIFIED SPEAKER: I was out of the
  18 room. I apologize. I didn't get to hear your
  19 testimony, but I was told that it was said that these
  20 gun groups are making a profit off of gun sales. And I
  21 just want to clarify for the record that the NRA does
  22 not sell guns and RMGO does not sell guns. They do not
  23 make any profit on the --
  24           MR. FRANKLIN: My comment was in reference
  25 to the Colorado e-market website, which is operated by
  0075
   1 the RMGO.
   2           THE CHAIRWOMAN: Mr. Franklin, I
   3 appreciate that. I'm going to go ahead and excuse you,
   4 and we'll --
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              MR. FRANKLIN:               Document:
                                   Thank you           01019371763
                                              for your time,                         Date Filed: 01/16/2015           Page: 259
   6 members of the committee.
   7          THE CHAIRWOMAN: Thank you so much.
   8          So our next person signed up is Amy
   9 Miller. Amy is -- okay, I will call the next witness.
  10           Mark Thurn -- or Thrun, I guess.
  11           Thank you. Go ahead and introduce
  12 yourself and who you represent today. Thank you.
  13           MR. THRUN: Thank you, Madam Chair.
  14           My name is Mark Thrun. I'm a public
  15 health physician here in Denver. I serve on the board
  16 of directors of the Colorado Public Health Association,
  17 and I'm here today representing this organization in
  18 support of House Bill 1229.
  19           The Colorado Public Health Association,
  20 affiliated with the American Public Health Association,
  21 is comprised of members who serve the state of Colorado
  22 as public health officials or have general interest in
  23 community well-being and health.
  24           There are few public health issues that
  25 impact the community, our community, in such a tragic
  0076
   1 and horrendous manner as the violence of one person
   2 using a firearm against another person.
   3          As firearm regulation is a public health
   4 issue, and as this body has proven it can impact the
   5 public's health through the development of wise and fair
   6 laws, such as the one proposed here today, we urge you
   7 to vote in support of this bill.
   8          As it has with other matters of public
   9 health from hospital infection data reporting to
  10 establishing speed limits on highways, this body has the
  11 authority, both legally and morally, to promote the
  12 common welfare, to protect the public's health.
  13           We urge you to keep guns out of the hands
  14 of those unfit to own them. We urge you to expand
  15 background checks. We urge you to vote for House Bill
  16 1229.
  17           THE CHAIRWOMAN: Thank you so much,
  18 Dr. Thrun.
  19           Is there any questions from the committee?
  20 Thank you.
  21           MR. THRUN: Thank you, Madam Chair.
  22           THE CHAIRWOMAN: And I'm wondering if Amy
  23 Miller is in the room at this point. Yes? No.
  24           I'm going to go ahead and go to the next
  25 witness, Jack Dais.
  0077
   1          Mr. Dais, welcome. Go ahead and introduce
   2 yourself and who you represent today.
   3          MR. DAIS: Chairman Giron, members of the
   4 committee, thank you for the opportunity to be here.
   5          My name is Jack Dais, and I represent the
   6 organization Hunters Against Gun Violence. I'll be
                                                                                                    LEG HX 000734                   4649
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   7 brief Appellate    Case:a14-1290
           and just provide      few remarks.Document: 01019371763                   Date Filed: 01/16/2015           Page: 260
   8           I've hunted pheasant, quail, and rabbits
   9 for more than 60 years, and deer and elk for more than
  10 50 years. So I do own some guns.
  11            I'm a Colorado resident for 33 years, and
  12 I'm here today because I'm saddened by the large and
  13 increasing gun violence in Colorado and around the
  14 United States.
  15            I have read House Bill 1229 and believe
  16 that I largely understand it. Because I believe that
  17 closing the private sale background check loophole will
  18 help reduce gun violence, I urge the senate to pass the
  19 bill.
  20            The various provisions in Section 1 do not
  21 appear burdensome and seem to make good sense. For an
  22 aging gun owner like me, the bill provides
  23 understandable options for gun transfers through private
  24 sales, gifts to family members, or post-death means.
  25            Thank you for having me.
  0078
   1           THE CHAIRWOMAN: Thank you so much.
   2           Is there any questions? Senator Crowder.
   3           SENATOR CROWDER: Thank you, Madam Chair.
   4           Thank you for being here today.
   5           Do you think that the guns of which you
   6 own now, that the people within your family that you
   7 give those guns to should have a background check for
   8 those guns before you can give them to them?
   9           THE CHAIRWOMAN: Mr. Dais.
  10            MR. DAIS: No, I don't think that they
  11 should. And let's say I also understand that, as the
  12 bill provides, I can gift these to my kids without that.
  13 But, however, I'd have no objection to their undergoing
  14 a background check.
  15            THE CHAIRWOMAN: Thank you.
  16            SENATOR CROWDER: One more question.
  17            THE CHAIRWOMAN: One quick question,
  18 Senator Crowder.
  19            SENATOR CROWDER: If, in fact, you were a
  20 gun collector where you collected guns, which some
  21 people do, do you think that each gun that you bought,
  22 you should have to have a background check as a gun
  23 collector?
  24            THE CHAIRWOMAN: Mr. Dais.
  25            MR. DAIS: Could I ask, are these guns
  0079
   1 that I already own?
   2           SENATOR CROWDER: No, sir. You, as a gun
   3 collector -- this is a little bit off your topic, but
   4 you said you are a hunter and you have several guns --
   5 but, if in fact -- there are people that do purchase
   6 guns for various reasons, collection or whatever, but as
   7 a -- if you were to be that person that bought these
   8 guns as a collector, and let's say that you wanted to
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   9 buy 30,  40 guns,Case:
                       do you14-1290       Document:
                               think that you should have01019371763
                                                            to                       Date Filed: 01/16/2015           Page: 261
  10 have a background check on each and every gun that you
  11 buy --
  12           THE CHAIRWOMAN: Mr. Dais.
  13           SENATOR CROWDER: -- under that
  14 circumstance?
  15           MR. DAIS: Good question. Anyway, I think
  16 that I should have to have a background check. I'm not
  17 sure that I should have to do 30 of them, if I purchase
  18 all of these in a week.
  19           THE CHAIRWOMAN: Senator Crowder.
  20           SENATOR CROWDER: Thank you, Madam Chair.
  21           That was kind of the question I was
  22 getting at.
  23           THE CHAIRWOMAN: Okay. Senator Jones.
  24           SENATOR JONES: Thank you, Madam Chair.
  25           So if you were doing a background -- if
  0080
   1 you were purchasing guns through time, if a person was,
   2 and it had been a year and they collected a new gun, and
   3 things could have happened, this person could have
   4 committed a crime. Do you think they need a background
   5 check?
   6           THE CHAIRWOMAN: Mr. Dais.
   7           MR. DAIS: I'm not totally sure I
   8 understand the question, but if a year goes by between a
   9 person's gun purchases, and if it's possible that they
  10 could have committed a crime in that -- I hadn't thought
  11 about that, but, yeah, it seems to me to be reasonable,
  12 if a year's time has lapsed, to go through another
  13 background check, it would seem to be reasonable.
  14           THE CHAIRWOMAN: Thank you so much for
  15 being here. And we will have one more witness.
  16 Ms. Miller is here. And then that's our last witness
  17 for the people in support.
  18           Welcome, Mrs. Miller. Appreciate your
  19 being here.
  20           Go ahead, introduce yourself and who you
  21 represent.
  22           MS. MILLER: Thank you, Madam Chair,
  23 members of the committee.
  24           My name is Amy Miller, and I represent the
  25 Colorado Coalition Against Domestic Violence. We are a
  0081
   1 statewide nonprofit organization, and we are here to
   2 speak on behalf of the domestic violence organizations
   3 in the state who serve thousands of victims every year.
   4           We're in support of House Bill 1229. Let
   5 me tell you a story that illustrates why we support this
   6 bill.
   7           On December 18th of last year, just a few
   8 days after the tragedy in Newtown, there was another
   9 mass shooting here in Colorado, in Longmont, Colorado.
  10 It was a domestic violence shooting in which three
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           Appellate
  11 victims           Case: 14-1290
               were murdered,     followed byDocument:    01019371763
                                               the perpetrator's                     Date Filed: 01/16/2015           Page: 262
  12 suicide. The domestic violence offender, Daniel
  13 Sanchez, had just been released six hours prior from an
  14 overnight stay in jail for holding his ex-girlfriend
  15 hostage for several hours, assaulting her, stealing her
  16 cell phone, and sending threatening text messages to her
  17 new boyfriend.
  18           Sanchez was released at 10 p.m. Monday
  19 night. And at 4 a.m., he shot and killed his
  20 ex-girlfriend, Beatriz Cintora-Silva, age 25; and her
  21 sister, age 22; and her brother-in-law, age 29, with a
  22 .45 caliber Glock handgun.
  23           He did not possess that firearm before he
  24 was released from jail. He should not have been able to
  25 obtain that firearm, given what he had just been
  0082
   1 through.
   2           Under federal law, individuals who have
   3 been convicted of a qualifying misdemeanor domestic
   4 violence offense or who are subject to a qualifying
   5 domestic violence protection order, like Sanchez was,
   6 can't legally buy or possess firearms. But an estimated
   7 30 to 40 percent of firearms are purchased without a
   8 background check, making thorough enforcement of the law
   9 all but impossible and creating a loophole through which
  10 domestic abusers obtain guns.
  11           Here in Colorado, in 2011, the most recent
  12 year for which data is available, at least 13 of the 34
  13 domestic violence deaths in our state occurred in cases
  14 where the domestic violence offender used a firearm
  15 despite being prohibited under the law from purchasing
  16 or possessing firearms.
  17           Studies reveal that the presence of
  18 firearms significantly increases the lethality of
  19 domestic violence incidents. According to one such
  20 study, domestic violence assaults involving a firearm
  21 are 23 times more likely to result in death than those
  22 involving other bodily -- other weapons or bodily force.
  23           A similar study found that abused women
  24 are five times more likely to be killed by their abuser
  25 if the abuser owns a firearm. According to Department
  0083
   1 of Justice statistics, in states that require background
   2 checks for every handgun sale, 38 percent fewer women
   3 are shot to death by their intimate partners.
   4           We know existing background checks keep
   5 guns out of the hands of domestic abusers and that lives
   6 will be saved in this state by keeping guns out of the
   7 hands of even more abusers.
   8           Please take this opportunity to keep
   9 Colorado's women and children safe. I urge your vote in
  10 favor of House Bill 1229. Thank you.
  11           THE CHAIRWOMAN: Thank you so much.
  12           We have a question from Senator Harvey.
                                                                                                    LEG HX 000737                   4652
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                            HARVEY:        Document:
                                                you, Mrs.01019371763
                                                           Miller --                 Date Filed: 01/16/2015           Page: 263
  14 Ms. Miller, for being here.
  15           Go back to the case that you brought up
  16 that he didn't have a gun prior to committing that
  17 crime. How did he get that gun, do you know?
  18           THE CHAIRWOMAN: Mrs. Miller.
  19           MS. MILLER: Thank you, Madam Chair,
  20 Senator Harvey.
  21           I don't know exactly the details of that,
  22 but he would have been prohibited under even state law
  23 for an arrest -- because we do have a law that addresses
  24 that, even -- would have been prohibited from being able
  25 to lawfully purchase a firearm. So must have obtained
  0084
   1 it through unlawful means.
   2          THE CHAIRWOMAN: Senator Harvey.
   3          SENATOR HARVEY: That's my point. He was
   4 already -- it was already against the law for him to
   5 have a gun, and he got a gun. I doubt he got it through
   6 a family member that transferred it to him. And this
   7 bill wouldn't have applied to that. And it's already
   8 against the law to murder somebody. So he broke that
   9 law as well.
  10           I understand your -- your rationale, but I
  11 don't agree with your nexus because I don't agree that
  12 had this bill been in place, that it would have stopped
  13 the murders that you talked about.
  14           And so I want to make sure we all
  15 understand -- we need to have a nexus between the
  16 legislation that we're passing and the things we're
  17 trying to stop. And that's what makes good public
  18 policy, if you can tie that nexus together.
  19           And I don't believe that in that certain
  20 circumstance that that was said -- and that was your
  21 example -- and I want all of us to think rationally
  22 about what we're doing with these kinds of public
  23 policies. Thank you very much.
  24           MS. MILLER: Thank you so much.
  25           THE CHAIRWOMAN: Thank you, Mrs. Miller.
  0085
   1 Appreciate it.
   2          MS. MILLER: Thank you.
   3          THE CHAIRWOMAN: So that is the amount of
   4 time we have. We actually did have some more people
   5 sign up. I apologize that we're not going to be able to
   6 hear from any more of those in support, because of the
   7 time now.
   8          SENATOR CROWDER: Madam Chair, may I ask a
   9 question?
  10           THE CHAIRWOMAN: Yeah, let me go ahead and
  11 finish my sentence.
  12           SENATOR CROWDER: I'm sorry.
  13           THE CHAIRWOMAN: That's okay.
  14           We're going to move to the people in
                                                                                                    LEG HX 000738                   4653
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  15 opposition,   and Case:     14-1290
                         I do have             Document:
                                    a list of them as well. 01019371763              Date Filed: 01/16/2015           Page: 264
  16           Senator Crowder.
  17           SENATOR CROWDER: Well, I was just curious
  18 as to the amount of people that are left to testify on
  19 that. Is there a particular number that you have?
  20           THE CHAIRWOMAN: No. I went through my
  21 list and there was some more. So what I want to do is
  22 be able to move through here so we can get going.
  23           Kris -- our first witness, Krista --
  24 Krista, is that -- we're going to go ahead and get our
  25 first witness.
  0086
   1           And just for anybody who's new in the
   2 room, we're doing 90 minutes to those in support, 90
   3 minutes in opposition. And I'll kind of get the clue
   4 when we're going from expert public testimony, which
   5 does not have a time limit. So when I get that, we'll
   6 do that, but it's still the same 90 minutes. After that
   7 we'll go into the timing, as you notice. But if you
   8 weren't here at the beginning, we did have some people
   9 that were not limited by time.
  10           Thank you. Okay, great.
  11           So, Krista, you're here with the State
  12 testifying. You have some support people, but I
  13 understand they're not going to be testifying.
  14           MS. CERESA: That's correct.
  15           THE CHAIRWOMAN: I appreciate you being
  16 here, and go ahead and introduce yourself and who you
  17 represent.
  18           MS. CERESA: My name is Krista Ceresa. I
  19 grew up and I currently reside in District 29, and I'm
  20 represented by Senator Morgan Carroll.
  21           I'm here today on behalf of my family as
  22 well as a large number of people from my community who
  23 are so familiar with the tragedy I'm going to share with
  24 you.
  25           And to explain to you, I am so opposed to
  0087
   1 all gun control legislation presented today. The last
   2 man executed in the state of Colorado was the man who
   3 killed my mom. July 21st, 1986, Gary Davis kidnapped,
   4 raped, and murdered my mother, Ginny May. Gary Davis
   5 had a history of predatory sexual behavior, raping over
   6 15 women, had convictions of grand larceny, burglary,
   7 menacing, was jailed on sexual assault in Colorado only
   8 four years prior to my mother's murder. A man who
   9 should have never been released from prison was released
  10 early in 1985.
  11           My mother met Gary Davis and his wife,
  12 Becky, at church. He stalked my mother until killing
  13 her one year later. He was a criminal. It was against
  14 the law for him to have a gun. He had no respect for my
  15 mother, my family, and he certainly had no respect for
  16 the law.
                                                                                                    LEG HX 000739                   4654
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  17       Appellate
                If I hadCase:
                         it to do14-1290
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  18 often the phrase we throw around -- on reflecting on how
  19 we could have done things differently, whether it
  20 relates to our career or maybe raising our children, I
  21 was speaking with my dad and he said to me: If I had it
  22 to do over again, I would have made sure your mother had
  23 a gun, that she could have had a chance to protect
  24 herself and you kids.
  25            In this case, we are talking about saving
  0088
   1 someone's life and keeping the family intact. I know he
   2 struggles daily with the fact that he wasn't able to
   3 protect her on that day. The reality is these sick
   4 individuals, they prey on those who are considered least
   5 likely to be able to protect themselves, women and
   6 children in places we falsely label as safe zones,
   7 gun-free zones.
   8           If my mother had been armed with a gun, my
   9 story might be much different. She was approached by
  10 two assailants that day. She was outnumbered. If any
  11 of you are parents, maybe you can imagine what might
  12 have went through her mind as the lives of her two young
  13 children would now be forever changed because of the
  14 premeditated acts of these sick individuals.
  15            I'm a mother myself now. And I think back
  16 daily on that terrible moment when I saw Gary Davis
  17 physically force my mom from our front yard, as I was
  18 held restrained by his wife on the front steps of our
  19 country home. I'll never forget the last time that I
  20 saw my mother.
  21            Excuse me.
  22            My efforts must be focused now on my
  23 children and what I can do to ensure that their last
  24 memories of their mother are never the same as what I
  25 have of mine.
  0089
   1           As a concealed carry permit holder, I
   2 exercise my right to carry daily. As carrying a firearm
   3 might seem unnecessary to some, those who know my story
   4 understand the heartbreaking reality that evil can
   5 approach without warning.
   6           It is because of the Second Amendment that
   7 I do not have to worry about what others think is
   8 necessary or unnecessary as it relates to the protection
   9 of my family and myself. I'm thankful for that right,
  10 and I choose to exercise that right quietly and
  11 carefully when I'm at church or visiting my cousin,
  12 Becky, for lunch at the college campus that she works
  13 at. She, too, is a mother and legally exercises her
  14 right to carry.
  15            We know better than anyone that the moment
  16 we are unprepared might be a moment we live or may not
  17 live to regret. I've seen firsthand how quickly a
  18 situation like this can occur.
                                                                                                    LEG HX 000740                   4655
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  19       Appellate
                As many Case:   14-1290
                            of our           Document:
                                   law enforcement         01019371763
                                                     officers                        Date Filed: 01/16/2015           Page: 266
  20 are outstanding public servants, there simply may not be
  21 enough time. I understand more than most that my
  22 protection is ultimately my responsibility.
  23            So I ask you to consider the consequences
  24 of imposing more regulations upon law-abiding citizens.
  25 Please remember who those laws will really restrict, how
  0090
   1 by deluding these rights, you will only make people like
   2 myself, a daughter, a wife, and a mother, an easier
   3 target.
   4           These regulations will not affect those
   5 whose intent is to ultimately break the law by obtaining
   6 a gun. Statistics have shown that many of these people
   7 committing these heinous crimes had illegally obtained a
   8 gun in the first place. And stricter gun control will
   9 not stop another sick-minded Gary Davis from killing
  10 someone else's mother.
  11            In fact, if you pass these legislation --
  12 regulations, it is more likely that you will ensure that
  13 it will happen again. I promise there are other Gary
  14 Davises out there today looking for their next victim.
  15            My stance, along with my entire family, is
  16 to oppose these measures for gun control, and we will
  17 oppose any lawmaker who authors the votes, authors or
  18 votes in favor of any legislation that infringes upon
  19 the Second Amendment.
  20            The government was never intended to
  21 regulate my needs as it relates to protecting myself. I
  22 follow the law, and have every right to protect our
  23 family from danger with the highest measure of security
  24 we see fit.
  25            I'm standing before you today having just
  0091
   1 shared a story I've never spoken publicly about. This
   2 is because I've never felt more passionately for a cause
   3 as I do about this. And I understand firsthand the
   4 consequences this legislation presents. These
   5 restrictions will not only make my world less safe,
   6 leaving law-abiding citizens outgunned by criminals who
   7 have no respect for the law.
   8           I'm speaking out today because you have to
   9 be out of your mind to believe that someone with a plan
  10 to kill will not get their hands on a gun, that any
  11 measure to put restrictions on the Second Amendment will
  12 keep firearms of any capacity out of the hands of
  13 criminals, nor will it influence where they will choose
  14 to use them. And I certainly know that these measures
  15 will not take away the malicious intent of those with
  16 evil in their hearts.
  17            Thank you for hearing me today. I pray
  18 that God guides you as you cast your very powerful vote
  19 on this very dangerous legislation.
  20            THE CHAIRWOMAN: Thank you so much, and
                                                                                                    LEG HX 000741                   4656
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  21 thankAppellate   Case:
            you for your      14-1290to come
                          willingness      Document:     01019371763
                                                here today and                       Date Filed: 01/16/2015           Page: 267
  22 share your story and your life.
  23           A couple questions from Senator Harvey.
  24           SENATOR HARVEY: Thank you, Madam Chair.
  25           Not so much a question but just a comment.
  0092
   1 Thank you for being here. Thank you all for being here.
   2          Can you introduce your husband really
   3 quick, and your cousin.
   4          MS. CERESA: This is my husband, Mark
   5 Ceresa. This is my cousin Becky Kleeman (phonetic).
   6          SENATOR HARVEY: Thank you.
   7          THE CHAIRWOMAN: Senator Harvey, continue.
   8          SENATOR HARVEY: Madam Chair, if I could,
   9 I wanted to add a little bit more to Krista's story.
  10           The murderer actually went to Becky's
  11 house first, which is next door, and a ranch hand was at
  12 the house. So the murderer and his wife left and went
  13 next door to Krista's house. Krista was four years old
  14 when this happened. And Mr. Davis was the last person
  15 we've ever put to death on death row in Colorado.
  16 Krista and her family have never spoken publicly about
  17 this event outside of the courtroom. So this was a
  18 huge, huge thing for her to be here, to have her
  19 comments made today. And for her dad and her brother,
  20 this was a huge thing for them as well.
  21           So I just wanted to thank you for your
  22 courage to come here today and represent your family and
  23 the citizens of Colorado. God bless you.
  24           THE CHAIRWOMAN: Thank you for being here.
  25           Senator Crowder.
  0093
   1          SENATOR CROWDER: Two questions, if I
   2 could.
   3          Would you say that there is an evil in the
   4 world?
   5          MS. CERESA: Absolutely.
   6          SENATOR CROWDER: Thank you.
   7          THE CHAIRWOMAN: Senator Crowder.
   8          SENATOR CROWDER: Would you also say that
   9 any erosion of our Second Amendment rights, even with
  10 the intent -- the well intention of -- of helping
  11 people, that that erosion of the Second Amendment rights
  12 could also cause a great deal more harm than good?
  13           MS. CERESA: I know that it would.
  14           THE CHAIRWOMAN: Krista. I'm just
  15 recognizing you would come through --
  16           MS. CERESA: Sorry.
  17           SENATOR CROWDER: Thank you very much.
  18           THE CHAIRWOMAN: Thank you so much.
  19           Any other questions?
  20           Seeing none, thank you. I really
  21 appreciate your willingness to share your story.
  22           MS. CERESA: Thank you for having me, too.
                                                                                                    LEG HX 000742                   4657
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  23        Appellate   Case: 14-1290 The
                THE CHAIRWOMAN:                Document:   01019371763
                                                  next witness we have               Date Filed: 01/16/2015           Page: 268
  24 listed is going to be moved, Dan Kopel is going to be
  25 moved later, when he gets here. He's a little late. He
  0094
   1 has an event.
   2           So I'm going to go next to Sheriff John
   3 Cooke.
   4           Welcome, Sheriff Cooke. Go ahead and
   5 introduce yourself and who you're representing today.
   6           MR. COOKE: Okay. Thank you so much. I'd
   7 like to thank the committee.
   8           My name is Sheriff John Cooke, and I'm
   9 representing myself and my constituents from Weld
  10 County.
  11            But, first off, I'd like to say that I
  12 stand by the County Sheriffs Of Colorado's position
  13 paper. This position paper states, in part, that the
  14 County Sheriffs Of Colorado are adamantly opposed to any
  15 restrictions on a person's right to privately sell
  16 firearms to another person because of a technicality
  17 regarding the opposition -- or the operation of the
  18 CSOC's legislative committee.
  19            The legislative committee is staying
  20 neutral on this bill, but not the overwhelming number of
  21 sheriffs in this state. In our recent conference in
  22 January, where approximately 57 elected sheriffs
  23 attended, there was no disagreement regarding our
  24 opposition to the universal background checks.
  25            As chief law enforcement officer of the
  0095
   1 county, I'm telling you this law is unenforceable. This
   2 bill is a case of elected officials feeling the need to
   3 do something, anything, whether or not the law is
   4 enforceable.
   5           The chiefs' association testified that
   6 they are in favor of this bill, but I have yet to hear
   7 one chief explain how they plan on enforcing it, if it
   8 becomes law.
   9           To quote again from the CSOC position
  10 paper: Local law enforcement does not have the
  11 resources to stop private sales of firearms, nor to
  12 investigate such transactions.
  13            This bill is unenforceable because
  14 criminals do not get background checks. One criminal
  15 doesn't say to another criminal: Hey, before I sell you
  16 this stolen gun, we need to go get a background.
  17            No doubt you heard from CBI about how many
  18 gun sales they have prevented because of background
  19 checks. Let's be honest, does anyone really believe
  20 that just because a criminal was denied a gun through a
  21 background check that he or she will stop there? The
  22 true criminal who is intent on getting a gun will find
  23 any other means necessary to get one.
  24            In a U.S. Department Justice report
                                                                                                    LEG HX 000743                   4658
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  0096
   1 federal inmates convicted of crimes involving guns, they
   2 found that 40 percent of inmates obtained guns through
   3 illegal sources such as theft, burglary, drug dealer's
   4 offense or the black market. 40 percent bought or
   5 borrowed the gun from friends or family, and 14 percent
   6 obtained the gun legally before becoming felons.
   7           This bill would not have prevented any of
   8 these criminals from obtaining a gun.
   9           The numbers that CBI gave you would lead
  10 people to believe that the ones denied access to buying
  11 guns are hardened criminals, but this is simply not the
  12 case.
  13            About two years ago, a 75-year-old man
  14 came in my office wanting to know what to do because he
  15 was denied the purchase of a firearm from a gun store.
  16 He told me that in 1956, he was 17 or 18 years old, got
  17 drunk and ran over someone. He pled guilty to a felony,
  18 to have the case over with. Since that time, he had
  19 absolutely no other contact with law enforcement
  20 throughout his life. He bought many firearms and hunted
  21 and had recreational sports, and he still owned quite a
  22 few to that day.
  23            Yes, it would have been illegal to sell a
  24 gun to this gentleman because of his felony conviction
  25 in 1956, but he's not exactly the picture one has of the
  0097
   1 hardened criminal attempting to get a gun for illegal
   2 purposes. And I suspect that the background checks only
   3 stopping these types of people from ever buying a
   4 firearm and not the true criminal who will obtain a gun
   5 through any means possible.
   6           This bill is also unenforceable because
   7 there's absolutely no way for you or me to prevent two
   8 people from my county driving a few miles north,
   9 conducting a private transaction at the truck stop right
  10 across the Wyoming border, and then returning home.
  11            This law is simply unenforceable and would
  12 do little, if anything, for public safety; and I
  13 encourage the committee to vote no.
  14            THE CHAIRWOMAN: Thank you so much,
  15 Sheriff.
  16            Is there any questions from the committee?
  17            Senator Harvey.
  18            Does anyone else have a question while
  19 Senator Harvey finishes his chewing?
  20            SENATOR HARVEY: Thank you, Sheriff Cooke,
  21 for being here and to all the other sheriffs for being
  22 here. God bless you for taking the time to come hear
  23 this bill.
  24            My concern is not so much the background
  25 checks for transfers of guns, though that's huge because
  0098
                                                                                                    LEG HX 000744                   4659
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            Appellate
   1 it's not           Case:
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                             of guns,  but theDocument:
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   2 guns. But it's really how this bill will be impacting
   3 law-abiding citizens who are driving down the streets
   4 who may have a gun in their car, and you see that they
   5 have a gun in their car, especially out in Weld County,
   6 where there are a lot of guys driving around with guns
   7 on their gun racks -- how will you be able to know
   8 whether that gun is a legal firearm that has been
   9 purchased with a background check, and how will you be
  10 able to determine if it was done with a background
  11 check, and what will you do if you can't determine it?
  12            THE CHAIRWOMAN: Sheriff.
  13            MR. COOKE: Oh, I'm sorry.
  14            First off, there's no way we'd know if one
  15 of my deputies pulled over a person in that situation,
  16 he would not know whether that gun was bought through a
  17 background check or not. So, therefore, since there's
  18 nothing we can do, we'd write them a ticket or give them
  19 a warning and let them go on because there's nothing we
  20 could enforce on that.
  21            THE CHAIRWOMAN: Senator Harvey.
  22            SENATOR HARVEY: Well, might you
  23 confiscate it because they cannot prove to you it was
  24 purchased with a background check? And, therefore, if
  25 they can't prove that, that gun is an illegally owned
  0099
   1 gun and you are required to confiscate it, until they
   2 can prove that. And how long will it take you, then, to
   3 prove it?
   4           We are going down a road where the
   5 citizens will want to have a database to prove that they
   6 had that gun purchased with a background check so that
   7 you won't harass them. No offense.
   8           MR. COOKE: None taken.
   9           THE CHAIRWOMAN: Sheriff Cooke, if you'd
  10 like to respond.
  11            MR. COOKE: Yes, ma'am. Thank you.
  12            This is one of the reasons why County
  13 Sheriffs Of Colorado, again, is adamantly opposed to
  14 this, most of the sheriffs, because we believe it is a
  15 first step towards gun registration.
  16            Now, as far as confiscating the gun, I
  17 didn't see that part in the bill. It might be there,
  18 and I don't know. But I would hope that none of my
  19 deputies would do that. It would be very detrimental to
  20 their career if they did.
  21            THE CHAIRWOMAN: I'll go ahead in just a
  22 minute, Senator Crowder, just for Senator Harvey -- and
  23 I'll look for it in the bill, but it does say that it
  24 would be upon law enforcement to have to prove that, in
  25 fact, that was not -- that firearm was not purchased
  0100
   1 through -- with a background check. So they would have
   2 to prove that before they could confiscate that, just
                                                                                                    LEG HX 000745                   4660
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           Appellate Case: 14-1290 Document: 01019371763
   3 for clarification.                                                              Date Filed: 01/16/2015           Page: 271
   4           Senator Crowder.
   5           SENATOR CROWDER: Thank you, Madam Chair.
   6 That kind of relates to my question.
   7           THE CHAIRWOMAN: Go ahead, Senator
   8 Crowder.
   9           SENATOR CROWDER: I've never had a
  10 background check because, at my age --
  11            THE CHAIRWOMAN: Oh, couldn't get a
  12 background check right now.
  13            (Laughter.)
  14            SENATOR CROWDER: Well, that was my
  15 question.
  16            If, in fact, I'm in an automobile accident
  17 which is my fault, possibly, and I have a weapon and I
  18 cannot prove to you that this is through a background
  19 check, without future gun registration, I don't know how
  20 we could enforce the issue to begin with.
  21            THE CHAIRWOMAN: The way that I understand
  22 it, Senator Crowder, is that they'd have to prove that
  23 you did not get one.
  24            SENATOR CROWDER: Madam Chair, but my
  25 question is, why should I have to prove ownership of
  0101
   1 something -- unless it's registered, there should not be
   2 an issue.
   3           THE CHAIRWOMAN: We're out of the case
   4 with the ownership, but I don't think it's very good for
   5 us to --
   6           SENATOR CROWDER: I do have a question.
   7           THE CHAIRWOMAN: Okay, Senator Crowder.
   8           SENATOR CROWDER: We've seen a video here
   9 recently -- if you don't want to answer this, that's
  10 fine, because I know you were not here -- we've seen a
  11 video of a city policeman out of Aurora implying that he
  12 was in favor of this. And I'm aware that the sheriff
  13 departments throughout the state are opposed to it.
  14            Can you give me a brief reasoning that one
  15 law enforcement agency as opposed to another law
  16 enforcement would have a differing view on that?
  17            THE CHAIRWOMAN: Sheriff Cooke.
  18            SENATOR CROWDER: And I realize you didn't
  19 see it, so you don't have to answer it if you don't want
  20 to.
  21            MR. COOKE: No, I don't mind.
  22            THE CHAIRWOMAN: Sheriff Cooke, you can go
  23 ahead now.
  24            MR. COOKE: Thank you.
  25            We're elected. And so just like you are,
  0102
   1 we are out on the campaign trail and we are in tune, I
   2 think, more so with our constituents and our public. We
   3 speak for ourselves.
   4           The police chiefs work for a mayor or city
                                                                                                    LEG HX 000746                   4661
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           Appellate
   5 council  or a cityCase:   14-1290
                         manager.             Document:
                                    So, therefore,        01019371763
                                                   they have to                      Date Filed: 01/16/2015           Page: 272
   6 represent some of those views as opposed to their own.
   7 This is not supported by all police chiefs or police
   8 officers throughout the state.
   9           I know the chief up in Greeley is
  10 adamantly opposed to these bills, as are most of the
  11 chiefs up in Weld County and throughout the state.
  12 There's quite a few. It seems to be mostly a Denver
  13 metro centric, the chiefs that are in support of this.
  14            At the cell (phonetic) debate that I
  15 attended recently, two line-level Denver police officers
  16 walked up to me and said: Hey, we want to thank you
  17 guys, thank the sheriffs, for your position paper. We
  18 wholeheartedly support it. (Inaudible) and keep that
  19 kind of quiet. But that's unofficial.
  20            So we know there are a lot of line-level
  21 police officers and chiefs throughout the state that do
  22 not support these bills.
  23            THE CHAIRWOMAN: Senator Jones.
  24            SENATOR JONES: Thank you, Madam Chair.
  25            Just for point of clarification, you
  0103
   1 weren't here to see the video, but my recollection was
   2 that the police chief was representing the Aurora City
   3 Council. So those elected officials, at least, feel
   4 that way, and I guess it's a divided opinion on this
   5 thing.
   6           THE CHAIRWOMAN: Thank you.
   7           Any other questions?
   8           Thank you so much, and thank you all the
   9 sheriffs, including my own, that are here today.
  10            MR. COOKE: I would like to thank the
  11 committee. Thank you.
  12            (Applause.)
  13            THE CHAIRWOMAN: There's our sergeants.
  14 Go ahead --
  15            SENATOR HARVEY: No applause.
  16            THE CHAIRWOMAN: -- Senator Harvey.
  17            SENATOR HARVEY: People who are in the
  18 audience, please do not applaud. Please do not clap.
  19 This is a public hearing. And we are to treat the chair
  20 with respect. When she gables the gable, that means
  21 stop talking or clapping. Do not clap. Treat the chair
  22 with respect, please.
  23            THE CHAIRWOMAN: Thank you, Senator
  24 Harvey. Those are our rules. And I'm sure most of you
  25 weren't aware of that.
  0104
   1           Senator Jones.
   2           SENATOR JONES: Senator Harvey reminded me
   3 that the police chief was also representing the Police
   4 Chiefs Of Colorado. Thank you. I thank; we thank.
   5           THE CHAIRWOMAN: Thank you so much.
   6           And so I'm going to go -- Tom Grounder.
                                                                                                    LEG HX 000747                   4662
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   7 And Buddy         Case:
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                                 also join him            01019371763
                                                at the table.                        Date Filed: 01/16/2015           Page: 273
   8           Thank you. Go ahead. Welcome. Go ahead
   9 and introduce yourself and who you're representing
  10 today.
  11            MR. GROUNDER: My name is Tom Grounder.
  12 I'm out of Colorado Springs. I am an NRA certified
  13 instructor. I own my own business. I do full-time
  14 training in all the NRA aspects, plus concealed carry
  15 training -- concealed carry training for those wishing
  16 to seek their permit.
  17            As a retired Army and former law
  18 enforcement officer and a strong patriot of this
  19 country, I take deep exception to the bill that directly
  20 impacts gun rights of law-abiding citizens. The
  21 opposition to the firearms and the desire that is
  22 ultimately -- to be ultimately eliminated from those in
  23 the hands that are well within their rights to own them
  24 is driven by a personal loss and grief that is the basis
  25 of this bill.
  0105
   1           As a result, they're using positions to
   2 push a personal agenda to institute new laws that would
   3 entice the vast majority of all law-abiding, legal gun
   4 owners to become criminals. The passing of this bill
   5 would force actions by those who would normally not
   6 break the law to do so.
   7           In terms of criminal actions, the desire
   8 to obtain firearms will drive a market much like illegal
   9 drug trafficking of today. It will be tougher to get,
  10 but the payoff would be worth it.
  11            As far as the time certified -- as a
  12 full-time certified firearms trainer, it is my passion
  13 to instill a strong sense of safety and responsibility
  14 to those to learn about and wish to introduce firearms
  15 in their lives and their homes, along with those seeking
  16 to advance their training.
  17            Since the election of our current
  18 presidential administration, and in light of past
  19 events, along with the push towards more restrictive gun
  20 control regulations, the nation has seen an
  21 unprecedented surge in the purchase of firearms. As a
  22 trainer, I can confirm that, in Colorado, the
  23 applications for concealed carry permits has reached
  24 levels unheard of before.
  25            There is no gun owner I know that doesn't
  0106
   1 feel the pain and the loss of the innocent lives in the
   2 recent tragedies. Regardless, it is the law-abiding
   3 citizens that are buying up the handguns, rifles,
   4 shotguns, and subsequently ammunition.
   5           Why is this not addressed? Do you not
   6 understand, or do you simply choose to ignore the
   7 actions of the governed people?
   8           The nation and the state is telling you
                                                                                                    LEG HX 000748                   4663
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   9 what Appellate    Case:
           is wrong with  the 14-1290      Document:
                              drive to place            01019371763
                                             more restrictive                        Date Filed: 01/16/2015           Page: 274
  10 and misguided firearms regulations on the shoulders of
  11 law-abiding citizens. It will do nothing to curve the
  12 violence against citizens by those that are determined
  13 to inflict it.
  14           As with all of the Constitution, the
  15 Second Amendment is not, and should not, be a negotiable
  16 subject. It is a huge source of frustration to me when
  17 those in the elected office use the Constitution
  18 verbatim when it suits their purposes, yet push their
  19 own personal interpretations of it when it does not, or
  20 simply disregard it.
  21           Our way of life here was created for us by
  22 our founding fathers. It is unlike any nation on the
  23 planet. It is a free nation.
  24           Does that mean it's perfect? Certainly
  25 not, but a free society is sometimes messy. But free it
  0107
   1 is and free it must remain.
   2           The tragedies of Sandy Hook and Aurora
   3 will never be prevented in the future by laws or
   4 regulations such as these. What is certain is that
   5 those determined to do harm will do so. Holding
   6 manufacturers and firearms (inaudible) responsible for
   7 their actions doesn't do a thing.
   8           Adding these restrictions on to transfers,
   9 as Senator Harvey has tried to allude to many times,
  10 seems to be just passed over. The term "transfer" is
  11 crucial here. There is no difference in these actions.
  12           Please do not ignore or negate your
  13 responsibility to the elected office which you defend --
  14 to defend the Constitution. This is your duty. In this
  15 decision, do what is right and defend the founding
  16 principles of this nation, the Constitution. I believe
  17 if we do so, we're going to be on a slippery slope.
  18           We are trading liberty and freedoms for a
  19 perception of a temporary safety and security. If we
  20 allow this, we were warned by Benjamin Franklin that we
  21 deserve none of it.
  22           Thank you for your time.
  23           THE CHAIRMAN: Thank you, Mr. Grounder.
  24           Any questions for Mr. Grounder?
  25           Seeing none, thanks very much for being
  0108
   1 here.
   2           MR. GROUNDER: Thank you, sir.
   3           THE CHAIRMAN: Doug Hamilton.
   4           MR. HAMILTON: Good morning.
   5           THE CHAIRMAN: Good morning.
   6           MR. HAMILTON: My name is Doug Hamilton.
   7 I am the owner-operator of the Family Shooting Center at
   8 Cherry Creek State Park. We do a lot of training and
   9 such out there.
  10           I have to say up front here, I think my
                                                                                                    LEG HX 000749                   4664
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